           Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 1 of 107




/(#.-..-#-.,#.)/,.
-)/.",(#-.,#.) (13),%

                                                                   
  /(#.-..-) ',#                                         
                                                                   
                  L                                                        , *
                                                                                  
  ,#.'(                                                               )*#(#)(),,
                                                                                  
                             ;<;D:7DJ                                            
                             

*/& (!&'3, ?IJH?9J$K:=;

          .>?I:;9?I?EDH;IEBL;IFEIJ JH?7BCEJ?EDI<?B;:8O:;<;D:7DJH?.;C7D 

          ;=?DD?D=$7DK7HO   J>;EKHJFH;I?:;:EL;H.;C7DXI@KHOJH?7B .;C7DM7I

9>7H=;:M?J>JME9EKDJIE<87DA<H7K: ?DL?EB7J?EDE</ -  Q 7D:JMEE<M?H;<H7K: 

?DL?EB7J?EDE</ -  Q .>;I;9>7H=;I7BB;=;:J>7J.;C7D>7:9H;7J;:7D::;FEI?J;:

9>;9AI:H7MDEDJ>;799EKDJIE<>?I>EC; I;9KH?JO9ECF7DOXI9KIJEC;HI M>?B;<7BI;BO

H;FH;I;DJ?D=JEJ>;:;FEI?J7HO7D:9B;7H?D=87DAIJ>7JJ>;9KIJEC;HI>7:ADEM?D=BO7KJ>EH?P;:

J>EI;9>;9AI .>;9>;9AI9EDI?IJ;:E<JME9>;9AIJEJ7B?D=             M>?9>.;C7D:;FEI?J;:

?D'7H9>  7D:9>;9AIJEJ7B?D=           M>?9>.;C7D:;FEI?J;:8;JM;;DFH?B7D:

$KD;  )D$7DK7HO   7JJ>;9BEI;E<J>;!EL;HDC;DJXI97I; .H?7B.H 7JS 

7D:7=7?DED$7DK7HO   7JJ>;9BEI;E<J>;:;<;DI;97I; /*7JS .;C7DCEL;:<EH

7@K:=C;DJE<79GK?JJ7BKD:;H ;:;H7B,KB;E<H?C?D7B*HE9;:KH;7 .>;EKHJ:;D?;:8EJ>

CEJ?EDI  ++/*7J  S  )D$7DK7HO   J>;@KHOH;JKHD;:?JIL;H:?9J 

9EDL?9J?D=.;C7DED7BB9EKDJI 




                                    

     EHJ>;JH?7BJH7DI9H?FJ I;;:E9A;JI         7D:  
        Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 2 of 107




       )D ;8HK7HO   .;C7DJ?C;BOCEL;:<EH7@K:=C;DJE<79GK?JJ7BKD:;H,KB;9

EH ?DJ>;7BJ;HD7J?L; <EH7D;MJH?7BKD:;H,KB; AJ U.;C7D';C V #D>?I

,KB;9CEJ?ED .;C7D7H=K;IJ>7JJ>;EKHJ J>HEK=>?JI@KHO?DIJHK9J?EDI 7D:J>;

!EL;HDC;DJ J>HEK=>?JIFHEE<7JJH?7B 9EDIJHK9J?L;BO7C;D:;:J>;#D:?9JC;DJJ>;H;M7I

?DIK<<?9?;DJ;L?:;D9;J>7J.;C7DC7:;7C7J;H?7BC?IH;FH;I;DJ7J?EDJE7<?D7D9?7B?DIJ?JKJ?ED

J>;H;M7I?DIK<<?9?;DJ;L?:;D9;J>7J.;C7D79J;:M?J>9H?C?D7B?DJ;DJ7D:J>;H;M7I

?DIK<<?9?;DJ;L?:;D9;E<L;DK; #D>?I,KB;CEJ?ED .;C7D?D9EHFEH7J;IJ>;I;7H=KC;DJI7D:

<KHJ>;H9EDJ;D:IJ>7J7D;MJH?7B?IM7HH7DJ;:8;97KI;J>;!EL;HDC;DJL?EB7J;:J>;UHKB;E<

I;GK;IJH7J?EDVJ>;EKHJ?CFHEF;HBO;N9BK:;:7FHEFEI;::;<;DI;;NF;HJM?JD;IIED

UH;CEJ;BO9H;7J;:9>;9AIV7D:7D7BJ;HD7J;@KHEHB?;::KH?D=<5/8*/8+ .;C7D7BIECEL;I 

KD:;H ;:;H7B,KB;E<H?C?D7B*HE9;:KH;;?7D:?? <EH:?I9BEIKH;E<=H7D:@KHO

JH7DI9H?FJIH;B7J?D=JE>?I9B7?CE<79EDIJHK9J?L;7C;D:C;DJ AJ  U.;C7D!$&JH V 

       )DFH?B   M>?B;.;C7DXICEJ?EDIM;H;8;?D=8H?;<;: .;C7D<?B;:7I;9ED:,KB;

CEJ?ED AJ U.;C7D8'*?';C V ?DM>?9>>;9EDJ;D:IJ>7JJ>;!EL;HDC;DJ<7?B;:JE

:?I9BEI;8'*?7D:$;D9AI9J;L?:;D9;JEJ>;:;<;DI; 

         EHJ>;H;7IEDIJ>7J<EBBEM J>;EKHJ:;D?;I7BBE<.;C7DXIFEIJ JH?7BCEJ?EDI 

      &#-*0) 

       .>;EKHJ7IIKC;I<7C?B?7H?JOM?J>J>;<79JK7B879A=HEKD:E<J>?I97I;7D:J>;;L?:;D9;

7::K9;:7JJH?7B .>;:?I9KII?EDJ>7J<EBBEMIFH;I;DJIEDBOJ>;;L?:;D9;D;9;II7HOJEH;IEBL;J>;

CEJ?EDI7J>7D: 




                              

 .>;!EL;HDC;DJXIIKCC7HO?D?JIEFFEI?J?EDJE.;C7DXI?D?J?7BHEKD:E<CEJ?EDI >EM;L;H 
FHEL?:;I7>;BF<KB7D:799KH7J;EL;HL?;ME<J>;JH?7BFHEE< AJ U!EL ';C V7JS 
                                                 

        Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 3 of 107




            !()5. -0 $!(!

      .;C7DEMD;:!7J;!K7H: #D9 U!7J;!K7H:V 7 BEH?:79ECF7DOJ>7JFHE:K9;:7D:

?DIJ7BB;:?DJ;H9EC:;L?9;I<EH7F7HJC;DJ8K?B:?D=I  +++- .H?7B.H 7J S .>;

;L?:;D9;7JJH?7B9;DJ;H;:EDJ>H;;E<!7J;!K7H:XI(;M3EHA?JO 87I;:9KIJEC;HIEHI;JIE<

9KIJEC;HIE<.;C7DXI1;IJ && C7D7=;:8OED;O'7D7=;C;DJ';H9;H

GK?JO#D9 U';H9;HV C7D7=;:8OHOIJ7B,;7BIJ7J;'7D7=;C;DJ7D:$'?B7DE

&&7D:$&;DEN&&JE=;J>;H U$V 8EJ>C7D7=;:8O$*HEF;HJ?;I&&

9EBB;9J?L;BO J>;UKIJEC;HIV 79>KIJEC;H>7:7=H;;:JEKI;!7J;!K7H:XII;HL?9;I 

?D9BK:?D=FKH9>7I?D=J>;9ECF7DOXI?DJ;H9EC:;L?9;I<EHKI;?DJ>;?H8K?B:?D=I M>?9>=;D;H7BBO

M;H;BE97J;:?D'7D>7JJ7DEHJ>;HEDN  ++/*7J S1;IJ &&/*7J 

 S';H9;H/*7J S $ 

       0?;M;:?DJ>;B?=>JCEIJ<7LEH78B;JEJ>;L;H:?9J J>;;L?:;D9;;IJ78B?I>;:J>7J:KH?D=J>;

<?HIJ>7B<E<  .;C7D9H;7J;: 7D::;FEI?J;:?DJE799EKDJI>;9EDJHEBB;: CKBJ?FB;9>;9AIED

;79>KIJEC;HXI799EKDJSSEIJ;DI?8BOJEF7O<;;IEM;:JE!7J;!K7H: 8KJ7BBM?J>EKJJ>;

KIJEC;HIX<EH;ADEMB;:=;EH7KJ>EH?P7J?ED  +++- /*7JS S 1;IJ 

&&;NFB7?D?D=J>7J9>;9AIM;H;DEJ7KJ>EH?P;:/*7J S';H9;HI7C;/*

7JS  S$I7C; .>;;L?:;D9;<KHJ>;HI>EM;:J>7J JE9H;7J;J>;?BBKI?EDE<

9KIJEC;H7II;DJ .;C7D>7:H;<;HH;:?DMH?JJ;D9ECCKD?97J?EDIM?J>;79>KIJEC;H7JFE?DJI

:KH?D=J>;?H:;7B?D=IM?J>!7J;!K7H:JEU.;HCI7D:ED:?J?EDIVJ>7J!7J;!K7H:>7:7:EFJ;:

=EL;HD?D=9KIJEC;HH;B7J?EDI>?FI  ++/*7JS S1;IJ &&/*7JS



                               

 -EC;E<J>;KIJEC;HI:?IFKJ;:>7L?D=7=H;;:JEJ>;.;HCI7D:ED:?J?EDI  ++.H?7B.H 
7JS S 1;IJ &&:?I9KII;:.?D9EDJ;NJE<D;=EJ?7J?EDI 8KJ:?:
DEJ<?D7BBO7=H;;JE./*7J S $9++'295!2 $J;NJ<HEC$EI;F>
-EB;?C7D? $H;FH;I;DJ7J?L; JE.;C7DE8I;HL?D=J>7J>;>7:DEJI?=D;:J>;. 
                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 4 of 107




';H9;H/*7J$9++'295!2U.V !7J;!K7H:XI.;HCI7D:ED:?J?EDI

9EDJ7?D;:M?J>?DJ>;C EDF7=;<?L; 7>OF;HB?DAJE!7J;!K7H:XIU*7OC;DJ.;HCI V ++.

7J2U*7OC;DJ.;HCIV KH?;:M?J>?DJ>;*7OC;DJ.;HCI 7JB;7IJ?D7FEIJ E<<;DI;

L;HI?ED?DJHE:K9;:7JJH?7B M7I79B7KI;FKHFEHJ?D=JE=H7DJ!7J;!K7H:J>;7KJ>EH?JOJEM?J>:H7M

<KD:I<HECJ>;KIJEC;HIX799EKDJIJEF7O:;8JIEM;:JE!7J;!K7H:8OJ>;KIJEC;H  ++

*7OC;DJ.;HCI7JU3EK=?L;KIF;HC?II?EDJEMH?J;7D:I?=D9>;9AIM?J>OEKH9>;9A?D=

7D: EHI7L?D=799EKDJI?D<EHC7J?EDJE:E787DA:H7M7=7?DIJOEKH;DJ?JOEH;DJ?J?;I<EHJ>;

7CEKDJ?JEHJ>;OEM;I V "EM;L;H H;FH;I;DJ7J?L;IE<;79>KIJEC;HJ;IJ?<?;:J>7JJ>;O>7:

D;L;HI;;DJ>;*7OC;DJ.;HCI >7:D;L;H:?I9KII;:IK9>J;HCIM?J>.;C7D 7D:>7:DEJ=H7DJ;:

!7J;!K7H:J>7J7KJ>EH?JO 7D:MEKB:DEJ>7L;:ED;IE>7:J>;O8;;D=?L;DJ>;EFFEHJKD?JO  ++

.H?7B.H 7JS  S  1;IJ &&/*7JS ';H9;H

/*7JS S$ 

       .>;KIJEC;HI<KHJ>;H:?IFKJ;:EM?D=!7J;!K7H:7DOCED;O<EHJ>;FKHFEHJ;:I;HL?9;I

7D:<;;IJEM>?9>J>;EKJI?P;:9>;9AIJ>7J.;C7D>7:<78H?97J;:7D:D;=EJ?7J;:?D'7H9>7D:

FH?B M;H;87I;:  +++- /*7J  S 1;IJ &&/*7J 

                              

 U!2VH;<;H;D9;I;N>?8?JIJ>;!EL;HDC;DJ?DJHE:K9;:7JJH?7B 7D:U2VH;<;H;D9;I;N>?8?JI
?DJHE:K9;:8OJ>;:;<;DI; .>;I;;N>?8?JI97D8;<EKD:7J:E9A;J 


 JJH?7B J>;:;<;DI;E<<;H;:7L;HI?EDE<J>;*7OC;DJ.;HCIM>?9>IJ7J;:J>7J?JM7IB7IJ
H;L?I;:ED$7DK7HO    ++*7OC;DJ.;HCI7J .>;:;<;DI;:?:DEJE<<;H7DO;7HB?;H
L;HI?EDE<J>;*7OC;DJ.;HCI EH;B?9?J7DO9ECF;J;DJJ;IJ?CEDO7IJEJ>;9EDJ;DJE<7DO;7HB?;H
L;HI?ED .>;$7DK7HO  L;HI?EDM7IH;9;?L;::KH?D=J>;J;IJ?CEDOE<.;C7DXI9EHFEH7J;
7JJEHD;O H?;B,;?D?JP IG M>EC.;C7D97BB;:?DIKFFEHJE<7D7JJ;CFJ;:7:L?9;E<9EKDI;B
:;<;DI; ,;?D?JP >EM;L;H M7IDEJ9ECF;J;DJJE7KJ>;DJ?97J;J>?I:E9KC;DJ ";J;IJ?<?;:EDBO
J>7J.;C7D M>E:?:DEJJ;IJ?<O >7:JEB:>?CJ>7JJ>;I;J;HCI>7:8;;D?DFB79;7D:FH;IKC78BO
799;II?8B;JEJ>;KIJEC;HI7JJ>;J?C;;79>KIJEC;H>7:8;=KD?JI8KI?D;IIH;B7J?EDI>?FM?J>
!7J;!K7H:  ++.H?7B.H 7JS ,;?D?JPXIJ;IJ?CEDOM7IDEJ7:C?II?8B;JE;IJ78B?I>J>;
JHKJ>E<J>7JFHEFEI?J?ED BJ>EK=>>?IJ;IJ?CEDO7IJE.;C7DXIH;FH;I;DJ7J?EDIJE>?CM7I
FHEF;HBOH;9;?L;:JE7IIKH;J>7JJ>;@KHOH;9;?L;:7<KBBFEHJH7?JE<.;C7DXI9ECCKD?97J?EDIM?J>
,;?D?JP J>;H;M7IDE9ECF;J;DJ;L?:;D9;7JJH?7BJ>7JJ>;H;B;L7DJ7IF;9JIE<J>;*7OC;DJ.;HCI
>7:8;;D?DFB79;7JJ>;J?C;I7DOE<J>;KIJEC;HI9EDJH79J;:M?J>.;C7D 
                                                 

          Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 5 of 107




';H9;H/*7J $ .>;I;9>;9AITJEJ7B?D=       ?D<;;I:H7MDED1;IJ

 &&XI799EKDJ         ED';H9;HXI 7D:     ED$XI 9++!2 S T<7H

EKJIJH?FF;:?DL7BK;J>;<;MJ>EKI7D::EBB7HI;79>KIJEC;H>7:F7?:<EH?JI!7J;!K7H::;L?9;I 

9++!27J?DLE?9;<EH!7J;!K7H:FKH9>7I;!27JI7C;!2 S I7C; 

         I9EDJ;NJ<EH.;C7DXI:;9?I?EDKD?B7J;H7BBOJE:H7M7D::;FEI?JJ>;9>;9AI?D  

J>;;L?:;D9;I>EM;:J>7J :KH?D=  J>;KIJEC;HI>7:;79>JEB:.;C7DJ>7JJ>;OM;H;=E?D=

JE9;7I;KI?D=!7J;!K7H::;L?9;I  ++.H?7B.H 7JS1;IJ &&S

';H9;H/*7J$ .>;O7JJ;IJ;:JE>7L?D=>7:DKC;HEKIFHE8B;CIM?J>J>;:;L?9;I 

M>?9>.;C7D>7:<7?B;:JE<?N  +++- /*7JS S 1;IJ &&/*

7JS';H9;H/*7JS $9++'295!2 ;C7?B<HEC$EI;F>-EB;?C7D? 

$H;FH;I;DJ7J?L; JE.;C7D97J7BE=K?D=?IIK;IM?J>!7J;!K7H::;L?9;I!2 J;NJI<HEC

-EB;?C7D?JE.;C7D78EKJI7C; .>;;L?:;D9;I>EM;:J>7J.;C7D>7:H;79J;:7D=H?BO7D:

IEC;J?C;I;NFBEI?L;BOJEJ>;KIJEC;HIX:;9?I?EDIJE;D:J>;?HH;B7J?EDI>?FIM?J>!7J;!K7H: 

    +++- !2S;C7?BI<HEC.;C7DJEB?;!787O 1;IJ &&H;FH;I;DJ7J?L;

!2 S ;C7?BI<HEC.;C7DJE-EB;?C7D? "?I7D=HO9ECCKD?97J?EDI?D9BK:;:J>H;7JIJE 

7CED=EJ>;HJ>?D=I IK;J>;KIJEC;HI FB79;B?;DIEDJ>;?H8K?B:?D=I 7D:H;<;HJ>;KIJEC;HIJE

B7M;D<EH9;C;DJ  +++- .H?7B.H 7J  S S1;IJ &&/*7J 

';H9;H/*7JS $9++'295!2 S ;C7?BI<HEC.;C7DJE-EB;?C7D?

J>H;7J;D?D=B7MIK?JI B?;DI 7D:<EH;9BEIKH; 

         .>;;L?:;D9;<KHJ>;HI>EM;:J>7J 7I!7J;!K7H:BEIJIK9>8KI?D;II .;C7DM7I<79?D=

<?D7D9?7BJHEK8B;  ++.H?7B.H 7J S 9++'295!2 J;NJI<HEC.;C7DJE>?I7JJEHD;O 


                               

 IJEED;KIJEC;H M>EC.;C7DKD:;HIJEE:JE8;7DE8I;HL7DJ$;M .;C7D97BBEKIBOI;DJ7D
;C7?BJ>H;7J;D?D=JEFB79;7B?;DEDJ>;KIJEC;HXI7II;JI:KH?D=*7IIEL;H M>;DJ>;KIJEC;H
MEKB:8;KDH;79>78B; !27J;C7?B<HEC.;C7DJE!787O 
                                                    

          Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 6 of 107




H?;B,;?D?JP IG U#XCCEH;9ED9;HD;:78EKJ=;JJ?D=J>;97I>I?D9;M;D;;:JEEF;H7J;   

M;XBBIKHL?L; 8KJ?JXIDEJ=H;7J 415;HKDIEJ?=>J V &EEA?D=<EHEFJ?EDI >;9EDIKBJ;:>?I

7JJEHD;O ,;?D?JP 78EKJJ>;FEII?8?B?JOE<M?J>:H7M?D=<KD:I:?H;9JBO<HECJ>;KIJEC;HIX

799EKDJI FKHFEHJ;:BO?D799EH:7D9;M?J>J>;*7OC;DJ.;HCI JE<KB<?BBKDF7?:?DLE?9;I .H?7B.H 

7J S .;C7D;DL?I?ED;:KI?D=H;CEJ;BO9H;7J;:9>;9AIU,IVJEM?J>:H7M<KD:IJEF7O

J>;8KI?D;IIXI:;8JI  ++/*.;C7D >EM;L;H :?:DEJI>EM,;?D?JPJ>;,I>;FB7DD;:JE

:;FEI?J  ++/*7JS ,;?D?JPM7IDEJ7M7H;E<>EMCK9>J>;KIJEC;HI>7:F7?:<EHJ>;?H

:;L?9;I 9++/*7J S DEHM7IJ>;H;7DO;L?:;D9;J>7J.;C7D>7:JEB:,;?D?JPJ>;

7CEKDJ>;M7IFB7DD?D=JE9>7H=;J>;C?DFKHFEHJ;:<;;IL?7J>;,I .;C7D:?:DEJ <EH

;N7CFB; :?I9BEI;JE,;?D?JPJ>7JJ>;<?HIJJME9>;9AIJ>7J>;MEKB:9H;7J;7D::;FEI?JMEKB:8;

<EH       ;79>  ++/*7J,;?D?JP;NFB7?D?D=J>7J>;<?HIJB;7HD;:78EKJJ>;JME    

'7H9>9>;9AI?DFH?B  C;II7=;I<HEC.;C7D 7<J;HJ>;:;FEI?JI>7:J7A;DFB79; 

          BJ>EK=>,;?D?JPJ;IJ?<?;:J>7J>;EH7BBOJEB:.;C7DJ>7J:;FEI?J?D=,I:H7MDEDJ>;

KIJEC;HIX799EKDJIM7IUJ;9>D?97BBOB;=7B V7D:J>7JJ>;*7OC;DJ.;HCI=7L;.;C7DU;NFB?9?J

7KJ>EH?JOVJE:EIE /*7J >;:?:DEJC;CEH?7B?P;J>7JFKHFEHJ;:7:L?9; 7D:J>;H;M7IDE

:E9KC;DJ7HOIKFFEHJE<7DOA?D:J>7J7DOIK9>9ECCKD?97J?ED>7:E99KHH;: ,;?D?JPXIMH?JJ;D

9ECCKD?97J?EDIM?J>.;C7DH;<B;9J;:J>;EFFEI?J;=K?:7D9; )D$7DK7HO   ?D7I;H?;IE<



                                

 EDI?IJ;DJM?J><;:;H7B87DA?D=H;=KB7J?EDI=EL;HD?D=IK9>?DIJHKC;DJI J>;EKHJ?DIJHK9J;:
J>;@KHOJ>7J7H;CEJ;BO9H;7J;:9>;9AU,V?I79>;9AJ>7J?I9H;7J;:DEJ8OJ>;F7O?D=
87DA7D::E;IDEJ?D9BK:;J>;I?=D7JKH;E<J>;799EKDJ>EB:;HEDM>EI;799EKDJJ>;9>;9A?I
:H7MD 7D:J>7J M>;D7KJ>EH?P;:8OJ>;799EKDJ>EB:;H J>;B7MF;HC?JI,IJE8;9H;7J;:
7D:KI;:  ++.H?7B.H 7JS 9++'295 , Q <<<U,;CEJ;BO9H;7J;:9>;9A
C;7DI79>;9AJ>7J?IDEJ9H;7J;:8OJ>;F7O?D=87DA7D:J>7J:E;IDEJ8;7H7I?=D7JKH;7FFB?;: 
EHFKHFEHJ;:JE8;7FFB?;: 8OJ>;F;HIEDEDM>EI;799EKDJJ>;9>;9A?I:H7MD V .>;EKHJ
<KHJ>;H?DIJHK9J;:J>;@KHOJ>7JJ>;?IIK;7JJH?7BM7IDEJM>;J>;HJ>;9>;9AIC;J7J;9>D?97B
:;<?D?J?EDE<7D, 8KJM>;J>;HJ>;!EL;HDC;DJ>7:FHEL;DJ>7JJ>;;B;C;DJIE<87DA<H7K:
7D:M?H;<H7K:M;H;C;J .H?7B.H 7J 
                                                   

        Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 7 of 107




1>7JIFFC;II7=;IH;IFED:?D=JE.;C7DXIFHEFEI7BJE:H7M9>;9AIEDKIJEC;HIX799EKDJI 

,;?D?JPMHEJ; <B7JBO U(EV7D:U4857:?:;7 V!2 7J #DJ>;I7C;IJH?D=E<C;II7=;I 

,;?D?JP<KHJ>;HMHEJ;JE.;C7DJ>7JJ>;KIJEC;HIU7H;B?A;BOJE97BBFEB?9; D:OEKM?BB8;

7HH;IJ;: D:>7L;79H?C?D7B97I;JE:;7BM?J> D:J>;DOEK97DIJ7HJ;NFB7?D?D=78EKJOEKH

W9EDJH79JX7D:WDEJ8H;7A?D=7DOB7MI XV*7JS *H;I9?;DJBO ,;?D?JPFH;:?9J;:J>7JUOEK7H;

 B?A;BOJE8;7HH;IJ;:<EHJ>;79J?L?J?;IOEKFHEFEI; V*

       )D'7H9>   .;C7DD;L;HJ>;B;II:;FEI?J;:JME9>;9AI ;79><EH             ?DJE

!7J;!K7H:XI799EKDJ7J7DAE<C;H?97 M>?9>>;>7:9H;7J;:  ++.H?7B.H 7J        !2

IFH;7:I>;;J<HEC7DAE<C;H?9797J7BE=K?D=.;C7DXIJH7DI79J?EDI )D;9>;9AFKHFEHJ;:JE

>7L;8;;D?IIK;:8O1;IJ && 7D:J>;EJ>;H8O';H9;H  ++.H?7B.H 7JS

!2 1;IJ &&9>;9A!2 ';H9;H9>;9A IFH;F7H;:8O.;C7D ;79>

9>;9AIJ7J;: U,1*,)(.,. ()-#!(./,,+/#, V79>8EH; ?DJ>;

FB79;7BBE97J;:<EH7I?=D7JKH; 7DKD?DJ;BB?=?8B;IGK?==B;  ++!2 S  99EH:?D=JEJ>;

C;CEB?D;IE<J>;9>;9AI J>;OM;H;EIJ;DI?8BO<EHU:;L?9;H;CEL7B<;;4I5 V ++/*

       *H?D9?F7BI<EH1;IJ &&7D:';H9;HJ;IJ?<?;:J>7JJ>;O>7:DEJ7KJ>EH?P;:EH

8;;D7M7H;?D7:L7D9;E<J>EI;JH7DI79J?EDI J>7JJ>;O>7:DEJ8;;D7M7H;J>7J.;C7D9B7?C;:

J>;8KI?D;II;IEM;:>?CJ>;I;IKCI 7D:J>7JJ>;O:?IFKJ;:J>7JJ>;?H8KI?D;II;IEM;:.;C7D

     EH7DOIK9><;;  ++.H?7B.H 7JS  S1;IJ &&/*7J  

 S';H9;H .>;KIJEC;HIJ;IJ?<?;:J>7J8;<EH;J>;?HH;B7J?EDI>?FIM?J>.;C7D

:;J;H?EH7J;: >;:?:DEJ:?I9KIIJ>;FHEIF;9JJ>7JJ>;O9EKB:8;IK8@;9J;:JE:;L?9;H;CEL7B<;;I 

7D:J>7JJ>;O>7:8;;DKD7M7H;E<7DO9B7?CJ>7JJ>;OEM;:7DOIK9><;;  +++- /*7J 


                            
 .>;9>;9A<EH1;IJ &&IJ7J;I ?D9EHH;9JBO J>7J?J?IJE8;:H7MDEDJ>;799EKDJE<
1;IJ  && !2 9++'295.H?7B.H 7JS!787OU1;IJ &&?IDEJ7D
;DJ?JOJ>7JM;EF;H7J; V 
                                                  

          Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 8 of 107




S1;IJ &&/*7J  ';H9;H .;C7D:?:DEJI;D:;?J>;H

KIJEC;H7D?DLE?9;97J7BE=K?D=9>7H=;I<EH:;L?9;H;CEL7B8;<EH;>;C7:;J>;:;FEI?JI ;L;D

J>EK=>>;>7:I;DJ?DLE?9;IJEJ>;KIJEC;HI<EH!7J;!K7H:FKH9>7I;I?DJ>;F7IJ  ++/*7J

:;I9H?8?D=B79AE<?DLE?9;9++'295!27J?DLE?9;<EH!7J;!K7H:FKH9>7I;!27J

I7C; ,;FH;I;DJ7J?L;IE<;79>KIJEC;HJ;IJ?<?;:J>7JJ>;O>7:8;;DI>E9A;:JEI;;9>7H=;I

<EH7:;L?9;H;CEL7B<;; 8EJ>8;97KI;J>;OEMD;:J>;:;L?9;I7D:8;B?;L;:J>;OI>EKB:8;78B;

JEH;CEL;J>;C<HECJ>;?HEMD8K?B:?D=I 7D:8;97KI;J>;7CEKDJE<J>;H;CEL7B<;;M7I

:?IFHEFEHJ?ED7J;JEJ>;9EIJE<J>;?DJ;H9ECEH7DOEJ>;H7CEKDJJ>;O>7:F7?:!7J;!K7H:?DJ>;

F7IJ  ++/*7JS1;IJ &&/*7J ';H9;H -F;9?<?97BBO 

1;IJ &&>7:F7?:        <EH?JI?DJ;H9EC 9++.H?7B.H 7JS !27J?DLE?9; 

7D:';H9;H>7:F7?: <EH?JI?DJ;H9EC7D: M?J>EJ>;HI;HL?9;I >7:F7?:7JEJ7BE<

  JE!7J;!K7H: 9++.H?7B.H 7J 9++'295!27J?DLE?9;T<7HB;IIJ>7D

J>;       :;L?9;H;CEL7B<;;.;C7D9>7H=;: 

          7DAE<C;H?97FB79;:7>EB:EDJ>;<KD:I<HECJ>;JME9>;9AI  ++!2 J;NJ<HEC

.;C7DJE,;?D?JP!2I7C; )D'7H9>   .;C7DJH7DI<;HH;:             <HECJ>;

!7J;!K7H:799EKDJJE7D799EKDJ<EH H?;D:EH H7K:&&U H?;D:EH H7K:V 7DEJ>;H9ECF7DO

>;9EDJHEBB;:  ++!2 )DFH?B   -?=D7JKH;7DA M>;H;1;IJ &&7D:

';H9;H>7:J>;?H87DA799EKDJI <B7==;:J>;9>;9AI<EH<H7K:  ++.H?7B.H 7JS )D




                               
  1>?B;>;:?:DEJ?DLE?9;J>;KIJEC;HI8;<EH;>?I'7H9> :;FEI?JI .;C7D:?:?DLE?9;
1;IJ &&ED;O;7H;7HB?;HSSED'7H9>   7<J;HJ>;FKH9>7I;E<?JI?D?J?7B
?DJ;H9ECSS<EH  FKHFEHJ;:BO<EH7D;MF7D;B ?DIJ7BB7J?EDI;HL?9;I 7D:CEDJ>BOI;HL?9;I 
M>?9>?J>7:DEJ7=H;;:JEFKH9>7I;  ++.H?7B.H 7JS9++'295!27J?DLE?9; 

                                                 

        Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 9 of 107




FH?B   7DAE<C;H?979ECFB;J;:79>7H=;879A<HECJ>;!7J;!K7H:799EKDJJEJ>;

1;IJ &&7D:';H9;H799EKDJI7J-?=D7JKH;7DA  ++.H?7B.H 7J S!2 

        )DFH?B   .;C7D9EDJ79J;:,;?D?JP H;L;7B?D=J>7JSS9EDJH7HOJE,;?D?JPXI$7DK7HO

=K?:7D9;SS>;>7::H7MDCED;O<HECJ>;KIJEC;HIX799EKDJI7D:J>7J7DAE<C;H?97>7:

FB79;:7>EB:ED>?I799EKDJ  ++!2 !2 ,;?D?JPI;DJ.;C7D7J;NJC;II7=; M>?9>

IJ7J;: U4D5EJIKH;#<EBBEM8KJJ>?IIEKD:I87: V7D:7DEJ>;H M>?9>IJ7J;: U#:EDXJADEM7BBJ>;

?DI7D:EKJIE<J>?I8KJIEKD:IB?A;787:?:;7 V!2  ";M7HD;:.;C7D U4?5<OEK7H;>?JJ?D=

J>;?H799EKDJIEKJE<J>;8BK; #;NF;9JJ>?IM?BB8;9EC;79H?C?D7BC7JJ;HIEED;HEHB7J;H V*

9++'295!2FH?B  J;NJ<HEC,;?D?JPJE.;C7DU#XL;7BH;7:OJEB:OEK#J>?DA?JXI7

87:?:;7    #<OEK>?JJ>;?H799EKDJI#J>?DA  J>;O97BB9EFI #<#M7I7:L?I?D=J>;CJ>7JXI

FHE878BOM>7J#MEKB:J;BBJ>;CJE:E V )DFH?B   7<J;H<KHJ>;H9ECCKD?97J?EDIM?J>

.;C7D ,;?D?JPMHEJ; U4J5>;87DA?D=IJK<<?IDEJ7@EA;    3EK97DXJ@KIJ>?JIEC;ED;XI87DA

799EKDJ?<OEKADEMJ>;O:?IFKJ;J>;9>7H=; V!27J9++'295.H?7B.H 7J S ";

M7HD;:.;C7DJ>7JU4J5>;H;7H;I;H?EKIIJ7J;7D:<;:4;H7B5H;=KB7J?EDIEDJ>?I 3EK9B7?CJ>7J

OEKH9EDJH79J7BBEMIOEKJE:;8?JJ>;?H799EKDJI;L;D7<J;HJ>;O;NFB?9?JBOFHEJ;IJ #XC@KIJDEJ

IKH;?JXIJ>7JI?CFB; V!27J #DJ>;I7C;IJH?D=E<C;II7=;I ,;?D?JPM;DJED U475D:?J

C7O8;7=7?D   IF;7A?D=EKJE<?=DEH7D9;   79B;7HL?EB7J?EDE<IEC;<;:;H7B87DA?D=

H;=KB7J?ED #DM>?9>97I;OEKHWI?CFB; 97DXJC?II?:;7X?IDEM7<;:;H7B9H?C; V*9++'295/*

7JU.>;H;7H;H;=KB7J?EDI7HEKD:7KJEC7J?9:;8?J7=H;;C;DJI #D9BK:?D= ?<J>;F7O;HJ;BBIOEK

JEIJEF OEKCKIJIJEF V 


                                

  JJH?7B %7H;D ?DE99>?7HE 7I;D?EH<H7K:?DL;IJ?=7JEH<EH7DAE<C;H?97 J;IJ?<?;:J>7J7
9>7H=;879AE99KHIM>;DUJ>;C7A;H87DA>7I;IJ78B?I>;:J>7J<EHIEC;H;7IEDJ>;9>;9A?IDE
=EE: IE?J9EKB:8;   DEDIK<<?9?;DJ<KD:I 7BJ;H;:EH<?9J?J?EKI EH79EKDJ;H<;?J9>;9A V.H?7B
.H 7J  KH?D=79>7H=;879A J>;87DAJEM>?9>J>;9>;9AM7IFH;I;DJ;:H;JKHDIJ>;<KD:IJE
J>;C7A;H87DA  ++/*7J S  
                                                   

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 10 of 107




          ;IF?J;,;?D?JPXIM7HD?D=I .;C7D J>;D;NJCEDJ> ;I97B7J;:>?IFH79J?9;E<:H7M?D=7D:

D;=EJ?7J?D=H;CEJ;9>;9AIEDKIJEC;H799EKDJIM?J>EKJDEJ?9; )DFH?B   .;C7D

;DJ;H;:77DAE<C;H?978H7D9>?D BEH?:77D::;FEI?J;:CEH;9>;9AI JEJ7B?D=                

?DJEJ>;!7J;!K7H:799EKDJ  ++.H?7B.H 7JS  .>;I;9>;9AIM;H;:H7MDEDJ>;

799EKDJIE<J>H;;;DJ?J?;I1;IJ && $'?B7DE&& 7D:$&;DEN&&  ++

.H?7B.H 7JS9++'295!2 1;IJ &&9>;9AI!2 $'?B7DE

9>;9AI!2 $&;DEN9>;9AI /DB?A;J>;<?HIJJME9>;9AI J>;I;:?:DEJ8;7H7

FKHFEHJ;:I?=D7JKH; 79>?DIJ;7:IJ7J;:

          ,1*,)(.,. ()-#!(./,,+/#,4 5()..)(%
          .>?I ?I 7 L7B?: 9>;9A   3EK 7H; H;GK?H;: 8O B7M JE >EDEH ?J   EDJH79J 7J
          =7J;=K7H: NOP B;=7B J;HCI F>F799;FJ;:8O78EL;9B?;DJ EDJ79JKI   
          M?J>GK;IJ?EDI 

    ++!2 S  .>;9>;9AIXC;CEB?D;IIJ7J;:J>;OM;H;<EH:;L?9;H;CEL7B<;;I 7JJEHD;OKI;

<;;I 9EBB;9J?EDI<;;I EH9>7H=;879A<;;I *

          =7?D H;FH;I;DJ7J?L;I<EH$7D:1;IJ &&J;IJ?<?;:J>7JJ>;O>7:DEJ

7KJ>EH?P;:.;C7DJEH;CEJ;BO9H;7J;7D:D;=EJ?7J;J>;9>;9AIEH>7:7DODEJ?9;E<J>;

JH7DI79J?EDI?DGK;IJ?ED 7D:J>7JJ>;O:?IFKJ;:EM?D=J>;IKCIH;<B;9J;:  ++.H?7B.H 7J 

1;IJ &&/*7JS S S$ .>;KIJEC;HI7BIE>7:DEJ

8;;D7M7H;E<J>;<;;I<EH:;L?9;H;CEL7B 7JJEHD;OKI; EH9>7H=;879AIM>?9>J>;OFKHFEHJ;:BO

EM;:  ++/*7J S 1;IJ &&/*7J  S  S 

                               

   .>;9>;9AI?D9EHH;9JBO?:;DJ?<?;:ED;E<J>;$;DJ?J?;I7D:1;IJ && BJ>EK=>
J>;9>;9AIM;H;:H7MDEDJ>;$&;DEN7D:1;IJ &&799EKDJI J>;OIJ7J;:J>7JJ>;O
>7:8;;D?IIK;:8OU$+445>V7D:U1;IJ  && V ++!2 ;CF>7I?I7::;:
!2 ;CF>7I?I7::;:9++'295.H?7B.H 7JS  


   #D'7O  .;C7D;C7?B;:-EB;?C7D? 9B7?C?D=J>7J$EM;:>?C<EH 7CED=EJ>;HJ>?D=I 
:;L?9;H;CEL7B<;;I 1>;D-EB;?C7D?H;IFED:;: U4957DOEKFB;7I;I;D:C;J>;?DLE?9;IM>?9>
OEK7H;9B7?C?D=M;EM;OEK(EJIKH;M>OM;EM;OEKCED;O8KJ#XC=B7:JEBEEA?DJE?J4 5V

                                                      

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 11 of 107




$ =7?D J>;<;;I<7HEKJIJH?FF;:J>;9EIJIE<J>;:;L?9;I .>;;L?:;D9;I>EM;:J>7J

1;IJ &&>7:FKH9>7I;:?JI:;L?9;<EH         9++.H?7B.H 7JS !27J

?DLE?9; 7D:$>7:F7?: F;H:;L?9;<EH?JII;L;D:;L?9;I 9++.H?7B.H 7J  

 !2 S ?DLE?9;I .>;9>;9AI >EM;L;H M;H;<EH<7HB7H=;HIKCI .>;OJEJ7B;:

     :H7MDED1;IJ &&XI799EKDJ !2  7D:            EDJ>;$799EKDJI 

!2 S  

       <J;H:;FEI?J?D=J>;9>;9AI .;C7DH;9;?L;:7DEJ?9;J>7J7DAE<C;H?97M7IFB79?D=7

I;L;D :7O>EB:EDJ>;        ++29++'295.H?7B.H 7JS!2 :;FEI?JIB?F

M?J>DEJ;U>EB:I7FFB?;:I;;>EB:DEJ?9;:;FEI?JV .>;FKHFEI;E<IK9>7>EB:?IJE:;J;HC?D;

M>;J>;HJ>;<KD:I7J?IIK;I>EKB:8;H;B;7I;:JEJ>;799EKDJ  ++.H?7B.H 7J EJ>7DAE<

C;H?977D:J>;:H7M;;87DAISS$*'EH=7D<EH$7D:-?=D7JKH;7DA<EH1;IJ 

&&SSJ>;DH;L?;M;:J>;9>;9AI  ++.H?7B.H 7JS -?=D7JKH;7DA9ED:K9J;:?JI

H;L?;M7D:<B7==;:J>;9>;9AI<EH<H7K:  ++/*7JS I7H;IKBJ EDFH?B   

8;<EH;J>;>EB:EDJ>;<KD:IM7IB?<J;: 7DAE<C;H?979ECFB;J;:79>7H=;879AE<           

<HECJ>;!7J;!K7H:799EKDJJE1;IJ &&XI799EKDJ7J-?=D7JKH;7DA  ++/*7J

!2 .;C7DJ>;H;<EH;D;L;HH;9;?L;:799;IIJEJ>EI;<KD:I 

       )DFH?B   J>;:7OJ>;>EB:M7IB?<J;:EDJ>;H;C7?D?D=<KD:I .;C7DJH7DI<;HH;:

7FFHEN?C7J;BO       <HECJ>;!7J;!K7H:799EKDJJEJ>; H?;D:EH H7K:799EKDJ 7D:         

<HECJ>;!7J;!K7H:799EKDJJE7D799EKDJ?D>?ID7C;  ++.H?7B.H 7JS!2 ";



                              
!2 7J .;C7D:?:I;D:7D?DLE?9;TM>?9>9B7?C;:J>7J$EM;:!7J;!K7H:CEH;J>7D
 C?BB?ED ?D9BK:?D=<EH:;L?9;H;CEL7B 9>7H=;879A 7D:9EBB;9J?ED<;;I !2  


   .>;FHE9;II8OM>?9>J>;JME87DAIH;9;?L;:7D:H;L?;M;:?C7=;IE<9>;9AI:?<<;H;: 
$*'EH=7DH;9;?L;:J>;9>;9AIJ>HEK=>7D?DJ;H 87DAFHE9;II -?=D7JKH;7DA 7IC7BB;H87DA 
H;9;?L;:J>;9>;9AI<HECJ>; ;:;H7B,;I;HL; .H?7B.H 7JS 
                                                

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 12 of 107




J>;DJH7DI<;HH;:        <HECJ>; H?;D:EH H7K:799EKDJJE7D799EKDJ<EH.EK9>B;II&78I

&&U.EK9>B;II&78IV 7D:        <HECJ>; H?;D:EH H7K:799EKDJJE>?IF;HIED7B799EKDJ 

    ++.H?7B.H 7J!2 )DFH?B   .;C7DJH7DI<;HH;:       <HECJ>;

.EK9>B;II&78I799EKDJ879AJEJ>; H?;D:EH H7K:799EKDJ  ++.H?7B.H 7JS!2 

)DFH?B7D:'7O   .;C7DJH7DI<;HH;:7FFHEN?C7J;BO              <HECJ>; H?;D:EH

    H7K:799EKDJJEJME>?D;I;799EKDJI  ++.H?7B.H 7J S!2 

          )D'7O   7DAE<C;H?979ECFB;J;:7I;9ED:9>7H=;879A <EH               <HEC

J>;!7J;!K7H:799EKDJJE799EKDJI<EH$&;DEN&&7D:$'?B7DE&&7J$*'EH=7D 

.H?7B.H 7J!2 .>;D;NJ:7O .;C7D J>HEK=>7D?D F;HIEDJH7DI79J?EDM?J>787DA

J;BB;H M?J>:H;M      <HECJ>; H?;D:E< H7K:799EKDJ7J77DAE<C;H?978H7D9>?D

'7D>7JJ7D  ++.H?7B.H 7J !2 <J;HJ>;9>7H=;879AIJE-?=D7JKH;7DA7D:

$*'EH=7D 7DAE<C;H?97IK<<;H;:7BEIIE<  7I7H;IKBJE<J>;D;=EJ?7J?EDE<J>;I;

9>;9AI  ++.H?7B.H 7J 

               !()5.-*.!0/%*)

          )D$KBO   .;C7DM7I7HH;IJ;:?DJ>;-EKJ>;HD?IJH?9JE< BEH?:77D:>;B:?D

9KIJE:O 87I;:ED7ED; 9EKDJ9ECFB7?DJ9>7H=?D=87DA<H7K:?D9EDD;9J?EDM?J>J>;FH?B 

9>;9AI  ++AJ  )D$KBO   >;M7IH;B;7I;:ED8ED: 7D:ED-;FJ;C8;H   

7FF;7H;:?DJ>?I?IJH?9J8;<EH;7/D?J;:-J7J;I'7=?IJH7J;$K:=; AJ  

          )D-;FJ;C8;H   J>;=H7D:@KHOH;JKHD;:7D#D:?9JC;DJ9>7H=?D=.;C7DM?J>ED;

9EKDJE<87DA<H7K: H;B7J;:JEJ>;FH?B 9>;9AI AJ  )D(EL;C8;H   J>;=H7D:

@KHOH;JKHD;:J>; ?HIJ-KF;HI;:?D=#D:?9JC;DJ 9>7H=?D=.;C7DM?J>JME9EKDJIE<87DA<H7K: 

ED;?D9EDD;9J?EDM?J>J>;'7H9> 9>;9AI7D:J>;EJ>;H?D9EDD;9J?EDM?J>J>;FH?B 

9>;9AI 7D:JME9EKDJIE<7==H7L7J;:?:;DJ?JOJ>;<J H;B7J?D=JEJ>;'7H9> 9>;9AI AJ  



                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 13 of 107




        )D(EL;C8;H   .;C7D<?B;:FH;JH?7BCEJ?EDI AJI S )D;9;C8;H 

  J>;EKHJ?IIK;:7:;9?I?ED:?IC?II?D=EKDJ)D;E<J>; ?HIJ-KF;HI;:?D=#D:?9JC;DJT

M>?9>9>7H=;:87DA<H7K:9EKDJ?D9EDD;9J?EDM?J>J>;FH?B 9>;9AITM?J>EKJFH;@K:?9; 

<EH7L?EB7J?EDE<J>;-F;;:O.H?7B9J AJ  .>;EKHJ?IIK;:7I;F7H7J;EH:;H:;DO?D=

.;C7DXIEJ>;HFH;JH?7BCEJ?EDI AJ  

        )D$7DK7HO   J>;=H7D:@KHOH;JKHD;:J>;-;9ED:-KF;HI;:?D=#D:?9JC;DJ ?DI?N

9EKDJI AJ U-V .>;I;9EDI?IJ;:E<JME9EKDJI7F?;9;E<87DA<H7K:7D:M?H;<H7K:<EH

;79> ED;H;B7J;:JEJ>;'7H9> 9>;9AI7D:J>;EJ>;HJEJ>;FH?B 9>;9AI7D:JME

9EKDJIE<7==H7L7J;:?:;DJ?JOJ>;<J9EDD;9J;:M?J>J>;'7H9> 9>;9AI )D$7DK7HO7D:

$7DK7HO   J>;F7HJ?;I<?B;:CEJ?EDI/42/3/4+ AJI   S  )D$7DK7HO   

?D7D;NJ;D:;:8;D9>HKB?D= J>;EKHJH;IEBL;:J>;I;CEJ?EDI/42/3/4+  ++AJ U'#&

.H V )D$7DK7HO7D:   :7OI8;<EH;JH?7BM7II9>;:KB;:JE8;=?D J>;F7HJ?;I8EJ>

<?B;:7::?J?ED7BCEJ?EDI/42/3/4+AJ   )D$7DK7HO   J>;EKHJH;IEBL;:J>;I;

CEJ?EDI?D78;D9>HKB?D=  ++.H?7B.H 7JS 

        )D$7DK7HO   JH?7B8;=7D #JB7IJ;:<EH<EKH:7OI )D$7DK7HO   J>;@KHO

H;JKHD;:7L;H:?9JE<=K?BJOED7BB9EKDJI 

        )D ;8HK7HO   .;C7D<?B;:>?I?D?J?7BCEJ?EDFKHIK7DJJE,KB;I7D:  ++

.;C7D';C )D'7H9>   J>;!EL;HDC;DJEFFEI;:.;C7DXICEJ?ED  ++!EL ';C 

)DFH?B   .;C7D<?B;:7H;FBO AJ U.;C7D,;FBOV .>7JI7C;:7O .;C7D<?B;:

>?IB;JJ;HH;GK;IJ?D=:?I9BEIKH;E<=H7D:@KHOJH7DI9H?FJI  ++.;C7D!$&JH )DFH?B   

J>;!EL;HDC;DJEFFEI;:J>7JH;GK;IJ AJ U!EL !$&JH V 



                                

  ->EHJBO8;<EH;JH?7B J>;!EL;HDC;DJCEL;:ED9EDI;DJJE:?IC?IIJ>;JME7==H7L7J;:?:;DJ?JO
J>;<J9>7H=;I AJ  .>;EKHJ=H7DJ;:J>7JCEJ?ED  ++.H?7B.H 7JS 
                                                 

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 14 of 107




          )DFH?B   .;C7D<?B;:>?II;9ED:CEJ?ED<EH7D;MJH?7B 87I;:ED7BB;=;:8'*?

7D:/-2/5L?EB7J?EDI8OJ>;!EL;HDC;DJ  ++.;C7D8'*?';C )DFH?B   J>;

!EL;HDC;DJ<?B;:?JIEFFEI?J?ED AJ U!EL 8'*?';C V )D'7O   .;C7D

<?B;:7H;FBO AJ U.;C7D8'*?,;FBOV 

      ++'%'!!#'-%)%+'!.*1!-)%)#*./-%'*/%*).

               0'!*/%*)."*-,0%//'

          .E=H7DJ7CEJ?ED<EH79GK?JJ7BKD:;H,KB; 79EKHJCKIJ<?D:J>7JJ>;;L?:;D9;M7I

B;=7BBO?DIK<<?9?;DJJE;IJ78B?I>J>;:;<;D:7DJXI=K?BJ8;OED:7H;7IED78B;:EK8J  ++ ;: , 

H?C *  U:;<;D:7DJ9>7BB;D=?D=J>;IK<<?9?;D9OE<J>;;L?:;D9;J>7JM7IJ>;87I?IE<>?I

9EDL?9J?ED7JJH?7BW8;7HI7>;7LO8KH:;D XV"4/:+* :':+9<'=1/49  :  

:?H       9?J7J?EDEC?JJ;:9++'295"4/:+* :':+9<+9+4'  : 

:?H        U.>;GK;IJ?ED?IDEJM>;J>;HJ>?IEKHJ8;B?;L;IJ>7JJ>;;L?:;D9;7JJH?7B

;IJ78B?I>;:=K?BJ8;OED:7H;7IED78B;:EK8J 8KJH7J>;H M>;J>;H'4?H7J?ED7BJH?;HE<<79J9EKB:

>7L;<EKD:J>;;II;DJ?7B;B;C;DJIE<J>;9H?C;8;OED:7H;7IED78B;:EK8J V"4/:+* :':+9</

    ;4.5  :  :?H  F;H9KH?7C;CF>7I?I?DEH?=?D7B?DJ;HD7B

GKEJ7J?EDC7HAI7D:9?J7J?EDIEC?JJ;: #D79BEI;97I; M>;H;U;?J>;HE<J>;JMEH;IKBJI 7

H;7IED78B;:EK8JEHDEH;7IED78B;:EK8J ?I<7?HBOFEII?8B; J>;9EKHJCKIJB;JJ>;@KHO:;9?:;J>;

C7JJ;H V"4/:+* :':+9<;:;58/  :  :?H           9?J7J?ED7D:8H79A;JI

EC?JJ;: #J?IDEJJ>;JH?7B9EKHJXIHEB;JEUIK8IJ?JKJ;?JIEMD:;J;HC?D7J?EDE<   J>;M;?=>JE<

J>;;L?:;D9;7D:J>;H;7IED78B;?D<;H;D9;IJE8;:H7MD<EHJ>7JE<J>;@KHO V"4/:+* :':+9<

;'*'-4'  : :?H GKEJ?D=;82+?<"4/:+* :':+9   : 

  ?H  99EH:?D=BO 7U9EKHJC7O;DJ;H7@K:=C;DJE<79GK?JJ7BEDBO?<J>;;L?:;D9;

J>7JJ>;:;<;D:7DJ9ECC?JJ;:J>;9H?C;7BB;=;:?IDED;N?IJ;DJEHIEC;7=;HJ>7JDEH;7IED78B;



                                                    

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 15 of 107




@KHO9EKB:<?D:=K?BJ8;OED:7H;7IED78B;:EK8J V"4/:+* :':+9<96'/22+:   : 

:?H     9?J7J?EDEC?JJ;: 

          #D9EDI?:;H?D=J>;IK<<?9?;D9OE<J>;;L?:;D9;IKFFEHJ?D=7=K?BJOL;H:?9J J>;EKHJCKIJ

L?;MJ>;;L?:;D9;?DJ>;B?=>JCEIJ<7LEH78B;JEJ>;!EL;HDC;DJ M?J>7BBH;7IED78B;?D<;H;D9;I

:H7MD?D?JI<7LEH  ++/ ;4.5  :7J '=1/49  :7J 9++'295"4/:+*

    :':+9<5='8*  : :?H           U1;   H;IEBL;7BB?D<;H;D9;I<HECJ>;

;L?:;D9;7D:?IIK;IE<9H;:?8?B?JO?D<7LEHE<J>;L;H:?9J V U4.5>;J7IAE<9>EEI?D=7CED=

9ECF;J?D= F;HC?II?8B;?D<;H;D9;I?I<EHJ>;4@KHO5 DEJ<EHJ>;H;L?;M?D=9EKHJ V"4/:+* :':+9<

)+835::  : :?H            'EH;EL;H J>;EKHJCKIJ7D7BOP;J>;F?;9;IE<

;L?:;D9;UDEJ?D?IEB7J?ED8KJ?D9ED@KD9J?ED V"4/:+* :':+9<'::.+=9   : 

:?H  7D:7FFBOJ>;IK<<?9?;D9OJ;IJUJEJ>;JEJ7B?JOE<J>;=EL;HDC;DJXI97I;7D:DEJJE

;79>;B;C;DJ 7I;79><79JC7O=7?D9EBEH<HECEJ>;HI V;'*'-4'  :7J  ++'295

"4/:+* :':+9<+?+9   : :?H           U415;9EDI?:;HJ>;;L?:;D9;7I7

M>EB; V 

          .>;9H;:?8?B?JOE<7J;IJ?<O?D=M?JD;II?IF7HJ?9KB7HBOM?J>?DJ>;FHEL?D9;E<J>;@KHO DEJ7

H;L?;M?D=9EKHJ  ++"4/:+* :':+9<D54458   : :?H  U#J?IJ>;

FHEL?D9;E<J>;@KHO7D:DEJE<J>;9EKHJJE:;J;HC?D;M>;J>;H7M?JD;IIM>EC7O>7L;8;;D

?D799KH7J; 9EDJH7:?9JEHO7D:;L;DKDJHKJ><KB?DIEC;H;IF;9JIM7IDED;J>;B;II;DJ?H;BO9H;:?8B;

?DJ>;;II;DJ?7BIE<>?IJ;IJ?CEDO V?DJ;HD7BGKEJ7J?EDC7HAI7D:9?J7J?EDEC?JJ;:  EHJ>;I;

H;7IEDI J>;-;9ED:?H9K?J>7I;CF>7I?P;:J>7JUJ>;FHEF;HFB79;<EH79>7BB;D=;JE7M?JD;IIXI

9H;:?8?B?JO?IW?D9HEII ;N7C?D7J?ED7D:?DIK8I;GK;DJ7H=KC;DJJEJ>;@KHO DEJ?D7D7FF;BB7J;

8H?;< XV"4/:+* :':+9<53'4   : :?H GKEJ?D="4/:+* :':+9<

8/+*3'4  : :?H  #J?I<EHJ>;@KHOJE:;9?:;>EMJ>EI;7H=KC;DJI



                                                    

        Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 16 of 107




8;7HEDUJ>;M;?=>J4?J5I>EKB:799EH:JEJ>;;L?:;D9; V"4/:+* :':+9<!8;3'4  : 

 :?H   

              0'!*/%*)."*-!2-%'

        ,KB;FHEL?:;IJ>7J7U9EKHJC7OL797J;7DO@K:=C;DJ7D:=H7DJ7D;MJH?7B?<J>;

?DJ;H;IJE<@KIJ?9;IEH;GK?H;I V ;: , H?C * 7 .>;,KB;U9ED<;HI8HE7::?I9H;J?EDKFED

7JH?7B9EKHJJEI;J7I?:;7@KHOL;H:?9J7D:EH:;H7D;MJH?7BJE7L;HJ7F;H9;?L;:C?I97HH?7=;E<

@KIJ?9; V ++"4/:+* :':+9< '4).+@  :  :?H  #D;N;H9?I?D=?JI

:?I9H;J?ED >EM;L;H J>;9EKHJCKIJ8;97H;<KBDEJJEM>EBBOKIKHFJ>;HEB;E<J>;@KHO 7D:I>EKB:

:;<;HJEJ>;@KHOXI7II;IIC;DJE<M?JD;II;I7D:H;IEBKJ?EDE<9ED<B?9J?D=;L?:;D9;KDB;II

U;N9;FJ?ED7B9?H9KCIJ7D9;I97D8;:;CEDIJH7J;: V*7J /BJ?C7J;BO J>;9EKHJCKIJ

:;9?:;UM>;J>;HB;JJ?D=7=K?BJOL;H:?9JIJ7D:MEKB:8;7C7D?<;IJ?D@KIJ?9; V ++"4/:+* :':+9

<+8-;954  : :?H        .>;9EKHJI>EKB:U;N7C?D;J>;;DJ?H;97I; J7A;

?DJE799EKDJ7BB<79JI7D:9?H9KCIJ7D9;I 7D:C7A;7DE8@;9J?L;;L7BK7J?ED V* <J;H:E?D=IE 

U4J5>;H;CKIJ8;7H;7B9ED9;HDJ>7J7D?DDE9;DJF;HIEDC7O>7L;8;;D9EDL?9J;:V?DEH:;HJE

=H7DJJ>;CEJ?ED  '4).+@  :7J .>;9EKHJXI,KB;7KJ>EH?JOI>EKB:8;KI;:

UIF7H?D=BOV7D:EDBOU?DJ>;CEIJ;NJH7EH:?D7HO9?H9KCIJ7D9;I V+8-;954  :7J

9?J7J?EDEC?JJ;: 

       #<87I;:EDD;MBO:?I9EL;H;:;L?:;D9; 7,KB;CEJ?EDCKIJ8;<?B;:M?J>?DJ>H;;O;7HI

E<J>;L;H:?9J  ;: , H?C * 8 #<87I;:ED7DOEJ>;H=HEKD:I J>;CEJ?EDCKIJ8;

<?B;:M?J>?D:7OIE<J>;L;H:?9J  ;: , H?C * 8 

   !()5.0'!*/%*)

        #D>?I,KB;CEJ?ED .;C7DCEL;I<EH79GK?JJ7BEDJ>H;;=HEKD:IJ>7JJ>;EKHJ

7D:!EL;HDC;DJ9EDIJHK9J?L;BO7C;D:;:J>;#D:?9JC;DJJ>;H;M7I?DIK<<?9?;DJ;L?:;D9;J>7J



                                                  

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 17 of 107




.;C7DC7:;C7J;H?7BC?IH;FH;I;DJ7J?EDIJEJ>;<?D7D9?7B?DIJ?JKJ?EDIEH>7:?DJ;DJJE:;<H7K:

7D:J>;H;M7I?DIK<<?9?;DJ;L?:;D9;E<L;DK; .>;EKHJ7::H;II;I;79>?DJKHD 

                 *)./-0/%1!(!) (!)/

                      !-/%)!)/ &#-*0) 

          .>;#D:?9JC;DJ9>7H=;:.;C7DM?J>JME9EKDJIE<87DA<H7K:7D:JME9EKDJIE<M?H;

<H7K:  ++-RRS .>;UJEM?JV9B7KI;I<EH;79>E<J>;I;9EKDJIIJ7J;: /4:+8'2/' J>7J.;C7D

>7:U:;FEI?J;:9EKDJ;H<;?J9>;9AI V ++/*

          )D$7DK7HO   8;<EH;JH?7B .;C7D=7L;DEJ?9;JEJ>;!EL;HDC;DJJ>7J>;FB7DD;:JE

97BB7D;NF;HJ $ ;D@7C?D7L?I  ++AJ  U.;C7DNF;HJ(EJ?9;V 7L?IXI7DJ?9?F7J;:

J;IJ?CEDO M>?9>B7H=;BO9ED9;HD;:J>;9ED9;FJE<H;CEJ;BO9H;7J;:9>;9AI ?I:;J7?B;:/4,8' 

    ++/4,8'F  ,;B;L7DJ>;H; .;C7DIJ7J;:J>7J7L?IXIJH?7BJ;IJ?CEDOMEKB:?D9BK:;J>?I

:;<?D?J?EDE<7U9EKDJ;H<;?JV9>;9AU9EKDJ;H<;?J9>;9A?I79>;9A?DM>?9>7BBJ>;<;7JKH;I

>7L;8;;D<78H?97J;:/+ ?J?IDEJ<HEC9>;9AIJE9AJ>7JEH?=?D7BBO8;BED=;:JEJ>;799EKDJ

>EB:;H ?D9BK:?D=J>;I?=D7JKH;E<7D7KJ>EH?P;:I?=D;HEDJ>;799EKDJ V.;C7DNF;HJ(EJ?9;

                                   

   BJ>EK=>.;C7D7H=K;IJ>7J79EDIJHK9J?L;7C;D:C;DJMEKB:M7HH7DJ;DJHOE<7@K:=C;DJE<
79GK?JJ7BKD:;H,KB; J>;H;C;:O<EHIK9>7D;HHEH?IJOF?97BBO7D;MJH?7B  ++"4/:+* :':+9
<85=4 (E  H &-  1&   7JD -  ( 3 )9J   DEJ?D=
:;<;D:7DJXIH;9E=D?J?EDJ>7JUJ>;H;C;:O<EH79EDIJHK9J?L;7C;D:C;DJ?I7D;MJH?7BDEJ7
@K:=C;DJE<79GK?JJ7BV9++'295"4/:+* :':+9</29:+/4   : :?H  
<?D:?D=9EDIJHK9J?L;7C;D:C;DJ L797J?D=9EDL?9J?ED 7D:H;C7D:?D=<EHD;MJH?7B"4/:+*
  :':+9<$5@4/'1  :  :?H I7C;"4/:+* :':+9<522/)' 
 : :?H I7C; 


   #J?IDEJ9B;7HJ>;H;?I7DO7KJ>EH?JO<EHJ>?I:;<?D?J?ED M>?9>7FF;7HIJE>7L;8;;D:;L;BEF;:
8O7L?I>?CI;B< #D:;;: J>HEK=>EKJ>?I8H?;<?D=?DJ>?IB?J?=7J?ED .;C7D<7?B;:JEFE?DJJ>;
EKHJJE7DOIJ7JKJEHOEHH;=KB7JEHOFHEL?I?ED7HJ?9KB7J?D=J>?I:;<?D?J?ED .>;:;<;DI;:?:DEJ
9?J;7DO7KJ>EH?JO<EHJ>?I:;<?D?J?EDE<U9EKDJ;H<;?JV?D?JIDEJ?9;JEJ>;!EL;HDC;DJ7IJEJ>;
9EDJ;DJE<7L?IXIFHEFEI;:J;IJ?CEDO ?D?JIIK8C?II?EDIEDJ>;CEJ?EDI/42/3/4+?D9BK:?D=J>;
!EL;HDC;DJXICEJ?EDJEFH;9BK:;7L?IXIJ;IJ?CEDO EH?D?JIFEIJ JH?7BCEJ?EDI .>;9BEI;IJ
.;C7D97C;M7I7H;<;H;D9; ?D>?IFEIJ JH?7B8H?;<?D= JE7:E9KC;DJFKHFEHJ?D=JE9?J;J>;
B;9JHED?9>;9AB;7H?D="EKI;)H=7D?P7J?EDXIHKB;I=EL;HD?D=8H;79>E<M7HH7DJO9B7?C

                                                   

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 18 of 107




7J .;C7DIJ7J;:J>7J7L?IMEKB:<KHJ>;HEF?D;J>7JJ>;9>;9AI7J?IIK;M;H;,I7D:M;H;

DEJU9EKDJ;H<;?JV7I>;:;<?D;:J>7JJ;HC  ++/*7JS9++'295AJ 7J )D$7DK7HO 

  J>;!EL;HDC;DJCEL;:/42/3/4+JEFH;9BK:;7L?IXIJ;IJ?CEDO AJ  M>?9>.;C7D

EFFEI;: AJ  

        )D$7DK7HO   J>;EKHJ=H7DJ;:J>;!EL;HDC;DJXICEJ?ED/42/3/4+7D:;N9BK:;:

7L?IXIJ;IJ?CEDO7IJE,I 8;97KI;?JM7I?D7:C?II?8B;KD:;H ;:;H7B,KB;E<L?:;D9; 

7D:MEKB:?CFHEF;HBO?DL7:;J>;EKHJXIFHEL?D9;  ++'#&.H 7JS8;D9>HKB?D=9++

'295/4,8'FF S ,;B;L7DJJE.;C7DXIFH;I;DJ9B7?CE<9EDIJHK9J?L;7C;D:C;DJM?J>

H;IF;9JJEJ>;7:@;9J?L;U9EKDJ;H<;?JV7IKI;:?DJ>;#D:?9JC;DJXIUJEM?JV9B7KI;I J>;EKHJ ?D

J>;9EKHI;E<?JIHKB?D= IJ7J;:

          HEC8EJ>J>;?D:?9JC;DJ7D:J>;=EL;HDC;DJXI799EKDJ?D?JI<?B?D=I?DJ>?I97I;
        4E<5 ?JI J>;EHO E< B?78?B?JO  ?J I;;CI 9B;7H JE J>; EKHJ J>7J  ?D 9EDJ;NJ  J>; J;HC
        U9EKDJ;H<;?JV?I8;?D=KI;:?DJ>;UJEM?JV9B7KI;I?DJ>;B7OI;DI;JE:;I9H?8;J>;
        <79JE<9>;9AIJ>7JM;H;9H;7J;:M?J>EKJJ>;799EKDJ>EB:;HXI7KJ>EH?P7J?ED #DIE<7H
        7IJ>;9>;9AIFKHFEHJ;:JE>7L;8;;D:H7MD8OJ>;799EKDJ>EB:;HJEJ>;F7O;;I?D
        J>;IKCI?D:?97J;: 8KJ?D<79J>7:DEJ8;;D J>;OM;H;U9EKDJ;H<;?J V.>;H;XIDE
        ?D:?97J?ED?DJ>;?D:?9JC;DJEHEJ>;HM?I; J>7J8OKI;E<J>7J7:@;9J?L; J>;=H7D:
        @KHO?DJ;D:;:IEC;J;9>D?97BC;7D?D=E<9EKDJ;H<;?J?D= IK9>7IJ>;ED;J>7J7L?I
        C7O>7L;?DC?D: ?DM>?9>>;9EDJ;D:IJ>7JB?J;H7BBO;L;HO@EJ7D:J?9AB;E<J>;
        9>;9A CKIJ >7L; 8;;D <78H?97J;: 8O J>; :;<;D:7DJ 8;<EH; ?J C7O 8; 97BB;:
        9EKDJ;H<;?J 

'#&.H 7JS .>;EKHJFHE9;;:;:JE9ED<?HCM?J>J>;!EL;HDC;DJJ>7JJ>;=H7D:@KHO>7:

DEJ8;;DFH;I;DJ;:M?J>7J;9>D?97B:;<?D?J?EDE<U9EKDJ;H<;?J V7I.;C7DIKFFEI;:  ++/*

7JS .>;!EL;HDC;DJH;IFED:;:8OH;FH;I;DJ?D=J>7JJ>;=H7D:@KHO>7:DEJ8;;D=?L;D7

                               
FHE9;II;I7D::;7:B?D;I .>?IIJ7J;IU,KB;9B7?CI7H;<EHI?=D7JKH;?J;CI7D:H;<;HJE7<EH=;:
EH)5;4:+8,+/:9>;9A M>;H;J>;I?=D7JKH;E<J>;:H7M;H?IDEJJ>7JE<J>;9KIJEC;H7D: EHJ>;
9>;9A?I<EH=;:EHEJ>;HM?I;KD7KJ>EH?P;: V ++"4*+89:'4*/4-B;2+ C'4*B;2+ C
$'88'4:?'4*2'/3985)+99+9 ")-;FJ   >JJFI MMM ;99>E EH= MEH:FH;II MF
9EDJ;DJ KFBE7:I ,KB;I1>?J;*7F;H <?D7B   F:<;CF>7I?I7::;: L;DJ>?I:;<?D?J?ED
IK==;IJI 9EDI?IJ;DJM?J>J>;EKHJXI?DIJHK9J?EDIJEJ>;@KHO J>7J7DKD7KJ>EH?P;:9>;9AC7O8;
U9EKDJ;H<;?J V


                                                        

        Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 19 of 107




:;<?D?J?EDE<J>;J;HCU9EKDJ;H<;?J V7D:J>7J ?DIJ;7: J>;J>;EHOFH;I;DJ;:JEJ>;=H7D:@KHO>7:

8;;DED;J>7JKI;:U9EKDJ;H<;?JVU?DJ>;B7OI;DI;7IIEHJE<DED =;DK?D;EHDED 7KJ>EH?P;: V*

7J 

            )D$7DK7HO   .;C7D<?B;:7B;JJ;HCEJ?ED E8@;9J?D=JEJ>;EKHJXIU9>7H=?D=J>;

@KHO?D7M7OJ>7JF;HC?JI?JJE9EDL?9J.;C7DM?J>EKJ<?D:?D=J>7J>;:;FEI?J;:W9EKDJ;H<;?J4X5

9>;9AI VAJ  7J ";7H=K;:J>7J>?I:;FEI?JIE<,IT;L;D?<KD7KJ>EH?P;:8OJ>;

799EKDJ>EB:;HT:?:DEJ?DLEBL;U9EKDJ;H<;?JV9>;9AI *";7H=K;:J>7J7@KHO?DIJHK9J?EDJ>7J

:?:DEJH;GK?H;7<?D:?D=J>7J.;C7D:;FEI?J;:U9EKDJ;H<;?J9>;9AIVMEKB:8;79EDIJHK9J?L;

7C;D:C;DJE<J>;#D:?9JC;DJ 8;97KI;J>;=H7D:@KHO>7:9>7H=;:.;C7DM?J>:;FEI?J?D=

U9EKDJ;H<;?JV9>;9AI DEJ:;FEI?J?D=KD7KJ>EH?P;:9>;9AIEH,I  ++/*7JS 

            JJ>;9>7H=;9ED<;H;D9;J>;I7C;:7O J>;EKHJ:;D?;:.;C7DXI9B7?CE<9EDIJHK9J?L;

7C;D:C;DJ ;NFB7?D?D=J>7JUJ>;=EL;HDC;DJ:?:DEJ:;<?D;W9EKDJ;H<;?JX?DJ>;JEM?J9B7KI;?D

IEC;IF;9?7B?P;: IJOB?P;: J;9>D?97BM7O .>;O>7L;H;FH;I;DJ;:SS9EDI?IJ;DJM?J>J>;9ECCED

I;DI;KI;E<J>;J;HCSSJ>7J9EKDJ;H<;?J?DJ>?I97I;C;7DI9H;7J;:8OJ>;:;<;D:7DJM?J>EKJJ>;

7KJ>EH?P7J?EDE<J>;799EKDJ>EB:;H4 5V.H?7B.H 7JS .>;EKHJ<KHJ>;H9B7H?<?;:J>7J?J

>7::H7<J;:@KHO?DIJHK9J?EDIJEJH79AJ>7JC;7D?D=E<J>;MEH:U9EKDJ;H<;?J V*7J <J;H

J>;!EL;HDC;DJ7=7?D9ED<?HC;:J>7J 8;<EH;J>;=H7D:@KHO ?J>7:KI;:J>;J;HCU9EKDJ;H<;?JV?D

UJ>;B7OI;DI;E<8;?D=?D7KJ>;DJ?9EHDEJ7KJ>EH?P;:VJEJ>;@KHO /*7J J>;EKHJJEB:J>;

:;<;DI;J>7J?<?J8;B?;L;:J>;!EL;HDC;DJM7IC?IH;FH;I;DJ?D=M>7J>7FF;D;:8;<EH;J>;=H7D:

@KHO ?J9EKB:U?DL?J;J>;EKHJJEH;L?;MJ>;=H7D:@KHOJH7DI9H?FJJEJ;IJJ>7JFHEFEI?J?EDV?D7

FEIJ JH?7BCEJ?ED *7J 

           #D9>7H=?D=J>;@KHOED$7DK7HO   J>;EKHJH;7:7BEK:J>;EF;H7J?L;#D:?9JC;DJ

B7D=K7=;<EH;79>9EKDJ ?D9BK:?D=J>;UJEM?JV9B7KI;IIJ7J?D=J>7JU.;C7D:;FEI?J;:9EKDJ;H<;?J



                                                   

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 20 of 107




9>;9AI V*7J SEKDJ)D;/*7J EKDJ.ME/*7J EKDJ.>H;;/*

7J EKDJ EKH .>;EKHJ;NFB7?D;: /4:+8'2/' J>7J 7IJE;79>M?H;7D:87DA<H7K:

9EKDJ J>;I9>;C;M?J>M>?9>.;C7DM7I9>7H=;:;DJ7?B;:9H;7J?D=J>;9>;9AI:H7MDEDJ>;

KIJEC;H799EKDJI7D:J>;DC7A?D=UJ>;<7BI;FH;J;DI;7D:H;FH;I;DJ7J?EDJEJ>;87DAJ>7J>;

>7:J>;799EKDJ>EB:;HIX7KJ>EH?JOJE:;FEI?JJ>;I;9>;9AI V*7J EKDJ)D;9++'295/*

7J EKDJ.ME/*7J EKDJ.>H;;/*7J SEKDJ EKH .>;EKHJ

?DIJHK9J;:J>;@KHOEDJ>;79J7D:?DJ;DJ;B;C;DJIE<87DA7D:M?H;<H7K:9EDI?IJ;DJM?J>J>?I

J>;EHO *7J S87DA<H7K:/*7J SM?H;<H7K: .>;EKHJ<KHJ>;H?DIJHK9J;:

J>;@KHOJ>7J JE<?D:.;C7D=K?BJOE<;79>9EKDJ J>;!EL;HDC;DJ>7:JEIE;IJ78B?I>;79>

;B;C;DJE<;79>9H?C;8;OED:7H;7IED78B;:EK8J *7J   S 

      )DFH?B   .;C7D<?B;:7FEIJ JH?7BCEJ?EDJE:?I9BEI;J>;=H7D:@KHOJH7DI9H?FJI

KD:;H,KB;I;?7D:??JE:;J;HC?D;M>;J>;HJ>;!EL;HDC;DJ>7:FHE9;;:;:8;<EH;

J>;=H7D:@KHOED7:;<?D?J?EDE<J>;J;HCU9EKDJ;H<;?JV?D9EDI?IJ;DJM?J>J>;ED;FKHIK;:7JJH?7B 

.;C7D!$&JH 7J )DFH?B   J>;!EL;HDC;DJEFFEI;:J>7JH;GK;IJ 7H=K?D=J>7J

.;C7D>7:DEJI>EMD7F7HJ?9KB7H?P;:D;;:<EHJ>;JH7DI9H?FJI !EL !$&JH 7J )D'7O 

  J>;EKHJEH:;H;:J>;!EL;HDC;DJJEFHE:K9;J>;JH7DI9H?FJI+>6'8:+<EH7D/4)'3+8'

H;L?;M AJ  )D'7O   .;C7D<?B;:7B;JJ;HH;GK;IJ?D=J>7JJ>;EKHJ7BIE:?I9BEI;

J>;JH7DI9H?FJIJE>?C AJ U.;C7D!$&JH V )D'7O   J>;!EL;HDC;DJ

EFFEI;:J>7JH;GK;IJ AJ U!EL !$&JH V 

                    ++'%'!!#'-%)%+'!.

                       '     549:8;):/<+3+4*3+4:

       .E;IJ78B?I>J>;9EDIJHK9J?L;7C;D:C;DJE<7D?D:?9JC;DJ 7:;<;D:7DJUCKIJI>EMJ>7J

J>;JH?7B;L?:;D9;EH@KHO?DIJHK9J?EDIWIE7BJ;H;:7D;II;DJ?7B;B;C;DJE<J>;9>7H=;J>7J KFED

H;L?;M ?J?IKD9;HJ7?DM>;J>;HJ>;:;<;D:7DJM7I9EDL?9J;:E<9ED:K9JJ>7JM7IJ>;IK8@;9JE<J>;

                                                  

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 21 of 107




=H7D:@KHOXI?D:?9JC;DJ XV"4/:+* :':+9<'9:/'4   :  :?H  GKEJ?D=

"4/:+* :':+9</-'9   :  :?H          '))58*"4/:+* :':+9<' 6/4' 

 : :?H         -K9>E99KHIM>;H;J>;;L?:;D9;EH@KHO?DIJHK9J?EDIUEF;H7J;45

JEW8HE7:;DJ>;FEII?8B;87I;I<EH9EDL?9J?ED<HECJ>7JM>?9>7FF;7H;:?DJ>;?D:?9JC;DJ XV

/29:+/4   :7J8H79A;JIEC?JJ;:GKEJ?D="4/:+* :':+9</22+8 / -  

 

          U(EJ;L;HO:?L;H=;D9;<HECJ>;J;HCIE<7D?D:?9JC;DJ >EM;L;H GK7B?<?;I7I7

9EDIJHK9J?L;7C;D:C;DJ V"4/:+* :':+9</9?'491?   :  :?H  GKEJ?D=

'9:/'4   :7J   EH;N7CFB; J>;H;?IDE9EDIJHK9J?L;7C;D:C;DJUM>;H;7=;D;H7BBO

<H7C;:?D:?9JC;DJ;D9ECF7II;IJ>;IF;9?<?9B;=7BJ>;EHOEH;L?:;D9;KI;:7JJH?7B V"4/:+*

    :':+9< '2354+9+  :   :?H        9++'295"4/:+* :':+9<&/4-'85 

 : :?H =;D;H7B?D:?9JC;DJC7OIKFFEHJ9EDL?9J?EDED7BJ;HD7J?L;87I;I 

8KJCEH;IF;9?<?9?D:?9JC;DJ97DDEJ .>7J?I8;97KI;J>;!EL;HDC;DJ?IUF;HC?JJ;:I?=D?<?97DJ

<B;N?8?B?JO?DFHEE<V7JJH?7B 7IBED=7IJ>;:;<;D:7DJ>7I8;;DFHEL?:;:DEJ?9;E<J>;U)58+5,

)8/3/4'2/:?VJ>7J?JM?BB7JJ;CFJJEFHEL;7=7?DIJ>?C '9:/'4   :7J ;CF>7I?I?D

EH?=?D7BGKEJ?D="4/:+* :':+9<D3+2/5  : :?H   

          -K9>7U9EH;E<9H?C?D7B?JO   ?DLEBL;IJ>;;II;D9;E<79H?C; ?D=;D;H7BJ;HCI V8KJ?J

:E;IDEJ?DLEBL;UJ>;F7HJ?9KB7HIE<>EM7:;<;D:7DJ;<<;9J;:J>;9H?C; V"4/:+* :':+9<8599 

(E H $(  1& 7J -  ( 3 )9J   7BJ;H7J?ED?D

EH?=?D7BGKEJ?D="4/:+* :':+9<';-+8*'9  : :?H   ',,D*9;(

453"4/:+* :':+9<+(+*+<  : :?H  9++'295'9:/'4   :7J 

U45?I9H;F7D9?;I?DWJ>;F7HJ?9KB7HIE<>EM7:;<;D:7DJ;<<;9J;:J>;9H?C;X:EDEJ9EDIJHK9J?L;BO

7C;D:J>;?D:?9JC;DJ VGKEJ?D=D3+2/5  :7J .E;IJ78B?I>79EDIJHK9J?L;



                                                    

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 22 of 107




7C;D:C;DJ ?J?IDEJIK<<?9?;DJ<EH7:;<;D:7DJJEUI>EMJ>7JJ>;<79JI:?L;H=;:=H;7JBO<HEC

J>EI;7BB;=;:?DJ>;?D:?9JC;DJV?DIJ;7: >;CKIJI>EMJ>7J>;UM7I9EDL?9J;:<EHW8;>7L?EH

+4:/8+2?9+6'8':+<HECJ>7J?:;DJ?<?;:?DJ>;?D:?9JC;DJ V8599  1& 7J

;CF>7I?I?DEH?=?D7B9?J7J?EDEC?JJ;:9++'295'9:/'4   :7JU9EDIJHK9J?L;

7C;D:C;DJE99KHIM>;H;J>;=EL;HDC;DJ?DJHE:K9;I7W9ECFB;NE<<79JI:?IJ?D9JBO:?<<;H;DJ<HEC

J>7JX9>7H=;:8OJ>;=H7D:@KHO DEJM>;H;?JC;H;BO7C;D:I:;J7?BIF;HJ7?D?D=JE7WI?D=B;I;JE<

:?I9H;J;<79JIXI;J<EHJ>?DJ>;?D:?9JC;DJ VGKEJ?D=D3+2/5  :7J 

          JHEEJ J>;9EDIJ?JKJ?ED7B9ED9;HDM?J>9EDIJHK9J?L;7C;D:C;DJ:;H?L;I<HEC7

:;<;D:7DJXIH?=>JIKD:;HJ>;!H7D:$KHOB7KI;E<J>; ?<J>C;D:C;DJ7D:IF;9?<?97BBO>?IH?=>J

JEFH;F7H;7:;<;DI;7D:7LE?::EK8B;@;EF7H:O  ++'9:/'4   :7J KJU475BJ>EK=>

9EDIJHK9J?L;7C;D:C;DJ?IL?;M;:7I76+89+L?EB7J?EDE<J>;!H7D:$KHOB7KI; IK<<?9?;DJJE

I;9KH;H;B?;<M?J>EKJ7DOI>EM?D=E<FH;@K:?9; 4J>;-;9ED:?H9K?J5>7IFHE9;;:;:97KJ?EKIBO?D

?:;DJ?<O?D=IK9>;HHEH W9EDI?IJ;DJBOF;HC?JJ4?D=5I?=D?<?97DJ<B;N?8?B?JO?DFHEE< FHEL?:;:J>7JJ>;

:;<;D:7DJM7I=?L;D45:/)+E<J>;)58+5,)8/3/4'2/:?JE8;FHEL;D7JJH?7B XV"4/:+* :':+9<

++  :  :?H  ;CF>7I?I?DEH?=?D7BGKEJ?D="4/:+* :':+9<-8'='2 

 : S :?H   

                         (     /9)259;8+5,8'4*;8?!8'49)8/6:9

          U,KB;;E<J>; ;:;H7B,KB;IE<H?C?D7B*HE9;:KH;9E:?<?;IJ>;JH7:?J?ED7BHKB;E<

=H7D:@KHOI;9H;9O V"4/:+* :':+9< +2294-D-4) / -   .>;H;7H; 

>EM;L;H ;N9;FJ?EDIJEJ>?IHKB;E<I;9H;9O ,KB;;?7BBEMI79EKHJJE7KJ>EH?P;

:?I9BEIKH;E<=H7D:@KHOC7J;H?7BIUFH;B?C?D7H?BOJEEH?D9EDD;9J?EDM?J>7@K:?9?7BFHE9;;:?D= V

    ;: , H?C * ;? .>;-;9ED:?H9K?J>7I7FFB?;:J>?IHKB;?D9EDD;9J?EDM?J>7

FEIJ JH?7B,KB;CEJ?ED<EH7D;MJH?7B  ++"4/:+* :':+9<5:+4  : 

:?H  ,KB;;??=H7DJIJ>;9EKHJ7KJ>EH?JOJE:?I9BEI;IK9>C7J;H?7BIU7JJ>;
                                                   

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 23 of 107




H;GK;IJE<7:;<;D:7DJM>EI>EMIJ>7J7=HEKD:C7O;N?IJJE:?IC?IIJ>;?D:?9JC;DJ8;97KI;E<7

C7JJ;HJ>7JE99KHH;:8;<EH;J>;=H7D:@KHO V ;: , H?C * ;?? .E:?IC?II7D

?D:?9JC;DJEDJ>7J87I?I J>;;HHEH?DJ>;=H7D:@KHOFHE9;;:?D=ICKIJ>7L;FH;@K:?9;:J>;

:;<;D:7DJ "4/:+* :':+9<!588+9   :  :?H  9?J?D='415,5<' )5:/'

<"4/:+* :':+9 / -   

       EKHJI9EDI?:;H?D=J>;FEJ;DJ?7B:?I9BEIKH;E<=H7D:@KHOC7J;H?7BI7FFBO787B7D9?D=J;IJ 

48+"4/:+* :':+9,58':+8/'288+9:$'88'4: SS -KFF :SS (E '?I9 &!- 

  1& 7J-  ( 3 $7D     -F;9?<?97BBO J>;OUM;?=>45J>;D;;:<EH

I;9H;9O7=7?DIJJ>;D;;:<EH:?I9BEIKH; V*9++'2955;-2'9/255,'2/,<+:852 :569

58:.=+9: / -   <'0'8':4'3  : :?H    

?I9BEIKH;C7O8;M7HH7DJ;:?<J>;F7HJOI;;A?D=:?I9BEIKH;I>EMIU7F7HJ?9KB7H?P;:D;;:V<EH

J>;=H7D:@KHOC7J;H?7BI  ++"4/:+* :':+9<"2(8/).:  :  :?H   

'(85-':+*545:.+8-85;4*9(?'86+4:+8<"4/:+* :':+9 - J   9++'295 +229

4-D-4) / - 7J;NFB7?D?D=J>7J KD:;H,KB;;? J>;FH;:;9;IIEHJE

;? J>;-KFH;C;EKHJH;GK?H;:7<?D:?D=E<F7HJ?9KB7H?P;:D;;:"4/:+* :':+9<

8*'@'22'8*5   -KFF : -  ( 3          7FFBO?D=F7HJ?9KB7H?P;:D;;:

IJ7D:7H:?D,KB;;?? .>;I>EM?D=H;GK?H;:JE;IJ78B?I>IK9>7D;;:?I

UIK8IJ7DJ?7B V8+*+8/)1<+=%581/:? (E ?L $*)  1&  7J

-  ( 3 )9J   9?J7J?EDEC?JJ;: 

       EKHJI>7L;UIK8IJ7DJ?7B:?I9H;J?EDVM>;D:;J;HC?D?D=M>;J>;HJEEH:;HJ>;H;L?;MEH

H;B;7I;E<=H7D:@KHOJH7DI9H?FJI 5;-2'9/2 / - 7J9++'29548++:/:/545,8'/- 

 :  :?H U4.5>;:?I9H;J?EDE<7JH?7B9EKHJ?D:;9?:?D=M>;J>;HJEC7A;

FK8B?9J>;EH:?D7H?BOI;9H;JFHE9;;:?D=IE<7=H7D:@KHO?DL;IJ?=7J?ED?IED;E<J>;8HE7:;IJ7D:



                                                  

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 24 of 107




CEIJI;DI?J?L;;N;H9?I;IE<97H;<KB@K:=C;DJJ>7J7JH?7B@K:=;97DC7A; V EKHJI?DJ>?I?H9K?J

7H;>;I?J7DJJEEH:;H:?I9BEIKH;E<IK9>JH7DI9H?FJIM?J>EKJ;L?:;D9;E<=EL;HDC;DJC?I9ED:K9J 

    ++!588+9   :7J 1>;H;79EKHJ:;J;HC?D;IJ>7J:?I9BEIKH;?IM7HH7DJ;: ?JUC7O

7KJ>EH?P;J>?I:?I9BEIKH;W7J7J?C; ?D7C7DD;H 7D:IK8@;9JJE7DOEJ>;H9ED:?J?EDIJ>7J?J

:?H;9JI XV"4/:+* :':+9<4-;/+8' (E H "-  1&  7J

1  ( 3 FH   GKEJ?D= ;: , H?C * ; .>;H;IKBJ?D=H;L?;MC7O8;/4

)'3+8'  +++- 8+*+8/)1  1&  7JEH:;H?D=/4)'3+8'H;L?;ME<<KBB=H7D:

@KHOH;9EH: 

                      ++'%/%*)

          .>;EKHJH;@;9JI.;C7DXI9B7?CE<79EDIJHK9J?L;7C;D:C;DJ .>;EKHJ<?HIJ;NFB7?DI

M>OJ>;7FFB?97J?EDE<J>;B;=7BFH?D9?FB;I78EL;JEJ>;#D:?9JC;DJ J>;JH?7BFHEE< 7D:J>;@KHO

?DIJHK9J?EDIH;GK?H;J>?IH;IKBJ .>;EKHJJ>;D;NFB7?DIM>OJ>?I<?D:?D=?I<EHJ?<?;:8OJ>;/4

)'3+8'H;L?;M?J;B;9J;:JEC7A;E<JH7DI9H?FJIE<J>;=H7D:@KHOFHE9;;:?D=I7D:M>O.;C7D?I

DEJ;DJ?JB;:JEH;L?;MJ>EI;JH7DI9H?FJI 

                         '    549:8;):/<+3+4*3+4:

          .;C7D7H=K;IJ>7JJ>;!EL;HDC;DJ J>HEK=>?JIFHEE<7JJH?7B 7D:J>;EKHJ J>HEK=>?JI

@KHO?DIJHK9J?EDI 9EDIJHK9J?L;BO7C;D:;:J>;#D:?9JC;DJ  ++.;C7D';C 7JS.;C7D

,;FBO7JS .;C7DXI7H=KC;DJ?IJ>7JSS?DIE<7H7IJ>;#D:?9JC;DJXIJEM?J9B7KI;I:;I9H?8;:J>;

9>;9AI>;:;FEI?J;:7IU9EKDJ;H<;?JVSSJ>;EKHJM7IE8B?=;:JE9>7H=;J>;@KHOJE<?D:J>7J

.;C7D:;FEI?J;:U9EKDJ;H<;?JV9>;9AI KI?D=J>;:?IJ?D9J7D:J;9>D?97B7B8;?JKDIEKH9;:

:;<?D?J?EDE<7U9EKDJ;H<;?JV9>;9A;C8H79;:8O7L?I .;C7D7H=K;IJ>7J7BJ>EK=>J>;JH?7B

;L?:;D9;F;HC?JJ;:J>;@KHOJE<?D:J>7J>;>7:9H;7J;:7D::;FEI?J;:,IM?J>EKJ9KIJEC;H

7KJ>EH?P7J?ED J>;9>;9AI>;:;FEI?J;:M;H; J;9>D?97BBO DEJU9EKDJ;H<;?JVM?J>?DJ>7J:;<?D?J?ED

E<J>7JJ;HC  ++.;C7D';C 7J D: >;7H=K;I J>;EKHJXI?DIJHK9J?EDI 8ODEJ?DIJHK9J?D=

                                                  

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 25 of 107




J>;@KHOJ>7J?J>7:JE<?D:7:;FEI?JE<U9EKDJ;H<;?JV9>;9AI<7BB?D=M?J>?D>?IJ;9>D?97B:;<?D?J?ED 

;D78B;:J>;@KHOJE9EDL?9J87I;:IEB;BOEDJ>;<?D:?D=J>7J.;C7D>7::;FEI?J;:KD7KJ>EH?P;:

,IM>?B;<;?=D?D=JEJ>;87DAIJ>7J>;>7:IK9>7KJ>EH?P7J?ED  ++/*7J S 

       .>;!EL;HDC;DJ:?IFKJ;IJ>7JJ>;H;M7I79EDIJHK9J?L;7C;D:C;DJ #JDEJ;IJ>7JJ>;

EKHJFHEF;HBO?DIJHK9J;:J>;@KHO7IJEJ>;;B;C;DJIE<J>;9>7H=;:9H?C;I  ++!EL ';C 

7J D: ?J7H=K;I .;C7DM7IEDDEJ?9;J>HEK=>EKJJ>7JJ>;!EL;HDC;DJXIJ>;EHOE<87DA7D:

M?H;<H7K:B?78?B?JO 8;<EH;J>;=H7D:@KHO7D:7JJH?7B M7IJ>7J.;C7D:?:DEJ>7L;9KIJEC;H

7KJ>EH?JOJE9H;7J;EH:;FEI?JJ>;KD7KJ>EH?P;:9>;9AI7D:O;JH;FH;I;DJ;:IK9>7KJ>EH?P7J?EDJE

J>;87DAI *7JS .>;E<<;DI;I?DGK;IJ?ED J>;!EL;HDC;DJ7H=K;I H;GK?H;:?JJEFHEL;

J>7J.;C7DXIKD7KJ>EH?P;::;FEI?JE<9>;9AI>;>7:9H;7J;:EDKIJEC;H799EKDJIM7IF7HJE<7

I9>;C;JE:;<H7K: 8KJ:?:DEJH;GK?H;?JJEI>EMJ>7JJ>EI;9>;9AIC;J7J;9>D?97B:;<?D?J?EDE<

U9EKDJ;H<;?J VB;J7BED;7L?IXI *7JS 

       .;C7DXIDEJ?EDE<79EDIJHK9J?L;7C;D:C;DJ?I;7I?BOFKJ7I?:; #JJKHDIEDJ>;FH;C?I;

J>7JJ>;7:@;9J?L;U9EKDJ;H<;?JV?DJ>;#D:?9JC;DJXIJEM?J9B7KI;I97HH?;:7J;HCE<7HJC;7D?D=

:H7MD<HEC7D7KJ>EH?J7J?L;B;=7BIEKH9;TFH;IKC78BO7IJ7JKJ;EHH;=KB7J?ED 7BJ>EK=>.;C7D

>7IDEJ?:;DJ?<?;:IK9>TKD:;HM>?9>7U9EKDJ;H<;?JV9>;9A?IED;7IJEM>?9>B?J;H7BBO;L;HOF7HJ

>7I8;;D<78H?97J;: .>;#D:?9JC;DJ >;7H=K;I 97DDEJH;<;HC;H;BOJE79>;9AM>EI;9H;7J?ED

7D::;FEI?JM7IKD7KJ>EH?P;:8OJ>;799EKDJ>EB:;H  ++.;C7DNF;HJ(EJ?9;7JFHEFEI?D=

;NF;HJ7L?IXIJ;IJ?CEDOJEJ>?I;<<;9J 

       .;C7DXIFH;C?I;J>7JUJEM?JV9B7KI;IE<J>;#D:?9JC;DJ7:EFJ;:IK9>7:;<?D?J?ED?I 

>EM;L;H 7D/69+*/>/: .>;J;9>D?97B:;<?D?J?ED>;H;9?J;I?IKD9EDD;9J;:JEJ>;87DA7D:M?H;

<H7K:IJ7JKJ;I .>;#D:?9JC;DJ:E;IDEJ?D:?97J;?JI7:EFJ?EDE<7H;=KB7JEHO:;<?D?J?EDE<J>;

J;HCU9EKDJ;H<;?J VD:J>;EKHJXI?DIJHK9J?EDISS7D:J>;JH?7BFHEE<SSM;H;<KBBO9EDI?IJ;DJM?J>



                                                    

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 26 of 107




J>;<7C?B?7HB7OKD:;HIJ7D:?D=E<J>;MEH:U9EKDJ;H<;?J V#D9EDJH7IJJE.;C7DXIDEJ?EDJ>7JJ>;

MEH:U9EKDJ;H<;?JV7IKI;:?DJ>;UJEM?JV9B7KI;9EKB:>7L;97HH?;:EDBO?JIFKHFEHJ;:J;9>D?97B

C;7D?D=7D:9EKB:DEJ>7L;C;7DJUKD7KJ>EH?P;:8OJ>;9KIJEC;H VB79AXI&7M?9J?ED7HO

:;<?D;IJ>;L;H8U9EKDJ;H<;?JVJE;D9ECF7II /4:+8'2/' UFEII;II4?D=5457D?J;CM?J>EKJ

7KJ>EH?P7J?ED7D:M?J>J>;?DJ;DJJE:;9;?L;EH:;<H7K:8OFH;I;DJ?D=J>;?J;C7I=;DK?D; V ++

B79AXI&7M?9J?ED7HOJ>;:  :;<?D?J?EDE<U9EKDJ;H<;?JV -?C?B7HBO B79AXI:;<?D;I

U9EKDJ;H<;?JVM>;DKI;:7I7D7:@;9J?L;7IU4C57:;JEBEEA=;DK?D;?D7D;<<EHJJE:;9;?L;

FHE:K9;:8O<7A;HO ;IF M?J>7D?DJ;DJJE:;<H7K: V*.>;H;?IDEJ>?D=?DJ>;#D:?9JC;DJJ>7J

I?=D?<?;I7D?DJ;DJ?ED8OJ>;!H7D:$KHOJEKI;J>;J;HCU9EKDJ;H<;?JV?D7DOI;DI;EJ>;HJ>7DJ>?I

<7C?B?7HED; 

          .>;!EL;HDC;DJXIFHEE<7D:J>;EHOE<B?78?B?JO7JJH?7B 7D:J>;EKHJXI?DIJHK9J?EDI ?D

JKHD JH79A;:J>?I<7C?B?7HC;7D?D=7D::?:DEJ8HE7:;DJ>;87I;I<EH9EDL?9J?ED8;OED:J>7J

7DDEKD9;:8OJ>;#D:?9JC;DJ7IH;7IED78BOKD:;HIJEE: #D?JI?DIJHK9J?EDI J>;EKHJ;NFB7?D;: 

/4:+8'2/' J>7JJE9EDL?9J.;C7D J>;@KHOM7IH;GK?H;:JE<?D:J>7J>;>7:<7BI;BOH;FH;I;DJ;:JE

87DAIJ>7J>;>7:J>;799EKDJ>EB:;HXI7KJ>EH?JOJE:;FEI?J;79>9>;9A  +++- .H?7B.H 

7J  D:J>;!EL;HDC;DJFH;I;DJ;:;L?:;D9;DEJEDBOJ>7JDED;E<J>;KIJEC;HI>7:

7KJ>EH?P;:.;C7DJE9H;7J;7D::;FEI?JJ>;9>;9AI 9+++- /*7JS S 

1;IJ &&/*7J S';H9;H /*7JS  S$ 8KJJ>7J

>;7BIE7JJ;CFJ;:JEF7IIE<<J>EI;9>;9AIJE87DAI7I9KIJEC;H 7KJ>EH?P;: .>;!EL;HDC;DJ

I>EM;:J>7J <EH;N7CFB; .;C7D<7I>?ED;:J>;9>;9AIIE7IJE9EDJ7?DH;FH;I;DJ7J?EDIEDJ>;C

J>7JJ>;OM;H;:H7MDF;H9EDJH79J7D:J>7JDEI?=D7JKH;M7IH;GK?H;:  ++!2 S  .>;

KIJEC;HI?DJKHD:;D?;:>7L?D=I;;D EH>7L?D=7=H;;:JE .;C7DXIFKHFEHJ;:*7OC;DJ.;HCI 

    +++- /*7JS  S  1;IJ &&/*7JS ';H9;H



                                                   

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 27 of 107




/*7JS  S$ .>;KIJEC;HI7BIE:?IFKJ;:EM?D=.;C7DXI9ECF7DOJ>;

I?P78B;<;;IH;<B;9J;:EDJ>;9>;9AI  +++- /*7J S 1;IJ &&/*

7J ';H9;H/*7J $  KHJ>;H 7FF7H;DJBO?DH;IFEDI;JEJ>;

9>7H=;879AI?CFEI;:8O7DAE<C;H?97?D9EDD;9J?EDM?J>J>;'7H9>9>;9AI .;C7D?D9BK:;:

358+H;FH;I;DJ7J?EDIEDJ>;9>;9AIJE9EDL?D9;J>;87DAIJ>7J>;>7:7KJ>EH?JOJE:;FEI?JJ>;C 

.>;FH?B9>;9AI?D9BK:;:7UDEJ;JE87DAVJ>7JJ>;9>;9AIM;H;L7B?:7D:7IJ7J;C;DJJ>7JJ>;

87DAIM;H;UH;GK?H;:8OB7MVJE>EDEHJ>;C  ++!2 S  .>;FH?B9>;9AI7BIE?D9BK:;:7

B?DAJE!7J;!K7H:XI.;HCI7D:ED:?J?EDI 7IJ7J;C;DJJ>7JJ>;J;HCI>7:8;;DU799;FJ;:8O

78EL;9B?;DJ V7D:7!7J;!K7H:F>ED;DKC8;HJE97BBM?J>GK;IJ?EDI *H7M?D=7BB?D<;H;D9;I

?D<7LEHE<J>;!EL;HDC;DJ .;C7DXI9EDIJHK9JE<J>;9>;9AI M>?9>>;KD?B7J;H7BBO9H;7J;:ED

EJ>;HIX799EKDJI<EHD;=EJ?7J?ED?DJE>?I9EHFEH7J;799EKDJI M7I:;I?=D;:JE:;9;?L;J>;87DAI

?DJE<7BI;BOL?;M?D=J>;9>;9AI7I9KIJEC;H 7KJ>EH?P;:7D:7FFHEFH?7J;<EH:;FEI?J 

       .>;FHEE<H;B7J?D=JE.;C7DXII9>;C; 7D:J>;EKHJXI?DIJHK9J?EDIED?J J>KI;7I?BO

7B?=D;:M?J>J>;<7C?B?7HB7OKD:;HIJ7D:?D=E<J>;J;HCU9EKDJ;H<;?J V)DJ>;<79;E<J>;

#D:?9JC;DJ J>;H;M7IDE9EDIJHK9J?L;7C;D:C;DJ 

       #D7DO;L;DJ ;L;D?<J>;#D:?9JC;DJM;H;J7A;DJEH;<B;9J9;(9/2+4:/5.;C7DXIFHEFEI;:

:;<?D?J?EDE<U9EKDJ;H<;?J VJ>;H;MEKB:IJ?BBDEJ>7L;8;;D79EDIJHK9J?L;7C;D:C;DJ>;H; I

DEJ;: J>;9EDIJHK9J?L;7C;D:C;DJ:E9JH?D;;N?IJIJE7IIKH;J>7JJ>;;II;DJ?7B;B;C;DJIE<7

9>7H=;7I8HEK=>J7H;DEJCE:?<?;: #JJ>;H;8O7IIKH;IJ>7JJ>;:;<;D:7DJ>7IDEJ?9;E<J>;9EH;

E<9H?C?D7B?JO7BB;=;:8OJ>;!EL;HDC;DJ ?IDEJJ7A;D8OIKHFH?I;7JJH?7B 7D:?IDEJFHEI;9KJ;:

B7J;H<EHJ>;I7C;E<<;DI;  ++'9:/'4   :7J KJJ>;9EH;E<9H?C?D7B?JO:E;IDEJ

?D9BK:;UJ>;F7HJ?9KB7HIE<>EM7:;<;D:7DJ;<<;9J;:J>;9H?C; V*GKEJ?D=D3+2/5  :

7J D:J>;-;9ED:?H9K?JU>74I5D;L;HIK==;IJ;:J>7J7WJEM?JX9B7KI;8?D:IJ>;



                                                

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 28 of 107




=EL;HDC;DJJEFHEL;J>;;N79J<79JIIF;9?<?;:?D79H?C?D7B?D:?9JC;DJ V*7J #DIJ;7: ?J

>7IH;F;7J;:BO>;B:UJ>7JJ>;96+)/,/)3+'49KI;:8O7:;<;D:7DJJE;<<;9J>?IEH>;H9H?C;:E;I

DEJ9EDIJ?JKJ;7DW;II;DJ?7B;B;C;DJXE<J>;E<<;DI; 7D:J>;H;<EH; FHEE<E<IF;9?<?9C;7DI7F7HJ

<HECJ>EI;9>7H=;:?DJ>;?D:?9JC;DJ:E;IDEJ9EDIJHK9J?L;BO7C;D:J>;?D:?9JC;DJ VD3+2/5 

 :7J;CF>7I?I?DEH?=?D7B9+++- /*7JS ?DIJHK9J?EDIJ>7J@KHO9EKB:

9EDL?9J:;<;D:7DJE<7JJ;CFJ;:;DJ?9;C;DJE<7C?DEH<EHI;NK7B79J?L?JO?<?J<EKD:>;>7:KI;:

;?J>;H#DJ;HD;JEHJ;B;F>ED;7IC;7DIE<?DJ;HIJ7J;9ECC;H9;TM>;D?D:?9JC;DJXIJEM?J9B7KI;

B?IJ;:EDBOJ>;#DJ;HD;JTM7IDEJ9EDIJHK9J?L;7C;D:C;DJ"4/:+* :':+9<'4/+2954 

 : S :?H =EL;HDC;DJXI;L?:;D9;J>7J7CCKD?J?EDI>;BBITH7J>;H

J>7DJ>;I;L;DHEKD:IE< 97B?8;H7CCKD?J?ED?:;DJ?<?;:?DJ>;?D:?9JC;DJXIJEM?J9B7KI;T>7:

JH7L;B;:?D?DJ;HIJ7J;9ECC;H9;M7IDEJ9EDIJHK9J?L;7C;D:C;DJ 

       "4/:+* :':+9<;68+  ::?H        KI;<KBBO?BBKIJH7J;IJ>?IFH?D9?FB; 

.>;H; J>;=H7D:@KHO?D:?9J;:J>;:;<;D:7DJ<EHM?H;<H7K:  ++/*7J .>;?D:?9JC;DJ

9>7H=;:J>;:;<;D:7DJIM?J>7I9>;C;JE:;<H7K:?DL;IJEHIE<7:L7D9;<;;I KI?D=B7D=K7=;J>7J

=;D;H7BBOJH79A;:J>;M?H;<H7K:IJ7JKJ; <EBBEM;:8O7JEM?J9B7KI;J>7J?:;DJ?<?;:7IF;9?<?9M?H;

<HEC)>?EJE(;M3EHA  ++/*7J D  .>;!EL;HDC;DJ:?:DEJFHEL;KI;E<J>7J

F7HJ?9KB7HM?H;7JJH?7B *7J )D7FF;7B J>;:;<;D:7DJI7BB;=;:J>7JJ>;!EL;HDC;DJXIJH?7B

FHEE<9EDIJHK9J?L;BO7C;D:;:J>;?D:?9JC;DJ 8KJJ>;?H9K?JH;@;9J;:J>7J9B7?C ;NFB7?D?D=J>7J

UJ>;;L?:;D9;7JJH?7B9ED9;HD;:J>;I7C;;B78EH7J;I9>;C;JE:;<H7K:?DL;IJEHI7IM7I:;I9H?8;:

?DJ>;?D:?9JC;DJ V*7J S .>;?D:?9JC;DJ ?J;CF>7I?P;: >7::;I9H?8;:7I9>;C;JE

:;<H7K:?DL;IJEHI7D:?D9BK:;:J>;IJ7HJ?D=7D:;D:?D=:7J;I<EHJ>;I9>;C; 7D:J>?IFKJJ>;

:;<;D:7DJIEDDEJ?9;J>7JJ>;!EL;HDC;DJMEKB:7JJ;CFJJEFHEL;7M?H;<H7K:I9>;C;:KH?D=

J>7JJ?C;F;H?E:7JJH?7B  ++/*7J 



                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 29 of 107




      .>;I7C;?IIE>;H; ;L;D799;FJ?D=.;C7DXIDEJ?EDJ>7JJ>;MEH:U9EKDJ;H<;?JV7IKI;:

?DJ>;JEM?J9B7KI;I97HH?;:J>;J;9>D?97BC;7D?D=>;FH;<;HI .>;#D:?9JC;DJ9>7H=;I.;C7D

M?J>87DA7D:M?H;<H7K:I9>;C;I?D'7H9> 7D:FH?BJ>HEK=>$KD;  M?J>B7D=K7=;

JH79A?D=J>;J;NJE<J>EI;IJ7JKJ;I  ++-RRS .>;JEM?J9B7KI;IE<;79>9EKDJ?:;DJ?<?;:J>;

9ED:K9J7J?IIK;7D:DEJ;:.;C7DXI:;FEI?JE<9EKDJ;H<;?J9>;9AI ?DJ>;D7C;IE<J>;KIJEC;HI 

?DJE7D799EKDJ7J7DAE<C;H?97  ++/*.>7JJ>;EKHJ:?:DEJH;GK?H;J>;@KHOJE<?D:J>7J

.;C7D>7:<78H?97J;:;L;HOI?D=B;9>7H79J;H?IJ?9E<J>;9>;9AI>;:;FEI?J;::?:DEJ

9EDIJHK9J?L;BO7C;D:J>EI;9>7H=;I .>;@KHOXIL;H:?9J =?L;DJ>;EKHJXI?DIJHK9J?EDI7D:J>;

KD:?IFKJ;:FHEE<7JJH?7BJ>7J.;C7DM7IJ>;C7A;HE<J>;9>;9AI D;9;II7H?BO;IJ78B?I>;:J>7J

.;C7D>7:<78H?97J;:J>;9EH;<;7JKH;E<J>;CJ>7JJ>;9KIJEC;H>7:7KJ>EH?P;:J>;9>;9AI ?D

J>;7CEKDJI?D:?97J;: JE8;:H7MDJE.;C7DXI9ECF7DO .>;H;<EH; ;L;D799;FJ?D=.;C7DXI

DEJ?EDJ>7JIEC;EJ>;H<;7JKH;EHF7HJE<J>;9>;9AI>;9H;7J;:M7I?DIEC;I;DI;DEJ

U<78H?97J;: VJ>?I:;L?7J?ED7JCEIJMEKB:>7L;C7HA;:7DED FH;@K:?9?7BL7H?7D9;<HECJ>;

#D:?9JC;DJ *KJ:?<<;H;DJBO J>;#D:?9JC;DJFKJ.;C7DED7CFB;DEJ?9;7IJEJ>;9EH;E<J>;

9H?C;I7BB;=;: D: J>;;L?:;D9;7JJH?7BIKFFEHJ;:J>;9EH;7BB;=7J?EDI?DJ>;#D:?9JC;DJ7D:

B7J;HF7HJ?9KB7HI7IJEJ>;:7J;I 7CEKDJI 7D:F7O;;IE<J>;9>;9AI 7D:J>7JJ>;O>7:8;;D

:H7MDM?J>EKJ9KIJEC;H7KJ>EH?P7J?ED 

       .>?I97I;?IJ>KI7<7H9HO<HECJ>EI;?DM>?9>J>;JH?7B;L?:;D9;7D:@KHO?DIJHK9J?EDI

>7L;8;;D<EKD:JE<E9KIEDU8;>7L?EH+4:/8+2?9+6'8':+<HECJ>7J?:;DJ?<?;:?DJ>;?D:?9JC;DJV

J>7J7<<;9JI7D;II;DJ?7B;B;C;DJE<J>;9H?C; 8599  1& 7J;CF>7I?I?D

EH?=?D7BGKEJ?D='9:/'4   :7J #D$5@4/'1 <EH;N7CFB; J>;?H9K?J9EDI?:;H;:

M>;J>;HJH?7B;L?:;D9;SSM>?9><E9KI;:B7H=;BOEDJ>;:;<;D:7DJXI;9+E<C7H?@K7D7SS7D:J>;

9EKHJXI?DIJHK9J?EDISSM>?9>7BBEM;:9EDL?9J?ED87I;:EDC7H?@K7D7;L?:;D9;SS9EDIJHK9J?L;BO



                                                 

          Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 30 of 107




7C;D:;:J>;B;D=J>O?D:?9JC;DJ  ++$5@4/'1  :7J   D  .>;?D:?9JC;DJXI

D7H9EJ?9I9EKDJ7=7?DIJJ>;:;<;D:7DJ>7:9>7H=;:>?CDEJM?J>7C7H?@K7D7 H;B7J;:9H?C; 8KJ

M?J>9EDIF?H79OJEFEII;IIM?J>?DJ;DJJE:?IJH?8KJ;9E97?D;7D:C;J>7CF>;J7C?D;  ++/*

7J  #D<?D:?D=79EDIJHK9J?L;7C;D:C;DJ J>;?H9K?JDEJ;:J>7JJ>;:;<;D:7DJUM;BBC7O

>7L;8;;DIKHFH?I;:8OJ>;?DJHE:K9J?EDE<;L?:;D9;E<D7H9EJ?9IEJ>;HJ>7DM>7JM7I7BB;=;:?D

J>;?D:?9JC;DJ V?DJ>7JJ>;?D:?9JC;DJ:?:DEJ9EDJ7?D7UI?D=B;I;JE<EF;H7J?L;<79JIV7B;HJ?D=

>?CJEJ>;!EL;HDC;DJXI<E9KIEDC7H?@K7D7;L?:;D9;  ++/*7J U"7:4>;58;;D7M7H;

J>7JJ>;=EL;HDC;DJMEKB:I;;A9EDL?9J?EDCEIJBO87I;:EDC7H?@K7D7;L?:;D9; >;C?=>J>7L;

9>EI;D7:?<<;H;DJJH?7BIJH7J;=O V*7J .>?IM7I;IF;9?7BBOJHK;8;97KI;J>;!EL;HDC;DJ

>7:FKHIK;:I;F7H7J;C7H?@K7D7 9EDIF?H79O?D:?9JC;DJI7=7?DIJJ>;:;<;D:7DJXI9E 9EDIF?H7JEHI 

    ++/*7J 

           ";H; ?D9EDJH7IJ J>;JH?7BFHEE<7D:@KHO?DIJHK9J?EDI:?:DEJ:;F7HJ<HECJ>;I9>;C;7I

7BB;=;:?DJ>;#D:?9JC;DJSS?D9BK:?D=J>;9;DJH7B<79JE<J>;KD7KJ>EH?P;:D7JKH;E<J>;9>;9AISS

7D:J>;EKHJ?DIJHK9J;:J>;@KHO?D<7C?B?7H<EHC7IJEJ>;;B;C;DJIE<J>;E<<;DI;I D:7J7BB

FE?DJIFH?EHJE7D::KH?D=JH?7B J>;!EL;HDC;DJ9EDI?IJ;DJBO7HJ?9KB7J;:?JIJ>;EHOJ>7J.;C7DXI

9H?C;I>7:9EDI?IJ;:E<>?I:;FEI?JE<;4';:.58/@+*9>;9AI EDJ>;<7BI;FH;J;DI;JE87DAIE<

9KIJEC;H7KJ>EH?P7J?ED  +++- AJ R;9ECFB7?DJAJ 7J JH7DI9H?FJE<

)9JE8;H  9ED<;H;D9;AJ 7J JH7DI9H?FJE<(EL;C8;H  9ED<;H;D9;

AJ 7JEFFEI?J?EDJE.;C7DXI;9;C8;HFH;JH?7BCEJ?EDIAJ 7JFHEFEI;:<5/8

*/8+AJ 7JEFFEI?J?EDJE.;C7DCEJ?EDI/42/3/4+AJ 7JSCEJ?ED/42/3/4+JE

FH;9BK:;.;C7DXI;NF;HJ 

           .>;EKHJJ>;H;<EH;:;D?;I.;C7DXICEJ?ED .;C7D>7:IK<<?9?;DJDEJ?9; J>HEK=>J>;

#D:?9JC;DJ7D:?D:;F;D:;DJBO E<J>;;II;D9;E<J>;9H?C;M?J>M>?9>>;M7I9>7H=;: 



                                                     

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 31 of 107




                         (     /9)259;8+5,:.+8'4*;8?!8'49)8/6:9

          #DIKFFEHJE<>?I9EDIJHK9J?L;7C;D:C;DJ7H=KC;DJ .;C7D7H=K;IJ>7J:?I9BEIKH;E<J>;

=H7D:@KHOJH7DI9H?FJIM7IM7HH7DJ;:JE?:;DJ?<OJ>;J>;EHOE<<H7K:FH;I;DJ;:JEJ>;=H7D:@KHO 

    ++.;C7D!$&JH 7J .;C7D7H=K;IJ>7JH;L?;ME<J>;JH7DI9H?FJI>7IFEJ;DJ?7BJEH;IEBL;J>;

F7HJ?;IX:?I7=H;;C;DJ78EKJM>;J>;HJ>;!EL;HDC;DJ ?DFKHIK?D=7D#D:?9JC;DJ9EDJ7?D?D=J>;

KD:;<?D;:J;HCU9EKDJ;H<;?JV?D?JIJEM?J9B7KI;I 7:L7D9;:J>;J>;EHOJ>7JJ>;9>;9AIM;H;

C;H;BOKD7KJ>EH?P;:8OJ>;799EKDJ>EB:;H EHM>;J>;H?JM;DJ8;OED:J>7JJEFKHIK;J>;J>;EHO

J>7JJ>;9>;9AIM;H;?D;L;HOH;IF;9J<78H?97J;:  ++/*";<KHJ>;H7H=K;IJ>7J?J?I?DIK<<?9?;DJ

<EHJ>;EKHJJE9ED:K9J7D/4)'3+8'H;L?;M  ++.;C7D!$&JH 7J .>;JH7DI9H?FJI >;

9EDJ;D:I CKIJ8;I>EMDJE>?CJEE ?D9BK:?D=8;97KI;J>;!EL;HDC;DJ7BB;=;:BOI;F7H7J;BO

;D=7=;:?DC?I9ED:K9J 7IEIJ;DI?8BOH;<B;9J;:?D>?I8'*?CEJ?ED  ++/*9++/4,8'

FF S  

          U.>;;NJ;DJJEM>?9>79EKHJ   C7OBEEA8;OED:J>;B7D=K7=;E<J>;?D:?9JC;DJJE

9EDI?:;HJ>;9EDJ;DJE<J>;=H7D:@KHOFHE9;;:?D=I?IKD9B;7H V"4/:+* :':+9<80;+2' 

  -KFF     ( 3 9EDI?:;H?D=9EDIJHK9J?L;7C;D:C;DJ7H=KC;DJ 

(;L;HJ>;B;II 8;97KI;.;C7D>;H;9EDJ;D:;:J>7JJ>;=H7D:@KHOKI;:J>;KD:;<?D;:J;HC

U9EKDJ;H<;?JV?DJ>;#D:?9JC;DJXIUJEM?JV9B7KI;I?DJ;D:?D=7J;HC E< 7HJC;7D?D= J>;EKHJ ?D

7D;N9;IIE<97KJ?ED EH:;H;:7D/4)'3+8'H;L?;ME<J>;=H7D:@KHOJH7DI9H?FJIJEF;HC?J7

H;B?78B;7II;IIC;DJE<J>?I9B7?C  ++/*<?D:?D=DE9EDIJHK9J?L;7C;D:C;DJ7<J;H9ED:K9J?D=/4

)'3+8'H;L?;M 

          .>?IH;L?;M M>?B;9;HJ7?DBODEJH;GK?H;: M7IDEJ?D9EDI?IJ;DJM?J>,KB;;? 

:;<;D:7DJ:;CEDIJH7J;I7F7HJ?9KB7H?P;:D;;:KD:;H,KB;;?M>;D>;I>EMIJ>7JUJ>;

C7J;H?7B4>;5I;;A4I5?ID;;:;:JE7LE?:7FEII?8B;?D@KIJ?9;?D7DEJ>;H@K:?9?7BFHE9;;:?D= J>7J

J>;D;;:<EH:?I9BEIKH;?I=H;7J;HJ>7DJ>;D;;:<EH9EDJ?DK;:I;9H;9O 7D:J>7J4>?I5H;GK;IJ?I
                                                   

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 32 of 107




IJHK9JKH;:JE9EL;HEDBOC7J;H?7BIED;;:;: V5;-2'9/2 / - 7J ";H; 7BJ>EK=>

.;C7D:?:DEJFKJ<EHM7H:7DOFHEE<E<>?I9B7?C7IJEJ>;J>;EHOE<B?78?B?JO7HJ?9KB7J;:8;<EH;

J>;=H7D:@KHO J>;J>;EHOJ>7JJ>;=H7D:@KHO?DJ;D:;:7IF;9?7B?P;:C;7D?D=E<J>;#D:?9JC;DJ

J;HCU9EKDJ;H<;?JVM7I9;DJH7BJE>?IFEIJ JH?7BCEJ?EDI D:?J>7:J>;FEJ;DJ?7BJE?D<BK;D9;J>;

EKHJXI7II;IIC;DJE<J>EI;CEJ?EDI "7:J>;!EL;HDC;DJSS9EDJH7HOJE?JIH;FH;I;DJ7J?EDIJE

J>;EKHJSSKI;:J>;J;HCU9EKDJ;H<;?JV?D?JIIF;9?7B?P;:I;DI;8;<EH;J>;=H7D:@KHO IK9>MEKB:

>7L;J;D:;:JE<EHJ?<O.;C7DXI9>7BB;D=;?D9EDJH7IJ >7:J>;!EL;HDC;DJDEJ:ED;IE J>;H;

MEKB:DEJ8;;L;D7FB7KI?8B;87I?IJE9B7?C9EDIJHK9J?L;7C;D:C;DJ .>;EKHJ799EH:?D=BO

:;J;HC?D;:J>7J/4)'3+8'?DIF;9J?EDE<J>;=H7D:@KHOC?DKJ;IMEKB:;D78B;79ECFH;>;DI?L;

7II;IIC;DJE<.;C7DXI,KB;7D:FEIJ JH?7BCEJ?EDI7D:<79?B?J7J;7FF;BB7J;H;L?;ME<?JI

HKB?D=EDJ>EI;CEJ?EDI 

       JJ>;I7C;J?C; =?L;DJ>7J.;C7DXIJ>;EHOJ>7JIK9>7D?DIJHK9J?ED>7:8;;D=?L;DJE

J>;=H7D:@KHOM7I;DJ?H;BO7FHE:K9JE<9ED@;9JKH; J>;EKHJ:?:DEJ<?D:7DO@KIJ?<?97J?ED<EH

.;C7DXI8?:JE=7?D799;II<EH>?CI;B<7D:>?I9EKDI;BJEH;L?;MJ>;I;C7J;H?7BI .>;EKHJXI

9EDI?:;H;:7D:<?HC@K:=C;DJM7I 7D:<EBBEM?D=H;L?;M?I J>7J/4)'3+8'H;L?;ME<J>;I;

C7J;H?7BIFHEF;HBO87B7D9;:J>;?DJ;H;IJ?DJ;IJ?D=J>;!EL;HDC;DJXIH;FH;I;DJ7J?ED7IJEJ>;




                               

  .EJ>;;NJ;DJ.;C7D9EDJ;D:IJ>7JJ>;FHEI;9KJ?ED;D=7=;:?DC?I9ED:K9J7IJE?JI8'*?
E8B?=7J?EDI IJH;D=J>;D?D=?JI8?:<EH:;<;DI;799;IIJE=H7D:@KHOC7J;H?7B J>;EKHJ>7IDEJ
<EKD:IK9>C?I9ED:K9J  ++/4,8'FF S  

                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 33 of 107




D7JKH;E<J>;J>;EHOE<B?78?B?JOFKHIK;:8;<EH;J>;=H7D:@KHOM?J>J>;?CFEHJ7DJ?DJ;H;IJ?D

C7?DJ7?D?D==H7D:@KHOI;9H;9O  

        "7L?D=J>EHEK=>BOH;L?;M;:J>;JH7DI9H?FJIE<J>;FHE9;;:?D=I8;<EH;J>;=H7D:@KHO J>;

EKHJ9ED<?HCIJ>7JJ>;!EL;HDC;DJXI97I; 7IFH;I;DJ;:JEJ>;=H7D:@KHO 7J7BBJ?C;IM7I87I;:

EDJ>;I?CFB;7D:9B;7HJ>;EHOE<<H7K:J>7JJ>;!EL;HDC;DJ9EDI?IJ;DJBOFKHIK;:8;<EH;7D:7J

JH?7BJ>7J.;C7D>7:9H;7J;:7D::;FEI?J;:J>;9>;9AI7J?IIK;M?J>EKJ9KIJEC;H7KJ>EH?P7J?ED

7D:FH;I;DJ;:J>;CJEJ>;87DAIEDJ>;<7BI;FH;J;DI;E<IK9>7KJ>EH?P7J?ED .>;!EL;HDC;DJ

:?:DEJFH;I;DJ EH?DIJHK9JJ>;=H7D:@KHO7IJE 7DOJ;9>D?97B:;<?D?J?EDE<J>;J;HCU9EKDJ;H<;?J V

(EH:?:?J?DIJHK9JJ>;=H7D:@KHOJ>7J JEH;JKHD7JHK;8?BB ?JD;;:;:JE<?D:J>7J7BBF7HJIE<J>;

9>;9AIM;H;<78H?97J;: .>;!EL;HDC;DJXIJ>;EHOE<B?78?B?JO7IFKHIK;:7JJH?7B?I9EDI?IJ;DJ

M?J>J>;J>;EHOFH;I;DJ;:JEJ>;=H7D:@KHO #D9EDJH7IJ .;C7DXI8?:JE<H;?=>JJ>;J;HC

U9EKDJ;H<;?JVM?J>>?IFHEFEI;:J;9>D?97BC;7D?D=MEKB:KD@KIJ?<?78BOCE:?<OJ>;#D:?9JC;DJ 

        99EH:?D=BO J>;EKHJ<?D:IJ>7JJ>;=H7D:@KHOJH7DI9H?FJI9ED<?HC?JI>EB:?D=J>7JJ>;H;

M7IDE9EDIJHK9J?L;7C;D:C;DJ .;C7DM7I9EDL?9J;:E<J>;I7C;9H?C;7D:9ED:K9JJ>7JM7I

J>;87I?I<EHJ>;=H7D:@KHOXI#D:?9JC;DJE<>?C 

              0""%%!)4*"/$! 1% !)!*"  

        .;C7DD;NJ7H=K;IJ>7JJ>;;L?:;D9;M7I?DIK<<?9?;DJJE;IJ78B?I>J>;'):;98+;9E<J>;

9H?C;I9>7H=;:SSIF;9?<?97BBO J>7J>;>7:C7:;U<7BI;EH<H7K:KB;DJFH;J;DI;I H;FH;I;DJ7J?EDI EH

FHEC?I;I V7IH;GK?H;:8OJ>;87DA7D:M?H;<H7K:IJ7JKJ;I / -  QQ   ++.;C7D

';C 7JS.;C7D,;FBO7JS  ?HIJ H;BO?D=B7H=;BOED$/22/'39<"4/:+* :':+9 

                                

  #D7::?J?EDJE>?IH;GK;IJJE>7L;J>;=H7D:@KHOC7J;H?7BIH;B;7I;:JE>?C .;C7D7BIE
H;GK;IJ;:J>7JJ>;!EL;HDC;DJ<?B;J>;I;C7J;H?7BIKD:;HI;7B?DEH:;HJE;DIKH;7<KBB7FF;BB7J;
H;9EH:  ++.;C7D!$&JH 7JS .>;!EL;HDC;DJ:E;IDEJEFFEI;J>?IH;GK;IJ !EL !$
&JH 7J .>;EKHJJ>KIEH:;HIJ>;!EL;HDC;DJ JE<?B;KD:;HI;7BJ>;=H7D:@KHOC7J;H?7BIJ>7J?J
FHEL?:;:JEJ>;EKHJ+>6'8:+7IIEED7I?J?IFH79J?97BJE:EIE9EDI?IJ;DJM?J>J>;9KHH;DJFK8B?9
>;7BJ>9H?I?I 
                                                    

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 34 of 107




/ -  7D:"4/:+* :':+9<5*8/-;+@   ::?H  >;7H=K;IJ>7J

J>;:;FEI?JE<J>;9>;9AI:?:DEJ?JI;B<9EDIJ?JKJ;7H;FH;I;DJ7J?EDJEJ>;87DAI .;C7D';C 

7J -;9ED: >;7H=K;IJ>7JJ>;9>;9AI:?:DEJ9EDJ7?D7DOC?IH;FH;I;DJ7J?EDI  ++/*

7JS .>;EKHJ?IKDF;HIK7:;:8OJ>?I7H=KC;DJ 8;97KI;$/22/'397D:5*8/-;+@7H;

?D7FFEI?J; 7D:8;97KI;J>;H;M7IIK<<?9?;DJ;L?:;D9;EDM>?9>7H;7IED78B;@KHO9EKB:<?D:J>7J

J>;9>;9AI7I9KIJEC :;I?=D;:8O.;C7D9EDJ7?D;:<7BI;7D:<H7K:KB;DJH;FH;I;DJ7J?EDI  

       #D$/22/'39 J>;-KFH;C;EKHJ9EDI?:;H;:79>;9AA?J?D=I9>;C; ?DM>?9>J>;

:;<;D:7DJ:;FEI?J;:9>;9AIADEM?D=J>7JJ>;799EKDJIEDM>?9>J>EI;9>;9AIM;H;:H7MD>7:

?DIK<<?9?;DJ<KD:IJE9EL;HJ>;9>;9AI  ++$/22/'39 / - 7J S9++'295/*7JD 

:;I9H?8?D=9>;9AA?J?D=I9>;C;I=;D;H7BBO .>;!EL;HDC;DJ>7:9>7H=;:J>?II9>;C;KD:;H

/ -  Q  M>?9>9H?C?D7B?P;IADEM?D=BOC7A?D=7<7BI;IJ7J;C;DJJE?D<BK;D9;7

<;:;H7BBO?DIKH;:<?D7D9?7B?DIJ?JKJ?ED  ++/*7J .>;!EL;HDC;DJXIJ>;EHOM7IJ>7JJ>;


                                 

  .;C7DXI7H=KC;DJJEJ>;;<<;9JJ>7JJ>;9>;9AIM;H;DEJH;FH;I;DJ7J?EDI7D::?:9EDJ7?D<7BI;
EH<H7K:KB;DJH;FH;I;DJ7J?EDI:E;IDEJ ?D7DO;L;DJ =H7FFB;M?J>J>;9ECFB;J;J;NJE<J>;87DA
<H7K:IJ7JKJ;7I9>7H=;: .>;#D:?9JC;DJ9>7H=;:L?EB7J?EDIE< 7D:J>;EKHJ?DIJHK9J;:J>;@KHO
7IJE 8EJ>Q M>?9>9H?C?D7B?P;I7I9>;C;JE:;<H7K:7<?D7D9?7B?DIJ?JKJ?ED 7D:
Q M>?9>9H?C?D7B?P;I7I9>;C;JEE8J7?DCED;OEHFHEF;HJOKD:;HJ>;9KIJE:OEH9EDJHEB
E<7<?D7D9?7B?DIJ?JKJ?ED KI?D=<7BI;H;FH;I;DJ7J?EDI FH;J;DI;I EHFHEC?I;I / -  
QS U4*5HEE<J>7JJ>;:;<;D:7DJL?EB7J;:;?J>;HIK8I;9J?ED?IIK<<?9?;DJJEIKFFEHJ7
9EDL?9J?EDKD:;HJ>;487DA<H7K:59J V"4/:+* :':+9<D544+22   : 
IJ?H  9?J?D=5;-.8/4<"4/:+* :':+9 / -  S  #J?IEDBOKD:;H
QJ>7JJ>;!EL;HDC;DJXIFHEE<CKIJ;IJ78B?I>7DO79J?ED78B;<7BI;H;FH;I;DJ7J?ED 
FH;J;DI; EHFHEC?I;  ++"4/:+* :':+9<'-59:'   :   :?H 
),"4/:+* :':+9<.'4*2+8  : :?H <?D:?D=9EKHJ;HH;:M>;D?J
?DIJHK9J;:@KHOJ>7J?J9EKB:EDBO9EDL?9JJ>;:;<;D:7DJ 9>7H=;:M?J>87DA<H7K:KD:;HQ
7D: ?<?J<EKD:J>7JI>;>7:L?EB7J;:8EJ>IK8I;9J?EDI .;C7DXI7H=KC;DJ >EM;L;H ?I
7::H;II;:EDBOJEQ>;?=DEH;IQ ;97KI;J>;EKHJ<?D:IJ>;;L?:;D9;
IK<<?9?;DJJE;IJ78B?I><7BI;7D:<H7K:KB;DJH;FH;I;DJ7J?EDIKD:;HQ ?J>7IDEE997I?EDJE
9EDI?:;HM>;J>;HJ>;FHEE<;IJ78B?I>;:7I9>;C;JE:;<H7K:?DL?EB7J?EDE<Q (EH =?L;D
J>;;N?IJ;D9;E<<7BI;7D:<H7K:KB;DJH;FH;I;DJ7J?EDI>;H; D;;:J>;EKHJ9EDI?:;HM>;J>;H >7:
J>;H;DEJ8;;DIK9>H;FH;I;DJ7J?EDI .;C7DXI9ED:K9J9EKB:D;L;HJ>;B;II>7L;9EDIJ?JKJ;:7
I9>;C;JE:;<H7K:KD:;HJ>;M?H;<H7K:IJ7JKJ; M>?9> B?A;J>;87DA<H7K:IJ7JKJ; ?I<EHCKB7J;:
?DJ>;:?I@KD9J?L; 
                                                

          Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 35 of 107




:;FEI?JE<IK9>9>;9AIM7I?JI;B<7H;FH;I;DJ7J?EDJ>7JJ>;:H7M;HXI799EKDJ>7:IK<<?9?;DJ<KD:I 

    ++/*7JS .>;EKHJH;@;9J;:J>7JJ>;EHO >EB:?D=J>7J7:;FEI?J7BED;?IDEJ7U<7BI;

IJ7J;C;DJ V8;97KI;UJ;9>D?97BBOIF;7A?D= 79>;9A?IDEJ7<79JK7B7II;HJ?ED7J7BB 7D:J>;H;<EH;

97DDEJ8;9>7H79J;H?P;:7IWJHK;XEHW<7BI; XV*7J .>;EKHJDEJ;:J>7JJ>;!EL;HDC;DJXI

J>;EHO 8OC7A?D=7DO:;FEI?JE<79>;9AIKFFEHJ;:8O?DIK<<?9?;DJ<KD:I7FEJ;DJ?7B87I?I<EH

FHEI;9KJ?EDKD:;HQ  9EKB:UC7A;7IKHFH?I?D=BO8HE7:H7D=;E<KDH;C7HA78B;9ED:K9J7

L?EB7J?EDE<<;:;H7BB7M V*7J 

          #D <EBBEM?D=$/22/'39 ED=H;II;D79J;:Q #D5*8/-;+@ J>;-;9ED:?H9K?J

7::H;II;:787DA<H7K:I9>;C; FHEI;9KJ;:KD:;H/ -  Q7D: 5*8/-;+@ 

  :7JD  IF7HJE<J>7JI9>;C; J>;:;<;D:7DJI B9E9A7D:,E:H?=K;P IK8C?JJ;:

F>EDO?DLE?9;IJEJ>;9ECF7DOJ>7J;CFBEO;:B9E9A  ++/*7J )DJ>;87I?IE<J>;I;

?DLE?9;I J>;9ECF7DO?IIK;:9>;9AIJE,E:H?=K;P  ++/*79>9>;9A?D9BK:;:J>;7KJ>EH?P;:

I?=D7JKH;E<J>;9ECF7DOXI7II?IJ7DJJH;7IKH;H *,E:H?=K;PJ>;D;D:EHI;:J>EI;9>;9AI7D:

:;FEI?J;:J>;C?DJE>;H87DA799EKDJI *9++'295/*7J .>;-;9ED:?H9K?J 9?J?D=

$/22/'39 IJ7J;:J>7JU4759EKHI;E<9ED:K9J9EDI?IJ?D=E<I?CFBO:;FEI?J?D=9>;9AI?DJE787DA

799EKDJM>;H;J>;:;FEI?JEHADEMIJ>7J>; I>;?IDEJ;DJ?JB;:JE<KD:I:E;IDEJ7BED;9EDIJ?JKJ;

<7BI;EH<H7K:KB;DJFH;J;DI;IEHH;FH;I;DJ7J?EDI V*7J 1>?B;7<7BI;H;FH;I;DJ7J?ED>7:

8;;DC7:;JEJ>;;CFBEO;H DED;>7:8;;DC7:;JEJ>;87DA 99EH:?D=BO J>;?H9K?J>;B:J>7J

,E:H?=K;PXI:;FEI?JE<J>;9ECF7DOXII?=D;:9>;9AI ;L;D?<J>;9>;9AIJ>;CI;BL;I>7:8;;DJ>;

FHE:K9JE<<H7K::?H;9J;:7JJ>;9ECF7DO M;H;?DIK<<?9?;DJJE;IJ78B?I>87DA<H7K:  ++/*




                             

 .>;?H9K?J?D5*8/-;+@U>7:DEE997I?EDJE:?IJ?D=K?I>8;JM;;DQ7D:Q V
"4/:+* :':+9<+:'>'9 SS -KFF :SS (EI H  ?L  ' 
  1& 7J  ( 3 '7H     
                                                    

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 36 of 107




          $/22/'397D:5*8/-;+@7H;?D7FFEI?J;>;H; D:9EKHJI9EDI?:;H?D=9B7?CIB?A;.;C7DXI

>7L;H;F;7J;:BO;CF>7I?P;:J>;D7HHEMD;IIE<8EJ>>EB:?D=I  +++- "4/:+* :':+9<'20/+ 

 :  :?H U#DIKC M;HKB;:?D5*8/-;+@J>7JM>;H;J>;H;7H;WDEEJ>;H

<79JI;L?D9?D=7D?DJ;DJJEL?9J?C?P;J>;<?D7D9?7B?DIJ?JKJ?ED XJ>;:;FEI?JE<<79?7BBOFHEF;H

9>;9AI M>?9>>7:DE7BJ;H7J?EDI7D:8EH;J>;7KJ>;DJ?9I?=D7JKH;E<7F;HIEDM>E>7:7KJ>EH?JO

JEI?=D 7D:M>?9>J>;87DAH;9;?L;:7I7>EB:;H?D:K;9EKHI; :?:DEJ8;9EC;87DA<H7K:M?J>?D

J>;C;7D?D=E<QC;H;BO8OH;7IEDE<J>;:;<;D:7DJF7O;;XIFHE9KH;C;DJE<J>;9>;9AI

<HEC?JIC7A;H8OH;7IEDE<<H7K: V"4/:+* :':+9<58*  : J>?H 

U415;7H;DEJ7BED;7CED=J>;<;:;H7B9?H9K?JI?D7FFBO?D=$/22/'39D7HHEMBOJEJ>;I?CFB;

FH;I;DJ7J?EDE<79>;9A:H7MDED7D799EKDJM?J>?DIK<<?9?;DJ<KD:I4 5V?DJ;HD7BGKEJ7J?EDC7HAI

7D:9?J7J?EDEC?JJ;:9EBB;9J?D=97I;I"4/:+* :':+9<'2)54+  : 

J>?H U'EIJ9EKHJI   >7L;:;9B?D;:JEH;7:$/22/'398HE7:BOJEH;GK?H;J>;H;L;HI7B

E<9EDL?9J?EDI?DI?JK7J?EDIEJ>;HJ>7DJ>EI;?DLEBL?D=?DIK<<?9?;DJ <KD:I9>;9AI V .>;I9>;C;

;IJ78B?I>;:>;H;M;DJ<7H8;OED:J>;U87H;V:;FEI?JE<9>;9AIKDIKFFEHJ;:8OIK<<?9?;DJ<KD:I7J

?IIK;?D$/22/'39 9++"4/:+* :':+9<;84+::   : :?H  7D:M7II?C?B7HBO7

<7H9HO<HECJ>;:;FEI?JE<<79?7BBOFHEF;H7D:799EKDJ>EB:;H 7KJ>EH?P;:7D:I?=D;:9>;9AI7J

?IIK;?D5*8/-;+@9++'20/+  :7J 

          .>;;L?:;D9;7JJH?7B?DIJ;7:7CFBO;IJ78B?I>;:7I9>;C;M;BBM?J>?DJ>;>;7HJB7D:E<

J>;I;JME7DJ? <H7K:IJ7JKJ;I #J?DLEBL;:C?IB;7:?D=9ED:K9JSS<7H8;OED:J>;:;FEI?JE<J>;

9>;9AISS:;I?=D;:JEC?IB;7:J>;:;FEI?J7HO7D::H7M;;87DAIJ>7JJ>;KIJEC;HI>7:7KJ>EH?P;:

.;C7DJE9H;7J; D;=EJ?7J; 7D::;FEI?JJ>;9>;9AI:H7MDKFEDJ>;?H799EKDJI  +++- "4/:+*

    :':+9<58-+49:+84  :  :?H <?D:?D=$/22/'39?D7FFEI?J;7D:

<?D:?D=IK<<?9?;DJ;L?:;D9;JE;IJ78B?I>87DA<H7K: M>;H; 7JFE?DJE<:;FEI?J J>;:;<;D:7DJ 7D



                                                  

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 37 of 107




799EKDJ7DJ H;F;7J;:BOC?D=B;:J>;:;FEI?JE<B;=?J?C7J;7D:<78H?97J;:9>;9AI:H7MDED>?I

9B?;DJIX799EKDJIIE7I9H;7J;J>;<7BI;?CFH;II?EDJ>7JJ>;9B?;DJI>7:7KJ>EH?P;:J>;9H;7J?ED7D:

:;FEI?JE<7BB9>;9AI9++'295"4/:+* :':+9<+0'* (E H $(  1&  

7J-  ( 3 ;9   U45D?D:?9JC;DJC7OIK<<?9?;DJBO7BB;=;7L?EB7J?EDE<-;9J?ED

M>;H;J>;9>;9AEHM?H;JH7DI<;HEH:;H?I799ECF7D?;:8O7::?J?ED7B9?H9KCIJ7D9;I<HEC

M>?9>7D?CFB?;:C?IH;FH;I;DJ7J?EDC7O7H?I; V;CF>7I?IEC?JJ;:EKHJI?D<79J>7L;

H;F;7J;:BOKF>;B:87DA7D:M?H;<H7K:9EDL?9J?EDIM>;H;J>;;L?:;D9;7JJH?7B;IJ78B?I>;:

C?IH;FH;I;DJ7J?EDI8;OED:J>;:;FEI?J?JI;B< ";H; I?C?B7HBO J>;;L?:;D9;;IJ78B?I>;:

EL;HM>;BC?D=BOJ>7J.;C7D>7:C7:;C?IH;FH;I;DJ7J?EDIEDJ>;<79;E<J>;9>;9AIJE?D:K9;J>;

87DAIJE799;FJJ>;C7I9KIJEC;H 7KJ>EH?P;: 7FE?DJJ>;KIJEC;HI7BB:;D?;:  EHJ>?IH;7IED 

.;C7DXI;B78EH7J;I9>;C;<7H;N9;;:IJ>;UKDH;C7HA78B;V79JE<C;H;BO:;FEI?J?D=79>;9AJ>7J

?DIF?H;:J>;-KFH;C;EKHJXI9ED9;HD?D$/22/'3978EKJEL;H 9H?C?D7B?P7J?ED 

         ?HIJ J>;9>;9AIJ>;CI;BL;I9EDJ7?D;:C7J;H?7BC?IH;FH;I;DJ7J?EDI )D;79>E<J>;

9>;9AIJ>7J>;FH;F7H;: .;C7D?D9BK:;:J>;DEJ7J?EDJ>7JJ>;9>;9A>7:8;;DU:H7MDF;H

9EDJH79J V ++!2 S  .>;U9EDJH79JVJ>7JFKHFEHJ;:BO=7L;>?CIK9>7KJ>EH?JOM7IJ>;



                                 

   +++- 22/5::<"4/:+* :':+9  : J>?H  U.>;H;?I7<KD:7C;DJ7B
:?<<;H;D9;   8;JM;;D9>;9AI:H7MDED7D799EKDJ9EDJ7?D?D=?DIK<<?9?;DJ<KD:I EDJ>;ED;
>7D: 7D:7<<?HC7J?L;C?IH;FH;I;DJ7J?EDIC7:;EDJ>;9>;9A?JI;B< EDJ>;EJ>;H V"4/:+* :':+9
<8/--9  : J>?H UQ7MEKB:;D9ECF7II7M?H;JH7DI<;H
EH:;H9EDJ7?D?D=7D79JK7BC?IH;FH;I;DJ7J?ED; = 7<7BI;H;9?J7J?EDE<J>;7KJ>EH?JO<EH?JI
?IIK7D9; V;CF>7I?IEC?JJ;:'2)54+  :7JU$/22/'39:E;IDEJ=EL;HD7
I?JK7J?ED?DM>?9>IEC;?D<EHC7J?EDEDJ>;9>;9A   ?I?JI;B<7<7BI;IJ7J;C;DJ EH?DM>?9>J>;
C7A;HE<7D?DIK<<?9?;DJ <KD:I9>;9A;D=7=;I?D8;>7L?EH EJ>;HJ>7DJ>;I?CFB;FH;I;DJ7J?EDE<
J>;9>;9A J>7J9EDIJ?JKJ;I7<7BI;H;FH;I;DJ7J?ED V?DJ;HD7B9?J7J?EDIEC?JJ;:"4/:+* :':+9<
$58:./4-:54  : :?H <?D:?D=J>7JUJ>;H7J?ED7B;E<$/22/'39SSJ>7J
:H7M?D=79>;9AKDIKFFEHJ;:8OIK<<?9?;DJ<KD:I?ID;?J>;H7IJ7J;C;DJDEHJ>;JOF;E<9ED:K9J
ED=H;II?DJ;D:;:JE9H?C?D7B?P;SS?II?CFBO?D7FFB?978B;VM>;H;9>;9A9EDJ7?D;:D7C;E<
<?9J?J?EKI:H7M;;87DA 

                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 38 of 107




*7OC;DJ.;HCI  ++!2 I9H;;DI>EJE<*7OC;DJ.;HCII;DJ<HEC.;C7DJE,;?D?JP 

@KHO >EM;L;H 9EKB:H;7IED78BO<?D:J>7JJ>;*7OC;DJ.;HCI:?:DEJ7KJ>EH?P;.;C7DJE9H;7J;

IK9>9>;9AI .>;KIJEC;HIJ;IJ?<?;:J>7JJ>;O>7:D;L;HI;;D :?I9KII;:M?J>.;C7D EH

;NFB?9?JBO7FFHEL;:IK9>J;HCI  +++- .H?7B.H 7JS  S  1;IJ

 &&/*7JS ';H9;H/*7JS  S$ D:J>;H;M7IDE

;L?:;D9;J>7JJ>;I;J;HCIM;H;;L;D?DFB79;7JJ>;J?C;J>;KIJEC;HI>7:9EDJH79J;:M?J>

.;C7D .>;J>H;;?D:;F;D:;DJI;JIE<KIJEC;HI ?DJ>;?HJ;IJ?CEDO H;F;7J;:BOH;<KJ;:.;C7DXI

7KJ>EH?JOJE9H;7J;7D::;FEI?JJ>;9>;9AI  +++- /*7JS S 1;IJ 

&&/*7J S';H9;H/*7JS  S$ 

         KHJ>;H ;L;D?<.;C7D>7:>7:J>;7KJ>EH?JOJE:H7M9>;9AIEDKIJEC;H799EKDJIJE

F7O7KJ>;DJ?9KIJEC;H:;8JIJE>?C J>;;L?:;D9;F;HC?JJ;:7@KHOJE<?D:J>7JJ>;KIJEC;HI

:?:DEJEM;J>;IKCI?DGK;IJ?EDJE.;C7DXI9ECF7DO .>;;L?:;D9;I>EM;:J>7J.;C7D>7:

?D9BK:;:7:;I9H?FJ?EDE<J>;FKHFEI;E<J>;9>;9A?D;79>9>;9AXIC;CEB?D; .>;I;

:;I9H?FJ?EDI?D9BK:;:U:;L?9;H;CEL7B<;; VU9>7H=;879A<;; VU7JJEHD;OKI;<;; V7D:

U9EBB;9J?EDI<;; V ++!2 S  @KHOM7I;DJ?JB;:JEH;=7H:J>;I;IJ7J;C;DJI M>?9>J;D:;:

JEIK==;IJJ>;;N?IJ;D9;E<78ED7<?:;9KIJEC;H:;8JJ>7JJ>;9>;9AM7I8;?D=KI;:JEF7O 7I

<7BI;7D:C?IB;7:?D= 79>KIJEC;H7JJH?7B:?IFKJ;:EM?D=J>;<;;I?DGK;IJ?ED M>?9><7H

EKJIJH?FF;:J>;IKCIJ>;KIJEC;H>7:EJ>;HM?I;F7?:.;C7DXI9ECF7DO<EHJ>;:;L?9;I  ++

+- /*7J S 1;IJ &&/*7J   ';H9;H/*7J

  S $ D:J>;;L?:;D9;9EHHE8EH7J;:J>;KIJEC;HIEDJ>?IFE?DJ 



                              

  )DJ>;FH?B9>;9AI .;C7D?D9BK:;:7B?DAJEJ>;.;HCI7D:ED:?J?EDI .>;.;HCI7D:
ED:?J?EDI:?:DEJJ>;CI;BL;IIJ7J;J>7J.;C7D>7:J>;7KJ>EH?JOJEC7A;IK9>M?J>:H7M7BI 8KJ
?DIJ;7:?D9BK:;:M?J>?DJ>;C7B?DAJEJ>;*7OC;DJ.;HCISS7FEIJ E<<;DI;L;HI?EDE<M>?9>C7O
>7L;9EDJ7?D;:IK9>79B7KI;  ++.7J9++'2959;68'D  
                                                

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 39 of 107




?DIE<7H7I.;C7D>7:FHEL?:;:?DLE?9;IJEJ>;KIJEC;HI<EHJ>;:;L?9;I 9++!27J

!27J!2 S  8KJDEJ<EHJ>;<;;IJ>7JJ>;9>;9AI>;9H;7J;:M;H;EIJ;DI?8BO

8;?D=KI;:JEF7O 9+++- .H?7B.H 7J H;7IED78B;@KHO9EKB:<?D:J>7JJ>;IJ7J;C;DJIED

J>;I;9>;9AI7IJEJ>;D7JKH;E<J>;<;;IJ>7JJ>;KIJEC;HFKHFEHJ;:BOEM;:!7J;!K7H:M;H;

<7BI;7D:>7:8;;D?D9BK:;:JE<KHJ>;HJ>;?BBKI?EDJ>7JKIJEC;H 7KJ>EH?P;:9>;9AIM;H;8;?D=

KI;:JEF7OKIJEC;H 79ADEMB;:=;::;8JI 

       .>;I;F7H7J;I;JIE<J>;9>;9AISSJ>;JME?D'7H9>7D:J>;?DFH?BSS7BIE9EDJ7?D;:

:?IJ?D9JDEJ7J?EDIJ>7J7@KHO9EKB:H;=7H:7IF7HJE<7I9>;C;JEC?IB;7:J>;87DAJE7IIKC;J>7J

J>;H;>7:8;;DKIJEC;H7KJ>EH?P7J?ED )DJ>;'7H9>9>;9AI .;C7D?D9BK:;: EDJ>;I?=D7JKH;

B?D; 7DKD?DJ;BB?=?8B;IGK?==B; :;IF?J;J>;9>;9AIXH;FH;I;DJ7J?EDJ>7JDEI?=D7JKH;M7IH;GK?H;: 

!2 S  BJ>EK=>J>;JH?7B;L?:;D9;:?:DEJ7<<?HC7J?L;BO;NFB7?DJ>?ICOIJ;H?EKI

7DDEJ7J?ED 7@KHO9EKB:H;7IED78BO9ED9BK:;J>7J.;C7DXI?D9BKI?EDE<?BB;=?8B;>7D:MH?J?D=?D

J>;7H;7<EH7I?=D7JKH;M7I?DJ;D:;:JE<EHJ?<OJ>;?CFH;II?EDE<9KIJEC;H7FFHEL7B 

       IJEJ>;FH?B9>;9AI .;C7D?D9BK:;:7::?J?ED7BDEJ7J?EDI M>?9>7@KHOH;7IED78BO

9EKB:?D<;HM;H;7?C;:7JIM7O?D=J>;:;FEI?J7HO7D::H7M;;87DAIJE9B;7HJ>;9>;9AI7D:J>KI

JE7LE?:J>;>EB:I7D:9>7H=;879AIJ>7J>7:JH?FF;:KFJ>;'7H9>9>;9AI #D7::?J?EDJEIJ7J?D=

7=7?DJ>7JJ>;9>;9AIM;H;:H7MDF;H9EDJH79JM?J>DEI?=D7JKH;H;GK?H;: .;C7D?D9BK:;:EDJ>;

FH?B9>;9AI7I;F7H7J;U()..)(% VIJ7J?D=J>7JU4J5>?I?I7L7B?:9>;9A 3EK7H;

H;GK?H;:8OB7MJE>EDEH?J V!2 S  ";7BIE?D9BK:;:7B?DAJEJ>;!7J;!K7H:.;HCI7D:

ED:?J?EDI M>?9>>;MHEJ;>7:8;;DU799;FJ;:8O78EL;9B?;DJ V*3;J8EJ>1;IJ 

&&7D:$ M>EI;EIJ;DI?8B;9>;9AIM;H;:H7MD?DFH?B :?IFKJ;:7=H;;?D=JEJ>;.;HCI7D:

ED:?J?EDI  ++.H?7B.H 7JS S 1;IJ &&/*7J S $ 

D: 7IDEJ;: J>;.;HCI7D:ED:?J?EDI:EDEJJ>;CI;BL;I7KJ>EH?P;.;C7DJE9H;7J;7D:



                                                 

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 40 of 107




:;FEI?J9>;9AI:H7M?D=:?H;9JBOED9B?;DJIX799EKDJI  KHJ>;H J>;KIJEC;HI:?I9B7?C;:>7L?D=

I;;DJ>;:E9KC;DJM>?9>FKHFEHJ;:BO>7:=?L;D.;C7DIK9>7KJ>EH?JO !7J;!K7H:XIU*7OC;DJ

.;HCI V +++- /*7J1;IJ &&/*7JS$ @KHO9EKB:J>;H;<EH;

<?D:J>7J.;C7DXIH;FH;I;DJ7J?EDIEDJ>;9>;9AISSJ>7JJ>;I;M;H;UL7B?:9>;9A4I5VU:H7M4D5F;H

4759EDJH79JVJ>7J>7:8;;DU799;FJ;:8O78EL;9B?;DJVSSJE8;<7BI;7D:C?IB;7:?D=IJ7J;C;DJI 

:?H;9J;:JEM7H:IJ>;87DAI M?J>J>;=E7BE<?D:K9?D=J>;CJE>EDEH9>;9AI7D:F;HC?J.;C7DJE

M?J>:H7MDJ>;IKCI?DGK;IJ?ED<HECKIJEC;H799EKDJI 

          1>?B;J>;<79;E<J>;9>;9AI7BED;7CFBOF;HC?JJ;:J>;@KHOJE<?D:J>;'):;98+;9E<87DA

7D:M?H;<H7K: J>;H;M7I7BIE;L?:;D9;E<EJ>;HIJ;FIJ7A;D8O.;C7DJEH;:K9;J>;H?IAJ>7JJ>;

87DAIMEKB:B;7HDJ>7JJ>;9>;9AIM;H;DEJKIJEC;H 7KJ>EH?P;: IDEJ;: .;C7D9>EI;DEJJE

I;D:J>;KIJEC;HI?DLE?9;I<EHJ>;<;;I?DGK;IJ?ED8;<EH;M?J>:H7M?D=<HECJ>;?H799EKDJI ?D

M>7J7FF;7H;:JE8;7:;F7HJKH;<HECKIK7B8KI?D;IIFH79J?9;7IJE8ED7<?:;<;;I EHEJ>;HM?I;

7B;HJ7DOE<J>;KIJEC;HIE<>?I?DJ;DJ?EDJE:H7MJ>;I;9>;9AIEDJ>;?H799EKDJI  ++.H?7B.H 

7J:;I9H?8?D=B79AE<?DLE?9;9++'295!27J?DLE?9;<EH!7J;!K7H:FKH9>7I;!2

7JI7C;!2 S I7C; .>?IH;:K9;:J>;H?IAJ>7J7KIJEC;HMEKB:

7<<?HC7J?L;BO7B;HJ?JI87DAIDEJJE7FFHEL;7<EHJ>9EC?D=9>;9A:H7MD8O.;C7D #D:;9B?D?D=

JEFHEL?:;J>;KIJEC;HI7DODEJ?9;E<J>;I;C7JJ;HI .;C7D?=DEH;:J>;7:L?9;E<>?I9EKDI;B 

    ++!2 7J  KHJ>;H EDJ>;FH?B9>;9AISS:H7MD7<J;HJ>;KIJEC;HI>7::?IFKJ;:J>;

'7H9>9>;9AI B;7:?D=JE>EB:I7D:9>7H=;879AISS.;C7D?D9BK:;:7!7J;!K7H:F>ED;DKC8;H

7D:IJ7J;:J>7JJ>;87DAI>EKB:U9EDJ79JKI   M?J>GK;IJ?EDI V!2 S 9++'295.H?7B.H 

7JJ;IJ?CEDOJ>7JF>ED;DKC8;HED9>;9AM7I!7J;!K7H:XIF>ED;DKC8;H @KHO

H;7IED78BO9EKB:<?D:J>7J 8O=?L?D=>?IF>ED;DKC8;H 7D:DEJJ>7JE<J>;

799EKDJ>EB:;H KIJEC;H 7IJ>;DKC8;HJE97BB?DJ>;;L;DJE<GK;IJ?EDI .;C7DM7II;;A?D=JE



                                                   

        Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 41 of 107




?D9H;7I;J>;B?A;B?>EE:J>7J787DA:E?D=:?B?=;D9;EDJ>;9>;9AMEKB:9EDJ79J>?C7D:>;D9;DEJ

B;7HDJ>7JJ>;KIJEC;H:?IFKJ;:J>;<;;I7D:H;FK:?7J;:J>;9>;9A  +++- .H?7B.H 7J 

-EB;?C7D?;NFB7?D?D=J>7J?<87DAI>7:9EDJ79J;:>?C >;MEKB:>7L;JEB:J>;CJ>7JJ>;

9>;9AIM;H;KD7KJ>EH?P;:  ?D7BBO .;C7D:;FEI?J;:J>;FH?B9>;9AIEL;HJ>;*7IIEL;H

M;;A;D: M>;D>?I)HJ>E:EN$;M?I>KIJEC;HIMEKB:DEJ799;IIJ>;?H;B;9JHED?9:;L?9;I  ++

/*7JS S .>;I;79J?EDI9EKB:H;7IED78BO8;H;7:7I?DJ;D:;:JEC?D?C?P;J>;

B?A;B?>EE:J>7J87DAIMEKB:8;9EC;7B;HJJE.;C7DXII9>;C;8;<EH;J>;9>;9AI>7:9B;7H;: 

          EH7BBJ>;I;H;7IEDI J>;;L?:;D9;M7I7CFBOIK<<?9?;DJSS?D:;;:EL;HM>;BC?D=SSJE

;IJ78B?I>J>7J.;C7D>7:C7:;<7BI;7D:<H7K:KB;DJH;FH;I;DJ7J?EDIJE87DAI?DEH:;HJE97KI;

J>;CJED;=EJ?7J;J>;9>;9AI>;:;FEI?J;: 

               0""%%!)4*"/$! 1% !)!*"  

        .;C7DD;NJ7H=K;IJ>7JJ>;H;M7I?DIK<<?9?;DJ;L?:;D9;E<3+498+'SSJ>7J7H;7IED78B;

@KHO9EKB:DEJ<?D:J>7J>;79J;:M?J>?DJ;DJJE:;<H7K: 7IH;GK?H;:8OJ>;C7?B7D:M?H;<H7K:

IJ7JKJ;I .;C7D';C 7JS .;C7DXI7H=KC;DJH;B?;IEDJ>;9B7?CJ>7J!7J;!K7H:XI.;HCI

7D:ED:?J?EDI7D:*7OC;DJ.;HCI7KJ>EH?P;:>?CJE9H;7J;7D::;FEI?JJ>;9>;9AI  ++/*

7J .EIJH;D=J>;DJ>?I9B7?C >;FE?DJIJE>?I7JJEHD;O,;?D?JPXIJ;IJ?CEDOSS?DIKFFEHJE<7D

EIJ;DI?8B;7:L?9;E<9EKDI;B:;<;DI;SSJ>7JJ>;79JE<:H7M?D=9>;9AIEDJ>;KIJEC;HIX799EKDJI

M7IUJ;9>D?97BBOB;=7BV7D:J>7JJ>;*7OC;DJ.;HCI>7:=?L;D.;C7DU;NFB?9?J7KJ>EH?JOVJE:E

IE  ++/*

        .>;EKHJH;@;9JIJ>?I7H=KC;DJ JEE H;7IED78B;@KHEH9EKB:;7I?BO9ED9BK:;8;OED:7

H;7IED78B;:EK8JJ>7J.;C7D>7:79J;:M?J>J>;H;GK?I?J;?DJ;DJJE:;<H7K: IH;<B;9J;:78EL; 

J>;!EL;HDC;DJFH;I;DJ;:FB;DJ?<KB;L?:;D9;E<<H7K:KB;DJ?DJ;DJ  +++- .H?7B.H 7J S

9BEI?D=7H=KC;DJ 97J7BE=K?D=J>?I;L?:;D9; .>;EKHJ8H?;<BOH;L?;MIIEC;E<J>?I;L?:;D9; 



                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 42 of 107




7D:J>;D7::H;II;IJ>;JME97J;=EH?;IE<;L?:;D9;JEM>?9>.;C7DFE?DJI7IEIJ;DI?8BOD;=7J?D=

IK9>?DJ;DJD7C;BOJ>;*7OC;DJ.;HCI7D:,;?D?JPXIJ;IJ?CEDO 

       .;C7DXI9ED:K9JEKJB?D;:78EL;H;B7J?D=JEJ>;9EDIJHK9J?ED7D:D;=EJ?7J?EDE<J>;

9>;9AI .;C7DXI7JJ;CFJIJE:;B7O>?IKIJEC;HIX:?I9EL;HOE<J>;9>;9AI 7D:>?I7JJ;CFJ;:

JH7DI<;HIE<J>;<KD:IIEED7<J;HJ>;?H:;FEI?J7D:9B;7H7D9;7BB7H;<7?HBOH;7:JE;L?D9;<H7K:KB;DJ

?DJ;DJ IH;L?;M;:78EL; J>;9>;9AIJ>;CI;BL;I9EDJ7?DL7H?EKIH;FH;I;DJ7J?EDIIK==;IJ?D=J>;

<7BI;<79JIJ>7JKIJEC;HIEM;:J>;<;;I?DGK;IJ?ED7D:JEF7OJ>;C >7:7KJ>EH?P;:

.;C7DJE:H7M9>;9AIJE>?CI;B<EDJ>;KIJEC;HIX799EKDJI .>;IJK:?;::;I?=DE<J>;9>;9AI

JEB;D:J>;I;<7BI;?CFH;II?EDI 7BED; MEKB:9ECF;BB?D=BOIKFFEHJ7<?D:?D=E<<H7K:KB;DJ?DJ;DJ 

@KHOJ>7J9H;:?J;:J>;KIJEC;HIXJ;IJ?CEDOJ>7JJ>;O:?:DEJEM;7D:>7:DEJ:?I9KII;:M?J>

.;C7DJ>;B7H=;<;;I?DGK;IJ?EDSS+- <EH:;L?9;H;CEL7B 9EBB;9J?ED 9>7H=;879A 7D:7JJEHD;O

KI;SS9EKB:7BIEH;7:?BO<?D:.;C7DXIIK==;IJ?EDJEJ>;9EDJH7HO7IIJ7J;:EH?CFB?;:?DL7H?EKI

M7OIEDJ>;9>;9AIX<79;IJE8;787:=;E<<H7K:KB;DJ?DJ;DJ  ++.H?7B.H 7J S 

1;IJ &&/*7J  ';H9;H/*7J  S $ .>;

IKCJEJ7BE<J>;9>;9AIEL;H      <EH1;IJ &&          <EH';H9;H 7D:

     <EH$?DH;B7J?EDJEJ>;IKCIJ>;KIJEC;HI>7:M?BB?D=BOF7?:<EHJ>;?H!7J;!K7H:

:;L?9;I7<;MJ>EKI7D::EBB7HIF;H:;L?9;9EHHE8EH7J;:J>7JJ>;FKHFEHJ;:<;;IM;H;:?IFKJ;:

7D:J>;9>;9AIJEF7OJ>;CM;H;KD7KJ>EH?P;:  ++/*7J:?H;9JJ;IJ?CEDOE<EDD?;

-EED )I8;H=;H H;FH;I;DJ7J?L;E<';H9;H:?H;9JJ;IJ?CEDOU.>;F7D;B?I         M>?9>?I

M>7JM;FKH9>7I;: -EJ>?I       :E;IDXJC7A;7DOSS:E;IDXJC7A;7DOI;DI; V 

       .>;9?H9KCIJ7D9;IIKHHEKD:?D=.;C7DXI:;FEI?JIE<J>;FH?B9>;9AI<KHJ>;H9EKB:8;

L?;M;:7I8;IF;7A?D=<H7K:KB;DJ?DJ;DJ "7L?D=>7:9>7H=;879AI?CFEI;:EDJ>;'7H9>9>;9AI 

.;C7D:EK8B;::EMD?DFH?B ?D9H;7I?D=J>;I97B;E<J>;9>;9AI>;MHEJ;EDKIJEC;H799EKDJI



                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 43 of 107




7D:7CFB?<O?D=J>;DEJ7J?EDIC7:;EDJ>;9>;9AIJE9EDL;OJ>;?BBKI?EDE<KIJEC;H9EDI;DJ #D

7::?J?ED 7IDEJ;: .;C7D79J;:JE:;B7OJ>;87DA?D9EDJ79J?D=J>;KIJEC;HI7D:B;7HD?D=J>7J

J>;O:?I7LEM;:J>;9>;9AI7D:J>;:;8JIJ>7JJ>;OFKHFEHJ;:JE9EL;H ";:?:IE8O:;FEI?J?D=

J>;B7H=;9>;9AIEDJ>; H?:7OE<*7IIEL;H M>;DJ>;H;FH;I;DJ7J?L;IE<1;IJ &&7D:

$TEDM>EI;799EKDJIJ>;9>;9AIM;H;:H7MDTMEKB:DEJ8;H;79>78B;  ++/*7JS 

S 

         ?D7BBO J>;@KHO9EKB:<?D:J>;H7F?:C7DD;H?DM>?9>.;C7DCEL;:7D:7JJ;CFJ;:JE

CEL;J>;CED;O>;:;FEI?J;:IK==;IJ?L;E<9H?C?D7B?DJ;DJ .;C7D:;FEI?J;:J>;'7H9>9>;9AI 

JEJ7B?D=     ?DJEJ>;!7J;!K7H:799EKDJED'7H9>   7D:J>;D;NJ:7O>;JH7DI<;HH;:

     <HECJ>;!7J;!K7H:799EKDJJE7:?<<;H;DJ799EKDJ H?;D:EH H7K:M>?9>>;

9EDJHEBB;:  ++!2 ";:;FEI?J;:J>;FH?B9>;9AIEDFH?B   7D:7BCEIJ

?CC;:?7J;BO7<J;HJ>;B?<J?D=E<J>;I;L;D :7O>EB:ED>?I799EKDJ JH7DI<;HH;:D;7HBO7BBE<J>;

FHE9;;:ID;JE<79>7H=;879AJEEJ>;H799EKDJIJ>7J>;9EDJHEBB;:  ++.H?7B.H 7JS!2

 .>;@KHO9EKB:<?D:J>7JJ>;I;JH7DI<;HIM;H;C7:;?D7D;<<EHJJE?D>?8?JJ>;87DAIX78?B?JO 

M;H;J>;OJEB;7HDJ>7JJ>;KIJEC;HI:?I9B7?C;:J>;9>;9AI7D:J>;FKHFEHJ;::;8JIKD:;HBO?D=

J>;C JE:;DOJ>;I;<KD:IJE.;C7DJ>HEK=>7<H;;P;EH7::?J?ED7B9>7H=;879A 

       .;C7DH;B?;IEDJ>;*7OC;DJ.;HCI7IEIJ;DI?8BOD;=7J?D=J>;;L?:;D9;E<>?I<H7K:KB;DJ

?DJ;DJ KJ7@KHO9EKB:;7I?BO<?D:J>;9EDJH7HO .>;H;M7IDE9ECF;J;DJ;L?:;D9;J>7JJ>;

*7OC;DJ.;HCI7KJ>EH?P?D=,IM;H;?DFB79;7IE<J>;J?C;J>;KIJEC;HI;DJ;H;:?DJE

7=H;;C;DJIM?J>!7J;!K7H:  ++9;68'D  D:;L;D?<J>;H;>7:8;;D 7@KHO9EKB:H;7:?BO

<?D:J>7J.;C7D>7:9EDIJHK9J;:!7J;!K7H:XI8KI?D;II:E9KC;DJIJEC7A;?JKDB?A;BOJ>7JJ>;

KIJEC;HIMEKB:I;; B;J7BED;9EDI;DJJE J>;8KH?;:FHEL?I?EDFKHFEHJ;:BO7KJ>EH?P?D=,IJE

F7OKIJEC;H:;8JI IJ>;KIJEC;HIJ;IJ?<?;: .;C7D:?:DEJFHEL?:;J>;CM?J>79EFOE<J>;



                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 44 of 107




*7OC;DJ.;HCIEH;L;H:?I9KIIJ>;*7OC;DJ.;HCIM?J>J>;C  +++- .H?7B.H 7J 

1;IJ &&/*7J';H9;H/*7JS$ .>;H;<EH; 7IIKC?D=J>7J

*7OC;DJ.;HCIJ>7J7KJ>EH?P;:,IM;H;?DFB79;7JJ>;J?C;J>;KIJEC;HI9EDJH79J;:M?J>

.;C7D J>;EDBOM7OJ>;KIJEC;HI9EKB:>7L;I;;DJ>;I;M7IJE9B?9AED7B?DAM?J>?DJ>;

!7J;!K7H:.;HCI7D:ED:?J?EDI M>?9>.;C7D>7:H;<;H;D9;:ED?DLE?9;I7D:MH?JJ;D

9ECCKD?97J?EDIM?J>J>;KIJEC;HI KJJ>7JB?DA:E;IDEJE99KHKDJ?BF7=;<?L;E<J>;.;HCI

7D:ED:?J?EDI  ++.7J D:J>;9B7KI;J>7J79JK7BBOFKHFEHJIJEFHEL?:;J>;H;GK?I?J;

7KJ>EH?P7J?ED<EH,I?II;L;H7BF7=;I?DJEJ>;*7OC;DJ.;HCI  ++*7OC;DJ.;HCI7J 

        'EH;EL;H ;L;D?<J>;@KHO799;FJ;:J>7J.;C7D8;B?;L;:>;>7:J>;KIJEC;HIX

F;HC?II?EDJE:H7M9>;9AIEDJ>;?H799EKDJI J>;@KHO9EKB:;7I?BO9ED9BK:;J>7JIK9>7KJ>EH?JO

;NJ;D:;:EDBOJE8ED7<?:;:;8JIJ>;KIJEC;HIEM;:!7J;!K7H: .>;@KHO9EKB:9EC<EHJ78BO

9H;:?JJ>;KD?<EHCJ;IJ?CEDOE<J>;J>H;;KIJEC;HIJ>7JJ>;O:?:DEJEM;!7J;!K7H:J>;IKCI

J>7J.;C7D:H;MEDJ>;?H799EKDJI?D'7H9>         EH?DFH?B      1;H;J>;@KHOJE

<?D:7IJ>;;L?:;D9;;DJ?JB;:?JJE:EJ>7J.;C7D<;?=D;:KIJEC;H7KJ>EH?P7J?EDE<J>;9>;9AI

JEF7OJ>;I;<;;I J>;*7OC;DJ.;HCIX7KJ>EH?P7J?EDE<,I7I7C;7DIJEF7O8ED7<?:;:;8JI 

;L;D?<8?D:?D= MEKB:DEJD;=7J;>?I<H7K:KB;DJ?DJ;DJ7IJE:.+9+).+)19 #DJ>?IL;?D 7@KHO

9EKB:<KHJ>;HL?;M.;C7DXI:;9?I?EDDEJJE?DLE?9;>?IKIJEC;HI<EH<;;IKD:;HBO?D=J>;'7H9>

7D:FH?B9>;9AI EHEJ>;HM?I;7B;HJJ>;CJE>?I9B7?CJ>7JJ>;OEM;:J>;I;<;;IJE!7J;!K7H: 7I

J;BB?D=;L?:;D9;E<>?I7M7H;D;IIJ>7JJ>;<;;IJEM>?9>J>;I;9>;9AIH;B7J;:M;H;DEJEM;:SS7D:

E<>?I<H7K:KB;DJ?DJ;DJ 



                                 

  BJ>EK=>.;C7DH;<;H;D9;:J>;.;HCI7D:ED:?J?EDI?DMH?J?D=IJEJ>;KIJEC;HI IK9>7I
?DLE?9;I 9+++- .H?7B.H 7J J>;KIJEC;HI:?:DEJI?=DJ>;.;HCI7D:ED:?J?EDI7D:
IEC;9B7?C;:D;L;HJE>7L;7=H;;:JEJ>;C 9++/*7JS S   S 9++'295
!2 J;NJ<HEC-EB;?C7D?JE.;C7DE8I;HL?D=J>7J>;>7:DEJI?=D;:J>;. 
                                                 

          Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 45 of 107




          ,;?D?JPXIJ;IJ?CEDO7BIE:E;IDEJFH;9BK:;7D?D<;H;D9;E<9H?C?D7B?DJ;DJEDJ>;F7HJE<

.;C7D .>?I?IIE<EHI;L;H7BH;7IEDI 

            ?HIJ J>;@KHOM7IDEJH;GK?H;:JE9H;:?J,;?D?JPXIJ;IJ?CEDO  +++- D54458 

  :7J D:J>;;L?:;D9;=7L;J>;@KHO=EE:H;7IEDJE:?I9H;:?JJ>;ED;F7HJE<J>7J

J;IJ?CEDOEDM>?9>.;C7DI;?P;I,;?D?JPXIJ;IJ?CEDOJ>7J>;EH7BBO7:L?I;:.;C7DJ>7J

:H7M?D=9>;9AIED9KIJEC;H799EKDJIM7IUJ;9>D?97BBOB;=7B V.H?7B.H 7J ,;?D?JP:?:DEJ

C;CEH?7B?P;J>?I7:L?9;7DOM>;H; #JM7IDEJH;<B;9J;: <EH;N7CFB; ?D7C;CEH7D:KCJEJ>;

<?B; ?D7B;JJ;HEHC;CEJE.;C7D EH?D,;?D?JPXI;NJ;D:;:J;NJ;N9>7D=;IM?J>.;C7DEDJ>?I

IK8@;9J 

          D:J>;J;NJC;II7=;ISSM>?9>J>;!EL;HDC;DJ?DJHE:K9;:ED9HEII ;N7C?D7J?EDSSM;H;

?D9EDI?:;H78B;J;DI?EDM?J>,;?D?JPXI9B7?CJE>7L;=?L;D7DOIK9>EH7B7:L?9; .>;H; ?D

$7DK7HO 8;<EH;J>;:;FEI?JI 7D:?D'7H9>7D:FH?B ?DJ>;C?:IJE<J>;C ,;?D?JP

H;F;7J;:BO7:CED?I>;:.;C7DDEJJEU>?J45V>?I9KIJEC;HIX799EKDJIM?J>EKJDEJ?9;7D:J>;?H

F;HC?II?ED7D:J>7J>;H?IA;:7HH;IJ ?CFH?IEDC;DJ 7D:FHEI;9KJ?EDM;H;>;JE:EIE  ++

!2 9++'295!2 #D$7DK7HO  ,;?D?JP7:L?I;:.;C7DJ>7J:H7M?D=<HECJ>;

KIJEC;HIX799EKDJIM7I7U4857:?:;7 V!2 7J9++'295!2U#XL;7BH;7:OJEB:OEK#

J>?DA?JXI787:?:;7 V <J;H>EB:IM;H;FB79;:EDJ>;'7H9>9>;9AI ,;?D?JPE8I;HL;:J>7JUJ>?I


                                  

     ,;?D?JPXIJ;IJ?CEDO7D:>?IJ;NJC;II7=;IM?J>.;C7DM;H;H;9;?L;::KH?D=J>;:;<;DI;97I;
8KJ7H;FHEF;HBO9EDI?:;H;:?D7II;II?D=J>;IK<<?9?;D9OE<J>;;L?:;D9; .>7J?I8;97KI;J>;
EKHJ:;D?;:.;C7DXICEJ?ED<EH7@K:=C;DJE<79GK?JJ7BKD:;H,KB;7FH?EHJEJ>;IJ7HJE<
J>;:;<;DI;97I;  ++"4/:+* :':+9<54<+4:8+ (E  H &.-  1& 7J
S-  ( 3 $KD;  ;L?:;D9;H;9;?L;::KH?D=:;<;DI;97I;9E=D?P78B;ED,KB;9
FEIJ JH?7BIK<<?9?;D9O9>7BB;D=;M>;H;EKHJ:;D?;I H7J>;HJ>7DH;I;HL;IED ,KB;7CEJ?ED
C7:;7J9BEI;E<J>;!EL;HDC;DJXI97I; ',,D*/46'8:  FFXN:?H  ),
"4/:+* :':+9<!8;3'4  : :?H  U/D:;H,KB;8 M>;D7:?IJH?9J
9EKHJH;I;HL;I:;9?I?EDED7:;<;D:7DJXI,KB;CEJ?ED7JJ>;9BEI;E<J>;!EL;HDC;DJXI
;L?:;D9; W?JCKIJ:;9?:;J>;CEJ?EDEDJ>;87I?IE<J>;;L?:;D9;7JJ>;J?C;J>;HKB?D=M7I
H;I;HL;: XVGKEJ?D= ;: , H?C * 8 
                                                    

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 46 of 107




IEKD:I87: VUIEKD:IB?A;787:?:;7 V7D:U4J5>;87DA?D=IJK<<?IDEJ7@EA; V!2 !2 

#DJ;NJC;II7=;I<HEC8EJ>$7DK7HO7D:FH?B ,;?D?JP7BIEM7HD;:.;C7DH;F;7J;:BOJ>7J

9>EEI?D=JE:;FEI?JJ>;9>;9AI9EKB:B;7:JE79H?C?D7BFHEI;9KJ?ED  ++!2 7JU4.5>;O

7H;B?A;BOJE97BBFEB?9; D:OEKM?BB8;7HH;IJ;: D:>7L;79H?C?D7B97I;JE:;7BM?J> V/*

7JU'OEF?D?ED?IJ>7JOEK7H; B?A;BOJE8;7HH;IJ;:<EHJ>;79J?L?J?;IOEKFHEFEI; V

!2 U#;NF;9JJ>?IM?BB8;9EC;79H?C?D7BC7JJ;HIEED;HEHB7J;H V!2U#<OEK>?JJ>;?H

799EKDJI#J>?DA  J>;O97BB9EFI V 

        ,;?D?JPXIMH?JJ;D9ECCKD?97J?EDIM?J>.;C7D ?D<79J FEM;H<KBBOH;?D<EH9;:J>;

!EL;HDC;DJXI97I;7=7?DIJ.;C7D 7IJ>;OIK8IJ7DJ?7J;:>?ICEJ?L;JE<EHJ?<O!7J;!K7H:XI

<B7==?D=<?D7D9;I7D:9ED<?HC;:J>7J.;C7DAD;MJ>;KIJEC;HIMEKB::?IFKJ;J>;9>7H=;I 

!2U3EKHWJ>H;7JIX97HHOB?JJB;M;?=>J7JJ>?IFE?DJ7D:J>;O>7L;?D:?97J;:J>;O:EDXJ

8;B?;L;J>;OEM;OEK V!2U.>;H;7H;<;:;H7BH;=KB7J?EDIEDJ>?IIJK<< 3EK97DXJ@KIJ

>?JIEC;ED;XI87DA799EKDJ?<OEKADEMJ>;O:?IFKJ;J>;9>7H=;    3EK9B7?CJ>7JOEKH

9EDJH79J7BBEMIOEKJE:;8?JJ>;?H799EKDJI;L;D7<J;HJ>;O;NFB?9?JBOFHEJ;IJ #XC@KIJDEJIKH;?JXI

J>7JI?CFB;    4#5<J>;F7O;HJ;BBIOEKJEIJEF OEKCKIJIJEF V 

        *7HJ?9KB7HBO?DB?=>JE<J>;I;MH?JJ;D9ECCKD?97J?EDI 7@KHO9EKB:H;7IED78BO<?D:J>7J

,;?D?JP JE7II?IJ>?I9EDJ?DK?D=9B?;DJ.;C7D >7:B?;:EDJ>;M?JD;IIIJ7D:M>;D>;9B7?C;:JE

>7L;EH7BBO7:L?I;:.;C7DJ>7J:H7M?D=9>;9AIED9KIJEC;H799EKDJIM7IUJ;9>D?97BBOB;=7B V

-K9>7<?D:?D=MEKB::H7MIKFFEHJ<HEC,;?D?JPXI97HH?7=;M>?B;J;IJ?<O?D= ,;?D?JPL?I?8BO

FHE@;9J;:7I?BB7J;7I;7D:D;HLEKI "?I:;C;7DEHM7IC7HA;:BO:;<;DI?L;7D:7JFE?DJI;L7I?L;

ED9HEII ;N7C?D7J?ED 

        -;9ED: ;L;D7IIKC?D=J>7JJ>;@KHO9H;:?J;:J>?I7IF;9JE<,;?D?JPXIJ;IJ?CEDO J>;@KHO

9EKB:;7I?BO<?D:J>7J.;C7D:?:DEJ>7L;7L7?B78B;7D7:L?9;E<9EKDI;B:;<;DI;IK<<?9?;DJJE



                                                    

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 47 of 107




D;=7J;9H?C?D7B?DJ;DJ EDI?IJ;DJM?J>-;9ED:?H9K?JFH;9;:;DJ 9++"4/:+* :':+9< );22? 

 : S:?H   J>;EKHJ?DIJHK9J;:J>;@KHOJ>7J<EHIK9>7:;<;DI;JE

7FFBO ?JCKIJ<?D:J>7J.;C7D>7:U>ED;IJBO7D:?D=EE:<7?J>IEK=>JJ>;7:L?9;E<79ECF;J;DJ

B7MO;H7IJEM>7J>;C7OB7M<KBBO:E   <KBBO7D:>ED;IJBOB7?:7BBJ>;<79JI8;<EH;>?IB7MO;H

7D:   ?D=EE:<7?J>   >ED;IJBO<EBBEM;:IK9>7:L?9; H;BO?D=ED?J7D:8;B?;L?D=?JJE8;

9EHH;9J V.H?7B.H 7J  .>;JH?7B;L?:;D9;=7L;J>;@KHO=EE:JEH;7IEDJE<?D: 7J7

C?D?CKC J>7J.;C7DXI9EDIKBJ7J?EDM?J>,;?D?JP<7?B;:JEC;;JJ>;B7JJ;HJMEH;GK?H;C;DJI I

JEB7O?D=7BBJ>;<79JI8;<EH;,;?D?JP J>;H;M7IDE;L?:;D9;J>7J,;?D?JPM7I7M7H;E<J>;B7H=;

IKCIJ>7J.;C7DM7IFB7DD?D=JE9>7H=;J>;KIJEC;HI EHJ>7JJ>;<;;IM>?9>J>;I;IKCI

H;FH;I;DJ;:M;H;:?IFKJ;:7IEFFEI;:JE9ED9;:;:8OJ>;KIJEC;HI  ++/*7J,;?D?JPM7I

DEJ7M7H;E<      '7H9>9>;9AIKDJ?BJ>;O>7:7BH;7:O8;;D:;FEI?J;: ,;?D?JP:?:DEJADEM

J>7JJ>EI;IKCI<7H;N9;;:;:J>;FH?9;IJ>;KIJEC;HI>7:F7?:<EHJ>;?H!7J;!K7H::;L?9;I  ++

/*7J  .;C7D7BIE:?:DEJI>EM,;?D?JPJ>;9>;9AI>;M7DJ;:JE:;FEI?J  ++/*

7JS .>?IM7I7F7HJ?9KB7HBO=7F?D=>EB;?D,;?D?JPXI7M7H;D;IIE<.;C7DXI?DJ;D:;:

9EKHI;E<9ED:K9JJEM7H:IJ>;87DAI L;D?<,;?D?JP9ED9;FJK7BBO7FFHEL;:.;C7DXIKI;E<

,IJEF7O8ED7<?:;:;8JIJE!7J;!K7H:7IUJ;9>D?97BBOB;=7B VJ>;H;M7IDE;L?:;D9;J>7J>;

AD;M?D7:L7D9;E< B;J7BED;7FFHEL;: .;C7DXIH;FH;I;DJ7J?EDIEDJ>;F7HJ?9KB7H9>;9AI

I?=D?<O?D=KIJEC;H7II;DJJEJ>;F7OC;DJ 8O,I E<J>;<;;IH;<B;9J;:EDJ>;C ,;?D?JPXI

7:L?9; ;L;D?<9H;:?J;: J>KIM7I7C?IC7J9><EH.;C7DXI9>7H=;:9ED:K9J D: 7IJE

<EBBEM?D=,;?D?JPXI7:L?9; .;C7D:?:DEJ<EBBEM?J IJ>;J;NJ;N9>7D=;IH;<B;9J ,;?D?JPSS?D

IJHED=7D:C;CEH78B;B7D=K7=;SS?DIJHK9J;:.;C7DDEJJECEL;<EHM7H:M?J>J>;:;FEI?JI 9++

+- !2 :;I9H?8?D=J>;I9>;C;7I7U4857:?:;7V!27:L?I?D=J>7JU?<J>;F7O;HJ;BBI

OEKJEIJEF OEKCKIJIJEF V 7D:7JC?D?CKCJE=?L;7:L7D9;DEJ?9;JEJ>;KIJEC;HIE<J>;



                                                  

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 48 of 107




9>7H=;I8;<EH;:E?D=IE 9+++- !2 U#IK==;IJOEKFHEL?:;J>;CM?J>7:L7D9;: ;NFB?9?J

DEJ?<?97J?EDE<J>;9>7H=; 7CEKDJ 7D:IF;9?<?987I?I?DJ>;7=H;;C;DJ<EH:E?D=IE V 

        .>;@KHOM7IJ>KIDEJ8O7DOC;7DIH;GK?H;:JE<?D: ED799EKDJE<,;?D?JPXIJ;IJ?CEDO 

H;7IED78B;:EK8JEDJ>;;B;C;DJE<9H?C?D7B?DJ;DJ +K?J;J>;9EDJH7HO .;C7DXI:?IH;=7H:E<

,;?D?JPXI9EH;7:L?9;SS7D:>?IFBEK=>?D=7>;7:M?J>CEH;7D:B7H=;H:;FEI?JI?DFH?B?DJ>;

<79;E<,;?D?JPXIM7HD?D=I7D:=K?:7D9;7<J;HJ>;'7H9>:;FEI?JISS9EKB:<7?HBO>7L;8;;DH;7:7I

;D>7D9?D=J>;!EL;HDC;DJXIFHEE<EDJ>?I;B;C;DJ 

        99EH:?D=BO J>;EKHJ<?D:IJ>;H;M7IIK<<?9?;DJ;L?:;D9;<EH7H;7IED78B;@KHOJE<?D:

J>7J.;C7D79J;:M?J>J>;H;GK?I?J;?DJ;DJ 

              0""%%!)4*"/$! 1% !)!./*!)0!

        .;C7DD;NJ7H=K;IJ>7JJ>;!EL;HDC;DJ<7?B;:JE7::K9;IK<<?9?;DJ;L?:;D9;<EH7

H;7IED78B;@KHOJE<?D:L;DK;ED7DO9EKDJ8O7FH;FED:;H7D9;E<J>;;L?:;D9;  ++.;C7D

';C 7JS.;C7D,;FBO7J S 

                    !-/%)!)/ &#-*0) 

        )D'7H9>   .;C7D:;FEI?J;:J>;JME          9>;9AIJE!7J;!K7H:XI7DAE<

C;H?97799EKDJ  ++!2 .>;9>;9AIIJ7J;:J>7JJ>;OM;H;:H7MDF;H9EDJH79J7D:DE

I?=D7JKH;M7IH;GK?H;: O;J.;C7D?D9BK:;:7DKD?DJ;BB?=?8B;IGK?==B;EDJ>;I?=D7JKH;B?D;  ++

!2 S  .>;9>;9AIM;H;FKHFEHJ;:BO?IIK;:8O1;IJ &&7D:';H9;H M>?9>

>7:799EKDJI7J-?=D7JKH;7DA  ++/*.>;9>;9AI?D9BK:;:7'7D>7JJ7D7::H;II<EH-?=D7JKH;

7DA *

        .>;;L?:;D9;I>EM;:J>7J.;C7D:;FEI?J;:J>;9>;9AIM>?B;>;M7I?D'7D>7JJ7D

J>HEK=>7CE8?B;:;FEI?JED>?IF>ED;  ++.H?7B.H 7JS  .>;;L?:;D9;JEJ>?I;<<;9J

9EDI?IJ;:E<78KI?D;IIH;9EH:<HEC7DAE<C;H?97 ?DJ>;<EHCE<7IFH;7:I>;;J M>?9>

H;<B;9J;:J>7JJ>;#*7::H;II<EHJ>;CE8?B;:;FEI?JM7IBE97J;:7JJ>;CEC;DJE<:;FEI?J?DU(;M

                                                 

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 49 of 107




3EHA (3 V ++!2U;L?9;VJ78E<IFH;7:I>;;J9++'295.H?7B.H 7J S  <J;HJ>;

CE8?B;:;FEI?JM7IC7:; J>;;L?:;D9;I>EM;:J>7J;B;9JHED?99ECCKD?97J?EDIM;H;HEKJ;:JE

7DAE<C;H?97I;HL;HI?D.;N7I  ++.H?7B.H 7J S  

           EBBEM?D=J>;CE8?B;:;FEI?J 7DAE<C;H?97FB79;:7>EB:EDJ>;FHE9;;:I<HECJ>;

9>;9AI  ++!2 !2 .>;;L?:;D9;I>EM;:J>7J EDFH?B   -?=D7JKH;7DA

9ED:K9J;:7H;L?;MEDJ>;9>;9AI?D'7D>7JJ7D7D:<B7==;:J>;9>;9AI<EH<H7K:  ++.H?7B.H 

7JS .>;D;NJ:7O 7DAE<C;H?979ECFB;J;:79>7H=;879A<HECJ>;!7J;!K7H:799EKDJ

JEJ>;KIJEC;HIX799EKDJI7J-?=D7JKH;7DA  ++.H?7B.H 7J S!2 

          )DFH?B   .;C7D;DJ;H;:77DAE<C;H?978H7D9>?D'?7C?;79>  BEH?:7

7D::;FEI?J;:9>;9AI<EH        :H7MDEDJ>;799EKDJIE<1;IJ &&7D:$ 

    ++!2 79>9>;9AIJ7J;:?JM7I:H7MDF;H9EDJH79J7D:DEI?=D7JKH;M7IH;GK?H;: 7D:

;79>7BIE?D9BK:;:7DEJ;JEJ>;87DAJ>7JU4J5>?I?I7L7B?:9>;9A 3EK7H;H;GK?H;:8OB7MJE

>EDEH?J EDJH79J7J=7J;=K7H: NOP B;=7B J;HCI F>F799;FJ;:8O78EL;9B?;DJ V7D:?DIJHK9J;:J>;

87DAJE9EDJ79J!7J;!K7H:M?J>GK;IJ?EDI !2 S  .>;9>;9AI?D9BK:;:'7D>7JJ7D

7::H;II;I<EH-?=D7JKH;7DA7D:$*'EH=7D J>;87DAI<EH1;IJ &&7D:$

H;IF;9J?L;BO *

          .>;;L?:;D9;I>EM;:7<J;HJ>;:;FEI?J 7I;L;D :7O>EB:M7IFB79;:EDJ>;!7J;!K7H:

799EKDJ JE7BBEM8EJ>7DAE<C;H?977D:J>;:H7M;;87DAIJEH;L?;MJ>;9>;9AIJE:;J;HC?D;

M>;J>;HJ>;<KD:II>EKB:8;H;B;7I;:JE.;C7D  ++.H?7B.H 7J S 9++'295

2 JJ>; BEH?:77DAE<C;H?978H7D9> J>;?C7=;IE<J>;9>;9AIM;H;I97DD;:<HEC

J>;H; J>;OM;H;I;DJJEJ>; ;:;H7B,;I;HL;7D:J>;DH;L?;M;:8O-?=D7JKH;7DA?D'7D>7JJ7D 

<EH<H7K:  ++/*7JS S I7H;IKBJ EDFH?B   8;<EH;J>;>EB:EDJ>;

!7J;!K7H:799EKDJM7IB?<J;: 7DAE<C;H?979ECFB;J;:79>7H=;879A<EH            <HECJ>;



                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 50 of 107




!7J;!K7H:799EKDJJEJ>;1;IJ &&799EKDJ7J-?=D7JKH;7DA  ++.H?7B.H 7J

!2 )DFH?B   7DAE<C;H?97B?<J;:J>;>EB:7D:.;C7D8;=7DJH7DI<;HH?D=J>;

<KD:I<HECJ>;!7J;!K7H:799EKDJJEEJ>;H799EKDJIJ>7J>;9EDJHEBB;:  ++.H?7B.H 7JS

 H?;D:EH H7K:799EKDJ/*7J.EK9>B;II&78I799EKDJ/*.;C7DXIF;HIED7B799EKDJ

9++'295!2 .>;;L?:;D9;7BIEI>EM;:J>7J.;C7D ED'7O   M?J>:H;M               <HEC

J>; H?;D:EH H7K:799EKDJ<HEC77DAE<C;H?978H7D9>?D'7D>7JJ7D  ++.H?7B.H 7J 

!2S 

                    ++'%'!!#'-%)%+'!.

       UEJ>J>;-?NJ>C;D:C;DJ7D: ;: , H?C * H;GK?H;J>7J7:;<;D:7DJ8;JH?;:?D

J>;:?IJH?9JM>;H;>?I9H?C;M7I9ECC?JJ;: V"4/:+* :':+9<;:/-2/'45   : 

:?H  GKEJ?D="4/:+* :':+9<!@525<  : :?H   IJ>;

-;9ED:?H9K?J>7IE8I;HL;: U4J5>;9>7BB;D=; E<9EKHI;9EC;I?D:;J;HC?D?D=M>7JW9ECC?JJ;:X

C;7DI<EHJ>;FKHFEI;IE<7IF;9?<?99H?C; V"4/:+* :':+9</3  : 

:?H     .E:EIE 9EKHJIBEEAJEUJ>;D7JKH;E<J>;9H?C;7BB;=;:7D:J>;BE97J?EDE<J>;

79JIEH79JI9EDIJ?JKJ?D=?J V"4/:+* :':+9<'-'995;('  :   :?H   

GKEJ?D="4/:+* :':+9<'(8'2+9 / -  9++'295/3  :7JU4.5>;

-KFH;C;EKHJ:?H;9J;:9EKHJIJE   ?:;DJ?<OJ>;9ED:K9J9EDIJ?JKJ?D=J>;E<<;DI;7D:J>;D

:;J;HC?D;M>;H;J>7J9ED:K9JE99KHH;: V 

       U0;DK;C7OB?;?DCEH;J>7DED;FB79;?<WJ>;79JI9EDIJ?JKJ?D=J>;9H?C;7D:J>;D7JKH;

E<J>;9H?C;9>7H=;:?CFB?97J;CEH;J>7DED;BE97J?ED XV"4/:+* :':+9<'4-+  : 

S:?H  GKEJ?D="4/:+* :':+9<++*  :  :?H   EH

IK9>U9EDJ?DK?D=E<<;DI;I VL;DK;?IFHEF;HM>;H;J>;E<<;DI;UM7I8;=KD 9EDJ?DK;: EH

9ECFB;J;: V/ -  Q79++'295"4/:+* :':+9<'3/8+@   : 

:?H    ;NFB7?D?D=J>7JED=H;II9E:?<?;:J>;HKB;E<9EDJ?DK?D=E<<;DI;I?D/ -  
                                                  

        Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 51 of 107




Q7 1?H;<H7K:7D:87DA<H7K:7H;8EJ>9EDJ?DK?D=E<<;DI;I  ++;:2/-2/'45   :

7JD 9++'295'-'995;('  :7J 87DA<H7K:/3  :7JSM?H;

<H7K: 

        JJ?C;I 9EKHJI?DJ>?I?H9K?J>7L;7BIE7FFB?;:J>;UIK8IJ7DJ?7B9EDJ79JIJ;IJ V/D:;H

J>7JJ;IJ 9EKHJI:;J;HC?D?D=L;DK;BEEA7BIEJEUJ>;I?J;E<J>;9H?C; ?JI;B;C;DJI7D:

D7JKH; J>;FB79;M>;H;J>;;<<;9JE<J>;9H?C?D7B9ED:K9JE99KHI 7D:IK?J78?B?JOE<J>;

L;DK;9>EI;D<EH799KH7J;<79J<?D:?D= V'3/8+@   :7J9?J7J?EDEC?JJ;: (EJ7BB

<79JEHICKIJ8;C;JJE<?D:L;DK;  ++"4/:+* :':+9<585215<   -KFF  S

-  ( 3 <?D:?D=L;DK;<EH87DA<H7K:7D:M?H;<H7K:M>;H;<?HIJJME<79JEHIDEJ

I7J?I<?;: .>;?H9K?J>7I9B7H?<?;:J>7JJ>;IK8IJ7DJ?7B9EDJ79JII>EKB:EDBO8;7FFB?;:M>;D7

:;<;D:7DJU7H=K;IJ>7J>?IFHEI;9KJ?ED?DJ>;9EDJ;IJ;::?IJH?9J   M?BBH;IKBJ?D7>7H:I>?FJE

>?C FH;@K:?9;>?C EHKD:;HC?D;J>;<7?HD;IIE<>?IJH?7B V"4/:+* :':+9<562'4   : 

 :?H  8H79A;JIEC?JJ;:GKEJ?D='-'995;('  :7J D  

        .>;!EL;HDC;DJ>7IJ>;8KH:;DE<FHEL?D=L;DK; 8KJ 8;97KI;L;DK;?IDEJ7D;B;C;DJ

E<79H?C; ?JCKIJ8;FHEL;DEDBO8O7FH;FED:;H7D9;E<J>;;L?:;D9; '3/8+@   :

7J 1>;H; 7I>;H; 7D?D:?9JC;DJ9>7H=;ICKBJ?FB;9EKDJI UL;DK;CKIJ8;FHEF;HM?J>

H;IF;9JJE;79>9EKDJ V"4/:+* :':+9<++).;:;:8/:/54586  : 

:?H 9++'295"4/:+* :':+9<5?+8  : :?H          1>;D

H;L?;M?D=;79>9EKDJ<EHIK<<?9?;D9OE<J>;;L?:;D9;7IJEL;DK; J>;9EKHJCKIJL?;MJ>;

;L?:;D9;U?DJ>;B?=>JCEIJ<7LEH78B;JEJ>;=EL;HDC;DJ 9H;:?J?D=W;L;HO?D<;H;D9;J>7J9EKB:

>7L;8;;D:H7MD?D?JI<7LEH XV'3/8+@   :7JGKEJ?D="4/:+* :':+9<59' 

 : :?H  




                                                  

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 52 of 107




                    ++'%/%*)

                       '     5;4:9!=5'4*5;8AA'8).  .+)19

         EKDJ.ME9>7H=;I87DA<H7K:7D:EKDJ EKH9>7H=;IM?H;<H7K:?D9EDD;9J?EDM?J>J>;

JME'7H9>9>;9AI  ++-RR  .;C7DXI9>7BB;D=;JEL;DK;EDJ>;I;9EKDJIFH?D9?F7BBO

9EDI?IJIE<7<79JK7B:?IFKJ; ";7H=K;IJ>7JJ>;7DAE<C;H?97IFH;7:I>;;J:?:DEJH;B?78BO

;IJ78B?I>J>7JJ>;CE8?B;:;FEI?J>7:8;;DC7:;<HECM?J>?DJ>?I?IJH?9J ";DEJ;IJ>7JJ>;

H;9EH:I9KIJE:?7D<HEC7DAE<C;H?97M>E7KJ>;DJ?97J;:J>;87DAXI8KI?D;IIH;9EH:IM7IDEJ

7IA;: 7D:IE:?:DEJJ;IJ?<O 78EKJJ>;=;E=H7F>?9C;7D?D=E<J>;H;<;H;D9;EDJ>;IFH;7:I>;;JJE

U(;M3EHA (3 VD: >;7H=K;IJ>7JJ>;IFH;7:I>;;JXIH;<;H;D9;JEU(;M3EHA (3V9EKB:

H;<;HJE7DOF7HJE<(;M3EHA?JO JMEE<M>EI;<?L;8EHEK=>I'7D>7JJ7D7D:J>;HEDN7H;

M?J>?DJ>?I?IJH?9J7D:J>H;;E<M>?9>HEEABOD +K;;DI 7D:-J7J;D#IB7D:7H;DEJ .;C7D

DEJ;IJ>7JEJ>;HH;<;H;D9;I?DJ>;IFH;7:I>;;J7H;JE9?J?;I7D:DEJ9EKDJ?;I +- U'?7C?;79> 

    &VDEJ'?7C? 7:;EKDJO  &  ++.;C7D';C 7J S 

         JJH?7B J>;!EL;HDC;DJ;B?9?J;:<HECJ>;7DAE<C;H?97H;9EH:9KIJE:?7D I;D?EH

<H7K:?DL;IJ?=7JEH ?DE99>?7HE J>7JJ>;7DAE<C;H?97IFH;7:I>;;JH;<B;9JIJ>7JJ>;#*7::H;II

E<J>;CE8?B;:;FEI?JIM7IU(;M3EHA (3 V ++.H?7B.H 7J  D:  ?DE99>?7HE;NFB7?D;: 

KD?CF;79>;: J>7J7D#*7::H;IIH;L;7BIJ>;BE97J?EDE<J>;:;L?9;J>7JM7IKI;:JEC7A;J>;

CE8?B;:;FEI?J  ++/*7J 7D#*7::H;IIU=?L;I7:?IJ?D9JBE97J?ED?DM>?9>7DEDB?D;

87DA?D=BE=?D?I8;?D=9ED:K9J;:V KJ 8;97KI;J>;!EL;HDC;DJEC?JJ;:?D?JI?DGK?HOE<>;H

J>;=;E=H7F>?9C;7D?D=E<U(;M3EHA ( 3 V7IKI;:EDJ>?I8KI?D;IIH;9EH: J>;H;9EH:7IJE

J>?I<79JK7B?IIK;?IB;II9ED9BKI?L;J>7D?JC?=>J>7L;8;;D (;L;HJ>;B;II 7D7BOI?IE<J>;

IFH;7:I>;;JIC7A;I9?H9KCIJ7DJ?7BBO;L?:;DJSS7D:9;HJ7?DBO9B;7H;DEK=><EH7<79J<?D:;HJE<?D:

8O7FH;FED:;H7D9;SSJ>7JU(;M3EHA (3V7IKI;:J>;H;?DH;<;HIJE'7D>7JJ7D /+ M?J>?DJ>?I

?IJH?9J .>7J?I8;97KI;J>;87DAXIIFH;7:I>;;J9EDJ7?DIDKC;HEKI;NFB?9?J8O D7C;H;<;H;D9;I

                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 53 of 107




JEEJ>;H8EHEK=>I?D(;M3EHA?JO?D9BK:?D=JEUHEEABOD (3V7D:JEUHEDN (3V 

"EM;L;H ?J:E;IDEJ9EDJ7?D7DOH;<;H;D9;IJEU'7D>7JJ7D (3 V

       0?;M;:?DJ>7J9EDJ;NJ ?J?I9?H9KCIJ7DJ?7BBOF;HIK7I?L; 7IJ>;!EL;HDC;DJ7H=K;I J>7J

J>;87DAKI;:J>;DEJ7J?EDU(;M3EHA (3VJEH;<;HJE'7D>7JJ7D  ++!EL ';C 7J9++

'295.H?7B.H 7J S 7H=KC;DJED,KB;7CEJ?EDEDJ>?IFE?DJ FFBO?D=J>;

FH;FED:;H7D9;E<J>;;L?:;D9;IJ7D:7H: 7H;7IED78B;@KHEH9EKB:<?D:J>7J.;C7DXICE8?B;

:;FEI?JE<J>;JME9>;9AIM7IC7:;L?77CE8?B;:;L?9;J>;DBE97J;:?D'7D>7JJ7D .>?I

?D<;H;D9;M7I9EDI?IJ;DJM?J>;L?:;D9;7JJH?7BH;=7H:?D=.;C7DXI8KI?D;IIH;B7J?EDI>?FIM?J>

J>;I;KIJEC;HI 7BBE<M>ECM;H;BE97J;:?D'7D>7JJ7D7D:>7:!7J;!K7H::;L?9;I?DIJ7BB;:ED

J>;?H8K?B:?D=I?D'7D>7JJ7DEHJ>;HEDN  +++- .H?7B.H 7J 1;IJ &&/*

7J';H9;H/*7J$9++'295/*7J1;IJ &&H;FH;I;DJ7J?L;

;NFB7?D?D=J>7J>;C;J.;C7D7JJH7:;I>EM?D'7D>7JJ7D 

       1?J>J>7J<79JK7BGK;IJ?EDH;IEBL;:?DJ>;!EL;HDC;DJXI<7LEH J>;?IIK;J>;D?IM>;J>;H

J>;CE8?B;:;FEI?J?D=E<J>;I;9>;9AIIKFFEHJI7<?D:?D=E<L;DK;?DJ>?I?IJH?9JEDEKDJI.ME

7D: EKH  EHJ>;H;7IEDIJ>7J<EBBEM J>;EKHJ>EB:IJ>7J?J:E;I 7IJE8EJ>9EKDJI 

                               ?      EKDJ.ME7DA H7K:

       IDEJ;: J>;87DA<H7K:IJ7JKJ;9H?C?D7B?P;IJ>;ADEM?D=;N;9KJ?ED EH7JJ;CFJ;:

;N;9KJ?ED E<7I9>;C;UJE:;<H7K:7<?D7D9?7B?DIJ?JKJ?ED VEH7I9>;C;JEE8J7?DCED;OEH

FHEF;HJOEMD;:8O7<?D7D9?7B?DIJ?JKJ?EDJ>HEK=>U<H7K:KB;DJFH;J;DI;I H;FH;I;DJ7J?EDI EH

FHEC?I;I V/ -  QS -K9>7I9>;C;U?I 7JB;7IJ?DCEIJ97I;I 7I;H?;IE<79JI

:;I?=D;:JEE8J7?DCED;OEHFHEF;HJO<H7K:KB;DJBO DEJI?CFBO   ED;IF;9?<?979J VH;D:;H?D=

                               

  ;97KI;J>;EKHJ<?D:IJ>7JJ>;BE97J?EDE<J>;CE8?B;:;FEI?JI7BED;IKFFEHJIL;DK;EDJ>;I;
9EKDJI ?J>7IDEE997I?EDJE9EDI?:;HM>;J>;HEJ>;H'7D>7JJ7D79J?L?J?;IH;B7J?D=JEJ>;'7H9>
 9>;9AIJ>7JJ>;!EL;HDC;DJ9?J;ISS?D9BK:?D=-?=D7JKH;7DAXI'7D>7JJ7D I?J;:<H7K:
H;L?;MSSIKFFEHJ<?D:?D=FHEF;HL;DK; 
                                                 

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 54 of 107




87DA<H7K:79EDJ?DK?D=E<<;DI; "4/:+* :':+9<+@3'2/45</)  -KFF  

-  ( 3 GKEJ?D="4/:+* :':+9<$'9./4-:54   : J>?H  

7DA<H7K:J>KIC7O8;FHEI;9KJ;:?D7DO:?IJH?9JM>;H;?J?I8;=KD 9EDJ?DK;: EH9ECFB;J;: 

    ++/ -  Q7 

          .>;<79J M>?9>J>;@KHOM7I;DJ?JB;:JE<?D: J>7J.;C7DC7:;>?ICE8?B;:;FEI?JIE<J>;

'7H9> <H7K:KB;DJ9>;9AI?D'7D>7JJ7D?IIK<<?9?;DJJEIKFFEHJL;DK;>;H; 0;DK;?IFHEF;H

?D7DO:?IJH?9JM>;H;J>;9H?C;M7I9ECC?JJ;:  ++;:/-2/'45   :7JS 7DA<H7K:

?I9ECC?JJ;:M>;D7I9>;C;JE:;<H7K:EHJEE8J7?DCED;OEHFHEF;HJOKD:;H<7BI;FH;J;DI;I?I

;N;9KJ;:  ++"4/:+* :':+9</21+44?  : S:?H           .>;:;FEI?JE<

<H7K:KB;DJ9>;9AI9EDIJ?JKJ;IIK9>7D;N;9KJ?ED  ++"4/:+* :':+9<58*  : S

J>?H  

          ";H; J>;@KHO9EKB:H;7IED78BO<?D: 8O7FH;FED:;H7D9;E<J>;;L?:;D9; 8EJ>J>7J

.;C7D:?:DEJ>7L;7KJ>EH?P7J?EDJE:;FEI?JJ>;9>;9AI7D:J>7JJ>;:;FEI?JJEEAFB79;?DJ>?I

?IJH?9J 

          IJEJ>;<EHC;H J>;JH?7B;L?:;D9; L?;M;:?DJ>;B?=>JCEIJ<7LEH78B;JEJ>;L;H:?9J 

=7L;J>;@KHO7D7CFB; ?<DEJEL;HM>;BC?D= 87I?IJE<?D:J>7J.;C7DB79A;:7KJ>EH?P7J?EDJE

9H;7J;7D::;FEI?JJ>;I;9>;9AI 7D:J>7JM>;D>;M>;D:?:IE >;M7I7JJ;CFJ?D=JEC?IB;7:

7DAE<C;H?977D:-?=D7JKH;7DA?DJE8;B?;L?D=J>7J>;>7:IK9>7KJ>EH?P7J?ED 

,;FH;I;DJ7J?L;IE<8EJ>KIJEC;HIEDM>EI;799EKDJIJ>;'7H9> 9>;9AIM;H;:H7MD 

1;IJ &&7D:';H9;H 9H;:?8BOJ;IJ?<?;:J>7J.;C7D>7:DEJ:?I9KII;:IK9>:;8JI B;J

7BED;J>;9H;7J?ED7D::;FEI?J8O.;C7DE<9>;9AI:H7MDEDJ>;KIJEC;H799EKDJIJEF7OJ>;C 

M?J>;?J>;HKIJEC;H  +++- .H?7B.H 7J S1;IJ &&/*7J  

';H9;H EJ><B7JBO:;D?;:7KJ>EH?P?D=>?CJEJ7A;CED;O<HECJ>;?H799EKDJI  ++



                                                   

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 55 of 107




+- /*7JS S1;IJ &&/*7JS  S';H9;H 

.;C7DD;L;HJ>;B;II9H;7J;:7D::;FEI?J;:J>;JME9>;9AI ;79>8;7H?D=B7D=K7=;?CFBO?D=J>7J

J>;KIJEC;HI>7:9EDI;DJ;:JE>?I9H;7J?D=7D:D;=EJ?7J?D=9>;9AI:H7MDJE>?I9ECF7DO 

.>KI J>;9>;9AIIJ7J;: U,1*,)(.,. ()-#!(./,,+/#,4 5V7D:J>;

?BB;=?8B;I?=D7JKH;J>7J.;C7DFB79;:EDJ>;C7BIEJ;D:;:JE<7BI;BO9EDDEJ;J>;9>;9AIX7FFHEL7B

8OIEC;F;HIEDEJ>;HJ>7D.;C7D  ++!2 S  'EH;EL;H :E9KC;DJ7HO;L?:;D9;SSM>?9>

J>;!EL;HDC;DJ;B?9?J;::KH?D=.;C7DXI?BB 9ED9;?L;:7JJ;CFJJE:;L;BEF7D7:L?9;E<9EKDI;B

:;<;DI;SS9ED<?HC;:.;C7DXICEJ?L;JE;D=7=;?DIK9>7K:79?EKI9ED:K9JJEI>EH;KF>?I

9ECF7DOXI<?D7D9;I  ++.H?7B.H 7J S 9++'295!2  #J7BIE;IJ78B?I>;:J>7J.;C7D

>7:8;;D7:L?I;:?D7:L7D9;8O9EKDI;BDEJJEM?J>:H7MJ>;CED;O 7I:E?D=IEM7I787:?:;7

J>7J9EKB:B;7:JE>?I7HH;IJ ?CFH?IEDC;DJ 7D:FHEI;9KJ?ED !2  

       IJEJ>;B7JJ;H J>;;L?:;D9; 7IDEJ;: M7IIK<<?9?;DJ<EH7@KHOJE<?D:J>7J.;C7D>7:

C7:;J>;CE8?B;:;FEI?JIE<J>;<H7K:KB;DJ9>;9AIM>?B;?D'7D>7JJ7D 7IEFFEI;:JE7F7HJE<

(;M3EHA?JOEKJI?:;E<J>?I?IJH?9J )DJ>?I87I?I 7H;7IED78B;@KHO9EKB:<?D: 8O7

FH;FED:;H7D9; J>7J.;C7D ?D9?:;DJJE>?II9>;C;JE:;<H7K:8O9H;7J?D=7D::;FEI?J?D=9>;9AI

EDJ>;<7BI;FH;J;DI;J>7J>;>7:KIJEC;H7KJ>EH?JOJE:EIE :;FEI?J;:J>;'7H9> 9>;9AI

<HEC'7D>7JJ7D 

                              ??     EKDJ EKH1?H; H7K:

       1?H;<H7K:?I9ECC?JJ;:M>;D7F;HIEDM>E>7I:;L?I;:7I9>;C;JE:;<H7K:EHJEE8J7?D

CED;OEHFHEF;HJO8O<7BI;EH<H7K:KB;DJFH;J;DI;I H;FH;I;DJ7J?EDI EHFHEC?I;I JH7DIC?JI7D

?DJ;HIJ7J;M?H;EH97KI;IIK9>7M?H;JE8;JH7DIC?JJ;: / -  Q .>;-;9ED:?H9K?J

U>7I<EKD:J>7JED;97KI;I7M?H;JH7DIC?II?EDM>;D>;W79J4I5M?J>ADEMB;:=;J>7JJ>;KI;E<

J>;M?H;IMEKB:<EBBEM?DJ>;EH:?D7HO9EKHI;E<8KI?D;II EH?<IK9>KI;9EKB:H;7IED78BO>7L;

8;;D<EH;I;;D XV/3  :7J ?DJ;HD7BGKEJ7J?EDC7HAIEC?JJ;:GKEJ?D="4/:+* :':+9
                                                

            Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 56 of 107




<&/).+::+225   :  :?H          &?A;87DA<H7K: M?H;<H7K:?I79EDJ?DK?D=

E<<;DI; ;:/-2/'45   :7J .>;H;<EH; <EHL;DK; J>;;L?:;D9;CKIJI>EMJ>7JF7HJE<

J>;M?H;<H7K:M7I8;=KD 9EDJ?DK;: EH9ECFB;J;:?DJ>?I?IJH?9J  ++/ -  Q7 #J?I

IK<<?9?;DJJEI>EMJ>7JU7M?H;?D<KHJ>;H7D9;E<7I9>;C;8;=?DI?JI9EKHI; 9EDJ?DK;IEH;D:IV?D

J>?I?IJH?9J ;:/-2/'45   :7J;NFB7?D?D=L;DK;B?;I?DIK9>FB79;I 

            ";H; JEE <EHCK9>J>;I7C;H;7IEDI7I<EHJ>;87DA<H7K:9EKDJ L;DK;<EHM?H;<H7K:?I

IKFFEHJ;:8OJ>;<79J M>?9>J>;;L?:;D9;;CFEM;H;:J>;@KHOJE<?D: J>7J.;C7DXICE8?B;

:;FEI?JIE99KHH;:?D'7D>7JJ7D 'EH;EL;H J>;:;FEI?JH;IKBJ;:?D;B;9JHED?99ECCKD?97J?EDI

8;?D=I;DJ<HEC'7D>7JJ7DJE7DAE<C;H?97I;HL;HI?D.;N7I7IF7HJE<J>;FHE9;II8OM>?9>

J>;9>;9AIM;H;D;=EJ?7J;:  ++.H?7B.H 7J S  .>;I;;B;9JHED?99ECCKD?97J?EDIJEE

IKFFEHJ;:L;DK;<EHJ>;M?H;<H7K:9EKDJ 7I?JM7IH;7IED78BO<EH;I;;78B;J>7J7CE8?B;:;FEI?J

MEKB:H;IKBJ?D?DJ;HIJ7J;M?H;9ECCKD?97J?EDI<HECJ>;FE?DJE<:;FEI?J?D9?:;DJJEFHE9;II?D=

J>;9>;9A 

            .>;EKHJ799EH:?D=BO<?D:IJ>7JJ>;H;M7IIK<<?9?;DJ;L?:;D9;JEIKFFEHJL;DK;EDEKDJ

    EKH 

                           (    5;4:94+'4*!.8++AA68/2  .+)19

            EKDJ)D;9>7H=;I87DA<H7K:7D:EKDJ.>H;;9>7H=;IM?H;<H7K:?D9EDD;9J?EDM?J>

J>;FH?B9>;9AI  ++-RR  .;C7D7H=K;IJ>7J>?I87DA7D:M?H;E<<;DI;IM?J>H;IF;9JJE

J>;FH?B9>;9AIM;H;9ECFB;J;M>;D>;:;FEI?J;:J>;9>;9AI?D BEH?:7EH 7JJ>;B7J;IJ M>;D

7DAE<C;H?979B;7H;:J>;>EB:ED>?I799EKDJ7D:J>;<KD:I8;97C;7L7?B78B;JE>?C  ++

.;C7D';C 7J.;C7D,;FBO7J .>;!EL;HDC;DJ ;CF>7I?P?D=J>7J87DA7D:M?H;<H7K:

7H;9EDJ?DK?D=E<<;DI;I DEJ;IJ>7J.;C7DXII9>;C;B7IJ;:8;OED:J>EI;FE?DJI7D:M7I7?C;:7J

I;9KH?D=<EH>?CI;B<J>;<HK?JIE<J>;<H7K:  ++!EL ';C 7JS .>;?CFEHJE<J>;

!EL;HDC;DJXI7H=KC;DJ?IJ>7J.;C7DXII9>;C;H;GK?H;::;9;?L?D=8EJ>J>;:;FEI?J7HO'4*
                                                    

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 57 of 107




:H7M;;87DAI7IJ>;L7B?:?JOE<J>;9>;9AIIE7IJE;D78B;>?CJEM?J>:H7MJ>;<KD:I>;>7:

:;FEI?J;:  ++/*7J )DJ>?IFH;I;DJ7J?EDE<J>;I9>;C; ?J7H=K;IJ>7JL;DK;C7O8;<EKD:

87I;:ED7DOE<J>H;;79JIM?J>?DJ>?I?IJH?9J?.;C7DXIM?J>:H7M7BE<     <HECJ>;

'7D>7JJ7D7DAE<C;H?978H7D9> M>?9> J>;!EL;HDC;DJ9EDJ;D:I H;FH;I;DJ;:FHE9;;:IE<

J>;I9>;C;7D:;NFEI;:7DAE<C;H?97JE=H;7J;HBEII??J>;?DJ;HIJ7J;M?H;J>7JM7I7

9ECFED;DJE<-?=D7JKH;7DAXIH;L?;ME<J>;9>;9AI?D'7D>7JJ7DEH???KD:7J;:F>ED;

9EDL;HI7J?EDI7D:J;NJC;II7=;9EDL;HI7J?EDI8;JM;;D$H;FH;I;DJ7J?L;-EB;?C7D? <HEC>?I

'7D>7JJ7DE<<?9; 7D:.;C7D <HEC BEH?:7  ++/*7JS 

       .>;EKHJ<?D:IJ>7J 7BJ>EK=>J>;L;DK;GK;IJ?ED7IJEEKDJ)D;?I9BEI; J>;;L?:;D9;

KBJ?C7J;BOM7IIK<<?9?;DJJEF;HC?J7H;7IED78B;@KHOJE<?D: 8O7FH;FED:;H7D9;E<J>;;L?:;D9; 

L;DK;7IJE8EJ>EKDJ)D;7D:EKDJ.>H;; 

                              ???    EKDJ)D;7DA H7K:

       IDEJ;: 87DA<H7K:?I79EDJ?DK?D=E<<;DI;  ++;:/-2/'45   :7JD 

'-'995;('  :7J  7DA<H7K:J>;H;<EH;C7O8;FHEI;9KJ;:?D7DO:?IJH?9JM>;H;?J

                                

   .;C7D:?IFKJ;IJ>?IFHEFEI?J?ED7D:<7KBJIJ>;!EL;HDC;DJ<EH9?J?D=;:/-2/'45   :
7JD  7D:'-'995;('  :7J  7IIKFFEHJ<EH?J .;C7D,;FBO7J .;C7DXI
C7?D7H=KC;DJ?IJ>7JJ>;I;97I;IH;BOED;4)'4  :7J  M>?9>?DLEBL;:79EDIF?H79O
9>7H=; .;C7D?IMHED= ;4)'49EDI?:;H;:7D:IKIJ7?D;:8EJ>79EDIF?H79O9>7H=;7D:7
IK8IJ7DJ?L;87DA<H7K:9>7H=;  ++/*7J 0;DK;M7I?D:;F;D:;DJBOH;GK?H;:<EH;79>9>7H=; 
.>7J?I8;97KI; U4M5>;H;   7:;<;D:7DJ?I9>7H=;:M?J>9EDIF?H79O7IM;BB7IIK8IJ7DJ?L;
E<<;DI;I L;DK;CKIJ8;B7?:?D7:?IJH?9JM>;H;7BB9EKDJIC7O8;JH?;: .>KI J>;L;DK;
FEJ;DJ?7B?D79EDIF?H79O97I;<EHJ>;FHEI;9KJEHJE9>EEI;<HEC?ID7HHEM;:8OJ>;IK8IJ7DJ?L;
9EKDJIJ>;=EL;HDC;DJM?I>;IJEFHEI;9KJ; V"4/:+* :':+9< ''<+*8'  : 
:?H       .>;<?D:?D=E<L;DK;?D;4)'4ED79EDJ?DK?D=E<<;DI;J>;EHOJ>KI7FFB?;IJE
J>;IK8IJ7DJ?L;87DA<H7K:9EKDJ7IM;BB #D7DO;L;DJ J>;-;9ED:?H9K?J>7IIGK7H;BO>;B:?D
<7LEHE<J>;!EL;HDC;DJEDJ>?IFE?DJ #D'-'995;(' M>?9>?DLEBL;:7FH;:?97J;IK8IJ7DJ?L;
87DA<H7K:E<<;DI; J>;?H9K?JIJ7J;:U#J?IM;BB;IJ78B?I>;:J>7J87DA<H7K:?I79EDJ?DK?D=
E<<;DI; V'-'995;('  :7J  )J>;H9?H9K?JI>7L;>;B:J>;I7C;<EHJ>;FKHFEI;IE<
L;DK; 9+++- "4/:+* :':+9<'4152+  FFXN SJ>?H  "4/:+*
  :':+9< )5::   : IJ?H  "4/:+* :':+9<'0058  : 
J>?H  "4/:+* :':+9<;68+  : J>?H $'9./4-:54   :

                                                

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 58 of 107




?I8;=KD 9EDJ?DK;: EH9ECFB;J;:  ++/ -  Q7 EDI;GK;DJBO J>;?DGK?HO>;H;?I

M>;J>;H7DOE<J>;J>H;;79JI?DJ>?I?IJH?9JJ>7JJ>;!EL;HDC;DJ7H=K;IIKFFEHJL;DK;E99KHH;:

7IF7HJE<J>;9EDJ?DK?D=I9>;C;EHM>;J>;HJ>;I9>;C;>7:7BH;7:O8;;D9ECFB;J;: .>;EKHJ

<?D:IJ>7J E<J>;J>H;; EDBOJ>;-?=D7JKH;7DAH;L?;M?IFHEF;HBO9>7H79J;H?P;:7I7

9EDJ?DK7J?EDE<J>;87DA<H7K:I9>;C; 8KJJ>7J?J?IIK<<?9?;DJJEIKFFEHJL;DK;EDJ>?I9EKDJ 

       #J?I?CFEHJ7DJ7JJ>;J>H;I>EB:JE9B7H?<OJ>;D7JKH;7D:E8@;9JE<.;C7DXIEKDJ)D;

87DA<H7K:I9>;C; .>;;L?:;D9; L?;M;:?DJ>;B?=>JCEIJ<7LEH78B;JEJ>;L;H:?9J I>EM;:J>7J

.;C7D7JJ;CFJ;:JEC?IB;7:8EJ>7DAE<C;H?977D:;79>:H7M;;87DA?DJE8;B?;L?D=>;M7I

7KJ>EH?P;:JE:;FEI?JJ>;FH?B9>;9AI7D:J>7JJ>;OI>EKB:J>;H;<EH;>EDEHJ>;9>;9AI 

-?=D?<?97DJBO 8OC?: FH?B 7I7H;IKBJE<J>;>EB:7D:9>7H=;879AIJ>7J>;>7:;NF;H?;D9;:?D

9EDD;9J?EDM?J>J>;'7H9>9>;9AI .;C7DM7IEDDEJ?9;J>7JJ>;:;FEI?J7HO7D:J>;:H7M;;

87DAIMEKB:H;L?;M9>;9AIJ>7J>;<78H?97J;:EDJ>;KIJEC;HIX799EKDJI 7D:J>7J>;9EKB:8;

:;D?;:799;IIJEJ>;<KD:I8O;?J>;HJ>;:;FEI?J7HO87DAEHJ>;:H7M;;87DAED?JI;DIK?D=

H;L?;M ";DEJ?<?;:>?I7JJEHD;O78EKJJ>;>EB:IEDJ>;'7H9>9>;9AI7D:M7I7:L?I;:DEJJE

:;FEI?JIK9>9>;9AI7=7?D  ++!2  /D:;J;HH;: .;C7D9H;7J;:7D;MHEKD:E<,I

8;=?DD?D=?DC?: FH?B &?A;J>;'7H9>9>;9AI J>;I; EDJ>;?H<79; IJ7J;:J>7JJ>;9>;9AIM;H;

U,14(5*,)(.,. ()-#!(./,,+/#, V!2 S  KJJ>;<79;E<

.;C7DXIFH?B9>;9AI?D9BK:;:7::?J?ED7BB7D=K7=;7U()..)(%VJ>7JIJ7J;:U4J5>?I?I7

L7B?:9>;9A 3EK7H;H;GK?H;:8OB7MJE>EDEH?J V*.>;FH?B9>;9AI7BIE?D9BK:;:7B?DAJE

J>;!7J;!K7H:.;HCI7D:ED:?J?EDI M>?9>?DJKHD?D9BK:;: I;L;H7BF7=;I?D 7B?DA?DJ>;


                                
7J"4/:+* :':+9<;(('8*  :    ?H  .>;?IIK;>;H;?IDEJ
J>;H;<EH;J>;9ED9;FJK7BED;E<M>;J>;H87DA<H7K:?I79EDJ?DK?D=E<<;DI; #J?IJ>;97I; IF;9?<?9
ED;E<M>;J>;HJ>;87DA<H7K:E<<;DI;9>7H=;:>;H;M7I9ECFB;J;EHED=E?D=7JJ>;J?C;J>;
9EDJ79JI?DJ>?I?IJH?9JE99KHH;: 7D: ?<ED=E?D= M>;J>;HJ>EI;9EDJ79JIM;H;E<7D7JKH;JE
IKFFEHJL;DK; 
                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 59 of 107




C?::B;E<7F7H7=H7F>JEJ>;*7OC;DJ.;HCI *.7J IDEJ;: .;C7DXI9EDJ;DJ?EDSS

7BJ>EK=>KD?<EHCBOH;<KJ;:8O>?IKIJEC;HISSM7IJ>7JJ>;O>7:7II;DJ;:JEJ>;I;*7OC;DJ

.;HCI7D:J>;H;8O7KJ>EH?P;:>?CJE:H7M9>;9AIEDJ>;?H799EKDJI<EH:;8JI:K; @KHO9EKB:

H;7IED78BOL?;MJ>;7::;:DEJ7J?EDIED.;C7DXIFH?B9>;9AI7I7?C;:7J?D9H;7I?D=J>;9>7D9;I

J>7JJ>;9>;9AIMEKB:IKHL?L;H;L?;M7J8EJ>J>;:;FEI?J7HO7D::H7M;;87DAIIE7IJEF;HC?J

.;C7DJE799;IIJ>;:;FEI?J;:<KD:I BJ>EK=>J>;-?=D7JKH;7DAH;L?;M7D:J>;H;IKBJ?D=

9>7H=;879A978?D;:J>;I?P;E<>?IM?J>:H7M7B .;C7DSS7IIEED7IJ>;>EB:M7IB?<J;:<HEC>?I

799EKDJ7D:>;>7:799;IIJEJ>;<KD:ISSJH7DI<;HH;:CEIJE<J>;87B7D9;<HECJ>;!7J;!K7H:

799EKDJ FH;IKC78BOJEB;II;D>?I;NFEIKH;JE7DOB7J;H9>7H=;879AI  ++.H?7B.H 7JS

!2 

       .>;EKHJDEM;N7C?D;I ?DB?=>JE<J>;78EL;KD:;HIJ7D:?D=E<.;C7DXI87DA<H7K:

I9>;C; J>;!EL;HDC;DJXIJ>H;;J>;EH?;IE<L;DK; 

       $/:.*8'='25, 54'? .;C7DXIM?J>:H7M7B ED'7O   E<          7J7

7DAE<C;H?978H7D9>?D'7D>7JJ7D?I?DIK<<?9?;DJJEIKFFBOL;DK; .>7J?I8;97KI; ;L;D

79ADEMB;:=?D=J>;J?C;IF7DE<J>;I9>;C;7IFH;I;DJ;:78EL; J>;M?J>:H7M7BE99KHH;:7<J;H

J>;87DA<H7K:M7I9ECFB;J; -;9J?ED9H?C?D7B?P;IU;79>+>+);:/54E<7<H7K:KB;DJI9>;C; 

DEJ;79>79J?D<KHJ>;H7D9;E<IK9>7FB7D V/21+44?  :7J;CF>7I?I?DEH?=?D7B IE

J>;9H?C;?I9ECFB;J;7<J;HJ>;I9>;C;>7I8;;D;N;9KJ;:  ++"4/:+* :':+9<+'':' 


                               

  #D7DEJ>;HCE:?<?97J?EDE<>?I'7H9>CE:KIEF;H7D:? .;C7DSS7FF7H;DJBOJEH;:K9;J>;H?IA
J>7J>?I9KIJEC;HIMEKB:H;9;?L;FHECFJDEJ?9;E<J>;B7H=;9>;9AI>;>7::H7MDEDJ>;?H
799EKDJI7D:79JJELE?:J>;I;9>;9AISS:;FEI?J;:J>;9>;9AIEDJ>; H?:7OE<*7IIEL;H ;97KI;
J>;FH?D9?F7BIE<1;IJ &&7D:$M;H;E8I;HL7DJ$;MI J>;OMEKB:DEJ799;IIJ>;?H
;B;9JHED?9IEL;HJ>;M;;A;D:  ++.H?7B.H 7JS1;IJ &&/*7JS$ 
.>;!EL;HDC;DJ?DJHE:K9;:;L?:;D9;J>7J.;C7DM7I7M7H;E<J>;H;B?=?EKIFH79J?9;IE<J>;I;
KIJEC;HI  ++!27J;C7?B<HEC.;C7DJ>H;7J;D?D=JEFB79;B?;DED1;IJ 
&&XI8K?B:?D=:KH?D=*7IIEL;H!2 7J;C7?B<HEC.;C7DIJ7J?D=J>7J-EB;?C7D? J>;
$H;FH;I;DJ7J?L; I7?:>;MEKB:?DL?J;.;C7DJE7*7IIEL;HI;:;H 
                                                

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 60 of 107




 : J>?H         .E:;J;HC?D;M>;DJ>;I9>;C;M7I;N;9KJ;: U9EKHJI

BEEAJE7DKC8;HE<<79JEHI ?D9BK:?D=J>;EL;H7BB9EDJEKHIE<J>;<H7K:KB;DJI9>;C;7D:T

F;H>7FICEIJ?CFEHJ7DJBOTJ>;FE?DJ7JM>?9>J>;<?D7D9?7B?DIJ?JKJ?EDM7IFKJ7JH?IAE<<?D7D9?7B

BEII V/21+44?  :7J9++'295"4/:+* :':+9<4*+8954  : 

J>?H U4.5>;9H?C;E<87DA<H7K:?I9ECFB;J;M>;DJ>;:;<;D:7DJFB79;IJ>;87DA7J7

H?IAE<<?D7D9?7BBEII 7D:DEJD;9;II7H?BOM>;DJ>;BEII?JI;B<E99KHI V 

       ";H; .;C7D:;FEI?J;:J>;9>;9AI7J7 BEH?:78H7D9>E<7DAE<C;H?977D: 

<EBBEM?D=7I;L;D :7O>EB:EDJ>;<KD:I H;9;?L;:799;IIJEJ>EI;<KD:I  ++.H?7B.H 7J 

  )D9;7DAE<C;H?97H;B;7I;:J>;>EB:EDJ>;<KD:I .;C7DXII9>;C;M7I9ECFB;J; 

.>;FKHFEI;E<J>;>EB:M7IJE7BBEM8EJ>7DAE<C;H?977D:J>;:H7M;;87DAIJE9ED:K9J

J>;?HH;L?;MI  ++/*7J /D:;HI;JJB;:97I;B7M ED9;7DAE<C;H?97=H7DJ;:.;C7D

799;IIJE 7D:9EDJHEBE< J>;<KD:I UJ>;87DAFKJ?JI;B<7JH?IA<EHBEI?D=J>;;DJ?H;7CEKDJE<J>;

9>;9A4I5 7D:J>;IK8I;GK;DJM?J>:H7M7B45:?:DEJ9H;7J;7D7::?J?ED7BH?IA V"4/:+* :':+9<

0'?/   : J>?H  9++'295+- 4*+8954  :7JUDO

I9>;C;4:;<;D:7DJ5C7O>7L;9ED9;?L;:M7I9ECFB;J;:KFEDH;9;?FJE<J>;<KD:I .>;C;H;79J

E<JH7DI<;HH?D=CED;O<HECED;87DA799EKDJJE7DEJ>;HM7IDEJF7HJE<J>;EH?=?D7BI9>;C;JE

:;<H7K: DEH:?:?J9H;7J;7D;M<?D7D9?7BH?IA    )D9;4:;<;D:7DJ5>7:9EDJHEBE<J>;CED;O 

J>;I9>;C;;D:;: V"4/:+* :':+9<8+--  : J>?H U415;>7L;

DEJHEK8B;?D:;9?:?D=J>7JJ>;87DA<H7K:M7I79ECFB;J;:9H?C;M>;D4:;<;D:7DJ5<H7K:KB;DJBO

E8J7?D;:J>;:;FEI?JE<J>;FHE9;;:IE<J>;9>;9A?DJE>?I799EKDJ M?J>J>;?DJ;DJ7JJ>7JJ?C;JE

;L;DJK7BBOM?J>:H7MCED;O<HECJ>7J799EKDJ<EH>?IEMDKI; V58*  :7JU#J?IJ>;

:;FEI?JI DEJ4:;<;D:7DJXI5M?J>:H7M7B7JJ;CFJI J>7J9EDIJ?JKJ;;N;9KJ?EDIE<J>;I9>;C; V),

;:/-2/'45   :7JDEJ?D= ?D9EDJ;NJE<M?H;<H7K: J>7JU7I9>;C;JE:;<H7K:?IDEJ



                                                   

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 61 of 107




9ECFB;J;KDJ?BJ>;FHE9;;:I>7L;8;;DH;9;?L;:VGKEJ?D="4/:+* :':+9<#/2'8  : 

:?H   EDI;GK;DJBO .;C7DXI'7D>7JJ7DM?J>:H7M7BED'7O:?:DEJH;FH;I;DJJ>;

8;=?DD?D= 9EDJ?DK7J?ED EH9ECFB;J?EDE<J>;87DA<H7K: #JJ>KI97DDEJIKFFEHJL;DK;<EHEKDJ

)D;  

         #DIKFFEHJE<?JIFEI?J?EDJ>7JJ>;'7OM?J>:H7M7BIKFFB?;IL;DK; J>;!EL;HDC;DJ9?J;I

'-'995;('  ++!EL ';C 7J  .>;H; J>;?H9K?J9EDI?:;H;:M>;J>;HL;DK;M7IFHEF;H

?DJ>?I?IJH?9J<EH7D7==H7L7J;:?:;DJ?JOJ>;<J9EKDJFH;:?97J;:ED787DA<H7K:E<<;DI;  ++

'-'995;('  :7J  .>;?H9K?J>;B:J>7J8;97KI;L;DK;M7IFHEF;H<EH87DA<H7K: ?J

M7I7BIEFHEF;H<EH?:;DJ?JOJ>;<J  ++/*7J S  #D9EDD;9J?EDM?J>J>;87DA<H7K:9EKDJ 

J>;?H9K?JIJ7J;:J>7J?JM7IUKD:?IFKJ;:J>7JL;DK;M7IFHEF;HBOB7?:?DJ>;-EKJ>;HD?IJH?9JE<

(;M3EHA V*7J  .>7JM7I8;97KI;J>;:;<;D:7DJ<H7K:KB;DJBO97KI;:CED;OJE8;

JH7DI<;HH;:<HEC79H;:?J97H:799EKDJE<7HEEABOD8KI?D;IIC7D7D::;FEI?J;:?DJEJ>;

:;<;D:7DJXI$*'EH=7D>7I;87DA799EKDJ?DJ>?I?IJH?9J 7D:>;B7J;HJM?9;M?J>:H;MCED;O

<HECHEDN>7I;8H7D9>;I *9++'295'88/+<"4/:+* :':+9 (E  H ,** 

 1& 7J-  ( 3 (EL   :;I9H?8?D=;L?:;D9;H;B7J?D=JEI9>;C;?D

CEH;:;J7?B KJ'-'995;('?I?D7FFEI?J;8;97KI;J>;?H9K?JJ>;H;:?:DEJ>EB:J>7JL;DK;

M7IFHEF;H(+)';9+E<J>;:;<;D:7DJXIB7J;HM?J>:H7M7BE<J>;<HK?JIE<J>;87DA<H7K: #DIJ;7: ?J

DEJ;:J>7JJ>;:;<;D:7DJ:?:DEJ9EDJ;IJL;DK;7IJE87DA<H7K: (EH9EKB:>; 7IJ>;<KD:I>7:

?D?J?7BBO8;;D:;FEI?J;:?DJE>?I87DA799EKDJ BE97J;:?DJ>?I?IJH?9J D7BE=EKIBO L;DK;ED7



                              

  .;C7DFEJ;DJ?7BBO9EKB:>7L;<79;:EJ>;H9>7H=;I<EHJ>;M?J>:H7M7B ?D9BK:?D=<EHCED;O
B7KD:;H?D= .>7JJ>;M?J>:H7M7BE<<KD:I9EKB:>7L;8;;DFHEI;9KJ;:KD:;H7:?<<;H;DJIJ7JKJ;
:E;IDEJ >EM;L;H ;NJ;D:J>;:KH7J?EDE<J>;87DA<H7K:I9>;C;  +++- 8+--  :
7JS>EB:?D=J>7J87DA<H7K:I9>;C;M7I9ECFB;J;M>;D:;<;D:7DJ:;FEI?J;:<KD:I<HEC
I9>;C;?DJE>?I799EKDJ8KJJ>7J>?IB7J;HM?J>:H7M7BE<J>EI;<KD:IIKFFEHJ;:CED;OB7KD:;H?D=
9>7H=; 
                                                 

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 62 of 107




I?J; E< :;FEI?JJ>;EHO9EKB:>7L;;N?IJ;:>;H;>7:.;C7DXI?D?J?7B:;FEI?JE<J>;KD7KJ>EH?P;:

9>;9AIE99KHH;:?D'7D>7JJ7D .>;;L?:;D9; >EM;L;H I?JK7J;:J>;:;FEI?J?D BEH?:7 

          /-4':;8+'41D9,8';*8+</+=.>;!EL;HDC;DJD;NJH;B?;IED-?=D7JKH;7DAXI<H7K:

H;L?;ME<J>;9>;9AI M>?9>JEEAFB79;?D'7D>7JJ7D -?=D7JKH;7DAM7IJ>;87DA<EH

1;IJ && ED;E<J>;;DJ?J?;IM>EI;<KD:I.;C7D7JJ;CFJ;:<H7K:KB;DJBOJEE8J7?DL?7J>;

FH?B9>;9AI -?=D7JKH;7DA<B7==;:J>;9>;9AI:H7MDED1;IJ &&XI799EKDJ 9++

.H?7B.H 7JS 97KI?D=7DAE<C;H?97JE?IIK;7         9>7H=;879AJEJ>;1;IJ 

&&799EKDJ 9++/*7JS!2 

          /DB?A;.;C7DXIM?J>:H7M7B -?=D7JKH;7DAXIH;L?;ME99KHH;::KH?D=J>;F;D:;D9OE<

J>;I9>;C; #JJEEAFB79;8;<EH;J>;>EB:ED.;C7DXI799EKDJM7IB?<J;:7D:J>;<KD:IM;H;

H;B;7I;:JE>?C /+ 8;<EH;J>;87DA<H7K:M7I9ECFB;J;:  ++!2I>EM?D=:;FEI?JED

FH?B  -?=D7JKH;7DA9>7H=;879AEDFH?B  7D:JH7DI<;HIJEJ>; H?;D:EH

    H7K:7D:.;C7DXIF;HIED7B799EKDJEDFH?B   .>;H;<EH; J>;GK;IJ?ED?IM>;J>;H <EH

J>;FKHFEI;IE<Q7 J>;-?=D7JKH;7DAH;L?;MM7I79EDJ?DK7J?EDE<J>;9H?C; 

         .>;EKHJ<?D:IJ>7J?JM7I #JM7IF7HJE<J>;I9>;C;J>7JJ>;KD7KJ>EH?P;:9>;9AI8;

9EDIJHK9J;:IE7IJE9B;7HH;L?;M8O7DAE<C;H?977D:J>;:H7M;;87DAI ?D9BK:?D=-?=D7JKH;

7DA 7D:JE;D78B;.;C7DJE=7?D799;IIJEJ>;<KD:I .EE8J7?DJ>;CED;O>;IEK=>J ?JM7I

D;9;II7HO<EH.;C7DJE:;9;?L;8EJ>87DAI .>;:H7M;;87DAXIH;L?;M?IIK<<?9?;DJ<EHL;DK;

8;97KI;UL;DK;?IFHEF;H?D7:?IJH?9JM>;H;J>;:;<;D:7DJ?DJ;DJ?ED7BBOEHADEM?D=BO97KI;I

7D79J?D<KHJ>;H7D9;E<J>;9>7H=;:E<<;DI;JEE99KH?DJ>;:?IJH?9JE<L;DK;EH?J?I

<EH;I;;78B;J>7JIK9>7D79JMEKB:E99KH?DJ>;:?IJH?9JE<L;DK; V"4/:+* :':+9< <5(5*' 

 : :?H        ";H; J>;I;9ED:FHED=?IC;J#JM7I<EH;I;;78B;8EJ>J>7J




                                                  

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 63 of 107




-?=D7JKH;7DAMEKB:9ED:K9J7<H7K:H;L?;ME<J>;FH?B  9>;9AI7D:J>7JJ>;H;L?;M

MEKB:J7A;FB79;?D'7D>7JJ7D 

       ?HIJ ?J?I<EH;I;;78B;J>7J7:;FEI?JE<7DKD7KJ>EH?P;:9>;9A9EKB:JH?==;H7<H7K:

H;L?;M #JM7IF7HJ?9KB7HBO<EH;I;;78B;J>7J-?=D7JKH;7DAMEKB:H;L?;M9>;9AIE<J>?ID7JKH;T

?J>7::ED;IEJ>;FH;L?EKICEDJ><EHI?C?B7H9>;9AI:;FEI?J;:8O.;C7D .>;;L?:;D9;I>EM;:

J>7JED;E<J>;KD7KJ>EH?P;:9>;9AIJ>7J.;C7D:;FEI?J;:ED'7H9>   M7I:H7MDED

1;IJ &&XI799EKDJ   ++!2!2  7DAE<C;H?97>7:FB79;:7>EB:ED<KD:I

<HECJ>EI;9>;9AI 9++!2 !2 7D:-?=D7JKH;7DA9ED:K9J;:7<H7K:H;L?;ME<J>7J

9>;9A7D:<B7==;:?J<EH<H7K: 9++.H?7B.H 7JS )DFH?B   7DAE<C;H?97

9ECFB;J;:79>7H=;879A<HECJ>;!7J;!K7H:799EKDJJE1;IJ &&XI799EKDJ  ++

!29++'295.H?7B.H 7JS!27J87DAIJ7J;C;DJ<EH1;IJ &&XI

799EKDJ .>;I;H;L?;MIJEEAFB79;8;<EH;FH?B   FKJJ?D=.;C7DED79JK7BDEJ?9;E<J>;

<79JJ>7J-?=D7JKH;7DAM7I7FJJEH;L?;M7I;9ED:I;JE<IK9>9>;9AI 

       -;9ED: ?JM7I<EH;I;;78B;J>7JJ>;H;L?;MMEKB:J7A;FB79;?D'7D>7JJ7D .;C7D>7:

9ED:K9J;:8KI?D;IIM?J>1;IJ &&?D'7D>7JJ7D 7D:AD;MJ>7J1;IJ &&

>7:7D799EKDJM?J>-?=D7JKH;7DA 7BIEBE97J;:?D'7D>7JJ7D .>;'7H9>  9>;9A 

M>?9>.;C7D9B7?C;:M7I7D,J>7J>;>7:9H;7J;: IJ7J;:ED?JI<79;J>7J?JM7I<HEC

-?=D7JKH;7DA BE97J;:7J'7:?IEDL; J> BEEH (;M3EHA (3             ++!2

!2 9++'295.H?7B.H 7J !?L;D-?=D7JKH;7DAXI'7D>7JJ7DBE97J?ED ?JM7I

<EH;I;;78B;J>7J7<H7K:H;L?;MMEKB:J7A;FB79;?D'7D>7JJ7D ,/3  :7JS



                              

  .>;I;9ED:9>;9AJ>7J.;C7D:;FEI?J;:ED'7H9>  M7I:H7MDEDJ>;799EKDJE<
';H9;H M>?9>7BIE>7:?JI87DA799EKDJM?J>-?=D7JKH;7DA  ++.H?7B.H 7JS 
-?=D7JKH;7DA7BIE<B7==;:J>7J9>;9A<EH<H7K: 7D:7DAE<C;H?979ECFB;J;:79>7H=;879A
JEJ>;';H9;H799EKDJ  ++/*7JS9++'295!2 
                                                

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 64 of 107




L;DK;FHEF;H<EHM?H;<H7K:M>;H;:;<;D:7DJ M>EM7IDEJBE97J;:?D 7D::?:DEJF;HIED7BBO

I;D:9ECCKD?97J?EDIJE J>?I?IJH?9J U97KI;:9ECCKD?97J?EDIJE8;JH7DIC?JJ;:?DJE7D:EKJE<

J>;-EKJ>;HD?IJH?9JM>;D>;7FFHEL;:<H7K:KB;DJ?DLE?9;IADEM?D=J>7J4J>;:;<H7K:;:;DJ?JO5

F7?:?JIL;D:EHI<HEC(;M3EHA87DAIV .>;H;<EH; -?=D7JKH;7DAXI<H7K:H;L?;M 7>KH:B;

.;C7DD;;:;:JE9B;7H8O<H7K:KB;DJC;7DIJE=7?DJ>;CED;O>;IEK=>J ?IIK<<?9?;DJJEIKFFEHJ

L;DK;?DJ>?I?IJH?9J 

         52+/3'4/6.54+'4*:+>:3+99'-+9 ?D7BBO J>;!EL;HDC;DJH;B?;IEDF>ED;7D:J;NJ

C;II7=;9EDL;HI7J?EDIJ>7J-EB;?C7D?IJ7J;:>;>7:M?J>.;C7D M>?B;-EB;?C7D?M7IBE97J;:?D

'7D>7JJ7D7D:.;C7D 7JJ?C;I M7IBE97J;:?D BEH?:7  ++.H?7B.H 7JS 1>?B;

9ECCKD?97J?EDIJE7D:<HECJ>?I?IJH?9J7H;=;D;H7BBOIK<<?9?;DJJEIKFFEHJL;DK; 9++/3 

 :7J J>;I;IF;9?<?99ECCKD?97J?EDI<7BBI>EHJ .>7J?I8;97KI;!EL;HDC;DJ>7IDEJ

7::K9;:;L?:;D9;7IJEM>;DJ>;I;9ECCKD?97J?EDIE99KHH;:  ++.H?7B.H 7JS 

-EB;?C7D?;NFB7?D?D=J>7J>;>7:F>ED;9EDL;HI7J?EDIM?J>.;C7DM>;D-EB;?C7D?M7I?D>?I

'7D>7JJ7DE<<?9; M>;H;>;>7I8;;DBE97J;:<EHU4758EKJJMEO;7HIV .>;;L?:;D9;M7IJ>KI

?DIK<<?9?;DJ;L?:;D9;<EH7@KHOJE<?D:8O7FH;FED:;H7D9;J>7J7DOE<J>;I;IK9>

9ECCKD?97J?EDIE99KHH;::KH?D=J>;J?C;<H7C;9>7H=;:?DEKDJ)D; 7FFHEN?C7J;BOFH?B

J>HEK=>$KD;  9++-R  ++++).;:;:8/:/54586  :7J ;NFB7?D?D=J>7J

;L;D<EH9EDJ?DK?D=L?EB7J?EDI 79JIJ>7J7H;UC;H;BOFH?EH7D:FH;F7H7JEHOJEVE<<;DI;97DDEJ

IKFFEHJL;DK; 

                               ?L    EKDJ.>H;;1?H; H7K:

        &?A;87DA<H7K: M?H;<H7K:?I79EDJ?DK?D=E<<;DI; ;:/-2/'45   :7J 7D:C7O

8;FHEI;9KJ;:M>;H;?JM7I8;=KD 9EDJ?DK;: EH9ECFB;J;: 9++/ -  Q7 D

?DJ;=H7BF7HJE<7M?H;<H7K:I9>;C;?I97KI?D=?DJ;HIJ7J;M?H;IJE8;I;DJ I:?I9KII;:9;68' 7

:;<;D:7DJ97KI;I7M?H;JE8;I;DJM>;DKI;E<J>;M?H;9EKB:8;H;7IED78BO<EH;I;;D /3 
                                                 

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 65 of 107




 :7J 1>;DIK9>7M?H;8;=?DI 9EDJ?DK;I EH;D:I?DJ>?I?IJH?9J J>;H;?IL;DK;

>;H;  ++;:/-2/'45   :7J 

          IM?J>87DA<H7K: L;DK;<EHEKDJ.>H;;E<M?H;<H7K:?IIKFFEHJ;:8OJ>;M?H;J>7J

?DIJ?=7J;:J>;-?=D7JKH;7DA<H7K:H;L?;M?D'7D>7JJ7D M>?9>.;C7DXII9>;C; JEIK99;;: 

M7IH;GK?H;:JE9B;7H <J;H.;C7D:;FEI?J;:J>;9>;9AI7JJ>;7DAE<C;H?978H7D9>?D

    BEH?:7 ?C7=;IE<J>EI;9>;9AIM;H;I;DJJEJ>; ;:;H7B,;I;HL;7D:J>;DJE-?=D7JKH;7DA?D

'7D>7JJ7D  ++.H?7B.H 7JS  S .;C7D?I<7?HBO<EKD:JE>7L;97KI;:J>;I;

M?H;JH7DIC?II?EDIJE8;I;DJ 7I?JM7IH;7IED78BO<EH;I;;78B; <EHJ>;H;7IEDI:?I9KII;:9;68' 

J>7JJ>;I;9>;9AIMEKB:8;IK8@;9J;:JE-?=D7JKH;7DAXI<H7K:H;L?;M?DJ>?I?IJH?9J -?=D7JKH;

7DAXIH;9;FJ?EDE<J>;9>;9A?C7=;I?D'7D>7JJ7D?IIK<<?9?;DJ<EHL;DK;>;H;  ++/3 

 :7JS7<<?HC?D=<?D:?D=J>7JUM?H;?IWJH7DIC?JJ;:X8EJ>M>;H;?JM7II;DJ7D:

M>;H;?JM7IH;9;?L;: V7D:J>7JL;DK;M7IFHEF;H?DJ>?I?IJH?9JM>;D:;<;D:7DJ97KI;:

9ECCKD?97J?EDIJE8;I;DJJE7D:<HEC'7D>7JJ7D87DA9++'295;:/-2/'45   :7J

7BJ>EK=>:E9JH?D;J>7JU7I9>;C;JE:;<H7K:?IDEJ9ECFB;J;KDJ?BFHE9;;:I>7L;8;;DH;9;?L;:V

>7IIEC;B?C?J U7JB;7IJJ>;<?HIJM?H?D=7D:C7DOCEH;CKIJ8;:;;C;:?D<KHJ>;H7D9;VE<

9H?C; 

          99EH:?D=BO J>;H;M7IIK<<?9?;DJ;L?:;D9;<EH7H;7IED78B;@KHOJE<?D:8O7

FH;FED:;H7D9;E<J>;;L?:;D9;J>7JL;DK;B7O?DJ>?I?IJH?9J<EH7BB9EKDJI 

                                L      -K8IJ7DJ?7BEDJ79JI.;IJ

          #D7I;F7H7J;7H=KC;DJ7FF7H;DJBO7?C;:7J:;<;7J?D=L;DK;EDEKDJI)D;7D:.>H;; 

.;C7D7H=K;IJ>7JJ>;EKHJI>EKB:7FFBOJ>;IK8IJ7DJ?7B9EDJ79JIJ;IJ7D:<?D:?DIK<<?9?;DJ

;L?:;D9;JE:;CEDIJH7J;IK9>9EDJ79JI  ++.;C7D';C 7JS .;C7D,;FBO7J .>;

EKHJ<?D:IJ>7JJ>;IK8IJ7DJ?7B9EDJ79JIJ;IJ?IDEJ7FFB?978B;>;H; 



                                                  

        Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 66 of 107




        IDEJ;: J>;IK8IJ7DJ?7B9EDJ79JI?DGK?HO?I7FFHEFH?7J;EDBOM>;H;J>;:;<;D:7DJI>EMI

J>7JL;DK;UM?BBH;IKBJ?D7>7H:I>?FJE>?C FH;@K:?9;>?C EHKD:;HC?D;J>;<7?HD;IIE<>?IJH?7B V

562'4   :7J 8H79A;JIEC?JJ;:GKEJ?D='-'995;('  :7J D  U.>?I

B?C?J7J?ED7H?I;I:?H;9JBOEKJE<J>;FKHFEI;E<J>;IK8IJ7DJ?7B9EDJ79JIJ;IJJEI7<;=K7H:7=7?DIJ

>7H:I>?FJEJ>;:;<;D:7DJJ>7JC7O7H?I;M>;D79EDJ?DK?D=E<<;DI;B7OIL;DK;?DDKC;HEKI

:?IJH?9JI IEC;E<M>?9>7H;H;CEJ; V8599  1& 7J .;C7D7H=K;IJ>7J>;

IK<<;H;:7>7H:I>?F8;97KI;>;B?L;I?D BEH?:77D:>7:JEJH7L;BJE(;M3EHA<EH>?IJH?7B 7D:

8;97KI;>;M7IDEJ@K:=;:8O7@KHOE<>?IUF;;HIV7IJ>;@KHEHI:?:DEJ7BIEH;I?:;?D BEH?:7 

.;C7D,;FBO7J BJ>EK=>F;H>7FI?D9EDL;D?;DJ .;C7DXIJH7L;B:E;IDEJH?I;JEJ>;B;L;BE<

>7H:I>?FEHFH;@K:?9; =?L;DJ>;;7I;E<IK9>JH7L;B?DJE:7OXIJ?C;  ++"4/:+* :':+9<.'/: 

(E H  $'   1&  7J-  ( 3 ;9   >EB:?D=IK8IJ7DJ?7B

9EDJ79JIJ;IJM7IDEJ7FFB?978B;M>;H;:;<;D:7DJH;I?:;:?D7B?<EHD?77D:;L?:;D9;EHM?JD;II;I

C7O>7L;;N?IJ;:?D7B?<EHD?7 U=?L;DJ;9>DEBE=O7D:J>;;7I;E<JH7L;BV .;C7D<7?B;:;L;DJE

FE?DJJE7DO;L?:;D9;EHM?JD;II;I?D BEH?:7T7BBE<J>;8KI?D;IIH;B7J?EDI>?FI7D:JH7DI79J?EDI

?DJ>?I97I;M;H;M?J>(;M3EHA9KIJEC;HI D:?DIE<7H7I7BBJ>H;;=HEKFIE<.;C7DXI

9KIJEC;HL?9J?CIM;H;I?JK7J;:7D:87DA;:?D'7D>7JJ7D .;C7DXI9B7?CE<7H?=>JDEJJE8;

JH?;:?DJ>?I?IJH?9J?I<H?LEBEKI 

        L;D?<J>;IK8IJ7DJ?7B9EDJ79JIJ;IJM;H;7FFB?978B; ?JMEKB:IKFFEHJL;DK;?DJ>?I

?IJH?9J BJ>EK=>J>;<?HIJ<79JEHKD:;HJ>;IK8IJ7DJ?7B9EDJ79JIJ;IJTJ>;I?J;E<.;C7DXI

79J?EDI /+ :;FEI?J?D=J>;9>;9AI?D BEH?:7T:E;IDEJ<7LEHL;DK;?DJ>?I?IJH?9JEDEKDJI

)D;7D:.>H;; J>;EJ>;H<79JEHI7BBIJHED=BO:E .>;I;9ED:<79JEH M>?9>9EDI?:;HIJ>;

;B;C;DJI7D:D7JKH;E<J>;9H?C; IKFFEHJIL;DK;8;97KI;J>;;B;C;DJIE<8EJ>E<<;DI;I?D9BK:;7

I9>;C;JE:;<H7K: 7D: 7IH;L?;M;:78EL; 7IF;9JIE<J>EI;I9>;C;IE99KHH;:?D(;M3EHA #D



                                                  

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 67 of 107




7::?J?ED M?H;<H7K:H;GK?H;IJ>7JJ>;:;<;D:7DJKI;EH97KI;7D?DJ;HIJ7J;EH<EH;?=DM?H;JE8;

KI;: 7D:>;H;7JB;7IJED;IK9>M?H;TJ>;HEKJ?D=E<?C7=;IE<J>;9>;9AI<HECJ>; BEH?:77DA

E<C;H?978H7D9> JEJ>; ;:;H7B,;I;HL; JE-?=D7JKH;7DA?D'7D>7JJ7D<EH7<H7K:H;L?;MT

9EDJ79J;:J>?I?IJH?9J .>;J>?H:<79JEH M>?9><E9KI;IEDJ>;FB79;M>;H;J>;;<<;9JE<J>;

9H?C?D7B9ED:K9J?I<;BJ ;CF>7J?97BBO<7LEHIJ>?I?IJH?9J .;C7D9ED:K9J;:8KI?D;IIM?J>

;DJ?J?;I?DJ>?I?IJH?9J8OFHEL?:?D=J>;?HH;I?:;DJ?7B8K?B:?D=IM?J>>?I!7J;!K7H::;L?9;I #J

M7I<HECJ>EI;;DJ?J?;IX799EKDJIJ>7J.;C7D7JJ;CFJ;:JEIJ;7B<KD:IL?7<H7K: .;C7DXI

8KI?D;IIJ?;IJEJ>;I;(;M3EHA8KI?D;II;I<79?B?J7J;:J>?I87DA7D:M?H;<H7K:I9>;C;  ?D7BBO 

J>;<EKHJ><79JEHE<J>;L;DK;XIIK?J78?B?JO<EH<79J<?D:?D=7BIEIKFFEHJIL;DK;>;H; .>;C7?D

M?JD;II;I<EHJ>;I;9>;9AITFH?D9?F7BIE<$&;DEN&& $'?B7DE&& 7D:1;IJ 

&&T7H;BE97J;:>;H; 7I?I;L?:;D9;H;B7J;:JEJ>;8KI?D;II;I7D:87DAIE<J>EI;;DJ?J?;I #D

I>EHJ M>?B;.;C7DB?L;I?D BEH?:77D:J>;7DAE<C;H?978H7D9>?DM>?9>>;:;FEI?J;:J>;

<H7K:KB;DJ9>;9AI?IBE97J;:?D BEH?:7 J>;87B7D9;E<H;B;L7DJ9ED:K9J7D:F;HIEDD;BM;H;

I?JK7J;:>;H; IIK9> J>;H;7H;IK<<?9?;DJ9EDJ79JIM?J>J>?I?IJH?9JJEFHEL?:;<EHL;DK; 

   0'!*/%*)

       I7D7BJ;HD7J?L;JE>?I,KB;CEJ?ED<EH@K:=C;DJE<79GK?JJ7B .;C7D7H=K;IJ>7JJ>?I

EKHJI>EKB:=H7DJ>?C7D;MJH?7BKD:;H,KB; #D7::?J?EDJEJ>;=HEKD:IH;L?;M;:78EL; >;

I;;AIJ>?IH;B?;<EDJ>H;;=HEKD:IJ>7JJ>;!EL;HDC;DJ7BB;=;:BOL?EB7J;: ;:;H7B,KB;E<

L?:;D9; /+ J>;HKB;E<I;GK;IJH7J?EDJ>7JJ>;EKHJ;HH;:?D;N9BK:?D=J;IJ?CEDO<HEC

>?IFHEFEI;:;NF;HJM?JD;II7D:J>7J7D7BJ;HD7J;@KHEHFKHFEHJ;:BOB?;::KH?D=<5/8*/8+ 

.>;EKHJ7::H;II;IJ>;I;D;M7H=KC;DJI?DJKHD 


                              

  .;C7D7BIE?D9EHFEH7J;I>?I,KB;7H=KC;DJI?D>?I,KB;CEJ?ED  EHJ>;I7C;H;7IEDI
H;L?;M;:?D9EDD;9J?EDM?J>J>;,KB;CEJ?ED J>;EKHJ:;D?;IJ>;,KB;CEJ?EDI87I;:ED
J>;I;7H=KC;DJI 
                                                  

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 68 of 107




              0'!*"!,0!./-/%*)

                     !-/%)!)/ &#-*0) 

        )D$7DK7HO   7<J;HJ>;@KHOM7II;B;9J;: .;C7D?DLEA;:>?IH?=>JIKD:;H ;:;H7B

,KB;E<L?:;D9; J>;HKB;E<I;GK;IJH7J?ED JE;N9BK:;M?JD;II;I<HECJ>;9EKHJHEEC .H?7B

.H 7J ;<;DI;9EKDI;B;NFB7?D;:J>7J>;M7IH;GK;IJ?D=J>7JUM>;D7FEJ;DJ?7BM?JD;II>7I

O;JJEJ;IJ?<O    J>;O97DXJI?J?DJ>;HEECJE>;7HEJ>;HM?JD;II;I EHEF;D?D=IJ7J;C;DJI EH

IEC;J>?D=E<J>7JD7JKH; V*.>;!EL;HDC;DJC7:;7F7H7BB;B7FFB?97J?ED7IJE.;C7DXI

M?JD;II;I *.>;EKHJ=H7DJ;:J>;7FFB?97J?EDI  ++/*.>;EKHJ7BBEM;:;J;9J?L;

B;II7D:H?DE J>;B;7:7=;DJEDJ>;97I;7D:7FEJ;DJ?7BM?JD;II JEH;C7?D7JJ>;!EL;HDC;DJXI

J78B;7I7F7HJO7=;DJ *9?J?D=,KB; 

        )DJ>;7<J;HDEEDE<$7DK7HO   J>;@KHOM7I:?IC?II;:<EHJ>;:7OM>?B;$EI;F>

-EB;?C7D? J>;$H;FH;I;DJ7J?L; M7IIJ?BBED:?H;9J;N7C?D7J?ED  ++/*7JS #DJ>;

FEIJ JH?7B9ED<;H;D9; J>;!EL;HDC;DJ?D:?97J;:J>7J?J9EKB:H;IJJ>;D;NJCEHD?D= *7J 

I7H;IKBJ J>;EKHJIEK=>J7DED 8?D:?D=?D:?97J?EDM>;J>;H:;<;DI;9EKDI;BFB7DD;:JE97BB

7DOM?JD;II;I7D:?DL?J;:8KJ:?:DEJH;GK?H;:;<;DI;9EKDI;BJEH;IFED: *;<;DI;9EKDI;B

IJ7J;:J>7J :;F;D:?D=ED-EB;?C7D?XIH;IFEDI;IED9HEII;N7C?D7J?ED >;MEKB:9EDI?:;H97BB?D=

JME(3*:;J;9J?L;I ?D9BK:?D=;J;9J?L;B;II7D:H?DE *7J 99EH:?D=JE:;<;DI;

9EKDI;B J>;EJ>;H(3*:;J;9J?L;>7:J7A;DIJ7J;C;DJI<HEC-EB;?C7D? 7IH;<B;9J;:?DJ>;

FEB?9;H;FEHJ H;=7H:?D=$XIJEJ7BBEIIH;IKBJ?D=<HEC.;C7DXII9>;C; *-F;9?<?97BBO 

:;<;DI;9EKDI;BH;FH;I;DJ;:J>7J-EB;?C7D?EH?=?D7BBOJEB:J>;(3*:;J;9J?L;J>7J$>7:DEJ

7KJ>EH?P;:         ?D9>;9AI 8KJJ>;;L?:;D9;7JJH?7B;IJ78B?I>;:J>7J$XI$*'EH=7D

799EKDJ>7:8;;D9H;:?J;:         *;<;DI;9EKDI;BIK==;IJ;:J>7J87I;:EDJ>?I

:?I9H;F7D9O8;JM;;DJ>;I;IKCI J>;@KHO9EKB:?D<;HJ>7JIEC;E<J>;9>;9AI>7: ?D<79J 8;;D

7KJ>EH?P;:8O-EB;?C7D?  ++/*7J S 

                                                   

        Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 69 of 107




        .>;D;NJCEHD?D= :;<;DI;9EKDI;B7B;HJ;:J>;EKHJJE7F>ED;97BB8;JM;;DJ>;

!EL;HDC;DJ ;J;9J?L;B;II7D:H?DE 7D:-EB;?C7D?J>7J>7:J7A;DFB79;J>;D?=>J8;<EH; 

:KH?D=M>?9>J>;!EL;HDC;DJU<HEDJ;: :?I9BEI;:EKHFEJ;DJ?7B9HEII ;N7C?D7J?EDVEDJ>;

:?I9H;F7D9O?DBEII7CEKDJI<EKD:;:?D-EB;?C7D?XIIJ7J;C;DJ 7D:UIJEB;45EKHJ>KD:;HV7IJE

J>7JB?D;E<GK;IJ?ED?D=  ++/*7JS ;<;DI;9EKDI;B7BB;=;:J>7JJ>;!EL;HDC;DJ>7:

L?EB7J;:J>;HKB;E<I;GK;IJH7J?ED8O>7L?D=J>?I9EDL;HI7J?EDM?J>-EB;?C7D?M>?B;>;M7IIJ?BB

ED:?H;9J;N7C?D7J?ED *7J .>;!EL;HDC;DJH;IFED:;:J>7J?JI9ECCKD?97J?EDIM?J>J>;

M?JD;IIM;H;7FFHEFH?7J;7D::;I?=D;:U?DF7HJIEJ>7J4J>;!EL;HDC;DJ59EKB:=?L;J>;EKHJ

7D:J>;F7HJ?;IIEC;CEH;?D<EHC7J?ED78EKJFEII?8B;FH?EH?D9EDI?IJ;DJIJ7J;C;DJIVED

-EB;?C7D?XIF7HJJ>7JC?=>J8;9B7?C;:7JJH?7B *.>;!EL;HDC;DJ7BIE:?IFKJ;:J>;;N?IJ;D9;

E<7D?D9EDI?IJ;DJIJ7J;C;DJ?DJ>;<?HIJ?DIJ7D9; DEJ?D=J>7J-EB;?C7D?>7:D;L;HF?DD;:>?CI;B<

:EMDJE7DKC8;HM>;D>;?D?J?7BBOH;FEHJ;:J>;BEII7CEKDJJEJ>;FEB?9;7D:J>7J?JM7IC;H;BO

7U87BBF7HA;IJ?C7J; V ++/*7J .>;EKHJH;@;9J;:.;C7DXI:;C7D:J>7J-EB;?C7D?XI

M?JD;IIXIJ;IJ?CEDO8;IJH?9A;D?D?JI;DJ?H;JO <?D:?D=J>;!EL;HDC;DJXI?DJ;H79J?EDM?J>J>;

M?JD;IIFHEF;H 7D:J>;:;<;DI;XIFHEFEI;:7H;7E<FEJ;DJ?7B?CF;79>C;DJ M>?B;F;HC?JJ;: 

UJ;HJ?7HO7J8;IJ V*

                       ++'%'!!#'-%)%+'!.

        ,KB;7KJ>EH?P;IJ>;JH?7B9EKHJ 7JJ>;H;GK;IJE<7F7HJOEH9;'9654:+ JEUEH:;H

M?JD;II;I;N9BK:;:IEJ>7JJ>;O97DDEJ>;7HEJ>;HM?JD;II;IXJ;IJ?CEDO V ;: , L?:  .>;

,KB;U9E:?<?;:7M;BB ;IJ78B?I>;:9ECCEDB7MJH7:?J?EDE<I;GK;IJ;H?D=M?JD;II;I7I7C;7DIE<

:?I9EKH7=?D=7D:;NFEI?D=<78H?97J?ED ?D799KH79O 7D:9EBBKI?ED V"4/:+* :':+9<')1954 

  : :?H ?DJ;HD7BGKEJ7J?EDC7HAI7D:9?J7J?EDEC?JJ;: OH;IJH7?D?D=

M?JD;II;IX78?B?JOJEUWJ7?BEH45XJ>;?HJ;IJ?CEDOJEJ>7JE<;7HB?;HM?JD;II;I VJ>;HKB;U7?:I?D



                                                   

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 70 of 107




:;J;9J?D=J;IJ?CEDOJ>7J?IB;IIJ>7D97D:?: VJ>KIFHECEJ?D=J>;JHKJ> I;;A?D=<KD9J?EDE<JH?7B 

    ++/*9?J?D=+*+89<"4/:+* :':+9 / -   

          /D:;H,KB; I;GK;IJH7J?ED?I7C7JJ;HUE<H?=>JVTM>;D7F7HJOH;GK;IJI

I;GK;IJH7J?ED J>;9EKHJCKIJ7BBEM<EH?J *7J ;: , L?: 7:L?IEHO9ECC?JJ;;XI

DEJ;JE7C;D:C;DJI U"EM;L;H J>?I=;D;H7BHKB;>7I7D;N9;FJ?ED<EH7M?JD;IIM>E?I

W7DE<<?9;HEH;CFBEO;;E<7F7HJOJ>7J?IDEJ7D7JKH7BF;HIED 7<J;H8;?D=:;I?=D7J;:7IJ>;

F7HJOXIH;FH;I;DJ7J?L;8O?JI7JJEHD;O XV"4/:+* :':+9<++  : :?H  

9?J?D= ;: , L?: 8 .>;9EKHJ>7I:?I9H;J?ED KD:;HJ>?I;N9;FJ?ED UJE;N;CFJJ>;

=EL;HDC;DJXI9>?;<?DL;IJ?=7J?L;7=;DJ<HECI;GK;IJH7J?ED V"4/:+* :':+9</<+8' 

 : :?H 9++'295')1954   :7JU4.5>;;N9BKI?EDE<7I?D=B;

7=;DJ<HECI;GK;IJH7J?ED:E;IDEJ=;D;H7BBO9EDIJ?JKJ;;HHEHKD:;H,KB; V/<+8'  :

7JU4#5J?IM;BBI;JJB;:J>7JIK9>7D;N;CFJ?ED?IFHEF;HKD:;H,KB;485 :;;C?D=J>;

7=;DJ M?JD;II7WH;FH;I;DJ7J?L;XE<J>;=EL;HDC;DJ V"4/:+* :':+9<+22+-8/45 

  :   :?H U-?D9;J>;9>?;<?DL;IJ?=7J?D=7=;DJC7O8;E<I?=D?<?97DJ

>;BFJEJ>;FHEI;9KJ?ED:KH?D=J>;9EKHI;E<7JH?7B J>;JH?7B9EKHJ>7I:?I9H;J?EDJEC7A;7D

;N9;FJ?EDJEJ>;=;D;H7BHKB;E<I;GK;IJH7J?EDE<M?JD;II;I?D>?I97I; V 

          U1>?B;J>;FKHFEI;E<4,KB;5?I7FF7H;DJ ?JIFKHL?;M?IDEJ V"4/:+* :':+9<

    5258/5  : J>?H      GKEJ?D=>7HB;IB7D1H?=>J0?9JEH$7C;I!EB: 

 ;:;H7B*H79J?9;7D:*HE9;:KH;Q 7J -EC;9?H9K?JI>7L;<EKD:EHIK==;IJ;:

J>7J,KB;C7OFH;9BK:;EKJ E< 9EKHJ9ECCKD?97J?ED8;JM;;DM?JD;II;I:KH?D=JH?7BH;L;7B?D=

:;L;BEFC;DJI7JJH?7B  +++- "4/:+* :':+9<)'.54   : J>?H 

:?IJH?9J9EKHJ:?:DEJ;HH8O<?D:?D=J>7J:;<;D:7DJXI<7J>;H ADEM?D=J>7J>;M7I87HH;:<HECJ>;

9EKHJHEEC >7:L?EB7J;:I;GK;IJH7J?EDEH:;H8O>7L?D=I;9H;J7HOJ7A;DEJ;IEDEJ>;HIXJ;IJ?CEDO



                                                    

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 71 of 107




/2'45</).<"4/:+* :':+9  :  J>?H   8+<D*/46'8:545:.+8-85;4*9 

/ - U1;M?I>JE?D:?97J;EKHL?;M >EM;L;H J>7JEH:?D7H?BO M>;D7@K:=;

;N;H9?I;I>?I:?I9H;J?EDJE;N9BK:;M?JD;II;I<HECJ>;9EKHJHEEC ?JMEKB:I;;CFHEF;H<EH>?C

JEJ7A;J>;<KHJ>;HIJ;FE<C7A?D=J>;;N9BKI?ED;<<;9J?L;JE799ECFB?I>J>;:;I?H;:H;IKBJE<

FH;L;DJ?D=J>;M?JD;II;I<HEC9ECF7H?D=J>;J;IJ?CEDOJ>;O7H;78EKJJE=?L; V"4/:+* :':+9<

8++4+  : J>?H      :?IJH?9J9EKHJXI<7?BKH;JE?DIJHK9J=EL;HDC;DJ

M?JD;II;I M>EM;H;>EKI;:JE=;J>;H DEJJE:?I9KII97I;L?EB7J;:,KB;"4/:+* :':+9<

$53')1  :   J>?H 7IIKC?D= M?J>EKJ;NFB?9?JBO:;9?:?D= J>7J,KB;

M7IL?EB7J;:M>;DF7HJ?;I?DLEA;:,KB; JH?7B9EKHJ:?:DEJ?DIJHK9JM?JD;II;IDEJJE

:?I9KIIJ>;97I; 7D:JME=EL;HDC;DJM?JD;II;I7:C?JJ;:9ECCKD?97J?D=78EKJJ;IJ?CEDOM>?B;

I;GK;IJ;H;:"4/:+* :':+9<8/).'8*  :  J>?H :?IJH?9J9EKHJ;HH;:

?D<?D:?D=J>7J,KB;H;GK?H;IEDBOJ>7JM?JD;II;I8;;N9BK:;:<HEC9EKHJHEEC"4/:+* :':+9

<5.49:54  :  J>?H JH?7B9EKHJI>EKB:?DIJHK9J KFED?DLE97J?EDE<

,KB; J>7JUM?JD;II;I7H;DEJEDBO;N9BK:;:<HECJ>;9EKHJHEEC8KJ7BIEJ>7JJ>;O7H;DEJJE

H;B7J;JEEJ>;HM?JD;II;IM>7JJ>;?HJ;IJ?CEDO>7I8;;D7D:M>7JE99KHH;:?DJ>;9EKHJHEECV

"4/:+* :':+9<'::/358+   :   J>?H  F7HJ?;I7=H;;:J>7JI;GK;IJH7J?ED

EH:;HM7IL?EB7J;:M>;D=EL;HDC;DJM?JD;II;I:?I9KII;:J>;?HJ;IJ?CEDO 


                                

  1>?B;9?H9K?JI7FFBO:?<<;H;DJJ;IJIJE7II;IIM>;J>;HJ>;F7HJOI;;A?D=I;GK;IJH7J?EDM7I
FH;@K:?9;: 9++')1954   :7J J>;9?H9K?JI>7L;DEJ7KJEC7J?97BBOH;GK?H;:J>7JJ>;
L?EB7J?D=M?JD;IIXIJ;IJ?CEDO8;;N9BK:;:EHJ>7J7L;H:?9J8;EL;HJKHD;: ;L;DM>;DJ>;H;M;H;
L?EB7J?L;EKJ E< 9EKHJ9ECCKD?97J?EDI8;JM;;DM?JD;II;I  ++"4/:+* :':+9<58:/4' 
 : 1& 7JJ>?H J78B;U1>;D7DEKJ E< 9EKHJL?EB7J?ED?I
8HEK=>JJEJ>;7JJ;DJ?EDE<J>;JH?7B9EKHJ J>;9EKHJXI:;9?I?EDJE:;9B7H;7C?IJH?7B JE;N9BK:;
M?JD;IIJ;IJ?CEDO JE>EB:H;IFEDI?8B;F7HJ?;I?D9EDJ;CFJ EHJEB;JJ>;JH?7BFHE9;;:KD787J;:?I
H;L?;M;:<EH78KI;E<:?I9H;J?ED V9++'295+- $53')1  :7J  U.>;
:;J;HC?D7J?EDM>;J>;HJE:;9B7H;7C?IJH?7BEHJEEH:;H7D;MJH?7B<EHL?EB7J?EDE<,KB;?I7
C7JJ;HM?J>?DJ>;JH?7B9EKHJXIIEKD::?I9H;J?ED V8/).'8*  :7JSDE78KI;E<

                                                 

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 72 of 107




          )J>;H9?H9K?JI>7L;:;9B?D;:JE<?D:J>7J,KB;FHE>?8?JIEKJ E< 9EKHJ9ECCKD?97J?ED 

M>?B;79ADEMB;:=?D=J>7JJH?7B@K:=;I>7L;IK8IJ7DJ?7B:?I9H;J?EDJE<7I>?EDEH:;HIJ>7J=EL;HD

M?JD;II?DJ;H79J?EDI8;OED:J>;M7BBIE<J>;9EKHJHEEC  +++- "4/:+* :':+9< +6;2<+*' 

 : SIJ?H E8I;HL?D=J>7JUM>?B;J>;9ECCEDB7MIKFFEHJ;:

I;GK;IJH7J?ED8;OED:J>;9EKHJHEEC VU,KB;9EDJ;CFB7J;I7IC7BB;HH;I;HL;8O?JIJ;HCI 

9EKHJICKIJWEH:;HM?JD;II;I;N9BK:;:XEDBO<HECJ>;9EKHJHEECFHEF;HV9?J7J?EDEC?JJ;:

"4/:+* :':+9<+54-.  : SIJ?H DE;HHEHM>;H;:?IJH?9J9EKHJ:;9B?D;:

JEIJH?A;M?JD;IIJ;IJ?CEDOEH:;9B7H;C?IJH?7BM>;DM?JD;IIC;JM?J>FHEI;9KJEH8;<EH;9HEII

;N7C?D7J?ED 7D:E8I;HL?D=J>7JUJ>;:?IJH?9J9EKHJFEII;II;I9EDI?:;H78B;:?I9H;J?EDJEC7A;

FHEF>OB79J?9EH:;HI:;I?=D;:JE9KH8FEII?8B;JH?7B78KI;I W?D9BK:4?D=58HE7:FEM;HJEI;GK;IJ;H

M?JD;II;I8;<EH; :KH?D= 7D:7<J;HJ>;?HJ;IJ?CEDOXVGKEJ?D=+*+89 / - 7J"4/:+*

    :':+9< 5258/5  : SJ>?H      DEJ?D=J>7J-?NJ>?H9K?J>7IDEJ

;NFB?9?JBOH;IEBL;:M>;J>;H,KB;FH;9BK:;IM?JD;II9ECCKD?97J?EDEKJI?:;E<J>;9EKHJHEEC 

8KJ ;L;D7IIKC?D=HKB;M7IL?EB7J;:8OIK9>9ECCKD?97J?EDI <?D:?D=DE78KI;E<:?I9H;J?ED

M>;H;:?IJH?9J9EKHJ:;9B?D;:JE;N9BK:;EHIJH?A;M?JD;IIXIJ;IJ?CEDO"4/:+* :':+9</4*2+ 

 : J>?H DE78KI;E<:?I9H;J?ED?D:?IJH?9J9EKHJ:;9B?D?D=JE:;9B7H;

C?IJH?7BM>;H;97I;7=;DJI9ECCKD?97J;:M?J>I;GK;IJ;H;:M?JD;II;I E8I;HL?D=J>7JU4J5>;


                                  
:?I9H;J?ED?D:;DO?D=D;MJH?7B7D::;9B?D?D=JE9ED:K9J;L?:;DJ?7HO>;7H?D=H;=7H:?D=L?EB7J?D=
M?JD;II;IX:?I9KII?EDI5.49:54  :7JSDE78KI;E<:?I9H;J?ED?D:;9B?D?D=JE
;N9BK:;L?EB7J?D=M?JD;IIXIJ;IJ?CEDO'::/358+   :7J S E8I;HL?D=J>7JU4J5>;B7M
?DJ>?I?H9K?J?II;JJB;: >EM;L;H J>7JJ>;W4J5>;:?IJH?9J9EKHJXI:;D?7BE<7C?IJH?7B<EHL?EB7J?ED
E<J>;I;GK;IJH7J?EDHKB;?I   7C7JJ;HE<:?I9H;J?ED 7D:H;L;HI?8B;EDBOED7I>EM?D=E<
FH;@K:?9; XV7D:<?D:?D=DE78KI;E<:?I9H;J?ED?D:;DO?D=C?IJH?7B9?J7J?EDEC?JJ;:),"4/:+*
 :':+9<52*+8  / -  U#<7M?JD;II:?IE8;OIJ>;EH:;HE<M?J>:H7M7B M>?B;
>;C7O8;FHE9;;:;:7=7?DIJ<EH9EDJ;CFJ 7D:>?IJ;IJ?CEDO?IEF;DJE9ECC;DJJEJ>;@KHO8O
H;7IEDE<>?I9ED:K9J >;?IDEJJ>;H;8O:?IGK7B?<?;: 7D:J>;M;?=>JE<7KJ>EH?JO?IJ>7J>;97DDEJ
8;;N9BK:;:EDJ>7J=HEKD: C;H;BO 7BJ>EK=>J>;H?=>JJE;N9BK:;KD:;HF7HJ?9KB7H9?H9KCIJ7D9;I
C7O8;IKFFEHJ;:7IM?J>?DJ>;IEKD::?I9H;J?EDE<J>;JH?7B9EKHJ V 
                                                   

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 73 of 107




H;9EH::E;IDEJ?D:?97J;J>7JJ>;JH?7B9EKHJXII;GK;IJH7J?EDEH:;HFHE>?8?J;:7=;DJ M?JD;II9EDJ79J

7D:IK9>EH:;HD;;:DEJ:EIEJEC;;JJ>;H;GK?H;C;DJIE<,KB;V 

       .>;-;9ED:?H9K?J>7IDEJM;?=>;:?D;NFB?9?JBOEDJ>;8H;7:J>E<,KB; -EC;

9EKHJI?DJ>?I?IJH?9J >EM;L;H >7L;>;B:J>7J,KB;:E;IDEJ7FFBOCEH;8HE7:BOJ>7D?JI

FB7?DJ;HCI /+ JE;N9BK:;M?JD;II;I<HECJ>;9EKHJHEECIEJ>;O97DDEJ>;7HJ>;J;IJ?CEDOE<

EJ>;HM?JD;II;I  ++"4/:+* :':+9<'44/+225   -KFF  S -  ( 3  

U4.5>;EKHJ:E;IDEJ8;B?;L;J>7J,KB; 4;:5 , L?: I>EKB:8;;NJ;D:;:8;OED:?JIFB7?D

C;7D?D= )8L?EKIBO4 57DOM?JD;II97D8;;N7C?D;:EH9HEII ;N7C?D;:7IJE>?IEH>;H

9H;:?8?B?JO7IJE7DOJH7DI9H?FJI ;J9 M>?9>C7O>7L;8;;DH;7:FH?EHJEJ;IJ?<O?D= -K9>FH?EH

79J?L?JO7JCEIJ7<<;9JIJ>;M;?=>JE<J;IJ?CEDOH7J>;HJ>7D?JI7:C?II?8?B?JO V?DJ;HD7B9?J7J?ED

EC?JJ;:"4/:+* :':+9<+52'  -KFF    -  ( 3  ',,D*  :

:?H U,KB;EDBOH;GK?H;IJ>7JM?JD;II;I8;;N9BK:;:WIEJ>7JJ>;O97DDEJ>;7HJ>;

J;IJ?CEDOE<EJ>;HM?JD;II;I4 5X.>;M?JD;II;ID;;:DEJ8;I;GK;IJ;H;::KH?D=FH;JH?7B

FHE9;;:?D=I EH7<J;HJ>;?HJ;IJ?CEDOJ>;O97DIF;7A<H;;BOJE7DO8E:O7D:?<J>;O:EIE C7O8;

9HEII ;N7C?D;:M?J>H;IF;9JJ>;H;JE?DIE<7H7IC7OH;B7J;JE8?7IEH9H;:?8?B?JO V?DJ;HD7B9?J7J?ED

EC?JJ;: 

       U.>;8KH:;DJE:;CEDIJH7J;B79AE<FH;@K:?9; EH>7HCB;II;HHEHV<HEC7,KB;

L?EB7J?EDU<7BBIEDJ>;F7HJOJ>7J>7:EFFEI;:I;GK;IJH7J?ED V')1954   :7J #DEJ>;H

MEH:I 7,KB;L?EB7J?ED ?<<EKD: ?IFH;IKCFJ?L;BOFH;@K:?9?7B 7D:U7D;MJH?7B?I?DEH:;H

                                

   #D"4/:+* :':+9<8/+*3'4  ::?H  J>;?H9K?JE8I;HL;:J>7J
M?JD;II;IXH;7:?D=E<JH?7BJH7DI9H?FJIU3'?L?EB7J;7DEH:;H;N9BK:?D=M?JD;II;I?IIK;:8O7
:?IJH?9J9EKHJKD:;H,KB; V*7J;CF>7I?I7::;: "EM;L;H J>;?H9K?JJ>;H;DEJ;:
J>7JU4J5>;:;9?I?EDM>;J>;HEHDEJJE;N9BK:;J;IJ?CEDO   ?IM?J>?DJ>;IEKD::?I9H;J?EDE<J>;
JH?7B@K:=; V7D:7<<?HC;:J>;:?IJH?9J9EKHJXI:;9?I?EDH;<KI?D=JE:EIE *7JS 


   '44/+225>7I7BED=7D:9ECFB;NIK8I;GK;DJ>?IJEHO DED;E<M>?9>?IH;B;L7DJ>;H;


                                                  

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 74 of 107




KDB;II?J?IC7D?<;IJBO9B;7H<HECJ>;H;9EH:J>7JJ>;;HHEHM7I>7HCB;IIEHKDB;IIJ>;FHEI;9KJ?ED

FHEL;I>7HCB;II;HHEH8O7FH;FED:;H7D9;E<J>;;L?:;D9; V*7J?DJ;HD7BGKEJ7J?EDC7HAI

7D:9?J7J?EDIEC?JJ;: 

                      ++'%/%*)

       .;C7DXI,KB;7H=KC;DJ?IJME <EB:  ?HIJ >;9EDJ;D:IJ>;!EL;HDC;DJL?EB7J;:

,KB;8OIF;7A?D=M?J>-EB;?C7D?SS?D79EDL;HI7J?EDJ>7J?D9BK:;:?JI97I;7=;DJ 7FEJ;DJ?7B

M?JD;IISS78EKJFEJ;DJ?7B9HEII ;N7C?D7J?EDJEF?9IM>?B;-EB;?C7D?H;C7?D;:ED:?H;9J

;N7C?D7J?ED .;C7D';C 7JS.;C7D,;FBO7JS -;9ED: 7DJ?9?F7J?D=7<EHC7B?IJ?9

L?;ME<,KB;J>7JH;GK?H;IEDBOJ>7JFHEIF;9J?L;M?JD;II;IB;7L;J>;9EKHJHEECM>?B;EJ>;HI

7H;J;IJ?<O?D= .;C7D?DLEA;I 7D:7IAIJ>?IEKHJJE;C8H79; 78HE7:;H?DJ;HFH;J7J?EDE<J>;HKB;

J>7JH;IJH?9JIM?JD;II9ECCKD?97J?EDE<7DOA?D:?D9BK:?D=EKJI?:;E<J>;9EKHJHEEC<EHJ>;

:KH7J?EDE<JH?7B  ++.;C7D';C 7JS ";9EDJ;D:IJ>7JJ>;!EL;HDC;DJXI9ED:K9J>;H;

M7HH7DJI7D;MJH?7B 

       .;C7DXII;GK;IJH7J?ED7H=KC;DJ<7?BI<EHI;L;H7BH;7IEDI  ?HIJ 7I.;C7D79ADEMB;:=;I 

J>;-;9ED:?H9K?J>7IDEJ>;B:J>7J,KB;;NJ;D:I8;OED:J>;9EKHJHEECJEFH;9BK:;EKJ E<

9EKHJ9ECCKD?97J?EDI8;JM;;DM?JD;II;I:KH?D=JH?7B D: 7IEJ>;H9EKHJI?DJ>?I?IJH?9J>7L;

E8I;HL;: 9++'44/+225   -KFF 7JS +52'  -KFF 7J J>;FB7?DJ;NJE<

,KB;FHEL?:;IJ>7JM?JD;II;ICKIJ8;I;GK;IJ;H;:,853:.+)5;8:8553IE7IDEJJE>;7HJ>;

J;IJ?CEDOE<EJ>;HM?JD;II;I 9++ ;: , L?:  -;9ED: 7BJ>EK=>J>;EKHJ>7:J>;

:?I9H;J?EDJE<7I>?EDI;GK;IJH7J?EDEH:;HIJ>7JIM;;FCEH;8HE7:BOJ>7DJ>;,KB;XIJ;NJH;GK?H;I 

?J:?:DEJ:EIE>;H;DEHM7I?J7IA;:JE #DIJ;7: J>;EKHJ=H7DJ;::;<;DI;9EKDI;BXIED;

7FFB?97J?EDJE;N9BK:;M?JD;II;I<HECJ>;9EKHJHEEC  ++.H?7B.H 7J I7H;IKBJ J>;

9ED:K9J>;H;T?DM>?9>J>;!EL;HDC;DJ7D:?JI7=;DJ EKJI?:;E<9EKHJ 9ECCKD?97J;:M?J>



                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 75 of 107




-EB;?C7D?M>?B;ED:?H;9J;N7C?D7J?EDT:?:DEJL?EB7J;;?J>;HJ>;J;NJE<J>;HKB;EHJ>;EKHJXI

I;GK;IJH7J?EDEH:;H 

         EH7LE?:7D9;E<:EK8J .;C7DXI7H=KC;DJMEKB:<7?B;L;D?<J>?IEKHJ>7:7:EFJ;:J>;

8HE7:;H9EDIJHK9J?EDE<,KB;J>7JEJ>;H9?H9K?JI>7L; JEL7HO?D=:;=H;;I ;C8H79;: .>?I?I

IE<EHJMEH;7IEDI 

         ?HIJ CEIJE<J>;97I;IJ>7J.;C7D9?J;I9ED9;HD7:?<<;H;DJ?IIK;9ECCKD?97J?ED

8;JM;;D=/:4+99+9  ++)'.54   :7J8/).'8*  :7J5.49:54 

 :7JS KJJ>;9ECCKD?97J?EDI>;H;M;H;8;JM;;D!EL;HDC;DJ9EKDI;B7D:J>;

M?JD;IIJ>;DJ;IJ?<O?D= .;C7DJ>;H;<EH;KH=;I7D;NF7DI?L;9EDIJHK9J?EDKD:;HM>?9>,KB;

MEKB:FHE>?8?J7M?JD;II<HECIF;7A?D=JE'4?54+78EKJJ>;97I;<EHJ>;:KH7J?EDE<J>;JH?7B  ++

.;C7D';C 7J.;C7D,;FBO7J .>;EKHJ:;9B?D;IJE;C8H79;IK9>78HE7:

9EDIJHK9J?EDE<J>;HKB; 7D:?IKD7M7H;E<7DO7KJ>EH?JOIKFFEHJ?D=IK9>79EDIJHK9J?ED 

       -;9ED: ;J;9J?L;B;II7D:H?DEXIFH;I;D9;EDJ>;97BB:E;IDEJ7BJ;HJ>?IEKJ9EC; #J?I

9KIJEC7HO<EHJ>;!EL;HDC;DJJE>7L;?JI97I;7=;DJFH;I;DJ<EH?DJ;HL?;MIM?J><79JM?JD;II;I 

-K9>>;BFI7LE?:J>;FEJ;DJ?7BD;;:JE97BB7D7:LE97J;7I7M?JD;IIM>;H;J>;9EDJ;DJE<J>;

?DJ;HL?;M;C;H=;I7I7JH?7B?IIK; ";H; 7IJ>;!EL;HDC;DJ;NFB7?D;:JEJ>;EKHJ J>;FKHFEI;

E<J>;97BBM7IJ>;<7C?B?7HED;?DM>?9>JH?7B9EKDI;B7B;HJI7M?JD;IIJEFEII?8B;?D9EDI?IJ;D9?;I

?D>?IJ;IJ?CEDOIE7IJEFH;F7H;<EH9HEII;N7C?D7J?ED #JM7IDEJJE<79?B?J7J;:?7BE=K;8;JM;;D


                                

  .;C7D7BIEH;B?;I>;7L?BOED:?9J7?D+88?<++1+ / -  M>?9>IJ7J;IJ>7J
UDED:?I9KII?EDEH:;HI7H;79EHEBB7HOE<J>;8HE7:;HHKB;J>7JM?JD;II;IC7O8;I;GK;IJ;H;:JE
B;II;DJ>;:7D=;HJ>7JJ>;?HJ;IJ?CEDOM?BB8;?D<BK;D9;:8O>;7H?D=M>7JEJ>;HM?JD;II;I>7L;JE
I7O 7D:JE?D9H;7I;J>;B?A;B?>EE:J>7JJ>;OM?BB9ED<?D;J>;CI;BL;IJEJHKJ><KBIJ7J;C;DJI87I;:
EDJ>;?HEMDH;9EBB;9J?EDI V*7JS .>7J97I;?I7BIE?D7FFEI?J; 7I?J:?:DEJ<E9KIED
M>;J>;H,KB;<EH8?:IEKJ E< 9EKHJ9ECCKD?97J?EDI8;JM;;DM?JD;II;I #DIJ;7: ?J>;B:J>7J
M>?B;7:;<;D:7DJ?IJ;IJ?<O?D= >;:E;IDEJ>7L;79EDIJ?JKJ?ED7BH?=>JJE:?I9KIIJ>7JJ;IJ?CEDO
M?J>>?IB7MO;H *7J #D?JI;NFB7D7J?ED J>;EKHJ<KHJ>;H9B7H?<?;:J>7J?JM7IDEJ>EB:?D=
J>7JJH?7B9EKHJICKIJ<EH8?:IK9>9EDIKBJ7J?ED8;JM;;D:;<;D:7DJI7D:J>;?H9EKDI;B *
                                                  

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 76 of 107




-EB;?C7D?7D:B;II7D:H?DE D:B;II7D:H?DEXIIJ7JKI7IB;7:97I;7=;DJ 7D:J>;EKHJXI

;NFB?9?JHKB?D=J>7J>;9EKB:H;C7?D?DJ>;9EKHJHEECKD:;H,KB;8 ;N;CFJ;:>?C<HEC

I;GK;IJH7J?EDKD:;HJ>;HKB;  ++/<+8'  :7J;NFB7?D?D=J>7J=EL;HDC;DJXIB;7:

7=;DJC7O8;;N;CFJ;:<HECI;GK;IJH7J?EDH;GK?H;C;DJ7J9EKHJXI:?I9H;J?ED9++'295 ;: , 

L?: 8;N;CFJ?D=<HECI;GK;IJH7J?EDU7DE<<?9;HEH;CFBEO;;E<7F7HJOJ>7J?IDEJ7

D7JKH7BF;HIED 7<J;H8;?D=:;I?=D7J;:7IJ>;F7HJOXIH;FH;I;DJ7J?L;8O?JI7JJEHD;OV(EJ;IE<

ECC?JJ;;EDJ>;$K:?9?7HO -;D7J;,;FEHJ(E  B;7:97I;7=;DJI<?J?DJEJ>?I,KB;

;N9;FJ?ED 

       .EJ>;;NJ;DJJ>7J.;C7DXII;GK;IJH7J?ED9ED9;HD?IH;B7J;:JEJ>;J;IJ?CEDOJ>7JC?=>J

>7L;E99KHH;:>7:.;C7D97BB;:J>;I;9ED:(3*7=;DJ J>;H;M7IDEL?EB7J?EDE<,KB; 

.>7J:;J;9J?L;M7IDEJFH;I;DJM>;DJ>;!EL;HDC;DJ?DGK?H;:E<-EB;?C7D?78EKJ>?IFH?EH

IJ7J;C;DJ .;C7DXIH;=H;JJ>7JJ>;!EL;HDC;DJ?DM?JD;IIFH;F7H7J?ED7B;HJ;:-EB;?C7D?7IJE

M>7J7FEJ;DJ?7B:;<;DI;M?JD;IIJ>;KDD7C;:(3*E<<?9;HC?=>J>7L;I7?:B7J;H7JJH?7B?IDEJ

79ED9;HDE<,KB; 7D:J>;:;<;DI;:?:DEJ7IASS7I79ED:?J?EDE<FH;L?;M?D=?JIFEJ;DJ?7B

97I;SSJ>7JJ>;!EL;HDC;DJ8;EH:;H;:DEJJE<EBBEMKFM?J>-EB;?C7D? .>?I97I;?IJ>KI7<7H

9HO<HECED;I?DM>?9>7F7HJO9>7BB;D=;I7:?IJH?9J9EKHJXIH;<KI7BJE=H7DJ7J?C;BOH;GK;IJJE

I;GK;IJ;H7M?JD;II  +++- 8;4+';+>8+2 ).5,/+2*< 58:8/-.:+4: )./9:  :

 :?H  ";H; .;C7DXI9EKDI;BM7I7JB?8;HJODEJJE7DIM;HJ>;EKHJXI?DGK?HO

7IJE?JI7DJ?9?F7J;:M?JD;II;I<EHJ>;D;NJ:7OEHJEFH;L?;MIK9>M?JD;II;IXJ;IJ?CEDO EKDI;B

M7I7BIE7JB?8;HJOJE7IAJ>;EKHJJEEH:;HJ>;!EL;HDC;DJDEJJEKI;J>;:;<;DI;XIFH;L?;M7I7

87I?I<EH:?I9KII?EDM?J>-EB;?C7D? "7L?D=DEJ:ED;IE :;<;DI;9EKDI;B97DDEJ9B7?C7

L?EB7J?EDE<7DOHKB;EHEH:;HM>;DJ>;!EL;HDC;DJ 7IF7HJE<?JIFH;F7H7J?EDE<-EB;?C7D?<EH

9HEII;N7C?D7J?ED ?DGK?H;:?DJEJ>?I7H;7 



                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 77 of 107




         ?D7BBO ;L;D7IIKC?D='8-;+4*5J>7JJ>?IEKHJ;HH;:8ODEJ9;'9654:+FH;9BK:?D=

9ECCKD?97J?ED8;JM;;DJ>;!EL;HDC;DJ7D:-EB;?C7D?EDJ>;JEF?9<HEDJ;:8OJ>;:;<;DI; J>;

EKHJM7IM;BBM?J>?D?JI:?I9H;J?EDDEJJE;N9BK:;-EB;?C7D?XIJ;IJ?CEDO  ++8/+*3'4 

 :7J D:7DOIK9>;HHEHIKH;BO:?:DEJ8H?D=78EKJJ>;UC7D?<;IJ?D@KIJ?9;VH;GK?H;:

KD:;H,KB;  +++8-;954  :7J N7C?D?D=J>;;DJ?H;97I;7D:9EDI?:;H?D=7BB

J>;<79JI7D:9?H9KCIJ7D9;I J>;;HHEH<7BBI<7H<HECH7?I?D=7H;7BU9ED9;HDJ>7J7D?DDE9;DJ

F;HIEDC7O>7L;8;;D9EDL?9J;: V '4).+@  :7J IJ>;EKHJDEJ;:M>;D:;<;DI;

9EKDI;BH7?I;:J>;?IIK; J>;7DJ?9?F7J;:B?D;E<GK;IJ?ED?D=M>;J>;H       EH     E<J>;

9>;9AI:H7MD8O.;C7DED-EB;?C7D?XI8KI?D;IIXI799EKDJM;H;KD7KJ>EH?P;:M7IE<JH?<B?D=

I?=D?<?97D9;  +++- .H?7B.H 7J ;NFH;II?D=U9ED<KI?ED7IJEM>7JJ>;FKHFEI;?IV=?L;D

J>7JJ>;7BB;=;:?D9EDI?IJ;D9OE<-EB;?C7D?XIIJ7J;C;DJJEB7M;D<EH9;C;DJM7IKD9B;7HED?JI

<79;/*7J<?D:?D=UJ>;M>EB;7H;7E<FEJ;DJ?7B?CF;79>C;DJ;BKI?L;V/*7JH;<;HH?D=

JEJ>;:?IFKJ;:B?D;E<GK;IJ?ED?D=7IU;N9;;:?D=BOJ7D=;DJ?7BV D: 7IH;L?;M;:78EL; J>;H;

M7I8HE7: H7D=?D=;L?:;D9;J>7J7BBJ>H;;KIJEC;HI:?IFKJ;:>7L?D=7KJ>EH?P;:J>;<;;I?D

GK;IJ?ED 7D:J>;H;M7IDE7<<?HC7J?L;;L?:;D9;J;IJ?CEDOEHMH?J?D=IJ>7J7DOIK9>M?JD;II

>7::ED;IE .;C7DXI7H=KC;DJ7JJH?7B?DIJ;7:M7IJ>7J!7J;!K7H:XI.;HCI7D:ED:?J?EDI7D:

*7OC;DJ.;HCI7KJ>EH?P;:>?CJE:H7MIK9>9>;9AI D:DEJ>?D=FH;L;DJ;:J>;:;<;DI; ?D?JI

97I; <HEC97BB?D=J>;(3*M?JD;IIJEE<<;HJ;IJ?CEDO?<J>;:;<;DI;8;B?;L;:?J7<<EH:;:

C;7D?D=<KB?CF;79>C;DJL7BK; .>;!EL;HDC;DJM7IM?J>?D?JIH?=>JIJE?DGK?H;E<-EB;?C7D?

78EKJJ>?IIK8@;9J:KH?D=J>;;DIK?D=F7HJE<>?IJ;IJ?CEDO8O?DJHE:K9?D=?CF;79>?D=IJ7J;C;DJI

ED:?H;9J;N7C?D7J?ED  ++"4/:+* :':+9<=/4-9  :    ?H <HEDJ?D=

FEJ;DJ?7B?CF;79>C;DJC7J;H?7BED:?H;9J;N7C?D7J?ED?I7UJ?C; >EDEH;:JH?7BJ79J?9V9++'295

"4/:+* :':+9</</4-9:54  : J>?H F;HC?JJ?D=?DJHE:K9J?EDE<



                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 78 of 107




?CF;79>?D=IJ7J;C;DJI?D:?H;9JJ;IJ?CEDO (EJM?J>IJ7D:?D=.;C7DXI7DDEO7D9;J>7JJ>;

!EL;HDC;DJ J?FF;:E<<8O9EKDI;BXIFH;L?;M?DEF;D9EKHJ7IJE7<EHJ>9EC?D=B?D;E<

;N7C?D7J?ED >7:UIJEB;D4:;<;DI;9EKDI;BXI5J>KD:;H VIK9>M7ID;?J>;H?CFHEF;HDEH8O7DO

C;7IKH;7DU;NJH7EH:?D7HO9?H9KCIJ7D9;VJ>7JMEKB:M7HH7DJ7D;MJH?7B  +++8-;954 

 :7J9?J7J?EDEC?JJ;: 

       .>;EKHJJ>;H;<EH;:;D?;I.;C7DXI,KB;CEJ?EDEDJ>;=HEKD:J>7J9ECCKD?97J?ED

8;JM;;DJ>;!EL;HDC;DJ ;J;9J?L;B;II7D:H?DE 7D:-EB;?C7D?:E;IDEJM7HH7DJ7D;MJH?7B 

             !()5.-*+*.!  3+!-/%/)!..

                    !-/%)!)/ &#-*0) 

       )D$7DK7HO   .;C7DDEJ?<?;:J>;!EL;HDC;DJJ>7J>;?DJ;D:;:JE97BB$ ;D@7C?D

7L?I 7B7MO;H?DJ>;<?D7D9?7BI;HL?9;I?D:KIJHOM?J>;NF;H?;D9;?D9>;9AD;=EJ?7J?ED?IIK;I 7I

7D;NF;HJ  ++.;C7DNF;HJ(EJ?9; .;C7D<EH;97IJJ>7J7L?IMEKB:J;IJ?<O78EKJM>7J

9EDIJ?JKJ;I7UH;CEJ;BO9H;7J;:9>;9AV7D:7U9EKDJ;H<;?JV9>;9A 7D:JEEF?D;J>7JJ>;9>;9AI7J

?IIK;M;H;UL7B?:,IV7D:DEJ9EKDJ;H<;?J  ++/*7JS .>?IJ;IJ?CEDO >;FH;:?9J;: 

MEKB:?D9BK:;7L?IXIEF?D?EDJ>7JJ>;,I9ECFB?;:M?J>J>;,;J7?B*7OC;DJ-OIJ;CI

EEAB;JE<J>; ;:;H7B ?D7D9?7B#DIJ?JKJ?EDIN7C?D7J?EDEKD9?BXI#.N7C?D7J?ED"7D:8EEAXI

:;<?D?J?EDE<7D,7D:J>; ;:;H7B,;I;HL;E7H:XIH;=KB7J?EDI=EL;HD?D=,I 7D:J>7JJ>;

,IM;H;FHEF;HBO:H7MDEDJ>;KIJEC;HIX799EKDJFKHIK7DJJEJ>;*7OC;DJ.;HCI *

7JS #J7BIEMEKB:?D9BK:;J>;JH;7JC;DJE<9EKDJ;H<;?JEH<EH=;:9>;9AI8OJ>;/D?<EHC

ECC;H9?7BE:;  ++/*7J )D$7DK7HO   J>;!EL;HDC;DJCEL;:/42/3/4+JE

FH;9BK:;7L?IXIJ;IJ?CEDO AJ  #J7H=K;:J>7J>?IJ;IJ?CEDOM7I?HH;B;L7DJ KIKHF;:J>;

EKHJXIHEB;?D?DIJHK9J?D=J>;@KHO 7D:B79A;:H;B?78?B?JO  ++/*7JS .;C7DEFFEI;:J>7J

CEJ?ED AJ  



                                                 

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 79 of 107




          )D$7DK7HO   ?D7D;NJ;D:;:8;D9>HKB?D= J>;EKHJ;N9BK:;:7L?IXIJ;IJ?CEDO 

    ++'#&.H 7JS  ?HIJ ?J<EKD:J>7J7L?IXIJ;IJ?CEDOM7I?HH;B;L7DJ ;NFB7?D?D=J>7JJ>;

9HKNE<J>;97I;M7IM>;J>;H.;C7D79J;:M?J><H7K:KB;DJ?DJ;DJ?D:;FEI?J?D=J>;9>;9AI DEJ

M>;J>;HJ>;9>;9AI9ECFB?;:M?J>H;=KB7J?EDI=EL;HD?D=,IEH<7?B;:JEC;;J7J;9>D?97B

:;<?D?J?EDE<U9EKDJ;H<;?J V ++/*7JS -;9ED: J>;EKHJ>;B:J>7J;L;D?<J>;J;IJ?CEDO

M7IDEC?D7BBOH;B;L7DJ ?JIFHE87J?L;L7BK;M7IEKJM;?=>;:8O9EKDJ;HL7?B?D=H?IAIKD:;H

    ;:;H7B,KB;E<L?:;D9;  ?D9BK:?D=J>;H?IAE<9ED<KI?D=J>;@KHO *7J   ?D7BBO J>;

EKHJ>;B:J>7J7L?IXIJ;IJ?CEDO78EKJJ>;B;=7B?JOE<J>;9>;9AI.;C7D>7:9H;7J;:MEKB:

?DL7:;J>;EKHJXIFHEL?D9;E<?DIJHK9J?D=J>;@KHO  ++/*7J 

          #D?JI:;9?I?EDEDJ>;CEJ?ED/42/3/4+ J>;EKHJ >EM;L;H :?:DEJ;J>;?CFEHJ7D9; JE

J>;:;<;DI; E<;NFB7?D?D=JEJ>;@KHOJ>7J79>;9AC7OB7M<KBBO8;9H;7J;:H;CEJ;BO8O7F;HIED

EJ>;HJ>7DJ>;799EKDJ>EB:;H7D:J>;H;KFEDD;=EJ?7J;: /+ J>7J.;C7DXI9H;7J?EDE<79>;9AED

7DEJ>;HF;HIEDXI799EKDJM7IDEJ?JI;B<?CF;HC?II?8B; *.EJ>7J;D: J>;EKHJ?DL?J;:J>;

F7HJ?;IJE<?B;7FHEFEI;:@E?DJ@KHO?DIJHK9J?EDEDJ>;JEF?9E<,I *)D$7DK7HO   

J>;F7HJ?;I KD78B;JE7=H;;EDED;?DIJHK9J?ED ;79><?B;:J>;?HEMDFHEFEI;:?DIJHK9J?EDI 

AJ  7JS )D$7DK7HO   J>;EKHJ >7L?D=H;L?;M;:J>;F7HJ?;IXFHEFEI7BI 

IK==;IJ;:J>;<EBBEM?D=?DIJHK9J?ED :H7M?D=KFEDJ>;F7HJ?;IX7BJ;HD7J?L;IK==;IJ?EDI

          3EK>7L;>;7H:H;<;H;D9;JEIEC;J>?D=97BB;:7H;CEJ;BO9H;7J;:9>;9A 7BIEADEMD
          <EHI>EHJ7I7D, H;CEJ;BO9H;7J;:9>;9A?I79>;9AJ>7J?IDEJ9H;7J;:8OJ>;
          F7O?D=87DA7D:J>7J:E;IDEJ8;7H7I?=D7JKH;4JE8;57FFB?;:EHFKHFEHJ;:JE8;
          7FFB?;:8OJ>;F;HIEDEDM>EI;799EKDJJ>;9>;9A?I:H7MD 

          #?DIJHK9JOEKJ>7JJ>;87DA?D=B7MI?DJ>?I9EKDJHO:EF;HC?JJ>;KI;E<H;CEJ;BO
          9H;7J;:9>;9AIKD:;H9;HJ7?D9?H9KCIJ7D9;I FHEL?:;: E<9EKHI; J>7JJ>;9KIJEC;H
          EDM>EI;799EKDJJ>;9>;9A?I:H7MD>7I7KJ>EH?P;:J>;9>;9A "EM;L;H J>?I97I;
          :E;I DEJ ?DLEBL; M>;J>;H EH DEJ J>; 9>;9AI ?D GK;IJ?ED >;H; C;;J J>; J;9>D?97B
          :;<?D?J?EDE<7H;CEJ;BO9H;7J;:9>;9A 7D:OEKI>EKB:DEJ9ED9;HDOEKHI;B<M?J>
          J>7J 



                                                      

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 80 of 107




        .>;GK;IJ?ED<EHOEKM?BB8;M>;J>;HEHDEJJ>;=EL;HDC;DJ>7IFHEL;D8;OED:7
        H;7IED78B;:EK8JJ>;;B;C;DJIE<J>;E<<;DI;I9>7H=;: M>?9> 7=7?D 7H;87DA<H7K:
        7D:M?H;<H7K: #M?BB?DIJHK9JOEKEDJ>;;B;C;DJIE<J>EI;E<<;DI;IB7J;H?DJ>;
        JH?7B 7<J;H7BBE<J>;;L?:;D9;>7I8;;DH;9;?L;: 

.H?7B.H 7J (;?J>;HF7HJOE8@;9J;:JEJ>;?DIJHK9J?ED *7J 

       )D$7DK7HO   :KH?D=J>;J;IJ?CEDOE< ?DE99>?7HE J>;I;D?EH<H7K:?DL;IJ?=7JEH7J

7DAE<C;H?97 J>;EKHJ=7L;J>7J?DIJHK9J?ED *7JS 

                       %.0..%*)

        .;C7D7H=K;IJ>7JJ>;EKHJ;HH;:?D;N9BK:?D=7L?IXIFHEFEI;:;NF;HJJ;IJ?CEDO  ++

.;C7D';C 7JS.;C7D,;FBO7JS ";9EDJ;D:IJ>7JJ>?IJ;IJ?CEDOM7IH;B;L7DJJE

J>;?IIK;E<M>;J>;HJ>;9>;9AIM;H;9EKDJ;H<;?J9>;9AIEH,I 7D:J>7J7L?IXIEF?D?EDJ>7J

,IC7O8;7KJ>EH?P;:8O9EDJH79JM?J>EKJIK8I;GK;DJ7KJ>EH?P7J?ED<EH;79>9>;9AM7I

H;B;L7DJJEM>;J>;HJ>;KIJEC;HI>;H;>7:7KJ>EH?P;:.;C7DJ>HEK=>J>;?H9EDJH79JIM?J>

!7J;!K7H: .;C7D';C 7J.;C7D,;FBO7JS .;C7D7BIE7H=K;IJ>7J7L?IXI

J;IJ?CEDOMEKB:DEJ>7L;KIKHF;:J>;EKHJXIHEB;?D?DIJHK9J?D=J>;@KHO 7IJ;IJ?CEDO?IDEJ

E8@;9J?ED78B;I?CFBO8;97KI;?J;C8H79;IJ>;KBJ?C7J;?IIK; .;C7D';C 7J  ?D7BBO 

.;C7D9EDJ;D:IJ>7J;N9BKI?EDE<7L?IXIJ;IJ?CEDOL?EB7J;:J>;K;*HE9;IIB7KI; 8;97KI;>;

>7:7H?=>JJEFH;I;DJ79ECFB;J;:;<;DI;T?D9BK:?D=7:;<;DI;J>7JJ>;7BB;=;:,IM;H;DEJ

U9EKDJ;H<;?JV9>;9AI .;C7D';C 7J.;C7D,;FBO7JS .>;EKHJH;@;9JIJ>?I

7H=KC;DJ 

        .>;EKHJFHEF;HBO;N9BK:;:7L?IXIJ;IJ?CEDO7I?HH;B;L7DJ .>;GK;IJ?ED?DJ>?I97I;

M7IM>;J>;HJ>;!EL;HDC;DJ>7:FHEL;:8;OED:7H;7IED78B;:EK8JJ>7J.;C7DM7I=K?BJOE<

87DA<H7K:7D:M?H;<H7K: EJ>9H?C;I?DLEBL;:.;C7DXII9>;C;JE:;<H7K:8EJ>J>;:H7M;;

7D::;FEI?J7HO87DAI 8OC?IB;7:?D=J>;87DAIJE8;B?;L;J>7J>;>7:7KJ>EH?JOJE:;FEI?JJ>;

9>;9AI7J?IIK; :H7MDEDJ>;KIJEC;HIX799EKDJI ?DJE7D799EKDJ7IIE9?7J;:M?J>>?C 


                                                    

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 81 of 107




1>;J>;HJ>;I;9>;9AIM;H;J;9>D?97BBODEJ9EKDJ;H<;?J9>;9AI8O7L?IXIC;7IKH;EHM>;J>;H

J>;O9ECFB?;:M?J>H;=KB7J?EDI=EL;HD?D=,I>7:DE8;7H?D=EDJ>;@KHOXI9>7H=;E<

:;J;HC?D?D=M>;J>;HJ>;;B;C;DJIE<J>;I;E<<;DI;I ?D9BK:?D=M>;J>;H.;C7D79J;:M?J>?DJ;DJ

JE:;<H7K: >7:8;;D;IJ78B?I>;:8;OED:7H;7IED78B;:EK8J ,+- /-'9   :7J S

;L;DM>;H;?D:?9JC;DJH;<;H;D9;:!;D;H7BBO99;FJ;:99EKDJ?D=*H?D9?FB;IU!*V 

=EL;HDC;DJM7IDEJH;GK?H;:JEFH;I;DJ;NF;HJJ;IJ?CEDOED!*XIH;GK?H;C;DJI8;97KI;

U4;5L;D?<;<;D:7DJI9ECFB?;:M?J>!* 7@KHO9EKB:>7L;<EKD: 7IJ>;@KHO:?:>;H; J>7J

;<;D:7DJI?DJ;DJ?ED7BBOC?IB;:?DL;IJEHIV .>7JIK9>J;IJ?CEDOM7I?HH;B;L7DJ?I7BBJ>;9B;7H;H

=?L;DJ>;EKHJXIHKB?D= 9++9;68'FF  S J>7JJ>;J;HCU9EKDJ;H<;?JV7IKI;:?DJ>;

#D:?9JC;DJXIJEM?J9B7KI;I:?:DEJ97HHO7J;9>D?97BC;7D?D=?D9BK:?D=7L?IXI 8KJ?DIJ;7:

H;<;HH;:JEKD7KJ>EH?P;:9>;9AI 7IK8@;9JDEJH;GK?H?D=;NF;HJJ;IJ?CEDO 

       ,;?D<EH9?D=J>?IHKB?D=?I ;:;H7B,KB;E<L?:;D9; XIH;GK?H;C;DJJ>7JJ>;EKHJ

;N9BK:;;NF;HJJ;IJ?CEDOJ>7J?IDEJ>;BF<KBJEJ>;@KHO  ++ ;: , L?:  7;NF;HJ

J;IJ?CEDOCKIJU>;BFJ>;JH?;HE<<79JJEKD:;HIJ7D:J>;;L?:;D9;EHJE:;J;HC?D;7<79J?D?IIK;V 

UDEF?D?ED?IKD>;BF<KB7D:J>;H;<EH;C7ODEJ8;H;9;?L;:?D;L?:;D9;?<   J>;J;IJ?CEDO

WMEKB:C;H;BOJ;BBJ>;@KHOM>7JH;IKBJJEH;79> XV"4/:+* :':+9<522/49  FFXN  

:?H  GKEJ?D="4/:+* :':+9<+'  :  :?H  7L?IXI

J;IJ?CEDOMEKB:>7L;:ED;@KIJJ>7J IFH;L?;M;:8O.;C7D 7L?IMEKB:>7L;JEB:J>;@KHO

J>7JJ>;I;9>;9AIM;H;DEJ9EKDJ;H<;?J M;H;L7B?:,I 7D:J>7JJ>;*7OC;DJ.;HCI7KJ>EH?P;:

.;C7DJE9H;7J;7D:D;=EJ?7J;J>;,I  ++.;C7DNF;HJ(EJ?9;7JS -K9>J;IJ?CEDO

MEKB:DEJ>7L;8;;D>;BF<KB IJ>;EKHJ;NFB7?D;:?D?JIFH;JH?7BHKB?D= J>;9;DJH7BGK;IJ?ED

<EHJ>;@KHOM7IM>;J>;H.;C7D 7I>;H;FH;I;DJ;:JEJ>;87DAI M7I7KJ>EH?P;:8OJ>;

799EKDJ>EB:;HJE:;FEI?JJ>;9>;9AI  ++'#&.H 7J S 7L?IXIJ;IJ?CEDO=?L?D=



                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 82 of 107




:;<?D?J?EDIE<,I7D:9EKDJ;H<;?J9>;9AI>7:DE8;7H?D=EDJ>?IFE?DJ *D:>?IEF?D?ED

78EKJJ>;?CFEHJE<J>;*7OC;DJ.;HCI>7:DE8;7H?D=ED.;C7DXI?DJ;DJ7D:M7IDEJ7FHEF;H

7H;7<EH;NF;HJJ;IJ?CEDO .>;EKHJ<KHJ>;H>;B:7L?IXIJ;IJ?CEDO?D7:C?II?8B;KD:;H,KB;

  EDJ>;=HEKD:IJ>7J;L;D?<J>7JJ;IJ?CEDO>7:IEC;C?D?C7BFHE87J?L;L7BK; ?JM7I<7H

EKJM;?=>;:8OJ>;97F79?JOE<7L?IXIEF?D?EDIJE9ED<KI;J>;@KHO7IJEJ>;?IIK;I7J>7D:  ++

/*7J  .>;EKHJH;7<<?HCIJ>EI;7IF;9JIE<?JIFH;JH?7BHKB?D=7I9B;7HBO9EHH;9J 

         ?D7BBO J>;EKHJ7BIEFHEF;HBO;N9BK:;:7L?IXIJ;IJ?CEDO7IKIKHF?D=?JIHEB;?D

?DIJHK9J?D=J>;@KHOEDJ>;B7M  ++/*7J U#J?IDEJ<EHM?JD;II;IJE?DIJHK9JJ>;@KHO7IJE

7FFB?978B;FH?D9?FB;IE<B7M 8KJ<EHJ>;@K:=; V'8>5</4+89D2;(4)   :  

 S :?H 9++'295"4/:+* :':+9</2@+8/'4  : :?H 

;L;D?D9ECFB;NI;9KH?J?;I97I;IM>;H;;NF;HJJ;IJ?CEDO?ID;;:;: U4?5JIKI;CKIJ8;97H;<KBBO

9?H9KCI9H?8;:JE7IIKH;J>7JJ>;;NF;HJ:E;IDEJKIKHF   J>;HEB;E<J>;JH?7B@K:=;?D?DIJHK9J?D=

J>;@KHO7IJEJ>;7FFB?978B;B7MV"4/:+* :':+9< )56  :  :?H 

;N9BK:?D=;NF;HJJ;IJ?CEDO8;97KI;?JM7IU97B9KB7J;:JEW?DL7:;J>;FHEL?D9;E<J>;9EKHJJE

:;J;HC?D;J>;7FFB?978B;B7M7D:JE?DIJHK9JJ>;@KHO7IJEJ>7JB7MXVGKEJ?D=<'4*? 

  : :?H  7L?IFB7DD;:JE:;<?D;8EJ>9EKDJ;H<;?J9>;9AI7D:,I

<EHJ>;@KHOJE;NFB7?DJ>;?CFB?97J?EDIKD:;HJ>;/D?<EHCECC;H9?7BE:;<EHF7O?D=

9EKDJ;H<;?J7D:<EH=;:9>;9AI7D:JEEF?D;78EKJM>7J9EDIJ?JKJ;I7L7B?:,KD:;H<;:;H7B

H;=KB7J?EDI .;C7DNF;HJ(EJ?9;7JS -K9>J;IJ?CEDO78EKJGK?DJ;II;DJ?7BB;=7BHKB;IMEKB:

>7L;?DL7:;:J>;EKHJXIHEB; 

        #DIJ;7: J>;EKHJ?JI;B<?DIJHK9J;:J>;@KHOEDJ>;H;B;L7DJFE?DJ78EKJ,IE<

?CFEHJ7D9;JEJ>;:;<;DI;SSJ>7J,I7H;L7B?:M>;H;799EKDJ>EB:;H 7KJ>EH?P;:  ++.H?7B.H 

7JS .>?I?DIJHK9J?ED =?L;DM?J>:;<;DI;7FFHEL7B 7:L?I;:J>;@KHO 9EHH;9JBO J>7J?JI



                                                   

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 83 of 107




7II?=DC;DJM7IDEJJE<E9KIEDJ;9>D?97B7IF;9JIE<,I 8KJ?DIJ;7:EDM>;J>;HJ>;;B;C;DJI

E<87DA7D:M?H;<H7K:>7:8;;D;IJ78B?I>;: *.>?IFH79J?97B7D:?D<EHC7J?L;?DIJHK9J?ED

=K7H:;:7=7?DIJ@KHEH9ED<KI?ED7D:C?D?C?P;:J>;FH;@K:?9;.;C7DC?=>JEJ>;HM?I;>7L;

;NF;H?;D9;:>7:J>;@KHOC?IJ7A;DBOL?;M;:,I7I?D>;H;DJBO?CF;HC?II?8B;EH7H;:<B7=E<

9H?C?D7B?JO EHL?;M;:>?I=K?BJEH?DDE9;D9;7IJKHD?D=ED9ECFB?7D9;M?J>J;9>D?97BH;=KB7J?EDI

H;=7H:?D=,I .>;?DIJHK9J?ED<KBBO7BBEM;:.;C7DJEFKJED>?I:;<;DI;7D:7:LE97J;JEJ>;

@KHOJ>7J>;>7::;FEI?J;:,IM?J> EH8;B?;L?D=J>7J>;>7: J>;7KJ>EH?P7J?EDE<J>;

799EKDJ>EB:;HI  +++- /*7JS:;<;DI;EF;D?D=/*7J S:;<;DI;9BEI?D= 

          99EH:?D=BO J>;EKHJ:;D?;I.;C7DXI,KB;CEJ?ED87I;:EDJ>;;N9BKI?EDE<

.;C7DXIFHEFEI;:;NF;HJ 7L?I 

                 ''!#! '/!-)/!0-*- %.$*)!./4%) 

          .>;EKHJD;NJ9EDI?:;HI.;C7DXI,KB;CEJ?ED87I;:ED7D7BJ;HD7J;@KHEHXI7BB;=;:

<7?BKH;JE:?I9BEI;9;HJ7?D?D<EHC7J?ED:KH?D=LE?H:?H; 

                        ++'%'!!#'-%)%+'!.

          U@KHEHXI:?I>ED;IJO:KH?D=LE?H:?H;KD:;HC?D;I7:;<;D:7DJXIH?=>JJE7<7?HJH?7B V

"4/:+* :':+9<';-+8*'9  -KFF : -  ( 3  9?J?D=2'81<"4/:+*

    :':+9/ -   <')':+*545:.+8-85;4*99;(453"4/:+* :':+9<'89+ 

 ::?H   .>;-KFH;C;EKHJ>7I7HJ?9KB7J;:7JME F7HJJ;IJJE:;J;HC?D;

M>;J>;H7:;<;D:7DJXI7BB;=7J?EDE<@KHEH:?I>ED;IJO:KH?D=J>;@KHOI;B;9J?EDFHE9;IIM7HH7DJI

H;B?;<KD:;H,KB;U45F7HJOCKIJ<?HIJ:;CEDIJH7J;J>7J7@KHEH<7?B;:JE7DIM;H>ED;IJBO7

C7J;H?7BGK;IJ?EDED<5/8*/8+ 7D:J>;D<KHJ>;HI>EMJ>7J79EHH;9JH;IFEDI;MEKB:>7L;

FHEL?:;:7L7B?:87I?I<EH79>7BB;D=;<EH97KI; V)545;-.5=+87;/63+4:4)<

8++4=55* / -  9++'295"4/:+* :':+9< :+='8:  :  

:?H         #J<KHJ>;H97KJ?ED;:J>7JM>?B;U4J5>;CEJ?L;I<EH9ED9;7B?D=?D<EHC7J?EDC7O

                                                    

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 84 of 107




L7HO    EDBOJ>EI;H;7IEDIJ>7J7<<;9J7@KHEHXI?CF7HJ?7B?JO97DJHKBO8;I7?:JE7<<;9JJ>;

<7?HD;IIE<7JH?7B V)545;-. / - 7J 

        .>;-;9ED:?H9K?J>7IEDBOEDH7H;E997I?EDIEL;HJKHD;:7L;H:?9JEHH;C7D:;:<EH7D

;L?:;DJ?7HO>;7H?D=87I;:EDJ>;7BB;=;:<7?BKH;E<7@KHEHTB;J7BED;J>7JE<7D'2:+84':+@KHEHT

JE:?I9BEI;?D<EHC7J?ED  :+='8:  :7J 9++'89+  :7JS   

H;C7D:?D=<EHD;MJH?7BM>;H;@KHEHB?;:78EKJ>;HF;HIED7B879A=HEKD: >;H97H;;H7I7D

7JJEHD;O >;HFH?EHB?J?=7J?ED;NF;H?;D9; 7:?I9?FB?D7HO?DL;IJ?=7J?EDE<>;H8O7IJ7J;B?9;DI?D=

7KJ>EH?JO 7D:>;H9H?C?D7B>?IJEHO:KH?D=<5/8*/8+ 7D:IK8I;GK;DJBOU9ED<;II;:J>7JI>;

FKHFEI;<KBBOB?;:7D:EC?JJ;:C7J;H?7B?D<EHC7J?ED?D>;H<5/8*/8+J;IJ?CEDOJEC7A;>;HI;B<

CEH;WC7HA;J78B;X7I7@KHEHV"4/:+* :':+9<5253(5  : :?H 

H;C7D:?D=<EH;L?:;DJ?7HO>;7H?D=M>;H;7IMEHD7<<?:7L?J8O7D7BJ;HD7J;@KHEHH;<B;9J;:J>7J7

@KHEHB?;:78EKJ>;H8HEJ>;H ?D B7MXIHEB;7I7=EL;HDC;DJ7JJEHD;O8;97KI;I>;M7DJ;:JEI;HL;

EDJ>;97I; FEIJ JH?7B?DGK?HO?DJE7BB;=;:@KHOC?I9ED:K9JH;GK?H;IJ>7J7F7HJO9EC;<EHM7H:

M?J>U9B;7H IJHED= IK8IJ7DJ?7B7D:?D9EDJHEL;HJ?8B;;L?:;D9;   J>7J7IF;9?<?9 DED IF;9KB7J?L;

?CFHEFH?;JO>7IE99KHH;:4 5V ++"4/:+* :':+9<'44/+225  : :?H 

7BJ;H7J?EDI?DEH?=?D7BGKEJ?D="4/:+* :':+9<554  : :?H  

        .>;L?78?B?JOE<7,KB;CEJ?ED87I;:ED7D7BB;=;:<5/8*/8+;HHEH?I7BIEJ?C;

I;DI?J?L;U4#5<J>;:;<;D:7DJAD;MFH?EHJEJ>;;D:E<JH?7BJ>7J7FHEIF;9J?L;@KHEH>7:=?L;D

<7BI;LE?H:?H;H;IFEDI;I7D::?:DEJJ>;DH;L;7BJ>;:?IGK7B?<O?D=<7BI;>EE:IEHDED:?I9BEIKH;IJE

J>;9EKHJ J>;W?DJ;H;IJE<@KIJ?9; X ;: , H?C* 7 =;D;H7BBOM?BBDEJH;GK?H;7D;MJH?7B V

'89+  :7J S :?H  9++/*7J U45CEJ?ED<EH7D;MJH?7B87I;:ED7

9B7?CE<D;MBO:?I9EL;H;:;L?:;D9;=;D;H7BBOI>EKB:DEJ8;=H7DJ;:KDB;II /4:+8'2/' J>;

;L?:;D9;M7I?D<79JD;MBO:?I9EL;H;:7<J;HJH?7B 7D:<79JI7H;7BB;=;:<HECM>?9>J>;9EKHJ97D



                                                   

        Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 85 of 107




?D<;HJ>;;N;H9?I;E<:K;:?B?=;D9;EDJ>;F7HJE<J>;CEL7DJJEE8J7?DJ>;;L?:;D9;FH?EHJEJ>;

;D:E<JH?7B V 

                     ++'%/%*)

        #D>?IEF;D?D=C;CEH7D:KCE<B7M .;C7D:;9B7H;:J>7J>;?I;DJ?JB;:JE7D;MJH?7B

U8;97KI;7D7BJ;HD7J;@KHEHB?;::KH?D=<5/8*/8+ :;FH?L?D=4>?C5E<>?I9EDIJ?JKJ?ED7BH?=>JJE7

<7?HJH?7B V.;C7D';C 7J -F;9?<?97BBO .;C7D7BB;=;:J>7J$KHEH?D?J?7J;:9EDJ79J

M?J>.;C7DL?7&?DA;:#D8;<EH;JH?7B7D:<7?B;:JE:?I9BEI;J>?I9EDJ79JM>;D7IA;:KD:;HE7J>

M>;J>;H>;AD;MJ>;:;<;D:7DJ7D:U7FF;7HIJE8;7:?H;9J8KI?D;II9ECF;J?JEHE<

.;C7D !7J;!K7H:T7J7C?D?CKCH;GK?H?D=<KHJ>;H?DGK?HO8OJ>;EKHJEDJ>?I?IIK; V*

.;C7D787D:ED;:J>?I9B7?C?D>?IH;FBO .EJ>;;NJ;DJJ>7J.;C7DIJ?BBC;7DIJEFKHIK;J>?I

9B7?C J>;EKHJ<?D:I.;C7DXI7BB;=7J?EDIH;=7H:?D=J>;7BJ;HD7J;@KHEH?DIK<<?9?;DJJE@KIJ?<O7

D;MJH?7BKD:;H,KB; 

        JJ>;EKJI;J .;C7DFHEL?:;IDEIKFFEHJM>7JIE;L;H<EHJ>;9B7?CJ>7JJ>;7BJ;HD7J;@KHEH

?DGK;IJ?EDH;79>;:EKJJE.;C7DL?7IE9?7BC;:?7FH?EHJEJH?7B (EJ78BO J>;!EL;HDC;DJ ?D?JI

EFFEI?J?ED FE?DJ;:EKJJ>7J.;C7DXI7BB;=7J?EDM7IU4M5?J>EKJ7DOIKFFEHJEHIF;9?<?9I V!EL 

';C 7J .;C7D:?:DEJ<?BBJ>7JLE?: ;IF?J;>7L?D=J>;EFFEHJKD?JOJEFHEL?:;IK9>

IKFFEHJ?D>?IH;FBO8H?;< M>?9>>;IEK=>JB;7L;JE<?B; .;C7D:?:DEJIKFFEHJJ>?I9EDJ;DJ?ED

7D:787D:ED;:J>;@KHEH C?I9ED:K9J7H=KC;DJ ;97KI;>?IU;L?:;D9;VEDJ>?IFE?DJ?IB?C?J;:

JE7BB;=7J?EDI?D>?I?D?J?7BC;CEH7D:KCE<B7M7D:?IDEJ9EDJ7?D;:M?J>?D7IMEHD7<<?:7L?J 

J>?IEKHJ?IDEJ7JB?8;HJOJE9EDI?:;H?J  ++/'44;225</:?5,+=%581  : 

:?H     7UC;CEH7D:KCE<B7M   ?IDEJ;L?:;D9;7J7BBV 

        L;D?<.;C7DXI<79JK7B7BB;=7J?EDI>7:8;;DIK8IJ7DJ?7J;:?D7IMEHD7<<?:7L?J >?I,KB;

CEJ?EDMEKB:IJ?BB<7?B<EHJ>H;;?D:;F;D:;DJH;7IEDI 



                                                   

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 86 of 107




         ?HIJ .;C7DXI7BB;=7J?EDI:EDEJFHEL?:;787I?I<EH?D<;HH?D=J>;A?D:E<C?I9ED:K9JJ>7J

MEKB:M7HH7DJ7D;MJH?7B .;C7DXIIJ7J;C;DJ?D>?IC;CEH7D:KCE<B7M78EKJIEC;<EHCE<

&?DA;:#D9ECCKD?97J?ED:E;IDEJ7BB;=;J>7J$KHEH<7?B;:JEU7DIM;H>ED;IJBO7C7J;H?7B

GK;IJ?EDED<5/8*/8+VEHJ>7JU79EHH;9JH;IFEDI;MEKB:>7L;FHEL?:;:7L7B?:87I?I<EH7

9>7BB;D=;<EH97KI; V)545;-. / - 7J 

       -;9ED: $KHEHM7I7D'2:+84':+@KHEH DEJ7:;B?8;H7J?D=@KHEH L;D?<J>;EKHJ

<EKD:J>7JJ>;7BJ;HD7J;>7:B?;:?D<5/8*/8+7D:J>7J7JHKJ><KB7DIM;HMEKB:>7L;M7HH7DJ;:

;N9KI?D=J>;@KHEH<EH 97KI; $KHEHXIFH;I;D9;>7:DE;<<;9JEDJ>;L;H:?9J -JH?A?D=$KHEH

MEKB:DEJ>7L;U7BJ;H;:J>;9ECFEI?J?EDE<J>;@KHO:.':'):;'22?*+2/(+8':+*'4*8+').+*

:.+<+8*/):97=7?DIJJ>;;<;D:7DJ?DJ>?I97I; V"4/:+* :':+9<'=8+4)+  -KFF : 

-  )>?E    ;CF>7I?I?DEH?=?D7B9EDI?:;H?D=7BJ;HD7J;@KHEHXI<7BI;IJ7J;C;DJI78EKJ

H;B7J?EDI>?FM?J>B7M;D<EH9;C;DJ:KH?D=<5/8*/8+7D:>EB:?D=J>7J;L;D?<9EKHJ>7:IJHK9AJ>7J

@KHEH<EH97KI; :;<;D:7DJXIH?=>JJE?CF7HJ?7B@KHOM7IDEJL?EB7J;:8;97KI; 7JCEIJ J>7J@KHEH

MEKB:>7L;8;;DH;FB79;:8O7DEJ>;H7BJ;HD7J; <')':+*/46'8:  :J>?H            

'4*',,D*/46'8:  :J>?H   .;C7D:E;IDEJFH;I;DJ;L?:;D9; EH;L;D

7BB;=; J>7J$KHEH?DIEC;<7I>?ED?D<BK;D9;:J>;:;B?8;H7J?D=@KHEHI ,"4/:+* :':+9<

/22  :  J>?H  <?D:?D=J>7J:;<;D:7DJU49EKB:DEJ5FHEL;J>7J>;M7I

FH;@K:?9;:8OJ>;:?IJH?9J9EKHJXI<7?BKH;JE;N9BK:;47BB;=;:BO8?7I;:@KHEH58;97KI;4I>;5M7I7D

7BJ;HD7J;@KHEHM>ED;L;HF7HJ?9?F7J;:?DJ>;@KHOXI:;B?8;H7J?EDIV"4/:+* :':+9<;:.+2 

  : J>?H  7<<?HC?D=:?IJH?9J9EKHJXI:;9?I?EDDEJJE?DL;IJ?=7J;

7BJ;HD7J;@KHEHXIFEJ;DJ?7B?D<BK;D9;ED@KHO E8I;HL?D=J>7J7BJ;HD7J;M7II;F7H7J;:<HEC@KHO

ED9;:;B?8;H7J?EDI8;=7D .;C7DXI=H?F;J>7J$KHEH:;D?;:>?CU799;IIJE799KH7J;7D:

>ED;IJ?D<EHC7J?EDM>;D;N;H9?I?D=>?IF;H;CFJEHOIJH?A;I7D:M>;D=?L;DJ>;EFFEHJKD?JOJE



                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 87 of 107




IJH?A;@KHEHI<EH97KI; V9++.;C7D';C 7J :E;IDEJ7HJ?9KB7J;79ED9H;J;?D@KHOJE>?C B;J

7BED;:;I9H?8;7UC?I97HH?7=;E<@KIJ?9;VC;H?J?D=7D;MJH?7B  '4).+@  :7J 

       .>?H: .;C7D<7?BIJE?D:?97J;M>;DEH>EM>;8;97C;7M7H;E<J>;7BJ;HD7J;@KHEHXI

FKHFEHJ;::?I>ED;IJO  ++.;C7D';C 7JS 8I;DJ;L?:;D9;EDJ>?IFE?DJ J>;EKHJ

97DDEJ<?D:J>7J.;C7DXI7BB;=7J?ED78EKJ$KHEHM7IUD;MV;L?:;D9;J>7J9EKB:@KIJ?<O7D;M

JH?7B  ++'89+ :7J S .E=H7DJ.;C7D7D;MJH?7B87I;:ED?D<EHC7J?ED

H;=7H:?D=7@KHEHJ>7JC7O>7L;8;;D7L7?B78B;JE>?CFH?EHJEJ>;L;H:?9JMEKB:UJH7DI<EHC7

J79J?97B:;9?I?EDJEM?J>>EB:J>;?D<EHC7J?ED<HECJ>;9EKHJXI7JJ;DJ?ED?DJE7JHKCF97H:JE8;

FB7O;:EDBO?<   ;NF;:?;DJ V ++"4/:+* :':+9</'@ 2(+8:/4/  : 

 J>?H  .>?I?H9K?JFHE>?8?JIIK9>IJH7J;=?98;>7L?EH  ++"4/:+* :':+9<'-2'4* 

 : :?H U.E=?L;7D799KI;:7I;9ED:JH?7B;79>J?C;>;:EK8JI 7<J;H

7DKD<7LEH78B;L;H:?9J J>;E8@;9J?L?JOE<@KHEHI MEKB:I;H?EKIBO?CF;:;J>;FHE9;IIE<@KIJ?9; V 

      99EH:?D=BO J>;EKHJ:?IC?II;IJ>?IFEJ;DJ?7B87I?I<EHFEIJ JH?7BH;B?;< 

        */%*)

         ?D7BBO J>;EKHJ7::H;II;I.;C7DXII;9ED:FEIJ JH?7BCEJ?ED I;;A?D=7D;MJH?7B7I7

H;IKBJE<J>;!EL;HDC;DJXI7BB;=;:M?J>>EB:?D=E<8'*? /-2/5 7D:$;D9AI9J;L?:;D9; 

            !-/%)!)/ &#-*0) 

       )D$7DK7HO   JME:7OI8;<EH;JH?7BM7II9>;:KB;:JE8;=?D J>;!EL;HDC;DJ<?B;:

7CEJ?ED/42/3/4+ I;;A?D=JEFH;9BK:;FEJ;DJ?7BB?D;IE<9HEII;N7C?D7J?ED7IJEJME

!EL;HDC;DJM?JD;II;I$EI;F>-EB;?C7D? 7D$FH?D9?F7B 7D:B?;!787O 71;IJ 

&&FH?D9?F7B AJ  -F;9?<?97BBO J>;!EL;HDC;DJH;GK;IJ;:J>7JJ>;EKHJ87HGK;IJ?ED?D=

78EKJ79J?EDI<?B;:7=7?DIJJ>;C7D:J>;?HB7D:BEH:9ECF7D?;I8OJ;D7DJI *7J IJE

-EB;?C7D? J>;!EL;HDC;DJ<B7==;:ED;?D9?:;DJ?DF7HJ?9KB7HSS7<?D;?CFEI;:8OJ>;(;M3EHA

?JO"EKI?D=EKHJ<EHU>7H7II?D=V7J;D7DJ 7I:;<?D;:KD:;H(;M3EHA?JO:C?D?IJH7J?L;

                                                 

          Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 88 of 107




E:;Q        < U"EKI?D=EKHJ7I;V 9++AJ  U"EKI?D=EKHJ)H:;HVSS7D:

DEJ;:J>7J>;>7:7FF;7H;:EDJ>;(;M3EHA?JO*K8B?9:LE97J;XI7DDK7BU1EHIJ&7D:BEH:I

17J9>B?IJ VAJ 7J IJE!787O J>;!EL;HDC;DJDEJ;:J>7J>?IC7D7=;C;DJ9ECF7DO 

ED;O'7D7=;C;DJ >7:8;;DEH:;H;:JEH;F7O7J;D7DJ<EH7DEL;H9>7H=;?DH;DJ 7BED=M?J>

UJH;8B;:7C7=;IVU,;DJ>7H=;7I;V *7JS .>;!EL;HDC;DJIJ7J;:J>7JUJ>;H;?IDE

?D:?97J?EDJ>7J7DOB7D:BEH: J;D7DJ9ECFB7?DJIEHB7MIK?JI7=7?DIJ-EB;?C7D? !787O EHJ>;?H

9ECF7D?;IV8EH;EDJ>;?H9>7H79J;H<EHJHKJ><KBD;II *7J .;C7DEFFEI;:J>;CEJ?ED 

          )D$7DK7HO   J>;EKHJ7::H;II;:J>?ICEJ?ED?D78;D9>HKB?D=  ++.H?7B.H 

7JS JJ>;EKJI;J J>;EKHJDEJ;:J>7JDED;E<J>;7BB;=;:?CFHEFH?;J?;IE<-EB;?C7D?EH

!787O>7:7DOH;B7J?EDJEJ>;?H:;7B?D=IM?J>.;C7D #DIJ;7: J>;I;9EKB:8;7:C?JJ;:EDBO?<

J>;O8EH;EDJ>;I;M?JD;II;IX9>7H79J;H<EHJHKJ><KBD;II *7J .>;EKHJ;N9BK:;: M?J>ED;

;N9;FJ?ED 7BBE<J>;;L?:;D9;7IJE-EB;?C7D?7D:!787O 7I?HH;B;L7DJ7D:KD:KBOFH;@K:?9?7B 

    ++/*7JS  S 

          .>;;N9;FJ?EDM7IH;B7J;:JE-EB;?C7D?XI"EKI?D=EKHJ7I;  ++/*7J #DJ>7J

97I; $>7:8;;D<?D;:<EHC?IB;7:?D=7J;D7DJJE8;B?;L;J>7J>?IH;DJ 9EDJHEBB;:B;7I;C?=>J

DEJ8;H;D;M;:?<>;:?:DEJB;7L;>?I7F7HJC;DJ?D;N9>7D=;<EHCED;J7HOF7OC;DJ  ++/*

7JS .>;"EKI?D=EKHJ<EKD:J>7JJ>?IM7I7DU;CFJOJ>H;7J V=?L;DJ>;J;D7DJXIH;DJ

IJ78?B?P;:7F7HJC;DJ  ++"EKI?D=EKHJ)H:;H7J .>;"EKI?D=EKHJEF?D?ED J>?IEKHJ

DEJ;: :?:DEJ:?I9BEI;M>;J>;H-EB;?C7D?F;HIED7BBOM7IJ>;$;CFBEO;;M>EC?IB;:J>;

J;D7DJ .H?7B.H 7J .>;EKHJ>;B:J>7J?<-EB;?C7D?M7I J>;D?JMEKB:UF;HC?JJ>;:;<;DI;

7JJ>?IJH?7B 7I7C;7DIE<?CF;79>C;DJ JE;IJ78B?I>J>HEK=>7I?D=B;GK;IJ?EDEHJMEFKJJE

-EB;?C7D?J>7J7@K:=;<EKD:J>7J?D  >;>7:C?IB;:7J;D7DJJE8;B?;L;MHED=BOJ>7J>?I

B;7I;9EKB:DEJ8;H;D;M;: V*7JS .>;EKHJ >EM;L;H C7:;9B;7HJ>7J?JMEKB:DEJ



                                                  

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 89 of 107




F;HC?J7UCEH;;NJ;D:;:?DGK?HO?DJEJ>?IC7JJ;H VEHU;NJH?DI?9;L?:;D9;VH;B7J?D=JE?J *7J 

.>;EKHJIJ7J;:J>7JU7J7H=;J;:B;7:?D=GK;IJ?EDJ>7J;B?9?JI<HEC-EB;?C7D?J>;<79JE<J>?I

:?I9H;J;<?D:?D=8O7@K:=;J>7J>;C?IB;:7J;D7DJEDJ>?IIK8@;9JMEKB:7II?IJJ>;@KHOJE7II;II

-EB;?C7D?XI9H;:?8?B?JOM?J>EKJJKHD?D=J>?IFHE9;;:?D=?DJE7JH?7BM?J>?D7JH?7B78EKJJ>;

;F?IE:; V*#J9ED9BK:;:

        .>;8EJJECB?D;?IJ>7J 7JCEIJ 7I?D=B;GK;IJ?EDEHJME78EKJJ>;>EKI?D=9EKHJ
        <?D:?D= E< C?IB;7:?D= 7 J;D7DJ C7O 8; FKJ JE J>; M?JD;II 7D: J>;D  EDBO KFED
        9ED<?HC7J?EDJ>7J4J>;"EKI?D=EKHJ5EF?D?EDM7IH;<;H;D9?D=$F;HIEDD;BJ>7J
        ?D9BK:;: -EB;?C7D? F;HIED7BBO   )J>;HM?I;  -EB;?C7D?XI 9ED:K9J 7I 7 B7D:BEH: 
        ?D9BK:?D= 9EKHJ 79J?EDI 7D: 9ECFB7?DJI 7D: IJ7J;C;DJI 8O J>; (;M 3EHA *K8B?9
        :LE97J; ?I;N9BK:;:KD:;H,KB;  

*7J 

        .>;EKHJJ>;D?DIJHK9J;:J>;!EL;HDC;DJJEU?DGK?H;E<-EB;?C7D?M>;J>;HJ>;H;M7I

;L?:;D9;   J>7J>;M7I7CED=J>;$F;HIEDD;BM>E:;7BJM?J>4J>;J;D7DJ5 V*7J #J

M;DJED

        #< >?I 7DIM;H B;7L;I 7DO :EK8J ?D OEKH C?D:  OEK D;;: JE <EBBEM KF 7D: :E IE
        ?CC;:?7J;BO .>;DFHECFJBOH;FEHJ879AJEJ>;EKHJ7D:J>;:;<;DI; #;NF;9J
        J>7J?<J>;7DIM;H?IO;I J>7J-EB;?C7D?M7I7CED=J>;$F;HIEDD;BM>E:;7BJ
        M?J>4J>;J;D7DJ5 J>7J-EB;?C7D?M?BB>7L;DE:?<<?9KBJOEDJ>;IJ7D:>;H;7DIM;H?D=
        O;IJE7GK;IJ?ED<HEC:;<;DI;9EKDI;B78EKJM>;J>;H7@K:=;IE<EKD: )8L?EKIBO
        J>;=EL;HDC;DJ?I7JB?8;HJOJEFKBBJ>;FE?IED7D:7IAJ>;GK;IJ?EDED:?H;9J7IM;BB 
        HEII ;N7C?D7J?EDM?BBJ>;DCEL;EDJEEJ>;HC7JJ;HI 

*7JS .>;EKHJ97KJ?ED;:J>7J:;<;DI;9EKDI;BM7IDEJJE7::H;IIJ>;IK8@;9JUKDJ?B#

>7L;=?L;DOEKJ>;7<<?HC7J?L;=H;;DB?=>JJE:EIE V*7J 

       <J;HJ>;HKB?D= J>;!EL;HDC;DJIJ7J;:J>7J?JMEKB:7IA-EB;?C7D?78EKJJ>;<79JIE<J>;

"EKI?D=EKHJ?D9?:;DJ 7D:7IA;:<EHJ>;<EBBEM?D=9B7H?<?97J?EDU4#5<'H -EB;?C7D?M7IDEJ

?DLEBL;:?DC7A?D=J>;C?IH;FH;I;DJ7J?EDIJE4J>;J;D7DJ5 J>;DDE?DGK?HOMEKB:8;C7:;E<>?C

EDJ>?IJEF?9 V*7J .>;EKHJ;NFB7?D;:J>7JM>?B;J>;FH;9?I;?IIK;M7IH;7BBOM>;J>;H

J>;H;M7I;L?:;D9;FH;I;DJ;:JEJ>;"EKI?D=EKHJJ>7J-EB;?C7D?>7:?DJ;H79J;:M?J>J>;J;D7DJ


                                                    

          Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 90 of 107




7IJEJ>;?IIK;E<>?IB;7I;H;D;M7B ?JMEKB:8;UI7<;H V?<-EB;?C7D?>7:?DJ;H79J;:M?J>J>;

J;D7DJ7J7BB JEF;HC?JED;EHJMEGK;IJ?EDIJE8;FKJJE>?C7JJH?7B78EKJJ>;?D9?:;DJ *7J 

.>;!EL;HDC;DJH;IFED:;: U/D:;HIJEE: 1;XBB?DGK?H;M?J>'H -EB;?C7D?7D:M;XBB=?L;7D

KF:7J;JEJ>;EKHJ V*7J 

         .>;!EL;HDC;DJJ>;H;7<J;HD;L;HFHEL?:;:J>;EKHJ EH7FF7H;DJBOJ>;:;<;DI; M?J>7D

KF:7J;7IJE-EB;?C7D?XI?DLEBL;C;DJM?J>J>;J;D7DJ (EH:?:J>;:;<;DI;<EBBEMKFEDJ>?I

FE?DJ 

         KH?D=-EB;?C7D?XI:?H;9J;N7C?D7J?ED J>;!EL;HDC;DJ7IA;:>?CJ>;<EBBEM?D=I;H?;I

E<GK;IJ?EDI

        +      #D    :?: J>; >EKI?D= 9EKHJ <?D: ?D ED; 97I; J>7J OEKH 9ECF7DO >7:
        C?IB;:7J;D7DJ78EKJM>;J>;H>;9EKB:H;D;M>?IB;7I;
             3;I 
        +     D::?:OEKC?IH;FH;I;DJ7DOJ>?D=JEJ>;J;D7DJEHM7I?JEJ>;HI?DOEKH
        9ECF7DO
             #JM7IEJ>;HI 
        +     D::?:OEK7D:$H;IEBL;J>7JC7JJ;H
             3;I 
        +     D::?:J>7J>7L;7DOJ>?D=JE:EM?J>!7J;!K7H:EH'H .;C7D
             (E 
        
*7J  .>;:;<;DI;:?:DEJ7IA7DOGK;IJ?EDI78EKJJ>;JEF?9ED9HEII;N7C?D7J?EDEHI;;A

B;7L;JE:EIE .>;!EL;HDC;DJ ?D?JIEFFEI?J?EDJE.;C7DXI8'*?CEJ?ED ;NFB7?D;:J>7J?J

>7:FKJJ>;I;GK;IJ?EDIJE-EB;?C7D?UEKJE<7D78KD:7D9;E<97KJ?EDV8;97KI;-EB;?C7D?>7:

JEB:J>;!EL;HDC;DJJ>7J>;>7:8;;D7CED=J>;$F;HIEDD;BM>E>7:?DJ;H79J;:M?J>J>;

J;D7DJ !EL 8'*?';C 7J 

         <J;HJH?7B .;C7DE8J7?D;: ?D:;F;D:;DJE<J>;!EL;HDC;DJ J>;JH7DI9H?FJ<HEC

-EB;?C7D?XI"EKI?D=EKHJFHE9;;:?D=  ++.;C7D8'*?';C N U"EKI?D=EKHJ.H V 

#DJ>7JFHE9;;:?D= -EB;?C7D?J;IJ?<?;:J>7J 7CED=EJ>;HJ>?D=I >;>7:?DJ;H79J;:M?J>J>;

J;D7DJ J>7J8EJ>>;7D:J>;J;D7DJ>7:I?=D;:J>;7=H;;C;DJM>;H;8OJ>;J;D7DJIKHH;D:;H;:>?I

                                                    

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 91 of 107




FHEF;HJO 7D:J>7JJ>;OM;H;8EJ>FH;I;DJ7JJ>7JI?=D?D=  ++/*7JS .>;7=H;;C;DJ

?D9BK:;:7FHEL?I?EDJ>7J;NFB7?D;:J>7J?<J>;J;D7DJ:?:DEJL797J;J>;FH;C?I;I8O7:7J;

9;HJ7?D >;MEKB:8;IK8@;9JJE;L?9J?EDFHE9;;:?D=I *7J -EB;?C7D?<KHJ>;HJ;IJ?<?;:J>;H;

J>7J79>;9A>7:8;;D=?L;DJEJ>;J;D7DJ7D:J>7J>;>;BF;:J>;J;D7DJ<?D:7BJ;HD7J?L;>EKI?D= 

*7J S 

               ++'%'!!#'-%)%+'!.

                       )  

       U.>;=EL;HDC;DJ>7I7:KJOJE:?I9BEI;;L?:;D9;<7LEH78B;JEJ>;799KI;:M>;D?J?I

C7J;H?7BJE=K?BJEHFKD?I>C;DJ V"4/:+* :':+9<'*58/  : :?H         

9?J?D=8'*?<'8?2'4* / -   .E:;CEDIJH7J;78'*?L?EB7J?ED 7

:;<;D:7DJCKIJI>EMJ>;<EBBEM?D=J>H;;9ECFED;DJIJ>7JJ>;;L?:;D9;?IU<7LEH78B;JEJ>;

799KI;:VJ>;;L?:;D9;M7IUIKFFH;II;:8OJ>;-J7J; ;?J>;HM?BB<KBBOEH?D7:L;HJ;DJBOV7D:

UFH;@K:?9;   ;DIK;:V<HECJ>;B79AE<:?I9BEIKH;  :8/)12+8<8++4+ / -  

S'))58*"4/:+* :':+9<566'  :  :?H           

       .>;<?HIJ9ECFED;DJ <7LEH78B;;L?:;D9; U?D9BK:;IDEJEDBO;L?:;D9;J>7JJ;D:IJE

;N9KBF7J;J>;799KI;: 8KJ7BIE;L?:;D9;J>7J?IKI;<KBJE?CF;79>J>;9H;:?8?B?JOE<7=EL;HDC;DJ

M?JD;II V/+ /-2/5;L?:;D9; 566'  :7J9?J?D=/-2/5<"4/:+* :':+9 

 / -   

         EHJ>;I;9ED:9ECFED;DJ 7:;<;D:7DJCKIJI>EMJ>7JJ>;!EL;HDC;DJIKFFH;II;:

;L?:;D9; /+ J>7JJ>;!EL;HDC;DJL?EB7J;:?JIU7<<?HC7J?L;:KJOJE:?I9BEI;<7LEH78B;;L?:;D9;

ADEMDJE?J V"4/:+* :':+9<'?4+  :        :?H  "EM;L;H UJ>;

=EL;HDC;DJ97DDEJ8;H;GK?H;:JEFHE:K9;J>7JM>?9>?J:E;IDEJ9EDJHEB7D:D;L;HFEII;II;:EH

?DIF;9J;: V"4/:+* :':+9<;:).+8  :   :?H  GKEJ?D="4/:+* :':+9

<'44/,,  : :?H  (;L;HJ>;B;II 7FHEI;9KJEH?IUFH;IKC;:   JE

                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 92 of 107




>7L;ADEMB;:=;E<7BB?D<EHC7J?ED=7J>;H;:?D9EDD;9J?EDM?J>>?IE<<?9;XI?DL;IJ?=7J?EDE<J>;

97I;7D:?D:;;:W>7I7:KJOJEB;7HDE<7DO<7LEH78B;;L?:;D9;ADEMDJEJ>;EJ>;HI79J?D=EDJ>;

=EL;HDC;DJXI8;>7B<?DJ>;97I; ?D9BK:?D=J>;FEB?9; XV"4/:+* :':+9<<+22/45  : 

:?H GKEJ?D=?2+9<$./:2+? / -   -K9>?CFKJ7J?ED:E;I

DEJ;NJ;D:JE7BBE<<?9;IE<=EL;HDC;DJ8;97KI;UJ>;?CFEI?J?EDE<7DKDB?C?J;::KJOED7

FHEI;9KJEHJE?DGK?H;E<EJ>;HE<<?9;IDEJMEHA?D=M?J>J>;FHEI;9KJEHXIE<<?9;EDJ>;97I;?D

GK;IJ?EDMEKB:?D7FFHEFH?7J;BOH;GK?H;KIJE7:EFJW7CEDEB?J>?9L?;ME<=EL;HDC;DJXJ>7JMEKB:

W9ED:;CDJ>;FHEI;9KJ?EDE<9H?C?D7B97I;IJE7IJ7J;E<F7H7BOI?I XV*GKEJ?D="4/:+* :':+9<

'3(/45  -KFF    ( 3  ',,D*  ::?H 9++'295

"4/:+* :':+9<'/22' (E H    *- 1& 7JS

  ( 3 ;9  ;NFB7?D?D=J>7J?CFKJ7J?EDE99KHIM>;H;7DEJ>;H7=;D9OU?IIE9BEI;

J>7JJ>;7=;D9O?DGK;IJ?ED97D8;9EDI?:;H;:W7D7HCE<J>;FHEI;9KJEHXVGKEJ?D="4/:+* :':+9

<58+22  : :?H   KHJ>;H 7<?D:?D=E<IKFFH;II?ED?IDEJM7HH7DJ;:

M>;H;J>;:;<;D:7DJEH>?I7JJEHD;OU;?J>;HAD;M EHI>EKB:>7L;ADEMD E<J>;;II;DJ?7B<79JI

F;HC?JJ?D=>?CJEJ7A;7:L7DJ7=;E<4J>7J5;L?:;D9; V'?4+  :7J 7BJ;H7J?ED?D

EH?=?D7BGKEJ?D="4/:+* :':+9<&')1954  : :?H  .>?I?D9BK:;I

;L?:;D9;?DJ>;FK8B?9H;9EH: 5::/<"4/:+* :':+9  -KFF : -  ( 3        

       .>?H: <EH7<?D:?D=J>7JJ>;;L?:;D9;M7IFH;@K:?9?7B EHC7J;H?7B 7:;<;D:7DJCKIJI>EM

J>7JUJ>;H;?I7H;7IED78B;FHE878?B?JOJ>7J >7:J>;;L?:;D9;8;;D:?I9BEI;: J>;H;IKBJE<J>;

FHE9;;:?D=MEKB:>7L;8;;D:?<<;H;DJ V!;84+8<"4/:+* :':+9 - J   

GKEJ?D=54+<+22 / -  S        UH;7IED78B;FHE878?B?JOE<7:?<<;H;DJ

H;IKBJ?IED;?DM>?9>J>;IKFFH;II;:;L?:;D9;KD:;HC?D;I9ED<?:;D9;?DJ>;EKJ9EC;E<J>;

JH?7B V*?DJ;HD7BGKEJ7J?EDC7HAIEC?JJ;:GKEJ?D=?2+9 / - 7J9++'295 :8/)12+8 



                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 93 of 107




/ - 7JU.>;H;?ID;L;H7H;7BW8'*?L?EB7J?EDXKDB;IIJ>;DED:?I9BEIKH;M7IIEI;H?EKI

J>7JJ>;H;?I7H;7IED78B;FHE878?B?JOJ>7JJ>;IKFFH;II;:;L?:;D9;MEKB:>7L;FHE:K9;:7

:?<<;H;DJL;H:?9J V;+4:+9<!8/,,/4  : S:?H  

U4.5>;8'*?C7J;H?7B?JOWGK;IJ?ED?I45:=.+:.+8J>;:;<;D:7DJMEKB:358+2/1+2?:.'445:>7L;

H;9;?L;:7:?<<;H;DJL;H:?9JM?J>J>;;L?:;D9; (;:=.+:.+8/4/:9'(9+4)+.+8+)+/<+*','/8:8/'2

;4*+89:55*'9':8/'28+9;2:/4-/4'<+8*/):=58:.?5,)54,/*+4)+ XV;CF>7I?I?DEH?=?D7B

GKEJ?D=?2+9 / - 7J 

       1>;H;?CF;79>C;DJ;L?:;D9;?I7J?IIK; IK9>;L?:;D9;=;D;H7BBO?IC7J;H?7BM>;DUJ>;

M?JD;II7J?IIK;IKFFB?;:J>;EDBO;L?:;D9;B?DA?D=J>;:;<;D:7DJIJEJ>;9H?C; EHM>;H;J>;

B?A;BO?CF79JEDJ>;M?JD;IIXI9H;:?8?B?JOMEKB:>7L;KD:;HC?D;:79H?J?97B;B;C;DJE<J>;

FHEI;9KJ?EDXI97I; V'?4+  :7J ?DJ;HD7BGKEJ7J?EDC7HAI7D:9?J7J?EDIEC?JJ;: 

U#D9EDJH7IJ 7D;MJH?7B?I=;D;H7BBODEJH;GK?H;:M>;DJ>;J;IJ?CEDOE<J>;M?JD;II?I

W9EHHE8EH7J;:8OEJ>;HJ;IJ?CEDOXEHM>;DJ>;IKFFH;II;:?CF;79>C;DJ;L?:;D9;C;H;BO

<KHD?I>;I7D7::?J?ED7B87I?IEDM>?9>JE?CF;79>7M?JD;IIM>EI;9H;:?8?B?JO>7I7BH;7:O8;;D

I>EMDJE8;GK;IJ?ED78B; V*?DJ;HD7B9?J7J?EDIEC?JJ;:'))58*"4/:+* :':+9<')1954 

 : :?H       

                    !)&./

       .>;$;D9AI9J / -  Q       7BBEMI<EH:?I9BEIKH;E<M?JD;IIIJ7J;C;DJI?D9H?C?D7B

97I;I "4/:+* :':+9< .?4+  :   :?H    *KHIK7DJJEJ>;9J U475<J;H7

M?JD;II97BB;:8OJ>;/D?J;:-J7J;I>7IJ;IJ?<?;:ED:?H;9J;N7C?D7J?ED J>;9EKHJI>7BB EDCEJ?ED

E<J>;:;<;D:7DJ EH:;HJ>;/D?J;:-J7J;IJEFHE:K9;7DOIJ7J;C;DJ   E<J>;M?JD;II?D

FEII;II?EDE<J>;/D?J;:-J7J;IM>?9>H;B7J;IJEJ>;IK8@;9JC7JJ;HJEM>?9>J>;M?JD;II>7I

J;IJ?<?;: V/ -  Q   8 &?A;J>;8'*?C7J;H?7B?JOH;GK?H;C;DJ J>;U<7?BKH;JE:?I9BEI;

   M?J>>;B:4$;D9AI9J5C7J;H?7BCKIJ8;:;;C;:>7HCB;IIM>;H;J>;H;?IDEWH;7IED78B;
                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 94 of 107




FHE878?B?JOJ>7J >7:J>;;L?:;D9;8;;D:?I9BEI;:JEJ>;:;<;DI; J>;H;IKBJE<J>;FHE9;;:?D=I

MEKB:>7L;8;;D:?<<;H;DJ XV"4/:+* :':+9</<+8'  FFXN :?H       

GKEJ?D="4/:+* :':+9</)52'6525;9   : :?H  U,;7IED78B;

FHE878?B?JOV>7IJ>;I7C;C;7D?D=>;H;7I?DJ>;8'*?9EDJ;NJ#JC;7DI ?DJ>?I9EDJ;NJ U7

FHE878?B?JOIK<<?9?;DJJEKD:;HC?D;9ED<?:;D9;?DJ>;EKJ9EC; V/)52'6525;9   :7J

GKEJ?D="4/:+* :':+9<'-2+? / -   

             ++'%/%*)

       .;C7D7H=K;IJ>7JJ>;!EL;HDC;DJL?EB7J;:?JI8'*? /-2/5 7D:$;D9AI9JE8B?=7J?EDI

8O<7?B?D=JE:?I9BEI;J>;<EBBEM?D=-EB;?C7D?XIF;HIED7B?DLEBL;C;DJ?DJ>;I9>;C;JE

C?IB;7:J>;J;D7DJ?DJ>;"EKI?D=EKHJ7I;J>7JJ>;JH;8B;:7C7=;I!787OM7I<?D;:?DJ>;

,;DJ>7H=;7I;7H;7II?=D;:EDBO<EHM?BB<KBBOEL;H9>7H=?D=7J;D7DJH;DJ7D:<7BI;

9;HJ?<?97J?ED9B7?CI7=7?DIJ-EB;?C7D?7D:!787O 8HEK=>J8OJ>;(;M3EHA?JO;F7HJC;DJE<

"EKI?D=*H;I;HL7J?ED7D:;L;BEFC;DJU"*V  ++.;C7D8'*?';C 7JS .>;EKHJ

<?D:IJ>7JDED;E<J>;I;M7HH7DJI7D;MJH?7B 

                    *'!%()%5.*0.%)# *0-/ .!

       .;C7D7H=K;IJ>7JJ>;!EL;HDC;DJ8H;79>;:?JI8'*?E8B?=7J?EDIM?J>H;=7H:JE

-EB;?C7D?XI"EKI?D=EKHJ97I;8;97KI;J>;JH7DI9H?FJE<-EB;?C7D?XIJ;IJ?CEDO?DJ>7J97I;

9EDIJ?JKJ;I<7LEH78B;?CF;79>C;DJ;L?:;D9;=E?D=JE-EB;?C7D?XI9>7H79J;H<EHJHKJ><KBD;II

J>;!EL;HDC;DJ<7?B;:JE9ECFBOI7J?I<79JEH?BOM?J>J>;EKHJXI:?H;9J?L;J>7J?J?DGK?H;?DJE

-EB;?C7D?XI?DLEBL;C;DJM?J>J>;J;D7DJ7D:H;FEHJ879AJEJ>;EKHJ7D:J>;:;<;DI;7D:

J>;<7?BKH;JE:?I9BEI;J>7J-EB;?C7D?>7:;D=7=;:M?J>J>;9ECFB7?D7DJ?DJ>7J97I;FH;@K:?9;:

.;C7D8;97KI; M;H;ED;JE9ED9BK:;J>7J-EB;?C7D?>7:C?IB;:J>;J;D7DJ -EB;?C7D?F;H@KH;:

>?CI;B<7J.;C7DXIJH?7BEDJ>?IFE?DJ  ++.;C7D8'*?';C 7JS .>;!EL;HDC;DJ

:?I7=H;;IED7BB<HEDJI  ++!EL 8'*?';C 7JS 

                                                   

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 95 of 107




       IJEJ>;<?HIJ8'*?;B;C;DJ ?J?I9B;7HJ>7JJ>;JH7DI9H?FJE<J>;"EKI?D=EKHJ>;7H?D= 

7JM>?9>-EB;?C7D?J;IJ?<?;: M7I;L?:;D9;<7LEH78B;JE.;C7D L?:;D9;J>7J97D8;KI;:JE

?CF;79>7!EL;HDC;DJM?JD;II?I<7LEH78B;JEJ>;:;<;D:7DJ  ++566'  :7J .>;

!EL;HDC;DJ9EKDJ;HIJ>7JJ>;JH7DI9H?FJB79AI?CF;79>C;DJL7BK;8;97KI;-EB;?C7D?J;IJ?<?;:7J

.;C7DXIJH?7BJ>7JUEJ>;HIV7J>?I9ECF7DO>7:C7:;C?IH;FH;I;DJ7J?EDIJEJ>;J;D7DJ7D:

8;97KI;J>;"EKI?D=EKHJJH7DI9H?FJ:E;IDEJKD:;HC?D;J>?IJ;IJ?CEDO  ++!EL 8'*?';C 

7JS .>7J?IJHK;?DIE<7H7IJ>;JH7DI9H?FJED?JI<79;:E;IDEJH;<B;9J7DOC?IH;FH;I;DJ7J?EDI

C7:;8O-EB;?C7D?JEJ>;J;D7DJ KJJ>;JH7DI9H?FJ9EKB:9?H9KCIJ7DJ?7BBOIKFFEHJJ>?I

9ED9BKI?ED #JH;<B;9JIJ>7J-EB;?C7D? $XIEDBOM?JD;II7JJ>;"EKI?D=EKHJ>;7H?D= >7:

?DJ;H79J;:M?J>J>;J;D7DJ 8;;DFH;I;DJ7JJ>;J;D7DJXI>EC;:KH?D=J>;I?=D?D=E<J>;7=H;;C;DJ

7::H;II?D=J>;J;D7DJXIL797JKHE<J>;7F7HJC;DJ I?=D;:J>;7=H;;C;DJM>?9>?D9BK:;:7<7BI;

IJ7J;C;DJJ>7JJ>;J;D7DJMEKB:8;;L?9J;:?<>;:?:DEJB;7L;8O7:7J;9;HJ7?D F7?:J>;J;D7DJ 

7D:>;BF;:<?D:J>;J;D7DJ7DEJ>;HFB79;JEB?L;  ++"EKI?D=EKHJ.H 7JS  S .>;I;

7IF;9JIE<J>;JH7DI9H?FJ ?<:?I9BEI;: C?=>J>7L;?DIF?H;:J>;:;<;DI;JEI;;AB;7L;JE?DGK?H;

CEH;:;;FBO?DJEJ>;"EKI?D=EKHJFHE9;;:?D=J>7DJ>;EKHJ>7:7DJ?9?F7J;:7BBEM?D= JE

7JJ;CFJJE8K?B:J>;?D<;H;D9;<HECJ>;JH7DI9H?FJJ>7J-EB;?C7D?>7:B?A;BO8;;D7CED=J>;$

F;HIEDD;BM>E>7:C?IB;:J>;J;D7DJ .>;EKHJ>7:IJ7J;:J>7J >7:-EB;?C7D?9ECCKD?97J;:

:?H;9JBOM?J>J>;J;D7DJ ?J?DJ;D:;:JE7BBEMJ>;:;<;DI;JEFKJED;EHJMEGK;IJ?EDIJE-EB;?C7D?

EDJ>;IK8@;9JJE8;UI7<;45 V.H?7B.H 7J .>;"EKI?D=EKHJJH7DI9H?FJ ?<C7:;ADEMDJE

J>;:;<;DI;FH?EHJE-EB;?C7D?XI9HEII ;N7C?D7J?ED C?=>J>7L;B;:J>;EKHJJEF;HC?JIEC;M>7J

CEH;GK;IJ?EDI7BED=J>;I;B?D;I JE;D78B;.;C7DXI9EKDI;BJE:;L;BEFJ>;H7D=;E<:;7B?D=I

-EB;?C7D?>7:F;HIED7BBO>7:M?J>J>;J;D7DJ 

       .>;H;9EH::E;IDEJ >EM;L;H ;IJ78B?I>J>;EJ>;HJMEH;GK?H;C;DJIE<78'*?L?EB7J?ED 



                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 96 of 107




         ?HIJ EDJ>;EKHJXIFEIJ JH?7BH;L?;M ?J?I9B;7HJ>7JJ>;"EKI?D=EKHJJH7DI9H?FJ:?:DEJ

9EC;?DJEJ>;!EL;HDC;DJXIFEII;II?EDKDJ?B7<J;HJ>;.;C7DJH?7B I7H;IKBJ J>;!EL;HDC;DJ

97DDEJ8;I7?:JE>7L;IKFFH;II;: EH<7?B;:JE:?I9BEI; <7LEH78B;;L?:;D9;?D?JIFEII;II?ED 

D: I;9ED: ?J?I9B;7HJ>7JJ>?I;L?:;D9;M7IDEJC7J;H?7BSSJ>;H;?IDEH;7IED78B;FHE878?B?JO

J>7JJ>;JH?7BEKJ9EC;MEKB:>7L;8;;D:?<<;H;DJ>7:J>;"EKI?D=EKHJJH7DI9H?FJ8;;D:?I9BEI;: 

       IJEJ>;<?HIJFE?DJ J>;!EL;HDC;DJH;FH;I;DJI M?J>EKJH;<KJ7J?ED J>7JJ>;"EKI?D=

EKHJJH7DI9H?FJM7IDEJ?D?JIFEII;II?ED:KH?D=JH?7B  ++!EL 8'*?';C 7J .>;

!EL;HDC;DJXI8'*?E8B?=7J?ED:E;IDEJ;NJ;D:JE;L?:;D9;J>7J?J:E;IDEJADEME<EHJ>7J?J

:E;IDEJ>7L;M?J>?D?JIFEII;II?ED  ++'/22' 1& 7J9++'295<+22/45 

 :7JU.>;8'*?E8B?=7J?ED;NJ;D:IEDBOJEC7J;H?7B;L?:;D9;   J>7J?IADEMDJE

J>;FHEI;9KJEH V;:).+8  :7J UB;7HBOJ>;=EL;HDC;DJ97DDEJ8;H;GK?H;:JE

FHE:K9;J>7JM>?9>?J:E;IDEJ9EDJHEB7D:D;L;HFEII;II;:EH?DIF;9J;: V9?J7J?EDEC?JJ;: 

       (EH?IJ>;JH7DI9H?FJ;L?:;D9;M>EI;FEII;II?ED8O7DEJ>;H=EL;HDC;DJ7HC97D<7?HBO8;

?CFKJ;:JEJ>;FHEI;9KJ?ED .>;BE97B9EKHJ7KJ>EH?J?;IH;IFEDI?8B;<EHJ>7JJH7DI9H?FJM;H;JEE

<7HH;CEL;:<HECJ>;FHEI;9KJEHI>;H;  ++<+22/45  :7J ;:).+8?I?DIJHK9J?L; 

.>;:;<;D:7DJJ>;H;7H=K;:J>7JJ>;!EL;HDC;DJ>7:L?EB7J;:?JI8'*?7D:$;D9AI9J

E8B?=7J?EDI8O<7?B?D=JEC7A;J>;7<<?:7L?JI7D:J;IJ?CEDOE<7!EL;HDC;DJM?JD;II<HEC7



                               

  .E8;IKH; J>;!EL;HDC;DJXI<7?BKH;JEH;FEHJ879AJEJ>;EKHJ7IJE?JI?DGK?HO?DJE
-EB;?C7D?XI:;7B?D=IM?J>J>;J;D7DJKD>;BF<KBBO9BEK:;:J>;EKHJXI7D:J>;:;<;DI;XI
7FFH;9?7J?EDE<J>?IFE?DJ:KH?D=JH?7B .>;EKHJ>7::;B?8;H7J;BOEH:;H;:J>;!EL;HDC;DJJE
?DGK?H;M>;J>;H-EB;?C7D?>7:>7::;7B?D=IM?J>J>;J;D7DJ7D:>7:C7:;C?IH;FH;I;DJ7J?EDIJE
>?C 7D:JEH;FEHJ879AJEJ>;EKHJ7D::;<;DI; ,;=H;JJ78BO J>;!EL;HDC;DJ:?:DEJ:EIE
7D:J>;:;<;DI;:?:DEJFH;II<EHIK9>7H;FEHJ8KJ?DIJ;7:JEEAJ>;C7JJ;HKF8OFKJJ?D=
GK;IJ?EDIEDJ>?IFE?DJJE-EB;?C7D? I7H;IKBJ ?JM7IB;<JKD9B;7HM>;J>;HJ>;!EL;HDC;DJXI
7FF7H;DJ9ED9BKI?EDJ>7J-EB;?C7D?>7:DEJF;HIED7BBOC?IB;:J>;J;D7DJ:;H?L;:IEB;BO<HEC
-EB;?C7D?XII7O IE EH<HEC?JIH;L?;ME<J>;JH7DI9H?FJ .>7JJ>;!EL;HDC;DJ>7:DEJ799;II;:
J>;JH7DI9H?FJ:KH?D=J>;.;C7DJH?7B8;97C;9B;7HEDBO7<J;HJH?7B 
                                                  

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 97 of 107




87DAHKFJ9OFHE9;;:?D=7L7?B78B;JE>?C  ++;:).+8  :7J  ;<EH;97BB?D=J>;

M?JD;II J>;!EL;HDC;DJ>7:I;DJJME?DL;IJ?=7JEHIJE;N7C?D;J>;87DAHKFJ9O<?B; ?D9BK:?D=

7DO7<<?:7L?JIEHJ;IJ?CEDO<HECJ>7JM?JD;II *(;?J>;H?DL;IJ?=7JEHH;JKHD;:M?J>7DO

7<<?:7L?JIEHJH7DI9H?FJI 8KJED;:?:FHEL?:;J>;!EL;HDC;DJM?J>7:E9A;JI>;;J<EHJ>;

87DAHKFJ9OFHE9;;:?D=TM>?9>J>;!EL;HDC;DJFHE9;;:;:JEC7A;7L7?B78B;JEJ>;:;<;D:7DJ 

*.>;-;9ED:?H9K?J>;B:J>7JJ>;H;>7:DEJ8;;D7L?EB7J?ED 8;97KI;U4J5>;I?CFB;7D:

IK<<?9?;DJ7DIM;HJE4J>;:;<;D:7DJXI59B7?CVM7IJ>7JJ>;M?JD;IIXI7<<?:7L?JI7D:J;IJ?CEDOM;H;

UD;L;H?DJ>;FEII;II?EDE<J>;FHEI;9KJ?ED7D:M;H;J>;H;<EH;DEJC7J;H?7BIM>?9>J>;

FHEI;9KJ?ED>7:7H7:OEH4Q5     :KJOJEC7A;7L7?B78B; V*.>;!EL;HDC;DJ>7:<KB<?BB;:

?JIE8B?=7J?EDI8OJKHD?D=EL;HJ>;:E9A;JI>;;JJ>7J?J:?:FEII;II  ++/*.>;?H9K?JH;@;9J;:

U7DEJ?EDE<WFEII;II?EDXM>?9>?IIE;B7IJ?9JE;C8H79;C7J;H?7BIJ>7JJ>;FHEI;9KJ?EDD;L;H>7:

?D?JI<?B;I D;L;H?DIF;9J;: 7D:D;L;HAD;M78EKJ V*.>;I7C;?IJHK;>;H; .>;!EL;HDC;DJ

:?I9BEI;:J>;"EKI?D=EKHJEH:;H M>?9>M7I?D?JIFEII;II?ED JE.;C7D .>;"EKI?D=EKHJ

JH7DI9H?FJJ>;H;7<J;HM7I;GK7BBO7L7?B78B;JE8EJ>J>;F7HJ?;I #JM7IDEJ?DJ>;!EL;HDC;DJXI

FEII;II?ED 

       IJEJ>;I;9ED:FE?DJ .;C7D>7I<7?B;:JEI>EMC7J;H?7B?JOT;?J>;HE<J>;"EKI?D=

EKHJJH7DI9H?FJEHE<J>;<79JH;L;7B;:J>;H;?D J>7J-EB;?C7D?>7:>7:F;HIED7B:;7B?D=IM?J>J>;

C?IB;:J;D7DJ  EH;L?:;D9;JE8;C7J;H?7B?DJ>;9EDJ;NJE<7D7BB;=;:8'*?L?EB7J?ED J>;H;

CKIJ8;7UH;7IED78B;FHE878?B?JOVJ>7JJ>;IKFFH;II;:C7J;H?7BMEKB:>7L;H;IKBJ;:?D7:?<<;H;DJ

EKJ9EC;  ++!;84+8 - J 7J  EH?CF;79>C;DJ;L?:;D9;IF;9?<?97BBO 9EKHJI>7L;



                               

  BJ>EK=>J>;:?I9KII?ED78EL;FH?D9?F7BBO9ED9;HDI.;C7DXI8'*?9B7?C <EHCK9>J>;I7C;
H;7IEDI J>;"EKI?D=EKHJJH7DI9H?FJ97DDEJIKFFEHJ.;C7DXI9B7?CE<7$;D9AI9JL?EB7J?ED #J
7FF;7HIKD:?IFKJ;:J>7JJ>;!EL;HDC;DJFHE:K9;:7BBMH?JJ;DIJ7J;C;DJIE<-EB;?C7D?XIJ>7JM;H;
?D?JIFEII;II?ED ?D9BK:?D=DEJ;I<HEC?JI?DJ;HL?;MIE<-EB;?C7D?  ++!EL ';C 7JD  
                                                  

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 98 of 107




>;B:J>7J;L?:;D9;H?I;IJEJ>;B;L;BE<C7J;H?7B?JOM>;H;J>;M?JD;II8;?D=?CF;79>;:FHEL?:;I

J>;EDBO;L?:;D9;B?DA?D=J>;:;<;D:7DJJE79H?C;EHJ>;B?A;BO?CF;79>C;DJL7BK;MEKB:>7L;

UKD:;HC?D;:79H?J?97B;B;C;DJVE<J>;!EL;HDC;DJXI97I; '?4+  :7J #D9EDJH7IJ 

;L?:;D9;>7I8;;D>;B:DEJC7J;H?7BM>;H;J>;M?JD;IIXIJ;IJ?CEDO?IC;7D?D=<KBBO9EHHE8EH7J;:

EHJ>;M?JD;II>7I8;;DEJ>;HM?I;?CF;79>;:  ++/*

       ";H; -EB;?C7D?M7I<7H<HECJ>;EDBO?D:?L?:K7BB?DA?D=.;C7DJEJ>;9H?C;I D:J>;

?CF;79>C;DJ;L?:;D9;?DGK;IJ?ED H;B7J?D=JE7D7BB;=;:C?IB;7:?D=FH79J?9;M?J>H;IF;9JJE7

J;D7DJ M7I<7H7<?;B:<HECJ>;;L;DJI7J?IIK; #JMEKB:DEJ>7L;KD:;HC?D;:7DO;B;C;DJE<J>;

87DA<H7K:EHM?H;<H7K:9>7H=;I8HEK=>J>;H;  7H<HECJ>;H;8;?D=7H;7IED78B;FHE878?B?JOE<

7:?<<;H;DJEKJ9EC; ?J?IDEJ;L;D9H;:?8B;JE9B7?C7H;7BFEII?8?B?JOJ>7J:?I9BEI?D=-EB;?C7D?XI

F;HIED7B?DLEBL;C;DJM?J>J>;J;D7DJMEKB:>7L;O?;B:;:7:?<<;H;DJEKJ9EC;EDJ>;I;9>7H=;I 

.>7J?IIE<EHJME?D:;F;D:;DJH;7IEDI 

         ?HIJ J>;H;M7IL;HOI?=D?<?97DJ9EHHE8EH7J?EDE<J>;H;B;L7DJ7IF;9JE<-EB;?C7D?XI

J;IJ?CEDOSSJ>7J>;>7:DEJ7KJ>EH?P;:.;C7DJE?D,;?D?JPXIC;CEH78B;MEH:IU>?JV$XI

799EKDJ7D::?L;HJJ>;B7H=;IKCIH;<B;9J;:EDJ>;9>;9AI?DGK;IJ?ED<HECJ>7J799EKDJJE

.;C7DXI8;D;<?J U4.5>;IJH;D=J>E<J>;?D:;F;D:;DJ;L?:;D9;E<4:;<;D:7DJXI5=K?BJ?D9H;7I;I

J>;:;=H;;E<I?=D?<?97D9;J>7JMEKB:D;;:JE8;7I9H?8;:JEJ>;M?J>>;B:?CF;79>C;DJ;L?:;D9;

?DEH:;H<EH?JH;7IED78BOJEKD:;HC?D;9ED<?:;D9;?DJ>;L;H:?9J V"4/:+* :':+9<8+4' 

 : :?H 9++'295'*58/  :7J <?D:?D= U?DB?=>JE<J>;

IK8IJ7DJ?7B;L?:;D9;VE<:;<;D:7DJXI=K?BJ J>7JUDED;E<J>;I;IJH7J;=?;IVSSH;B7J?D=JEFEJ;DJ?7B

7<<?HC7J?L;:;<;DI;7D:?CF;79>C;DJE<7M?JD;IISSM;H;UIK<<?9?;DJBOFB7KI?8B;JE9H;7J;J>;

WH;7IED78B;FHE878?B?JOJ>7J>7:J>;;L?:;D9;8;;D:?I9BEI;:JEJ>;:;<;DI; J>;H;IKBJMEKB:>7L;

8;;D:?<<;H;DJ XVGKEJ?D=+449?2<'4/'</:)./+  / -   



                                                 

       Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 99 of 107




       ";H; -EB;?C7D?J;IJ?<?;:J>7J>;>7:DEJ7KJ>EH?P;:.;C7DJE:H7MED$XI799EKDJ 

7D:J>7J ?<.;C7D>7:7IA;:>?C >;D;L;HMEKB:>7L;7=H;;:  ++.H?7B.H 7JS S

S .>?IJ;IJ?CEDO7B?=D;:<KBBOM?J>J>;F7H7BB;BJ;IJ?CEDOE<J>;H;FH;I;DJ7J?L;IE<J>;

EJ>;HJME9B?;DJIM>EI?C?B7HBO:;D?;:=?L?D=IK9>7KJ>EH?P7J?ED!787O<HEC1;IJ 

&& -EED )I8;H=;H<HEC';H9;H 7D:!?D7"EC<HEC';H9;H7BBJ;IJ?<?;:JEJ>;I7C;

;<<;9J  ++/*7JS S S  1;IJ &&/*7JS  

S';H9;H D:,;?D?JPXIJ;IJ?CEDO7D:>?IJ;NJC;II7=;IM?J>.;C7D?D:;F;D:;DJBO

;IJ78B?I>;:J>7J.;C7DM7IM;BB7M7H;J>7J>?IKIJEC;HI 7D:?DF7HJ?9KB7H$ MEKB::?IFKJ;

7DO9>7H=;I7IKD7KJ>EH?P;:  ++!2 !2U3EKXL;8;;D879A7D:<EHJ>M?J>78@

I;L;H7BJ?C;IDEM   J>;O>7L;?D:?97J;:J>;O:EDXJ8;B?;L;J>;OEM;OEK V  EHJ>?IH;7IED 

,;?D?JP7:L?I;:.;C7D7=7?DIJ9H;7J?D=7D::;FEI?J?D=J>;9>;9AI  ++!2    S 

.;C7DXIADEMB;:=;J>7J-EB;?C7D?7D:J>;EJ>;HKIJEC;HIMEKB::;DO7KJ>EH?P?D=J>;

9>;9AIM7I7BIE7FF7H;DJ<HECJ>;B;D=J>IJ>7J.;C7D>7:=ED;?D:;9;FJ?L;BO<78H?97J?D=J>;

9>;9AIM>?B;:;DO?D=J>;KIJEC;HIDEJ?9;?D9BK:?D=?DLE?9;IE<>?I9B7?CJE8;EM;:<;;I

8OJ>;C BIEIKFFEHJ?D=-EB;?C7D?XI:;D?7BE<7KJ>EH?P7J?EDM7IJ>;<79JJ>7JJ>;9>;9AIXJEJ7B

L7BK;SS      SS<7HEKJIJH?FF;:J>;9EKFB;J>EKI7D::EBB7HI$>7:F7?:<EH;79>E<?JII;L;D

!7J;!K7H::;L?9;I 536'8+!2 S .;C7DXI$9>;9AI =/:.!2 S 

?DLE?9;I<EH$XI!7J;!K7H:FKH9>7I;I9++'295.H?7B.H 7JS ;NFB7?D?D=J>7J$

FKH9>7I;:I;L;D!7J;!K7H::;L?9;I  ?D7BBO .;C7DXI:;B?8;H7J;:;9?I?EDJE:;FEI?JJ>;9>;9AI

:KH?D=*7IIEL;HSSM>?9>.;C7DAD;M-EB;?C7D?7D:!787OE8I;HL;:SSM7I9EDI?IJ;DJM?J>7D

7JJ;CFJJE;L7:;J>;:;J;9J?EDE<7DED 7KJ>EH?P?D=9KIJEC;H7IBED=7IFEII?8B;  ++.H?7B.H 

7JS9++'295!2 )L;HM>;BC?D=;L?:;D9;J>KI;IJ78B?I>;:J>7J.;C7D:?:DEJ>7L;

J>;7KJ>EH?P7J?EDE<-EB;?C7D?JE9H;7J;7D::;FEI?JJ>;9>;9AI7J?IIK; L;D7@KHOJ>7J<EKD:?J



                                                 

      Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 100 of 107




B?A;BOJ>7J-EB;?C7D?>7:C?IB;:7J;D7DJ?D7DKDH;B7J;:8KI?D;IIL;DJKH;MEKB:>7L;DEH;7IED

JE:EK8J>?I9;DJH7BJ;IJ?CEDOJ>7J.;C7D>7:U>?JV$XI799EKDJIM?J>EKJ>?IADEMB;:=;EH

F;HC?II?ED 

       -;9ED: 7BJ>EK=>9EKDI;BXI9HEII;N7C?D7J?ED>7:DEJ8;;D;<<;9J?L;?DH;<KJ?D=J>;B79A

E<9KIJEC;H7KJ>EH?P7J?ED :;<;DI;9EKDI;B>7:SS7D:KJ?B?P;:SSEJ>;H <7HCEH;7FFEI?J;C;7DIJE

7JJ;CFJJE:7C7=;-EB;?C7D?XI9H;:?8?B?JOED>?I9B7?CE<7B79AE<7KJ>EH?P7J?ED IIK9> 

-EB;?C7D?XI:?I>ED;IJOJE7J;D7DJT;L;D?<<EKD:TMEKB:>7L;8;;D9KCKB7J?L;7D:E<DE

CEC;DJ  ++!;84+8 - J 7J9++'295"4/:+* :':+9< 6/4+22/  : 

:?H    U4#5<J>;?D<EHC7J?EDM?J>>;B:?IC;H;BO9KCKB7J?L;E<;GK7BBO?CF;79>?D=

;L?:;D9;?DJHE:K9;:7JJH?7B IEJ>7J?JMEKB:DEJ>7L;C7J;H?7BBO?D9H;7I;:J>;@KHOXIB?A;B?>EE:

E<:?I9H;:?J?D=J>;M?JD;II ?J?IDEJC7J;H?7B V .>;:;<;DI;I>EM;: <EH;N7CFB; J>7J

-EB;?C7D?>7:;7HB?;HH;9;?L;:?DLE?9;I9EDJ7?D?D=7B?DAJEJ>;*7OC;DJ.;HCIEDJ>;C 9++

.H?7B.H 7JS >7:78?BB?D=:?IFKJ;M?J>.;C7D?D<7BBE<  /*7J  7D:M>;DJ>;I;

9>;9AIM;H;:;FEI?J;:?D  -EB;?C7D? :;IF?J;FHECFJ?D=<HEC>?I87DA :?:DEJFHEL?:;

7::?J?ED7B?D<EHC7J?ED78EKJJ>;9>;9AI 9++/*7JS S )DJ>;I;87I;I J>;:;<;DI;

IEK=>JJE?CFBOJ>7J-EB;?C7D? 9EDJH7HOJE>?IJ;IJ?CEDO >7:?D<79J7KJ>EH?P;:J>;9>;9AI .>;

:;<;DI;7BIE;IJ78B?I>;:-EB;?C7D?XI<?D7D9?7B?D9;DJ?L;JE:;DO7KJ>EH?P7J?ED?D>?I:;7B?D=I

M?J>J>;87DA .>;:;<;DI;:;L;BEF;:J>7J 7<J;H79>7H=;879A>7:8;;D?IIK;:JE$XI799EKDJ 

-?=D7JKH;7DAIJ7J;:J>7JU4M5;C7OH;L;HI;J>;9H;:?J?<M;H;9;?L;?D<EHC7J?EDJ>7JOEKH

JH7DI79J?EDIM;H;7KJ>EH?P;: V*7J #D9EDJH7IJJEJ>;I;7JJ;CFJIJE9EKDJ;H-EB;?C7D?XI

:;D?7BE<7KJ>EH?P7J?ED J>;<7H 7<?;B:<79JE<-EB;?C7D?XI7BB;=;::;9;?JE<7J;D7DJ>7:B?C?J;:

?CF;79>C;DJL7BK; 7D:B79A;:J>;97F79?JOJE9>7D=;J>;@KHOXI:;J;HC?D7J?EDEDJ>?IFE?DJ ,

"4/:+* :':+9</((549      : 1&  7J:?H J78B;<?D:?D=DE



                                                    

         Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 101 of 107




8'*?L?EB7J?EDM>;H;KD:?I9BEI;:C7JJ;HM7IKDH;B7J;:JE:;<;D:7DJ7D:>7:8;;DH;IEBL;:

FH?EHJE:;<;D:7DJXIJH?7B 

          99EH:?D=BO J>;H;M7IDE8'*? /-2/5 EH$;D9AI9JL?EB7J?EDM7HH7DJ?D=7D;MJH?7B 

          #DFKHIK?D=7D;MJH?7B .;C7D7BJ;HD7J?L;BO9B7?CIJ>7J-EB;?C7D?F;H@KH;:>?CI;B<7J

JH?7BM>;D>;J;IJ?<?;: ?DH;IFEDI;JEJ>;GK;IJ?ED U45?:OEKC?IH;FH;I;DJ7DOJ>?D=JEJ>;

J;D7DJEHM7I?JEJ>;HI?DOEKH9ECF7DOVJ>7J U#JM7IEJ>;HI V ++.;C7D8'*?';C 7J

GKEJ?D=.H?7B.H 7J  .;C7D9EDJ;D:IJ>7JJ>;KD:?I9BEI;:"EKI?D=EKHJJH7DI9H?FJI>EMI

J>7J-EB;?C7D?XIJ;IJ?CEDOM7I7B?;  ++/*7J KJJ>;JH7DI9H?FJ?IDEJD;7HBOIE9B;7H9KJ 

#JI>EMIJ>7J-EB;?C7D?>7::;7B?D=IM?J>J>;J;D7DJ7J?IIK;SS7D:M?J>J>;7=H;;C;DJJ>;J;D7DJ

I?=D;:JEL797J;>?I7F7HJC;DJSS8KJ?J:E;IDEJI>EMJ>7J>;C7:;C?IH;FH;I;DJ7J?EDIJEJ>;

J;D7DJ (EH:?:-EB;?C7D?;BI;M>;H;7:C?JJEC7A?D=7DOC?IH;FH;I;DJ7J?EDI .;C7DXI

7II;HJ?EDJ>7J-EB;?C7D?9ECC?JJ;:F;H@KHO?I@KIJJ>7JSS7D7II;HJ?ED .>;JH7DI9H?FJ?IDEJ 7J7BB 

?D9EDI?IJ;DJM?J>-EB;?C7D?XIJ;IJ?CEDOJ>7JIEC;ED;;BI;7J$:?II;C8B;:JEJ>;J;D7DJ 

          #D7DO;L;DJ ;L;D?<J>;JH7DI9H?FJ>7:H;L;7B;:F;H@KHOEDJ>?IFE?DJ J>7JMEKB:DEJ

IKFFBO787I?I<EH7D;MJH?7B U#<D;MBO:?I9EL;H;:;L?:;D9;?D:?97J;IJ>7JJ;IJ?CEDO=?L;D7J

JH?7BM7IF;H@KH;: J>;=H7DJE<7D;MJH?7B:;F;D:IEDWJ>;C7J;H?7B?JOE<J>;F;H@KHOJEJ>;@KHOXI

L;H:?9J7D:J>;;NJ;DJJEM>?9>J>;FHEI;9KJ?EDM7I7M7H;E<J>;F;H@KHO XV"4/:+* :':+9<

$54-  : :?H GKEJ?D="4/:+* :':+9<$'22').  :

:?H  .>?IC7J;H?7B?JOIJ7D:7H:?IUB;II;N79J?D=VJ>7DJ>7J?CFEI;:8O8'*? 

    6/4+22/  :7J 9EKHJXI7D7BOI?I?ICEH;EHB;IIIJH;DKEKI:;F;D:?D=EDJ>;

!EL;HDC;DJXIADEMB;:=;E<J>;F;H@KHO#<J>;!EL;HDC;DJAD;ME<J>;F;H@KHO U7D;MJH?7B?I

M7HH7DJ;:?<J>;H;?I7DOH;7IED78B;B?A;B?>EE:J>7JJ>;<7BI;J;IJ?CEDO9EKB:>7L;7<<;9J;:J>;

@K:=C;DJE<J>;@KHO VM>;H;7I ?<J>;!EL;HDC;DJM7IKD7M7H;E<J>;F;H@KHO7JJH?7B U7D;M



                                                   

      Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 102 of 107




JH?7B?IM7HH7DJ;:EDBO?<J>;J;IJ?CEDOM7IC7J;H?7B7D:J>;9EKHJ4?IB;<J5M?J>7<?HC8;B?;<J>7J

8KJ<EHJ>;F;H@KH;:J;IJ?CEDO J>;:;<;D:7DJMEKB:CEIJB?A;BODEJ>7L;8;;D9EDL?9J;: V

$54-  :7J7BJ;H7J?ED?DEH?=?D7B?DJ;HD7BGKEJ7J?EDC7HAIEC?JJ;:GKEJ?D=$'22'). 

 :7J 

       ";H; <EHJ>;H;7IEDII;JEKJ78EL; -EB;?C7D?XIJ;IJ?CEDOEDJ>;FE?DJ?DGK;IJ?EDM7I

JHKBO9EBB7J;H7B<HECJ>;?IIK;I7J>7D: D:J>;H;?IDE?D:?97J?EDJ>7JJ>;!EL;HDC;DJM7I

7M7H;E<-EB;?C7D?XI7BB;=;:F;H@KHO .>;!EL;HDC;DJ7JJ;IJIJ>7J-EB;?C7D??D:?97J;:J>7J>;

>7::;7BJM?J>J>;J;D7DJ 8KJJ>7J>;:?:DEJ?D:?97J;J>7J>;>7:C7:;H;FH;I;DJ7J?EDIJEJ>;

J;D7DJ78EKJM>;J>;H$MEKB:H;D;M>?IB;7I;  ++!EL ';C 7J .>;H;?IDE87I?IJE

:?I8;B?;L;J>;I;H;FH;I;DJ7J?EDI  7H<HEC>7L?D=7U<?HC8;B?;<VJ>7J.;C7DCEIJB?A;BOMEKB:

DEJ>7L;8;;D9EDL?9J;:M?J>EKJ-EB;?C7D?XIJ;IJ?CEDOJ>7JEJ>;HI>7:C7:;C?IH;FH;I;DJ7J?EDI

JEJ>;J;D7DJ J>;EKHJ?I9ED<?:;DJ =?L;DJ>;EL;HM>;BC?D=FHEE<E<.;C7DXI=K?BJ J>7JJ>;

@KHOMEKB:>7L;9EDL?9J;:>?CH;=7H:B;II 

       99EH:?D=BO .;C7D>7IDEJFH;I;DJ;:7IK<<?9?;DJ87I?I<EH7D;MJH?7B87I;:ED>?I9B7?C

E<JH?7BF;H@KHO8OM?JD;II-EB;?C7D? 

                    45.!)/ $-#! .!

       (;NJ .;C7D7H=K;IJ>7JJ>;!EL;HDC;DJ8H;79>;:?JI8'*?E8B?=7J?EDIM>;D?J

H;FH;I;DJ;:J>7J?JM7IUDEJ7M7H;E<7DO79J?ED7=7?DIJ!787OEH>?I8KI?D;II?DM>?9>!787O

                                

  U415>;H;?D:;F;D:;DJ;L?:;D9;IKFFEHJI7:;<;D:7DJXI9EDL?9J?ED J>;IK8I;GK;DJ:?I9EL;HO
J>7J7M?JD;IIXIJ;IJ?CEDO7JJH?7BM7IF;H@KH;:M?BBDEJM7HH7DJ7D;MJH?7B V$54-  :
7J #D$54- 7F7?:9ED<?:;DJ?7B?D<EHC7DJJ;IJ?<?;:J>7J>;U7BM7OI:?:4>?I5J7N;IV7D:J>7J
>;>7:<?B;:>?IJ7NH;JKHDI?D7D: M>?9>M7IB7J;H:;J;HC?D;:JE8;<7BI;  ++/*
7J .>;?H9K?J>;B:J>7J7D;MJH?7BM7IDEJM7HH7DJ;:87I;:EDJ>?IF;H@KHO8;97KI;J>;H;
M7IU475CFB;;L?:;D9;VIKFFEHJ?D=J>;:;<;D:7DJXI9EDL?9J?EDE<:HK=9>7H=;I *7J 
  KHJ>;H J>;?H9K?JDEJ;:J>7JU4J5>;7::?J?ED7B;L?:;D9;9ED9;HDI79EBB7J;H7B?IIK;4J>;
?D<EHC7DJXI5J7N;I7D:W:E;IDEJH;<KJ;7DOE<J>;M?JD;IIXIJ;IJ?CEDO7=7?DIJX4J>;:;<;D:7DJ5 V
*8H79A;JIEC?JJ;:GKEJ?D="4/:+* :':+9<+?+9  : :?H  .>?I
7D7BOI?I7FFB?;IM?J>;GK7B?<DEJ=H;7J;H<EH9;>;H; 
                                                  

      Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 103 of 107




79J;::?I>ED;IJBOEHM7I<EKD:DEJJE8;9H;:?8B;8O79EKHJEHH;=KB7JEH VAJ 7J .;C7D

9EDJ;D:IJ>7JJ>?IIJ7J;C;DJM7I<7BI;8;97KI; 7IJ>;!EL;HDC;DJ79ADEMB;:=;: !787O>7:

8;;D<?D;:UJH;8B;:7C7=;IV?DJ>;,;DJ>7H=;7I; .;C7D8'*?';C 7J .;C7D

H;FH;I;DJIJ>7JJH;8B;:7C7=;I7H;7M7H:;:EDBOM>;D7DEMD;H=/22,;22?EL;H9>7H=;I7J;D7DJ 

M>?9>8;7HIEDJ>7JEMD;HXI9H;:?8?B?JO  ++/*

       .>;EKHJ:?I7=H;;I <?D:?D=J>7JJ>;7M7H:E<JH;8B;:7C7=;I<7?BIJE;IJ78B?I>7DOE<J>;

J>H;;H;GK?H;C;DJIE<78'*?L?EB7J?ED 

         ?HIJ J>7JED;O'7D7=;C;DJ J>;9ECF7DO<EHM>?9>!787OMEHA;: M7I<?D;:JH;8B;

:7C7=;I?DJ>;,;DJ>7H=;97I;?IDEJD;9;II7H?BO?CF;79>C;DJ;L?:;D9;<7LEH78B;JE.;C7D 

I?I;L?:;D9;:8OJ>;FK8B?9H;9EH:J>7J.;C7D7JJ79>;:JE>?IH;FBOSS7D:<7?B;:JE7JJ79>JE>?I

?D?J?7BC;CEH7D:KCE<B7MTJH;8B;:7C7=;I>;H;:EDEJH;FH;I;DJ7<?D:?D=8O79EKHJEH

H;=KB7JEHJ>7JJ>;9ECF7DOEMD;H79J;:M?BB<KBBO  ++.;C7D8'*?,;FBO N  #DIJ;7: 

JH;8B;:7C7=;I7H;?CFEI;:M>;H;J>;EMD;H KFEDDEJ?9;J>7J>;EHI>;>7I8;;D<EKD:JE>7L;

9EBB;9J;:7H;DJEL;H9>7H=; :E;IDEJIK8C?J;L?:;D9;JEJ>;(;M3EHA-J7J;?L?I?EDE<

"EKI?D=7D:ECCKD?JO,;D;M7BJ>7JJ>EI;EL;H9>7H=;IM;H;DEJM?BB<KB *IJ>7J?L?I?ED

;NFB7?DI J>;:7C7=;IUI?CFBOC;7D45J>7JM>;H;7DEMD;HIK8C?JIDE;L?:;D9;EHM>;H;J>;

;L?:;D9;?I;GK7BBO87B7D9;: J>;EL;H9>7H=;?I:;;C;:M?BB<KB V*";H; ED;O'7D7=;C;DJ

7D:!787O9EKB:I?CFBO>7L;:;9?:;:DEJJE9EDJ;IJJ>;EL;H9>7H=;I H;IKBJ?D=?DJH;8B;:7C7=;I

8;?D=?CFEI;: I7H;IKBJ J>;JH;8B;:7C7=;I97DDEJ8;I7?:JE8;7HED!787OXI9H;:?8?B?JO 

       -;9ED: ;L;D?<J>;JH;8B;:7C7=;I9EKB:8;9>7H79J;H?P;:7I?CF;79>C;DJ;L?:;D9;

<7LEH78B;JE.;C7D J>;H;?IDE?D:?97J?EDJ>7JJ>;!EL;HDC;DJAD;ME<J>;9EDD;9J?ED8;JM;;D

JH;8B;:7C7=;I7D:M?BB<KBD;II .>;!EL;HDC;DJM7IDEJE8B?=;:JE?DL;IJ?=7J;J>?IFE?DJ 

#DIJ;7: ?J:?I9BEI;:J>;;L?:;D9;?D?JIFEII;II?EDTJ>;,;DJ>7H=;7I;7D:J>;<79JE<JH;8B;



                                                  

      Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 104 of 107




:7C7=;ISS7D:H;FH;I;DJ;:J>7J?JM7IDEJ7M7H;E<7DO79J?ED8;7H?D=ED!787OXI9H;:?8?B?JO 

.>;:;<;DI; 7JJ>7JFE?DJ M7I<KBBO;CFEM;H;:JECEKDJ?JIEMD?DL;IJ?=7J?ED?DJEJ>;?CFEHJE<

IK9>7:7C7=;I7M7H: 

         ?D7BBO J>;;L?:;D9;>;H;?I?CC7J;H?7B !787OM7IDEJJ>;EDBOM?JD;IIB?DA?D=.;C7D

JEJ>;9H?C; DEHMEKB:J>;;L?:;D9;E<JH;8B;:7C7=;I>7L;:;IJHEO;:7D;B;C;DJE<J>;

!EL;HDC;DJXI97I; EH9EC;7DOM>;H;9BEI; IM?J>-EB;?C7D? !787OXIJ;IJ?CEDOM7I

9EHHE8EH7J;:;NJ;DI?L;BO ?D9BK:?D=J>HEK=>J;IJ?CEDO<HEC-EB;?C7D? -EED )I8;H=;H 7D:

"ECJ>;J;NJC;II7=;I8;JM;;D,;?D?JP7D:.;C7DJ>;9>;9AIJ>;CI;BL;I7D:J>;

9?H9KCIJ7D9;IIKHHEKD:?D=J>;:;FEI?JE<J>;9>;9AI ?D9BK:?D=J>;<79JE<J>;?H:;FEI?JED

*7IIEL;H #DF7HJ?9KB7H7IJE!787O7D:1;IJ && !787OXIJ;IJ?CEDO?D:?97J?L;E<

.;C7DXI9H?C?D7B?DJ;DJM7I;D>7D9;:8OJ>;<79JJ>7J.;C7D>7::;FEI?J;:9>;9AI:H7MDED

1;IJ &&XI799EKDJ?DFH?B ',:+8?J>7::?IFKJ;:9>;9AIJ>7J.;C7D7JJ;CFJ;:JE:H7M

ED?JI799EKDJ?D'7H9> .;C7D:?I9KII;:J>;H;B;L7D9;E<J>;>EB:ED>?I799EKDJ<HECJ>;

'7H9>9>;9AIM?J>,;?D?JP 9++!2 !2 7D:,;?D?JP?DIJHK9J;:>?CJ>7J?<KIJEC;HI

:?IFKJ;:>?I9>7H=;I 7I1;IJ &&>7:7BH;7:O:ED; >;UCKIJIJEF V9++!2 

.;C7D >EM;L;H <BEKJ;:J>7J7:L?9; !?L;DJ>;IJH;D=J>7D:8H;7:J>E<J>;;L?:;D9;E<>?I

7K:79?EKI<H7K: J>;EKHJ?I9ED<?:;DJJ>7JJ>;JH?7BEKJ9EC;MEKB:>7L;8;;DJ>;I7C;;L;D?<

J>;@KHO>7:J7A;DJ>;JH;8B;:7C7=;I7M7H:7IH;<B;9J?D=J>;M?BB<KBD;IIE<7H;DJEL;H9>7H=;8O

ED;O'7D7=;C;DJ 

         KHJ>;H 7IM?J>-EB;?C7D? J>;:;<;DI;>7:7J?JI:?IFEI7B 7D::;FBEO;: CEH;7FJJEEBI

JEJHOJE?CF;79>!787OXI9H;:?8?B?JO .>;:;<;DI;I>EM;:J>7J7ED;O'7D7=;C;DJ7<<?:7L?J 

IK8C?JJ;:JE-?=D7JKH;7DA8O7ED;O'7D7=;C;DJ;CFBEO;;M?J>M>EC!787OMEHA;:

9BEI;BO :?IFKJ;:J>;9>7H=;I7D:IJ7J;:J>7JJ>;9ECF7DO:?:DEJUADEM45J>;F7O;;IEDJ>;I;



                                                

      Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 105 of 107




9>;9AI V ++.H?7B.H 7J  !787O7:C?JJ;:J>7JED;O'7D7=;C;DJ ?D<79J M7I7M7H;E<

!7J;!K7H: 7D:J>7J?J>7:8;;D7B?;JEI7OJ>7JED;O'7D7=;C;DJ:?:DEJADEMM>7J

!7J;!K7H:M7I *7J .>?IB?D;E<?CF;79>C;DJ8EH;<7HCEH;IKH;BOED!787OXI9>7H79J;H

<EHJHKJ><KBD;IIM?J>H;=7H:JE.;C7DXII9>;C; I?CF;79>C;DJC7J;H?7B J>;KDH;B7J;:JH;8B;

:7C7=;I7M7H:>;H;MEKB:>7L;8;;D9KCKB7J?L; #JMEKB:DEJH;7B?IJ?97BBO>7L;?CF79J;:J>;

@KHOXIL;H:?9J .>?IJEEM7IDE8'*?L?EB7J?ED 

                      '.! !-/%"%/%*).

       I7<?D7B87I?I<EH9B7?C?D=78'*?L?EB7J?ED .;C7DFE?DJIJE<7BI;9;HJ?<?97J?ED9B7?CI

7=7?DIJ-EB;?C7D?7D:!787O 8HEK=>J8OJ>;"* M>?9>>;9EDJ;D:I7:L;HI;BOH;<B;9JKFEDJ>;

M?JD;II;IX9>7H79J;H<EHJHKJ><KBD;II ";<7KBJIJ>;!EL;HDC;DJIF;9?<?97BBO<EHH;FH;I;DJ?D= 

8;<EH;JH?7B J>7JJ>;H;M7IUDE?D:?97J?EDJ>7J7DOB7D:BEH: J;D7DJ9ECFB7?DJIEHB7MIK?JI7=7?DIJ

-EB;?C7D? !787O EHJ>;?H9ECF7D?;IMEKB:8;FHE87J?L;E<J>;?HW9>7H79J;H<EHJHKJ><KBD;IIEH

KDJHKJ><KBD;II XV.;C7D8'*?';C 7J;CF>7I?IEC?JJ;:GKEJ?D=AJ 7J I

;L?:;D9;J>7JJ>?I!EL;HDC;DJH;FH;I;DJ7J?EDM7IKDJHK; .;C7D7JJ79>;IIFH;7:I>;;JI<HEC

FK8B?9"*H;9EH:ISSDEJ:?I9BEI;:8OJ>;!EL;HDC;DJSSM>?9>IJ7J;J>7J"*>7II;L;H7BEF;D

7D:ED;9BEI;:L?EB7J?EDI<EHU<7BI;9;HJ?<?97J?EDIV7=7?DIJ-EB;?C7D? !787O 7D:J>;?H

9ECF7D?;I  ++/* NI     .>;EKHJ:E;IDEJ<?D:J>7JJ>?IH?I;IJEJ>;B;L;BE<7

8'*?L?EB7J?ED 

       IM?J>-EB;?C7D?XI"EKI?D=EKHJ97I; J>?I;L?:;D9;?DJ>;EHO9EKB:8;<7LEH78B;JE7

F7HJOB?A;.;C7DM>EI;?DJ;H;IJI7H;7:L;HI;JEJ>EI;E<J>;M?JD;II 8;97KI;J>;H;9EKB:8;

?CF;79>C;DJL7BK;?DU<7BI;9;HJ?<?97J?EDV9>7H=;I 99EH:?D=JE"* 7U<7BI;9;HJ?<?97J?EDV

E99KHIM>;D7DEJ>;HL?EB7J?EDUM7I9;HJ?<?;:7I9EHH;9J;:8OJ>;)MD;HEDJ?C;7D:FHEF;HBOV

8KJU475IK8I;GK;DJH; ?DIF;9J?EDE<J>;9ED:?J?ED8O"*<EKD:J>7JJ>;9ED:?J?ED>7:DEJ8;;D

FHEF;HBO9EHH;9J;: V.;C7D8'*?';C N 7J .>;"*<KHJ>;H;NFB7?DIJ>7JU4J5>;
                                                  

        Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 106 of 107




L?EB7J?ED?IEF;D7D:?IIK8@;9JJE9?L?BF;D7BJ?;I<EH<7BI;9;HJ?<?97J?ED V*#D9EDJH7IJJE

U7BB;=7J?EDIE<C?IC7D7=;C;DJ D;=B?=;D9; EH8;?D=7HEJJ;DB7D:BEH:VM>?9>J>;EKHJ

:?I9EKDJ;:?D?JIHKB?D=EDJ>;CEJ?EDI/42/3/4+7IU?HH;B;L7DJJE9H;:?8?B?JO V.H?7B.H 7JS 

<7BI;9;HJ?<?97J?EDI9EKB:FEJ;DJ?7BBO8;E<IEC;?CF;79>C;DJL7BK; 7IJ>;OC7O8;7HED

JHKJ><KBD;II 

          "EM;L;H 7IJEJ>?I;L?:;D9;JEE J>;H;?IDE87I?IJE9EDJ;D:;?J>;HJ>7JJ>?I;L?:;D9;M7I

DEJ:?I9BEI;:8OJ>;!EL;HDC;DJ EHJ>7J?JM7IC7J;H?7B 

          IJEDED :?I9BEIKH; J>;H;9EH::E;IDEJIKFFEHJJ>7JJ>;!EL;HDC;DJ>7:J>;<7BI;

9;HJ?<?97J?ED9>7H=;I?D?JIFEII;II?EDJE:?I9BEI; #DIJ;7: J>;!EL;HDC;DJ:?I9BEI;:M>7J?J

>7:TJ>7J-EB;?C7D?7D:!787O>7:8;;D?DLEBL;:?DB7D:BEH: J;D7DJ:?IFKJ;I 7D:J>7JJ>;I;

:?IFKJ;I?D9BK:;:-EB;?C7D?XI"EKI?D=EKHJ7I;7D:!787OXI,;DJ>7H=;7I; D:J>;B?DA

8;JM;;DJ>;9?JO"*7D:J>;<;:;H7BFHEI;9KJ?ED>;H;?I<7HJEEH;CEL;:JE?CFKJ;"*XI

ADEMB;:=;JEJ>;!EL;HDC;DJ 'EH;EL;H J>;;L?:;D9;>;H;M7I7C7JJ;HE<FK8B?9H;9EH: 

M>?9>.;C7D>?CI;B<>7:J>;78?B?JOJE 7D:KBJ?C7J;BO:?: BE97J;  

          .>?I;L?:;D9;7BIEMEKB:DEJFH;I;DJ7I;H?EKIFEII?8?B?JO B;J7BED;7H;7IED78B;

FHE878?B?JO E<9>7D=?D=J>;EKJ9EC;E<JH?7B BCEIJ7BBE<J>;L?EB7J?EDI?DGK;IJ?ED7FF;7HJE

8;EF;DDED ;IJ78B?I>;:ED;I .>;O7H;?D7:C?II?8B;KD:;H ;:;H7B,KB;E<L?:;D9; 8 

D:J>;H;?IDE?D:?97J?EDJ>7JJ>;O9EKB:B;7:JE7:C?II?8B;;L?:;D9;  ++"4/:+* :':+9<

    '4:59  FFXN :?H  ;L?:;D9;M7I 7CED=EJ>;HJ>?D=I DEJ7:C?II?8B;

7D:MEKB:DEJ>7L;B;:JE7:C?II?8B;;L?:;D9;"4/:+* :':+9<52'4)5   FFXN 


                                

  .>;H;9EH:IE<J>;<7BI;9;HJ?<?97J?EDIM;H;7L7?B78B;ED7FK8B?9:7J787I; .>7J?I>EM.;C7D
=7?D;:799;IIJEJ>;C<EHIK8C?II?EDJEJ>;EKHJ  ++5::/  -KFF :7J
U45E9KC;DJIJ>7J7H;F7HJE<FK8B?9H;9EH:I7H;DEJ:;;C;:IKFFH;II;:?<:;<;DI;9EKDI;B
I>EKB:ADEME<J>;C7D:<7?BIJEE8J7?DJ>;C:K;JE7B79AE<:?B?=;D9;?D>?IEMD
?DL;IJ?=7J?ED V 
                                                    

      Case 1:19-cr-00696-PAE Document 138 Filed 06/05/20 Page 107 of 107




:?H  I7C; D:J>;ED;9BEI;:;IJ78B?I>;:L?EB7J?EDMEKB:>7L;B?C?J;:FHE87J?L;

L7BK; ;L;D7IIKC?D=?JI7:C?II?8?B?JO IH;L?;M;:78EL; J>;!EL;HDC;DJ>7:FH;I;DJ;:

9ECF;BB?D=7D:L7H?;:;L?:;D9;E<.;C7DXI=K?BJ 7D:E<J>;B79AE<9KIJEC;H7KJ>EH?P7J?ED<EH

.;C7DJE9H;7J;7D:D;=EJ?7J;J>;9>;9AI D::;<;DI;9EKDI;B>7::;FBEO;:EJ>;HJEEBIJE

7JJ;CFJJE?CF;79>8EJ>-EB;?C7D?7D:!787O JEDE7L7?B .>;H;?IDE87I?IJE9ED@;9JKH;J>7J7

<7BI;9;HJ?<?97J?ED8OJ>;U)MD;HVE<J>;FHEF;HJOSSM>EC7OEHC7ODEJ;L;D>7L;8;;DJ>;

M?JD;IIJ;IJ?<O?D=7J.;C7DXIJH?7BTMEKB:>7L;?CF;79>;:-EB;?C7D?EH!787O7JJ>;JH?7B 

       99EH:?D=BO .;C7D>7I<7?B;:JE;IJ78B?I> KD:;H7DOJ>;EHO 78'*?L?EB7J?ED .>;

EKHJJ>;H;<EH;:;D?;IJ>?I<?D7B7II;HJ;:87I?I<EHI;;A?D=7D;MJH?7B 

                                             

         EHJ>;H;7IEDIEKJB?D;:78EL; J>;EKHJ:;D?;I7BBE<.;C7DXIFEIJ JH?7BCEJ?EDI .>;

97I;M?BBDEMFHE9;;:JEI;DJ;D9?D= 

         EHFKHFEI;IE<7IIKH?D=7<KBB7FF;BB7J;H;9EH: J>;!EL;HDC;DJ?I?DIJHK9J;:JE<?B;J>;

=H7D:@KHOC7J;H?7BIFHEL?:;:+>6'8:+JEJ>;EKHJKD:;HI;7B7IIEED7IFEII?8B; .>;I;7H;JE

8;799;II?8B;JEJ>;EKHJ7D:H;L?;M?D=7FF;BB7J;9EKHJIEDBO 

       .>;B;HAE<EKHJ?IH;IF;9J<KBBO:?H;9J;:JEJ;HC?D7J;J>;CEJ?EDIF;D:?D=7J:E9A;JI

   7D: 

       -)),, 

                                                               
                                                               6666666666666666666666666666
                                                               *7KB D=;BC7O;H
                                                               /D?J;:-J7J;I?IJH?9J$K:=;


7J;:$KD;   
      (;M3EHA (;M3EHA





                                                  

